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UNIVERSITY HONORS
2020 BRONZE TABLET SCHOLARS
The University Honors designation, the highest academic honor awarded to an undergraduate, is limited to those students who have
demonstrated their capacity for sustained academic excellence of a high order. To be eligible for this honor, students must have a
cumulative grade-point average of at least 3.5 and must rank on the basis of cumulative grade-point average in the upper 3 percent of
their college graduating class on the basis of all work taken through the academic term prior to graduation.
University Honors recipients wear orange and blue braided cords as part of their formal academic attire.

As recipients of this honor, each of the following students will have his or her name inscribed on a bronze tablet that is displayed in the
corridor of the University Library. For this reason, University Honors recipients are known informally as “Bronze Tablet Scholars.”


Hajera Afreen, Bachelor of Science in Liberal Arts and Sciences,        Emily Jade Catlin, Bachelor of Science in Architectural Studies
Molecular and Cellular Biology and Chemistry, December 2019
                                                                        Subhiksha Chandrasekaran, Bachelor of Science in Food Science and
Rajan K. Aggarwal, Bachelor of Science in Mechanical Engineering,       Human Nutrition
December 2019
                                                                        Deborah P. Chang, Bachelor of Science in Accountancy, December
Aahan Agrawal, Bachelor of Science in Liberal Arts and Sciences,        2019; Bachelor of Science in Information Systems and Information
Mathematics and Computer Science, August 2019                           Technology, December 2019

Muhammad Farris Fouad Al-Qawasmi, Bachelor of Science in                Chuanqi Chen, Bachelor of Science in Liberal Arts and Sciences,
Liberal Arts and Sciences, Integrative Biology, December 2019           Statistics, December 2019

Claire Julia Ang, Bachelor of Science in Liberal Arts and Sciences,     Lin Chen, Bachelor of Science in Accountancy, December 2019
Molecular and Cellular Biology
                                                                        Xinhui Chen, Bachelor of Science in Accountancy
Nathan Matthew Apter, Bachelor of Science in Bioengineering
                                                                        Xiuhao Chen, Bachelor of Arts in Liberal Arts and Sciences, Philosophy
Amy R. Arbus, Bachelor of Science in Food Science and
Human Nutrition                                                         Barry Tzu-Jui Chiang, Bachelor of Arts in Music

Fernando Adrian Arias, Bachelor of Arts in Liberal Arts and Sciences,   Audrey June Christopher, Bachelor of Science in Finance
Political Science and Economics
                                                                        Rafael Cicogna Santos, Bachelor of Science in Mechanical Engineering
Mariam Komal Arif, Bachelor of Science in Liberal Arts and Sciences,
Molecular and Cellular Biology                                          Megan Virginia Clark, Bachelor of Science in Middle Grades Education

Raajesh Arunachalam, Bachelor of Science in Computer Science            Abigail R. Cohen, Bachelor of Science in Civil Engineering

Hayley E. Ban, Bachelor of Science in Liberal Arts and Sciences,        Michael Thomas Colomb, Bachelor of Science in Computer Science
Integrative Biology and French
                                                                        Tanner Alan Corum, Bachelor of Science in Liberal Arts and Sciences,
Anna Caroline Benoit, Bachelor of Musical Arts                          Actuarial Science, December 2019

Amanda Marie Blank, Bachelor of Science in Accountancy                  Alexis Nicole Cosmos, Bachelor of Science in Finance

Alison Christine Borsotti, Bachelor of Science in Liberal Arts and      Monika Karla Culjak, Bachelor of Science in Middle Grades Education
Sciences, Molecular and Cellular Biology
                                                                        Andrea Jane Cunningham, Bachelor of Science in Advertising,
Gabriel A. Braboy, Bachelor of Science in Civil Engineering,            December 2019
December 2019
                                                                        Benjamin Misael David, Bachelor of Science in Bioengineering
James Edward Brady, Bachelor of Science in Liberal Arts and
Sciences, Chemistry                                                     Qingqing Deng, Bachelor of Science in Architectural Studies

Maggie Jo Brennan, Bachelor of Science in Accountancy                   Flora Rose Denton, Bachelor of Science in Food Science and
                                                                        Human Nutrition
Michelle Jamie Bresingham, Bachelor of Science in Liberal Arts and
Sciences, Molecular and Cellular Biology                                Donna M. Dimitrova, Bachelor of Fine Arts in Graphic Design

Madeleine Louise Brown, Bachelor of Arts in Liberal Arts and            William Cartwright Drennan, Bachelor of Science in Mechanical
Sciences, English                                                       Engineering, December 2019

Daniel N. Bumpus, Bachelor of Science in Mechanical Engineering         Yiting Du, Bachelor of Science in Interdisciplinary Health Sciences

Sakina Dawood Burhani, Bachelor of Science in Liberal Arts and          Yufeng Du, Bachelor of Science in Physics; Bachelor of Science in
Sciences, Chemistry, December 2019                                      Liberal Arts and Sciences, Mathematics

Michelle Lynne Burns, Bachelor of Fine Arts in Dance                    Elizabeth Clare Dudzik, Bachelor of Science in Speech and Hearing
                                                                        Science
Elena M. Cannova, Bachelor of Science in Liberal Arts and Sciences,
Psychology                                                              Jacob H. Ebens, Bachelor of Science in Supply Chain Management and
                                                                        in Marketing
Eric James Cao, Bachelor of Science in Computer Science
                                                                                                   Exhibit 38 - Page 1 of 76
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BRONZE TABLET                                                                                   2020 COMMENCEMENT AT ILLINOIS




Kerri Marie Elson, Bachelor of Science in Accountancy                      Kayla Christine Janssen, Bachelor of Social Work

Daniel Louis Engel, Bachelor of Science in Aerospace Engineering           Jiawei Jiang, Bachelor of Science in Liberal Arts and Sciences,
                                                                           Chemistry
Jordan E. Freer, Bachelor of Science in Liberal Arts and Sciences,
Psychology                                                                 Kaiying Jiang, Bachelor of Science in Mechanical Engineering

Angela Fu, Bachelor of Arts in Liberal Arts and Sciences, Economics        Samrudhi Ravindra Joshi, Bachelor of Science in Liberal Arts and
and Creative Writing, August 2019                                          Sciences, Molecular and Cellular Biology

Kailang Fu, Bachelor of Science in Computer Science                        Adrian Marian Kapustka, Bachelor of Science in Liberal Arts and
                                                                           Sciences, Molecular and Cellular Biology, December 2019
Andrew Gacek, Bachelor of Science in Electrical Engineering
                                                                           Ziv Benjamin Kaputa, Bachelor of Science in Computer Science
Shreyas Sai Gandlur, Bachelor of Science in Electrical Engineering
                                                                           Madison Loraine Kaufman, Bachelor of Science in Interdisciplinary
Yi Gao, Bachelor of Science in Accountancy; Bachelor of Science in         Health Sciences, December 2019
Finance
                                                                           Haley Nicole Kennedy, Bachelor of Science in Liberal Arts and
Zijun Gao, Bachelor of Science in Chemistry; Bachelor of Science in        Sciences, Econometrics and Quantitative Economics and Sociology
Liberal Arts and Sciences, Psychology
                                                                           Hui Yi Koh, Bachelor of Science in Civil Engineering
Angad Garg, Bachelor of Science in Computer Science, December 2019
                                                                           Olivia Ann Kohlenberger, Bachelor of Science in Supply Chain
Heather Faith Gathman, Bachelor of Science in Civil Engineering            Management and in Information Systems and Information Technology

Sophia A. Giakas, Bachelor of Science in Liberal Arts and Sciences,        Peter G. Kolyvas, Bachelor of Science in Liberal Arts and Sciences,
Psychology                                                                 Molecular and Cellular Biology
Victoria P. Goldman, Bachelor of Science in Liberal Arts and Sciences,     Lingkai Kong, Bachelor of Science in Computer Science
Psychology, December 2019
                                                                           Tianyu Kong, Bachelor of Science in Liberal Arts and Sciences,
Gita Alla Golonzka, Bachelor of Science in Liberal Arts and Sciences,      Actuarial Science
Molecular and Cellular Biology, August 2019
                                                                           Alexandra Nicole Kontos, Bachelor of Social Work
Jennifer Leigh Goodfriend, Bachelor of Science in Interdisciplinary
Health Sciences                                                            Gabrielle Paige Kosh, Bachelor of Science in Speech and
                                                                           Hearing Science
Charlotte Mary Graham, Bachelor of Music Education
                                                                           Veronica E. Lane, Bachelor of Science in Speech and Hearing Science
Nicholas Bryce Griffith, Bachelor of Science in Liberal Arts and
Sciences, Molecular and Cellular Biology                                   Greta H. Lauer, Bachelor of Science in Food Science and
                                                                           Human Nutrition
Sahil J. Gupta, Bachelor of Science in Computer Science
                                                                           Angela Hyunjoo Lee, Bachelor of Arts in Liberal Arts and Sciences,
Emily Guske, Bachelor of Science in Natural Resources and                  Global Studies
Environmental Sciences
                                                                           Brianna Marie Legner, Bachelor of Science in Speech and Hearing
Jordan Alexis Halic, Bachelor of Science in Human Development and          Science
Family Studies
                                                                           Weiji Li, Bachelor of Science in Agricultural and Consumer Economics
John David Hamman, Bachelor of Science in Community Health
                                                                           Xiaomin Li, Bachelor of Science in Computer Science
Natalie Celeste Hernandez, Bachelor of Science in Middle Grades
Education                                                                  Weihang Liang, Bachelor of Science in Computer Engineering

Karen Guadalupe Hernandez Patricio, Bachelor of Science in                 Laima Licitis, Bachelor of Science in Animal Sciences
Community Health
                                                                           Chen Lin, Bachelor of Science in Computer Science
John Patrick Hierl, Bachelor of Arts in Liberal Arts and Sciences,
Political Science                                                          Xuan Lin, Bachelor of Arts in Liberal Arts and Sciences, Economics
                                                                           and Statistics
Ayano Hiranaka, Bachelor of Science in Mechanical Engineering,
December 2019                                                              Ella M. Liskiewicz, Bachelor of Science in Agr & Consumer Economics

Eamon Homedi, Bachelor of Science in Civil Engineering                     Alexander James Littlefield, Bachelor of Science in Electrical
                                                                           Engineering
Laine Dale Honegger, Bachelor of Science in Agr & Consumer
Economics                                                                  Jiacheng Liu, Bachelor of Science in Computer Science,
                                                                           December 2019
Jiawen Hu, Bachelor of Science in Agricultural and Biological
Engineering                                                                Yuanzhi Liu, Bachelor of Science in Liberal Arts and Sciences,
                                                                           Actuarial Science and Statistics
Langwen Hui, Bachelor of Science in Liberal Arts and Sciences,
Mathematics and Computer Science                                           David M. Long, Bachelor of Science in Computer Science,
                                                                           December 2019
Ritika Jain, Bachelor of Science in Liberal Arts and Sciences, Molecular
and Cellular Biology and Psychology, December 2019                         Yanbin Long, Bachelor of Science in Aerospace Engineering

                                                                           Wayllon Aspen Lu, Bachelor of Science in Accountancy; Bachelor of
                                                                           Science in Finance
                                                                                                       Exhibit 38 - Page 2 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                                                  BRONZE TABLET




Cody Jordan Lund, Bachelor of Science in Liberal Arts and Sciences,        Priya J. Patel, Bachelor of Science in Liberal Arts and Sciences,
Molecular and Cellular Biology                                             Molecular and Cellular Biology

Licheng Luo, Bachelor of Science in Computer Science                       Bo Peng, Bachelor of Science in Mechanical Engineering

Crystal Sue Lyons, Bachelor of Arts in Liberal Arts and Sciences,          Jessica Rose Philipp, Bachelor of Science in Speech and
English                                                                    Hearing Science

Hongjin Lyu, Bachelor of Arts in Liberal Arts and Sciences, Economics      Adrianna Maria Pilch, Bachelor of Science in Food Science and
                                                                           Human Nutrition
Yanqing Lyu, Bachelor of Science in Kinesiology
                                                                           Lauren Kathryn Pritz, Bachelor of Science in Bioengineering
Danling Ma, Bachelor of Science in Natural Resources and
Environmental Sciences                                                     Yingying Qian, Bachelor of Science in Accountancy, December 2019

Maxwell Malter, Bachelor of Science in Biochemistry                        Annie Qiu, Bachelor of Science in Computer Science

Andrew Ryan Martin, Bachelor of Arts in Liberal Arts and Sciences,         Chengling Qiu, Bachelor of Science in Chemistry
English
                                                                           Rachel E. Rahman, Bachelor of Science in Community Health
Emily Ann Martin, Bachelor of Science in Agr & Consumer Economics
                                                                           Ayush Ranjan, Bachelor of Science in Liberal Arts and Sciences,
Faisal Masood, Bachelor of Science in Bioengineering                       Mathematics and Computer Science

Ashley Elizabeth Mathews, Bachelor of Science in Liberal Arts and          Jensen Ashleigh Rehn, Bachelor of Arts in Liberal Arts and Sciences,
Sciences, Molecular and Cellular Biology                                   History

Lauren Evelyn Mazurkiewicz, Bachelor of Science in Liberal Arts and        Brittany Elizabeth Reid, Bachelor of Arts in Liberal Arts and Sciences,
Sciences, Molecular and Cellular Biology                                   Communication, December 2019

Matthew James McClintock, Bachelor of Science in Liberal Arts and          Michael Joseph Ruby, Bachelor of Arts in Liberal Arts and Sciences,
Sciences, Molecular and Cellular Biology                                   History

Josette Allendi McGann, Bachelor of Arts in Liberal Arts and Sciences,     Rachel B. Sachs, Bachelor of Science in Food Science and
Economics, December 2019                                                   Human Nutrition

Qingxi Meng, Bachelor of Science in Electrical Engineering                 Noah James Salk, Bachelor of Science in Electrical Engineering

Jalie Nicole Merritt, Bachelor of Arts in Liberal Arts and Sciences,       Morgan Ana Samanic, Bachelor of Science in Liberal Arts and
Slavic Studies                                                             Sciences, Molecular and Cellular Biology and Psychology

Noor Sultan Michael, Bachelor of Science in Computer Science               Jenna Cheri Savell, Bachelor of Science in Speech and
                                                                           Hearing Science
Jared Daniel Minor, Bachelor of Science in Accountancy, December
2019                                                                       Grayson Kenneth Schaer, Bachelor of Science in Aerospace
                                                                           Engineering, December 2019
Allison Claire Neggers, Bachelor of Science in Liberal Arts and
Sciences, Psychology, December 2019                                        Samantha Kathleen Schrage, Bachelor of Science in Journalism

Kyle Christopher Nelli, Bachelor of Science in Engineering Physics         Johnathon August Otto Schulte, Bachelor of Science in Kinesiology

Kelly Leann Nenninger, Bachelor of Science in Advertising                  Oways K. Shaqildi, Bachelor of Science in Liberal Arts and Sciences,
                                                                           Molecular and Cellular Biology, August 2019
Isaac Jordan Ngo, Bachelor of Science in Liberal Arts and Sciences,
Molecular and Cellular Biology                                             Saheli Bimal Sheth, Bachelor of Science in Liberal Arts and Sciences,
                                                                           Psychology
Junrui Ni, Bachelor of Science in Computer Engineering, December
2019                                                                       Lainey E. Simanek, Bachelor of Arts in Liberal Arts and Sciences,
                                                                           Communication
Benjamin Rigel Nordick, Bachelor of Science in Liberal Arts and
Sciences, Molecular and Cellular Biology                                   Kristin Elise Simkus, Bachelor of Science in Industrial Engineering,
                                                                           December 2019
Francis Scott Rodriguez Ogaban, Bachelor of Science in Liberal Arts
and Sciences, Molecular and Cellular Biology, December 2019                Marc George Sleiman, Bachelor of Science in Liberal Arts and
                                                                           Sciences, Molecular and Cellular Biology and Political Science
Jacklyn E. Ovassapian, Bachelor of Fine Arts in Theatre
                                                                           Ophir Tessel Sneh, Bachelor of Science in Computer Science
Ziyang Pan, Bachelor of Science in Liberal Arts and Sciences, Statistics
and Economics                                                              Holly Rose Stallard, Bachelor of Science in Food Science and
                                                                           Human Nutrition
Lauren Ashley Pangelinan, Bachelor of Science in Community Health
                                                                           Maeve Elizabeth Stanton, Bachelor of Arts in Liberal Arts and
Nidhi Harish Parikh, Bachelor of Science in Interdisciplinary Health       Sciences, Communication
Sciences
                                                                           Daniel Mead Stelzer, Bachelor of Arts in Liberal Arts and Sciences,
Benjamin Wyeth Parsons, Bachelor of Science in Animal Sciences,            Linguistics
December 2019
                                                                           Brianna Marie Stevens, Bachelor of Arts in Liberal Arts and Sciences,
Palak Prakash Patel, Bachelor of Science in Liberal Arts and Sciences,     Communication
Psychology
                                                                                                       Exhibit 38 - Page 3 of 76
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BRONZE TABLET                                                                                 2020 COMMENCEMENT AT ILLINOIS




Christina Jean Su, Bachelor of Science in Liberal Arts and Sciences,     Tiancheng Wu, Bachelor of Science in Computer Science
Molecular and Cellular Biology
                                                                         Zecheng Wu, Bachelor of Science in Liberal Arts and Sciences,
Santosh Sudhakar, Bachelor of Science in Liberal Arts and Sciences,      Mathematics and Computer Science
Molecular and Cellular Biology and Chemistry, December 2019
                                                                         Enze Xiao, Bachelor of Science in Liberal Arts and Sciences,
Amanda Hayley Sugar, Bachelor of Science in Kinesiology                  Mathematics

Dachun Sun, Bachelor of Science in Computer Science                      Ying Xie, Bachelor of Science in Advertising, December 2019

Ray Sun, Bachelor of Science in Computer Science                         Angela Xu, Bachelor of Science in Liberal Arts and Sciences, Molecular
                                                                         and Cellular Biology
Colin Chase Tainter, Bachelor of Science in Liberal Arts and Sciences,
Econometrics and Quantitative Economics                                  Linhui Xu, Bachelor of Science in Advertising, December 2019

Jueyu Tang, Bachelor of Science in Liberal Arts and Sciences,            Jianqi Xue, Bachelor of Science in Civil Engineering
Psychology
                                                                         Anyu Yang, Bachelor of Science in Agricultural and Consumer
Scott A. Thomas, Bachelor of Science in Accountancy; Bachelor of         Economics, December 2019
Science in Finance
                                                                         Hyein Yang, Bachelor of Fine Arts in Graphic Design
Cole Edward Timmerwilke, Bachelor of Science in Liberal Arts and
Sciences, Econometrics and Quantitative Economics and Political          Xizi Yang, Bachelor of Science in Computer Science, December 2019
Science
                                                                         Emily Anne Yates, Bachelor of Science in Finance
Alyssa Katelyn Ore Tong, Bachelor of Music
                                                                         Franklin Feihu Ye, Bachelor of Science in Computer Science
Anna Rose Tulley, Bachelor of Science in Speech and Hearing Science,
December 2019                                                            Elizabeth Yoon, Bachelor of Science in Community Health

Constance Tzakis, Bachelor of Science in Advertising                     Xiaomeng Yu, Bachelor of Science in Liberal Arts and Sciences,
                                                                         Actuarial Science, December 2019
Chantal Andrea Vaca, Bachelor of Science in Journalism,
December 2019                                                            Xintong Yu, Bachelor of Science in Liberal Arts and Sciences,
                                                                         Mathematics
Paige E. Vande Vusse, Bachelor of Science in Human Development
and Family Studies                                                       Coltrane Mekatilili Osun Zerai-Che, Bachelor of Science in Media
                                                                         and Cinema Studies
Tejashri Venkatesh, Bachelor of Science in Chemistry
                                                                         Haoyang Zhang, Bachelor of Science in Computer Engineering
Taylor Ann Marie Vidmar, Bachelor of Arts in Liberal Arts and
Sciences, Creative Writing                                               Heling Zhang, Bachelor of Science in Computer Engineering

Sameer Vijay, Bachelor of Science in Computer Science                    Jie Zhang, Bachelor of Science in Food Science and Human Nutrition,
                                                                         December 2019
Di Wang, Bachelor of Science in Accountancy, August 2019
                                                                         Linzixuan Zhang, Bachelor of Science in Chemical Engineering,
Wei-Chen Wang, Bachelor of Science in Computer Science                   December 2019

Weizhuo Wang, Bachelor of Science in Aerospace Engineering               Qiwei Zhang, Bachelor of Science in Accountancy

Yirong Wang, Bachelor of Science in Food Science and Human               Xinye Zhang, Bachelor of Science in Accountancy
Nutrition
                                                                         Yifan Zhang, Bachelor of Science in Liberal Arts and Sciences,
Zhihao Wang, Bachelor of Science in Liberal Arts and Sciences,           Mathematics and Statistics
Mathematics and Economics
                                                                         Ziwei Zhang, Bachelor of Science in Agr & Consumer Economics,
Zhuoyun Wang, Bachelor of Science in Liberal Arts and Sciences,          December 2019
Statistics, December 2019
                                                                         Xuezhu Zhao, Bachelor of Arts in Urban Studies & Planning
Zihan Wang, Bachelor of Science in Computer Science
                                                                         Yankun Zhao, Bachelor of Science in Liberal Arts and Sciences,
Thomas J. Warther, Bachelor of Science in Computer Science               Statistics and Computer Science

Peyton Cameron Wesner, Bachelor of Science in Journalism,                Jessica Zheng, Bachelor of Arts in Liberal Arts and Sciences, English
December 2019
                                                                         Yiqing Zhou, Bachelor of Science in Engineering Physics; Bachelor of
John Karttunen Wheeler, Bachelor of Science in Accountancy               Science in Computer Science

Jordan Kathryn Wicks, Bachelor of Science in Finance                     Yunxin Zhou, Bachelor of Science in Liberal Arts and Sciences,
                                                                         Psychology and Economics
Cara Nicole Wiemeyer, Bachelor of Science in Liberal Arts and
Sciences, Psychology                                                     Ruixin Zou, Bachelor of Science in Accountancy

Justin Thomas Wong, Bachelor of Science in Liberal Arts and              David Charles Zucker, Bachelor of Science in Advertising,
Sciences, Integrative Biology and Psychology                             December 2019

Mingqian Wu, Bachelor of Science in Industrial Engineering
                                                                                                    Exhibit 38 - Page 4 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                               CHANCELLOR’S SCHOLARS



CHANCELLOR’S SCHOLARS
A four-year program open to undergraduates in all curricula, the Campus Honors Program fosters collaborative relationships between
exceptional students and distinguished faculty through small courses, a faculty mentor system and competitive summer research
and travel grants. Admission is awarded to only 125 of the approximately 7,000 freshmen entering the University of Illinois at Urbana-
Champaign each year, plus approximately 20-25 students admitted after a first successful semester.

The following Chancellor’s Scholars are this year’s graduates of the Campus Honors Program:

Alp Aktuna, Bachelor of Science in Nuclear, Plasma, and Radiological    Katherine Grace Douglas, Bachelor of Science in Liberal Arts and
Engineering                                                             Sciences, Molecular and Cellular Biology; Bachelor of Science in Food
                                                                        Science and Human Nutrition
Jacob Eric Anderson, Bachelor of Science in Engineering Physics
                                                                        Thomas Franklin Driscoll, Bachelor of Science in Computer
Fernando Adrian Arias, Bachelor of Arts in Liberal Arts and Sciences,   Engineering
Political Science and Economics
                                                                        Claudia Anna Dudzik, Bachelor of Science in Liberal Arts and
Raajesh Arunachalam, Bachelor of Science in Computer Science            Sciences, Mathematics and Statistics

Audrey Lynn Ashburn, Bachelor of Science in Liberal Arts and            Kerri Marie Elson, Bachelor of Science in Accountancy
Sciences, Psychology
                                                                        Lauren Elysse Excell, Bachelor of Science in Civil Engineering
Connor Joseph Aubry, Bachelor of Science in Computer Engineering
                                                                        Lotanna U. Ezenekwe, Bachelor of Science in Liberal Arts and
Meral Betul Aycicek Bachelor of Arts in Liberal Arts and Sciences,      Sciences, Molecular and Cellular Biology
Global Studies
                                                                        Colin Lee Flavin, Bachelor of Science in Electrical Engineering
Spenser Reece Bailey, Bachelor of Arts in Liberal Arts and Sciences,
History                                                                 Michael Eric Gale, Bachelor of Science in Industrial Engineering

Jenna Rae Baker, Bachelor of Science in Agricultural Leadership and     Christiana Helena Gray, Bachelor of Science in Mechanical Engineering
Science Education
                                                                        Allen Xiyuan Guo, Bachelor of Science in Materials Science and
Elizabeth Rose Barbeau, Bachelor of Science in Liberal Arts and         Engineering
Sciences, Molecular and Cellular Biology
                                                                        Keyu Guo, Bachelor of Science in Accountancy; Bachelor of Science
Christopher Robert Bauer, Bachelor of Science in Mechanical             in Finance
Engineering
                                                                        Katherine Ann Hacker, Bachelor of Science in Finance; Bachelor of
Melissa Anne Bayer, Bachelor of Science in Civil Engineering            Science in Accountancy

Anna Caroline Benoit, Bachelor of Musical Arts in Lyric Theatre         Kellie Marie Halloran, Bachelor of Science in Mechanical Engineering

Olivia Mary Bievenue, Bachelor of Arts in Liberal Arts and Sciences,    Anvita Hariharan, Bachelor of Science in Community Health
English and Psychology
                                                                        Elizabeth Michelle Heffernan, Bachelor of Science in Information
John Michael Born, Bachelor of Science in Computer Engineering,         Systems and Information Technology; Bachelor of Science in
December 2019                                                           Accountancy

Julia Elizabeth Brodecki, Bachelor of Science in Materials Science      Federico Andres Hernandez Nater, Bachelor of Arts in Music
and Engineering
                                                                        Lily Corinne Holmes, Bachelor of Science in Architectural Studies
Katherine Paige Bruns, Bachelor of Music
                                                                        Abigail M. Iuorio, Bachelor of Science in Civil Engineering
Alexander Matthew Bryk, Bachelor of Arts, Teaching of Spanish
                                                                        Dohun Jeong, Bachelor of Science in Electrical Engineering
Sakina Dawood Burhani, Bachelor of Science in Liberal Arts and
Sciences, Chemistry, December 2019                                      Alayna M. Johnson, Bachelor of Science in Chemistry

Douglas Sam Chan, Bachelor of Science in Chemistry                      Andrew Scott Johnson, Bachelor of Science in Agricultural and
                                                                        Consumer Economics
Deborah P. Chang, Bachelor of Science in Accountancy; Bachelor of
Science in Information Systems and Information Technology,              Kundan Ashok Joshi, Bachelor of Science in Liberal Arts and Sciences,
December 2019                                                           Molecular and Cellular Biology

Emily Elizabeth Condic, Bachelor of Science in Chemical Engineering     Kieran Nicholas Charles Kaempen, Bachelor of Science in Liberal
                                                                        Arts and Sciences, Mathematics and Computer Science
Tanner Alan Corum, Bachelor of Science in Liberal Arts and Sciences,
Actuarial Science, December 2019                                        Ziv Benjamin Kaputa, Bachelor of Science in Computer Science

Benjamin Misael David, Bachelor of Science in Bioengineering            Nicholas Aron Kasner, Bachelor of Science in Systems Engineering
                                                                        and Design
Giovanni Concepcion Diaz, Bachelor of Science in Engineering
Physics                                                                 Madison Loraine Kaufman, Bachelor of Science in Interdisciplinary
                                                                        Health Sciences, December 2019
John Wallace Diffor, Bachelor of Science in Computer Science,
December 2019                                                           Aidan Michael Kelly, Bachelor of Science in Biochemistry
                                                                                                   Exhibit 38 - Page 5 of 76
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CHANCELLOR’S SCHOLARS                                                                        2020 COMMENCEMENT AT ILLINOIS




Trennedy Alexis Bria Kleczewski, Bachelor of Science in Marketing        Jensen Ashleigh Rehn, Bachelor of Arts in Liberal Arts and Sciences,
and in Business Process Management                                       History

Lukas R. Kulbis, Bachelor of Science in Computer Science                 Jake Joseph Ribich, Bachelor of Science in Engineering Physics

Jennifer Jingyu Kuo, Bachelor of Arts in Liberal Arts and Sciences,      Jose Rafael R Ridao, Bachelor of Science in Mechanical Engineering,
Philosophy; Bachelor of Science in Finance                               December 2019

Sarah S. Lee, Bachelor of Science in Liberal Arts and Sciences,          Grace Emily Rigney, Bachelor of Science in Advertising,
Molecular and Cellular Biology and Psychology                            December 2019

Chen Lin, Bachelor of Arts in Liberal Arts and Sciences, Economics;      Melanie Ann Rohla, Bachelor of Science in Liberal Arts and Sciences,
Bachelor of Science in Computer Science                                  Earth, Society, and Environmental Sustainability and Global Studies

Bryan Yong Lu, Bachelor of Science in Computer Science                   Ada Rosa, Bachelor of Science in Computer Science, December 2019

Zachary James Mabry, Bachelor of Science in Computer Science             Zachary W. Scheffel, Bachelor of Science in Physics

Samarth Makhija, Bachelor of Science in Computer Engineering             Catherine Teresa Seebauer, Bachelor of Science in Civil Engineering,
                                                                         December 2019
Hannah Jean Manetsch, Bachelor of Science in Engineering Physics
                                                                         Noah David Sellars, Bachelor of Arts in Liberal Arts and Sciences,
Carly A. Marchal, Bachelor of Science in Marketing; Bachelor of          History and Political Science
Science in Finance
                                                                         Nicholas Craig Shapland, Bachelor of Science in Liberal Arts and
Emily Ann Martin, Bachelor of Science in Agricultural and                Sciences, Geography and Geographic Information Science and Political
Consumer Economics                                                       Science
Lucas Connor McDonald, Bachelor of Science in Computer                   Aditya Bhaskar Shedge, Bachelor of Science in Mechanical
Engineering, December 2019                                               Engineering, December 2019
Robert W. Mitchell, Bachelor of Science in Finance                       Luie Isaac Monaco Siegel, Bachelor of Science in Bioengineering
Nikhil Deelip Modak, Bachelor of Science in Computer Science             Madeline Mette Smith, Bachelor of Science in Liberal Arts and
                                                                         Sciences, Integrative Biology
Mukhil Murugasamy, Bachelor of Science in Computer Science
                                                                         Claudia Evyn Sova, Bachelor of Arts in Liberal Arts and Sciences,
Pranjal Nandi, Bachelor of Science in Finance                            Sociology
Allison Claire Neggers, Bachelor of Science in Liberal Arts and          Holly Rose Stallard, Bachelor of Science in Food Science and
Sciences, Psychology, December 2019                                      Human Nutrition
Jacklyn E. Ovassapian, Bachelor of Fine Arts in Theatre; Bachelor of     Robert A. Stavins, Bachelor of Science in Mechanical Engineering
Science in Liberal Arts and Sciences, Psychology
                                                                         Daniel Mead Stelzer, Bachelor of Arts in Liberal Arts and Sciences,
Vibha V. Pandurangi, Bachelor of Science in Computer Science             Linguistics; Bachelor of Science in Computer Science
Dario Giovanni Panici, Bachelor of Science in Nuclear, Plasma, and       Amy Elizabeth Strauch, Bachelor of Science in Aerospace Engineering,
Radiological Engineering                                                 December 2019
Victor M. Pastrana-Gomez, Bachelor of Science in Bioengineering          Blandon E. Su, Bachelor of Science in Liberal Arts and Sciences,
                                                                         Econometrics and Quantitative Economics
Palak Prakash Patel, Bachelor of Science in Liberal Arts and Sciences,
Psychology                                                               Christina Jean Su, Bachelor of Science in Liberal Arts and Sciences,
                                                                         Molecular and Cellular Biology
Shree Atul Patel, Bachelor of Science in Liberal Arts and Sciences,
Individual Plans of Study, August 2019                                   Santosh Sudhakar, Bachelor of Science in Liberal Arts and Sciences,
                                                                         Molecular and Cellular Biology and Chemistry, December 2019
Haley Nicole Penkala, Bachelor of Science in Liberal Arts and
Sciences, Molecular and Cellular Biology                                 James Tiao, Bachelor of Science in Accountancy, December 2019;
                                                                         Bachelor of Science in Finance, December 2019
Natalie Christine Pfister, Bachelor of Science in Aerospace
Engineering                                                              Justin C. Tiao, Bachelor of Science in Bioengineering
Broderick Tre Portell, Bachelor of Arts in Liberal Arts and Sciences,    Lucas Trojanowski, Bachelor of Science in Liberal Arts and Sciences,
Economics                                                                Mathematics
Mingkang Qi, Bachelor of Science in Liberal Arts and Sciences,           Chantal Andrea Vaca, Bachelor of Science in Journalism,
Chemistry and Integrative Biology                                        December 2019
Varshini Ramanathan, Bachelor of Science in Liberal Arts and             Abishek Sreeraman Venkit, Bachelor of Science in Electrical
Sciences, Statistics                                                     Engineering
Paul R. Reckamp, Bachelor of Science in Computer Engineering             Megan Frances Voris, Bachelor of Science in Mechanical Engineering
Lyle Regenwetter, Bachelor of Science in Electrical Engineering;         Gabrielle Deanne Walker, Bachelor of Science in Food Science and
Bachelor of Science in Mechanical Engineering                            Human Nutrition
                                                                                                    Exhibit 38 - Page 6 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                                CHANCELLOR’S SCHOLARS




Diane Wei, Bachelor of Science in Liberal Arts and Sciences, Molecular   Marissa Isabel Yanez, Bachelor of Arts in Liberal Arts and Sciences,
and Cellular Biology                                                     English and Creative Writing

Thomas Jordan Weller, Bachelor of Arts in Liberal Arts and Sciences,     Franklin Feihu Ye, Bachelor of Science in Computer Science
History
                                                                         Leah M. Ziolkowski, Bachelor of Science in Food Science and Human
Mackenzie Grace Wells, Bachelor of Science in Animal Sciences            Nutrition; Bachelor of Science in Liberal Arts and Sciences, Chemistry

Christian A. Williams, Bachelor of Science in Mechanical Engineering

Elena M. Wilson, Bachelor of Arts in Liberal Arts and Sciences,
Germanic Studies; Bachelor of Science in Liberal Arts and Sciences,
Molecular and Cellular Biology




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GRADUATE COLLEGE                                                                   2020 COMMENCEMENT AT ILLINOIS




GRADUATES AND CANDIDATES
This list is organized by college, degree    Nicole Susanne Gillotti                 CANDIDATES FOR DEGREES, MAY 16, 2020
and curriculum.                              Aaron James Godwin                       Ivan Ansia Vazquez
                                             Han Byul Jang                            Parker Allen Henley
                                             Jinuk Lee                                Su A Lee
Recipients of multiple degrees have an       Yu-Ying Lee                              Kailiang Li
asterisk (*) after their names.              Benjamin Nichols                         Brooke Nicole Smith
                                             Tomoko Ono
                                             Akira D. Robles                         IN ANTHROPOLOGY
                                             Trent William Shuey                     DEGREES CONFERRED, AUGUST 05, 2019
GRADUATE COLLEGE                             Noel Yitsi Wan                           Alyssa C. Bader
                                             Aaron Christopher Wilbert                Ofira Fuchs
                                             Rebecca Lynn Wilson                      Agnes Sohn Jordan
DOCTOR OF AUDIOLOGY                          Gang Zhu                                DEGREES CONFERRED, DECEMBER 23, 2019
                                             Hanqian Zhu                              Abigail Esenam Asangba
CANDIDATES FOR DEGREES, MAY 16, 2020                                                  Jean T. Larmon
    Ariel Mae Brownlee                      DOCTOR OF PHILOSOPHY                      Amanda Lee
    Jacob Paul Samuel Caravello                                                       Alexandra Jeanette Zachwieja
    Zoe Dinger                              IN ACCOUNTANCY                           CANDIDATES FOR DEGREES, MAY 16, 2020
    Victoria Elizabeth Eschmann             DEGREES CONFERRED, DECEMBER 23, 2019      Maria Fox
    Carolyn Hyo-Jin Jeon                     Ryan M. Hudgins                          Matthew Go
    Kristin M. Johnson                      CANDIDATES FOR DEGREES, MAY 16, 2020      Julie Torres
    Malorie Anne Wagman                      Hansol Jang
                                             Shuyang Wang                            IN ARCHITECTURE
DOCTOR OF EDUCATION                          Jeffrey Owen Williams                   CANDIDATES FOR DEGREES, MAY 16, 2020
                                                                                      Thulasi Ram Khamma
IN EDUCATION POLICY,                        IN AEROSPACE ENGINEERING                  Jaewook Lee
ORGANIZATION AND LEADERSHIP                 DEGREES CONFERRED, AUGUST 05, 2019        Grant Norman Mosey
DEGREES CONFERRED, DECEMBER 23, 2019         Rebecca Foust
                                             Donglei Sun                             IN ART HISTORY
    LaVern Ranita McCants Young
                                            DEGREES CONFERRED, DECEMBER 23, 2019     DEGREES CONFERRED, AUGUST 05, 2019
CANDIDATES FOR DEGREES, MAY 16, 2020                                                  Lauren A. Johnson
    Nicole J. Ball                           Yong Yi Bay
    Sarah Kathleen Dyer                      Michael J. Duffy                        CANDIDATES FOR DEGREES, MAY 16, 2020
    Xiyuan Huang Oesch                       Amal Sahai                               Maria Dorofeeva
    Danielle A. Huff                        CANDIDATES FOR DEGREES, MAY 16, 2020      Susana Rodriguez
    Solomon D. Roberts-Lieb                  Andrea Alberti                          IN ASTRONOMY
    Bradley Patrick Wooten                   Kevin Ui Kim                            DEGREES CONFERRED, DECEMBER 23, 2019
                                             Neil Anil Mehta
IN EDUCATIONAL ORGANIZATION                                                           Taylor Livia Tobin
                                             Aaron Timothy Perry
AND LEADERSHIP                                                                       CANDIDATES FOR DEGREES, MAY 16, 2020
CANDIDATES FOR DEGREES, MAY 16, 2020        IN AGRICULTURAL AND APPLIED               Andrew Wade Nadolski
    Shahe Bagdasarian                       ECONOMICS
                                                                                     IN ATMOSPHERIC SCIENCES
    Christopher Brian Martelli              DEGREES CONFERRED, AUGUST 05, 2019
    Emily Anna Weidner                       Zhangliang Chen                         DEGREES CONFERRED, AUGUST 05, 2019
                                             Anabelle Couleau                         Jake Patrick Mulholland
IN MUSIC EDUCATION                                                                   DEGREES CONFERRED, DECEMBER 23, 2019
                                             Aparna Howlader
DEGREES CONFERRED, DECEMBER 23, 2019         Hemant Kumar Pullabhotla                 Joseph A. Finlon
    Daniel Neuenschwander                    Aditya Shrinivas                        IN BIOCHEMISTRY
                                             Pallavi Shukla
DOCTOR OF MUSICAL ARTS                       Alexander Nishi Stevens                 DEGREES CONFERRED, AUGUST 05, 2019
                                                                                      Amy L. Carruthers
DEGREES CONFERRED, AUGUST 05, 2019          DEGREES CONFERRED, DECEMBER 23, 2019      John S. Khamo
    Reginald Alden Chapman                   Xiao Wang
    Evan Clark
                                                                                     DEGREES CONFERRED, DECEMBER 23, 2019
                                            CANDIDATES FOR DEGREES, MAY 16, 2020      Paola Estrada
    Jason Phillip Gardner                    Nicolas Gatti                            Jeremiah D. Heredia
    Hana Lim
    Yeonwoo Seo                             IN AGRICULTURAL AND BIOLOGICAL            Vishnu Vardhan Krishnamurthy
                                            ENGINEERING                               Robert P. Sparks
    Alie Anne Yorgason
DEGREES CONFERRED, DECEMBER 23, 2019        DEGREES CONFERRED, DECEMBER 23, 2019     CANDIDATES FOR DEGREES, MAY 16, 2020
                                             Vaskar Dahal                             Waqar Arif
    Ashley Michelle Haney
                                             Kevin Nathaniel Wright                   Ez rhodes Coriander Ellis
    Claire Elizabeth Happel Ashe
                                             Yijie Xiong                              Kuan-Yu Lai
    Su Yuon Lee
                                             Ying Zhao                                Payel Mondal
    Shu Liu
                                                                                      Heather Jean Young
    Bora Ryu                                CANDIDATES FOR DEGREES, MAY 16, 2020
    Ricardo Sepulveda Rodriguez              Aersi Aierzhati                         IN BIOENGINEERING
    Jenny Jaeeun Shin                        Chunhwa Jang                            DEGREES CONFERRED, AUGUST 05, 2019
    Long Tao Tang                            Samantha Anne Lindgren                   Anurup Ganguli
    Elizabeth Anne Sheree Trower             Peng Zhang                               Spencer Bruce Mamer
    Taylor Michaela Vulgamore                                                         Shachi Mittal
    Ai Yamaguchi
                                            IN ANIMAL SCIENCES
                                                                                      Kevin Lee Yeh
    Chuanqi Yang                            DEGREES CONFERRED, AUGUST 05, 2019
                                             Ahmed Abdelfattah Ibrahim Elolimy       DEGREES CONFERRED, DECEMBER 23, 2019
CANDIDATES FOR DEGREES, MAY 16, 2020                                                  Sandra Liliana Arias Suarez
                                             Maria Ines Rivelli Bixquert
    Whitney Ashe                                                                      Stefan Dell Gentile
    Seoin Chang                             DEGREES CONFERRED, DECEMBER 23, 2019
                                                                                      Christian James Konopka
    Eun Hae Choi                             Abdulrahman Salem M Alharthi
                                                                                      Phuong Le
    Donny De La Rosa                         Russell Thomas Pate
                                                                                      Sixian You
    Matthew Charles Endres                   Kadeem Anthony Richardson
                                             Momal Sharif
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                                                                                        Exhibit 38 - Page 8 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                          GRADUATE COLLEGE




CANDIDATES FOR DEGREES, MAY 16, 2020    Noah Benjamin Schorr                       Andres Felipe Prada Sepulveda
 Gelson J. Pagandiaz                    Evan P. Vanable                            Priyanka Sarker
 Indrajit Srivastava                    Chih-Cheng Yeh                             Quang Ngoc Vinh Tran
                                        Jinpeng Zhao                               Hao Xu
IN BIOLOGY
                                       DEGREES CONFERRED, DECEMBER 23, 2019       IN CLASSICAL PHILOLOGY
CANDIDATES FOR DEGREES, MAY 16, 2020    Linna An
 Lynette R. Strickland                  Brenda Andrade
                                                                                  DEGREES CONFERRED, AUGUST 05, 2019
                                                                                   Konstantinos Arampapaslis
IN BIOPHYSICS AND COMPUTATIONAL         Tanner Culpitt
                                        Alexander Edwin Doran                     DEGREES CONFERRED, DECEMBER 23, 2019
BIOLOGY
                                        Ruopei Feng                                Jessica Rose Wells
DEGREES CONFERRED, AUGUST 05, 2019
                                        Zachary Kall Goldsmith                    CANDIDATES FOR DEGREES, MAY 16, 2020
 Chaoyi Jin
                                        Drishti Guin                               Stephen Este Paul Froedge
 Alexander S. Moffett
                                        Charles Richmond Markus                    Adam Alexander Kozak
DEGREES CONFERRED, DECEMBER 23, 2019    Andrea Marie Elizabeth Palazzolo Ray       Clayton A. Schroer
 Alexander Barclay                      Minjeong Shin
 Manish Shankla                         Kaili Zhang
                                                                                  IN COMMUNICATION
                                                                                  DEGREES CONFERRED, AUGUST 05, 2019
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                                                                                   Mary Grace Burns Hebert
DEGREES CONFERRED, AUGUST 05, 2019      Krishna Dwaipayana Bharadwaj Anapindi *
                                                                                   Andrea Martinez Gonzalez
 Robert Alfonso Arias                   Chelsea Diane Anorma
                                                                                   David M. Tokarz
 Minjae Lee                             Junfeng Chen
                                                                                   Nikki R. Weickum
 Seung Hoon Lee                         Daniel Dumett Torres
                                        Joseph Franklin Ellis                     DEGREES CONFERRED, DECEMBER 23, 2019
 Anand Ramaswamy Vijayasankaran
                                        Bradley B. Gilbert                         Lillie D. Williamson
 Mengzhou Zhuang
                                        Abigail Joy Halmes                        CANDIDATES FOR DEGREES, MAY 16, 2020
CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Kevin A. Harnden                           Donovan S. Bisbee
 Aaron J. Barnes
                                        Chang He
 Jihyeon Kim
                                        Daniel M. Hofmann                         IN COMMUNICATIONS
 Nan Zhang                                                                        CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Hannah C. Huff
IN CELL AND DEVELOPMENTAL               Sumeng Liu                                 Veronica Lorena Pomata
BIOLOGY                                 Huy Anquoc Nguyen                         IN COMMUNICATIONS AND MEDIA
DEGREES CONFERRED, AUGUST 05, 2019      Joseph Nugent
                                        Marina C. Philip                          DEGREES CONFERRED, AUGUST 05, 2019
 Binhui Zhao                                                                       Ted R. Faust
                                        Lukas Peter Smaga
DEGREES CONFERRED, DECEMBER 23, 2019    Riley L. Svec                              Claudia Paola Lagos Lira
 Syeda Nayab Fatima Abidi                                                         DEGREES CONFERRED, DECEMBER 23, 2019
                                        Meng Wu
 Phillip J. Kenny                                                                  Meghan L. Grosse
                                        Yanhua Xu
CANDIDATES FOR DEGREES, MAY 16, 2020    Xi Zhang                                   Fabian Mauricio Prieto Nanez
 Christopher H. Seward                                                             Edward S. Prutzer
 Qinyu Sun                             IN CIVIL ENGINEERING
                                                                                  CANDIDATES FOR DEGREES, MAY 16, 2020
 Liguo Zhang                           DEGREES CONFERRED, AUGUST 05, 2019          Sungyong Ahn
                                        Yan Ge                                     Diana Leon-Boys
IN CHEMICAL ENGINEERING                 Jeffrey S. Kwang                           Kathy Tian
DEGREES CONFERRED, AUGUST 05, 2019     DEGREES CONFERRED, DECEMBER 23, 2019        Dora Rosenova Valkanova
 Katelyn B. Dahlke
                                        Negin Alemazkoor                           Chamee Yang
 James Stephen Orr
                                        Abdullah Abdulaziz M Alomani
 Pei-Chieh Shih
                                        Qianli Chen                               IN COMMUNITY HEALTH
 Payman Tohidifar                                                                 DEGREES CONFERRED, AUGUST 05, 2019
                                        Yuguang Fu
DEGREES CONFERRED, DECEMBER 23, 2019    Abbas Atef Abbas Hassan                    Jong Cheol Shin
 Hyunjoong Chung                        Bardia Heidari Haratmeh                   CANDIDATES FOR DEGREES, MAY 16, 2020
 Zahra Shamsi                           Thierno I. Kane                            Crina Nicoleta Cotoc
CANDIDATES FOR DEGREES, MAY 16, 2020    Seunggu Kang                               Gina Lorraine Lathan
 William Charles Ballance               Kaijian Liu                                Marcela C. Vizcarra Catalan
 Daniel T. Bregante                     Xiao Ma
 Jee-Wei Emily Chen                     Ozgun Alp Numanoglu                       IN COMPARATIVE LITERATURE
 Ching-Wei Lee *                        Sami Pant                                 DEGREES CONFERRED, AUGUST 05, 2019
 Ge Qu                                  Sushobhan Sen                              Estibalitz Ezkerra Vegas
 Dylan Walsh                            Seyed Majid Shafiee Jood                  DEGREES CONFERRED, DECEMBER 23, 2019
                                        Yu Song                                    Richard Nelson Sanders
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DEGREES CONFERRED, AUGUST 05, 2019      Brandon Zhao Wang
 Max A. Verkamp
                                                                                  CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Bin Zhang                                  Ethan Madarieta
IN CHEMISTRY                            Hang Zhao
                                        Lixing Zhu                                IN COMPUTER SCIENCE
DEGREES CONFERRED, AUGUST 05, 2019
 Soumitra Athavale                     CANDIDATES FOR DEGREES, MAY 16, 2020       DEGREES CONFERRED, AUGUST 05, 2019
                                        Louis Byron Bartels                        Sangeetha Abdu Jyothi
 Kimberly Lundberg Bassett
                                        Huseyin Boler                              Carmen Cheh
 Huei-Huei Chang
                                        Josue Cesar Bastos                         Hyun Duk Cho
 Corryn Elizabeth Neumann Chini
                                        Robbie M. Damiani                          Ashutosh Makrand Dhekne
 Lisa A. Della Ripa
                                        Heena Dhasmana                             Nikoli Joseph Dryden
 Michael J. Drummond
                                        Brian A. Eick                              Casey R. Hanson
 Manali Ghosh
                                        Elyas Goli                                 Silu Huang
 Samuel N. Gockel
                                        Wenting Hou                                Ha Kyung Kong
 Tyler Lytle
                                        Nicole D. Jackson                          Yi-Zong Ou
 Kali A. Miller
                                        Jane Lee                                   Guliz Seray Tuncay
 Christopher C. Pattillo
                                        Haoyang Li                                 Chuhang Zou
 Kevin A. Robb
 Ryan Rooney                            Eun Hyun Park
 Elizabeth S. Ryland                    Antoine Michel Alain Petit


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GRADUATE COLLEGE                                                              2020 COMMENCEMENT AT ILLINOIS




DEGREES CONFERRED, DECEMBER 23, 2019   IN ECOLOGY, EVOLUTION, AND               CANDIDATES FOR DEGREES, MAY 16, 2020
 Mohammad Babaeizadeh                  CONSERVATION BIOLOGY                      Xiao Li
 Alex B. Brooks                        DEGREES CONFERRED, AUGUST 05, 2019        Adnan Rebei
 Paul R. Eller                          Miles Kuiling Bensky
 Motahareh Eslamimehdiabadi
                                                                                IN ELECTRICAL AND COMPUTER
                                        Alexander Krichels                      ENGINEERING
 Faraz Faghri                           Tara Elizabeth Stewart Merrill
 Jongdeog Lee                                                                   DEGREES CONFERRED, AUGUST 05, 2019
                                        Dalon Paul White
 Owolabi Olakunle Legunsen                                                       Wenda Chen
 Sihan Li
                                       DEGREES CONFERRED, DECEMBER 23, 2019      Bryan Alexander Clifford
                                        Kelsey M. Low                            Jianxiong Gao
 Xueqing Liu
 Ismini Lourentzou                     CANDIDATES FOR DEGREES, MAY 16, 2020      Mohammad Mahfuzul Kabir
 Kent Quanrud                           Shay Akil McLean                         Pan Li
 Andrew R. Reisner                      Alida de Flamingh                        Yi Liang
 Jason James Rock                                                                Aiyin Liu
                                       IN ECONOMICS                              Debjit Pal
 Shambwaditya Saha
 Jingbo Shang                          DEGREES CONFERRED, AUGUST 05, 2019        Collin M. Reiman
 Stephen R. Skeirik                     Ryan R. Cumings                          Daewon Seo
 Pranjal Vachaspati                     Chitra Jogani                            Andrew R. Stillwell
 Mateusz Michal Wala                    David Quigley                            Bradley J. Thompson
 Mengjia Yan                           DEGREES CONFERRED, DECEMBER 23, 2019      Da Wei
 Yiran Zhao                             Yue Wu                                   Sang Min Won
CANDIDATES FOR DEGREES, MAY 16, 2020    Meysam Zare                              Hanchen Xu
 Shegufta Bakht Ahsan                  CANDIDATES FOR DEGREES, MAY 16, 2020     DEGREES CONFERRED, DECEMBER 23, 2019
 Sandeep Dasgupta                       Maria Natalia Cantet                     Khaled Mohammed A Alshehri
 Aditya Rajiv Deshpande                 Hee Pyung Cho                            Christopher Brandon Barth
 William Barrett Dietz                  Brian Hugo Feld                          Yuheng Bu
 Ahmed El-Kishky                        Isabel Ferraz Musse                      Wonsik Choi
 Tanmay Gupta                           Yi Huang                                 Ryan Michael Corey
 Sayed Hadi Hashemi                     Whayoung Jung                            Qing Ding
 Farzaneh Khajouei                      Bongjun Kim                              Chuchu Fan
 Zhizhong Li                            Juan Sebastian Felipe Munoz Morales      Jason A. Galtieri
 Yunhui Long                            Jacob E. Vogler                          Weihao Gao
 Kanika Narang                                                                   Yin Huang
                                       IN EDUCATION POLICY,                      Dongwook Kim
 Santhosh Prabhu Muraleedhara Prabhu   ORGANIZATION AND LEADERSHIP
 Sajjadur Rahman                                                                 Rakesh Kumar
 Tarique Ashraf Siddiqui               DEGREES CONFERRED, AUGUST 05, 2019        Ruochen Lu
 Helen Catherine Wauck                  Sheri Katherine Lewis                    Jiaqi Mu
 Liqi Xu                               DEGREES CONFERRED, DECEMBER 23, 2019      Qiang Ning
 Tuo Yu                                 Adam P. Rusch                            John Outwater
                                       CANDIDATES FOR DEGREES, MAY 16, 2020      Sehyun Park
IN CROP SCIENCES                                                                 Luke A. Pfister
                                        Raghida Abdallah Yassine
DEGREES CONFERRED, AUGUST 05, 2019      ArCasia Deaon James-Gallaway             Junyi Qiu
 Laura A. Chatham                       Chaddrick Donavan James-Gallaway         Muhammed Omer Sayin
 James J. DeDecker                      Devean Racquel Owens                     Sheng Shen
DEGREES CONFERRED, DECEMBER 23, 2019    Adrienne Nicole Pickett                  Oluwayemisi Abolaji Sonoiki
 Christina Elizabeth Fliege             Emily R. Teitelbaum                      Hee Jun Yang
 Pradeepa Hirannaiah                                                             Yansong Yang
 Michelle L. Pawlowski                 IN EDUCATIONAL ORGANIZATION               Andy Keehoon Yoon
 Ronald Scott Revord                   AND LEADERSHIP                            Madi Zholbaryssov
 Ahmed Sadeque                         DEGREES CONFERRED, AUGUST 05, 2019       CANDIDATES FOR DEGREES, MAY 16, 2020
 Nirmal Sharma                          Melissa Allison Newell                   Shaneen Fujie Braswell
CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, DECEMBER 23, 2019      Michael G. Breen
 Parthiban Thathapalli Prakash          Iris Jun Smith                           Dipanjan Das
 Colleen Renee Zumpf                   CANDIDATES FOR DEGREES, MAY 16, 2020      Harshil Dave
                                        Jennifer Anne Smist                      Ahmed Safwat Mohamed Aboelenein Elmallah
IN CURRICULUM AND INSTRUCTION                                                    Thomas Peter Foulkes
DEGREES CONFERRED, AUGUST 05, 2019     IN EDUCATIONAL POLICY STUDIES             Tianqi Gao
 Sarah Marie Durst                     DEGREES CONFERRED, AUGUST 05, 2019        Hongyu Gong
 Saadeddine Shehab                      Ga Young Chung                           Sujan Kumar Gonugondla
 Lisa Susanne Skultety                  Katherine K. Jo                          Jonathan Edward Hoff
DEGREES CONFERRED, DECEMBER 23, 2019    Sergio Alejandro Poo Dalidet             Qinglan Huang
 Maria G. Lang                          Saturnino Hollis Rodriguez               Fawad Hassan Ismail
 Nakyung Yoon                          DEGREES CONFERRED, DECEMBER 23, 2019      Cara Yang Kataria
                                        Jacob Babu Chacko                        Amr Tarek Ahmed Abdelrazik Khashaba
CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Shana Nicole Riddick                     Hsuan-Ping Lee
 Stanley Bell
                                                                                 Chun Xun Lin
 Tanya Espinosa Cordoba                CANDIDATES FOR DEGREES, MAY 16, 2020      Jialun Liu
 Nitasha Mathayas                       Dinah G. Armstead                        Richard Liu
 Vivian Elizabeth Presiado              Shaunita Josephine Levison               Shenyu Liu
 James Joseph Sosnowski                 Mbhekiseni Lawrence Madela               Xiao Ma
IN EAST ASIAN LANGUAGES AND             Abdullah Kh J M A Mansoor                Wyatt Spalding McAllister
                                        Alicia Renee Robinson
CULTURES                                                                         Karim Moataz Mohamed Mahmoud Ali Megawer
DEGREES CONFERRED, DECEMBER 23, 2019   IN EDUCATIONAL PSYCHOLOGY                 Timir Nandi
 Yun Young Hur                         DEGREES CONFERRED, AUGUST 05, 2019        Kihoon Park
                                        Arielle Alicia Brown                     Yasser Hussein Shalabi
                                        Dawn Marie Brown                         Pallavi Sharma
                                        Matthew Terrence King                    Rui Su
                                        Jessamyn G. Perlus
                                                                                Exhibit 38 - Page 10 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                      GRADUATE COLLEGE




 Benjamin E. Ujcich                    IN FRENCH                              DEGREES CONFERRED, DECEMBER 23, 2019
 Jiahui Yu                             CANDIDATES FOR DEGREES, MAY 16, 2020    Shuanglong Wang
 Junheng Zhu                            Camille Anne Sarah Meritan            CANDIDATES FOR DEGREES, MAY 16, 2020
IN ENGLISH                              Gyula Zsombok                          Hyeongmin Han
DEGREES CONFERRED, AUGUST 05, 2019     IN GEOGRAPHY                           IN INFORMATICS
 Melissa Kaye Forbes                   DEGREES CONFERRED, AUGUST 05, 2019     DEGREES CONFERRED, AUGUST 05, 2019
 Coral Lumbley                          Elizabeth Breyer                       Jarai J. Carter
 Michelle Marie Martinez                Rebecca M. Shakespeare                 Usawadee Chaiprom
 Katherine R. Norcross                                                         Daniel Paul Wickland
 Chae Yoon Park                        DEGREES CONFERRED, DECEMBER 23, 2019
                                        Yaping Cai                             Sean Alexander Wilner
 Michael Douglas Shetina
 Wendy Jane Truran                      Li Xu                                 DEGREES CONFERRED, DECEMBER 23, 2019
 Sara M. Weisweaver                     Dandong Yin                            Halie M. Rando
DEGREES CONFERRED, DECEMBER 23, 2019   CANDIDATES FOR DEGREES, MAY 16, 2020   CANDIDATES FOR DEGREES, MAY 16, 2020
 Carrie N. Dickison                     Zhuo Chen                              Acton H. Gorton
 Alexandra Joy Paterson                 Luis Alfonso Escobedo Paredes          Fizza Mughal
 Thierry Ramais                         Melissa Heil                           Siva Ratna Kumari Narisetti
 Edward Jordan Sellers                  Arrianna Marie C. Planey               Justin Taylor Pence
                                        Donald Anthony Planey                  Mikko Sakari Tuomela
CANDIDATES FOR DEGREES, MAY 16, 2020
 Evin Scott Groundwater                IN GEOLOGY                             IN KINESIOLOGY
 Annie K. Kelvie                       CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, AUGUST 05, 2019
 Lawrence Joseph Sklaney                Haley E. Cabaniss                      Yvette Danielle Castaneda
IN ENTOMOLOGY                           Michael Sanderson Delucia              Chad M. Killian
                                        Nicole Marie Fernandez-Franzan         Daniel E. Palac
DEGREES CONFERRED, AUGUST 05, 2019      Yuchen Liu                             Jong Hun Sung
 Nathalie Johana Baena Bejarano         Yi Yang                                Tyler Allen Wood
 Mark R. Demkovich
 Tanya Josek                           IN HISTORY                             DEGREES CONFERRED, DECEMBER 23, 2019
 Allison Parker                                                                Matthew Darren Adamson
                                       DEGREES CONFERRED, AUGUST 05, 2019      Tiffany A. Bullard
DEGREES CONFERRED, DECEMBER 23, 2019    Benjamin Daniel Bamberger              Andrew Kai-Wei Hua
 Todd David Johnson                     Marilia Correa Kuyumjian
                                        Lydia Crafts                          CANDIDATES FOR DEGREES, MAY 16, 2020
CANDIDATES FOR DEGREES, MAY 16, 2020                                           Jeremy Maurice Butler
 Elijah Omondi Juma                     Beth Eby
                                        Anca Maria Mandru                      Svyatoslav Victorovich Dvoretskiy
IN ENVIRONMENTAL ENGINEERING IN         John Carlos Castillo Marquez          IN LANDSCAPE ARCHITECTURE
CIVIL ENGINEERING                       Christine N. Peralta
                                                                              DEGREES CONFERRED, DECEMBER 23, 2019
DEGREES CONFERRED, AUGUST 05, 2019      Zachary J. Riebeling
                                                                               Xiangrong Jiang
 Josue Alejandro Lopez Berganza         Robert M. Rouphail
                                                                               Jennifer Lynn Thomas
 Brian D. Shoener                       Nathan T. Tye
 John T. Trimmer                                                              CANDIDATES FOR DEGREES, MAY 16, 2020
                                       DEGREES CONFERRED, DECEMBER 23, 2019    Yexuan Gu
 Cheryl Lynn Weyant                     Katherine Rebecca Godwin
                                                                               Amir Mohammed Habibullah
DEGREES CONFERRED, DECEMBER 23, 2019   CANDIDATES FOR DEGREES, MAY 16, 2020
 Yijue Diao                             Raquel Escobar                        IN LIBRARY AND INFORMATION
 Miyu Fuzawa                            Stefan D. Kosovych                    SCIENCE
 Steven Hand                            Ethan E. Larson                       DEGREES CONFERRED, AUGUST 05, 2019
 Peng Sun                               Augustus C. Wood                       Paige Danielle Cunningham
 Tianye Sun                                                                    Jimi Lee Jones
                                       IN HUMAN DEVELOPMENT AND                Adam Kyle Kehoe
CANDIDATES FOR DEGREES, MAY 16, 2020
 Diana Marie Byrne
                                       FAMILY STUDIES
                                                                              DEGREES CONFERRED, DECEMBER 23, 2019
                                       DEGREES CONFERRED, DECEMBER 23, 2019    Jacob Guy Jett
IN FINANCE                              Gina McGovern
                                                                               Garrick T. Sherman
DEGREES CONFERRED, AUGUST 05, 2019     CANDIDATES FOR DEGREES, MAY 16, 2020
 Ruidi Huang                                                                  CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Xi Chen *
 Eunji Oh                                                                      Shubhanshu Mishra
CANDIDATES FOR DEGREES, MAY 16, 2020
                                       IN HUMAN RESOURCE EDUCATION             Aiko Takazawa
 Sulaiman H S B Y AlBader              DEGREES CONFERRED, AUGUST 05, 2019     IN LINGUISTICS
 Meng Gao                               Fahad O R Albeshri
                                                                              DEGREES CONFERRED, AUGUST 05, 2019
 Chao Zi                                Yoo Min Lee
                                                                               Sarah Ellen Johnson
                                       DEGREES CONFERRED, DECEMBER 23, 2019    Myeong Hyeon Kim
IN FOOD SCIENCE AND HUMAN               Anne Namatsi Lutomia
NUTRITION                                                                     DEGREES CONFERRED, DECEMBER 23, 2019
                                       CANDIDATES FOR DEGREES, MAY 16, 2020    Eun Hee Kim
DEGREES CONFERRED, AUGUST 05, 2019      Kelly Best
 Luis Alberto Ibarra Sanchez                                                   Benjamin Philip Weissman
                                        Jacquelyn Jenee Flowers
 Ozan Kahraman                          Boreum Ju                             IN MATERIALS SCIENCE AND
 Eylem Kulkoyluoglu Cotul               Seohyun Claire Wong                   ENGINEERING
DEGREES CONFERRED, DECEMBER 23, 2019                                          DEGREES CONFERRED, AUGUST 05, 2019
 Jaewon Lee                            IN HUMAN RESOURCES AND                  Daniel Aaron Bacon-Brown
 Ru Shen                               INDUSTRIAL RELATIONS                    Gowtham Sriram Jawaharram
 Xueqian Shi                           DEGREES CONFERRED, DECEMBER 23, 2019    Siddharth Krishnan
CANDIDATES FOR DEGREES, MAY 16, 2020    Sunjin Pak                             Shuqi Lai
 Cheng Chen                            CANDIDATES FOR DEGREES, MAY 16, 2020    Scott James McCormack
 Sylvia Lane Crowder                    Brandon Carlyle Grant                  Yuecheng Zhou
 Justine Mary Karduck                   Yun Kyoung Kim                        DEGREES CONFERRED, DECEMBER 23, 2019
 Emely Cristina Lopez Barrera                                                  Joseph C. Flanagan
 Ashley Oyirifi
                                       IN INDUSTRIAL ENGINEERING
                                                                               Anthony S. Griffin
 Liang Sun                             DEGREES CONFERRED, AUGUST 05, 2019      Abhinav Jain
 Anna West Waller                       Dedy Suryadi                           Zhelong Jiang
                                        Haohua Wan
                                                                               Exhibit 38 - Page 11 of 76
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 Hyojung Kim                            Sung Eun Kim                            CANDIDATES FOR DEGREES, MAY 16, 2020
 Cheng-Wei Lee                          Timothy H. Lee                           Roberta Afonso
 Joshua Anthony Leveillee               Xiao Li                                  Ethan Jonathan Kessler
 Yi Pei                                 Yang Li
 Ella Kartika Putihprayogi Pek          Li Lu                                   IN NEUROSCIENCE
 Ellen C. Qin                           Ketan Mittal                            DEGREES CONFERRED, AUGUST 05, 2019
 Steven Phillip Rogers                  Noel M. Naughton                         Kevin William Christie
 Aram Yoon                              Steven Snyder                            Stephen Andrew Fleming
 Shiyan Zhang                           Krishnan Swaminathan-Gopalan             Sung-Soo Jang
CANDIDATES FOR DEGREES, MAY 16, 2020    Rong Yu                                  Grace Sooyeon Kim
 Songsong Li                            Xiao Zhang                              DEGREES CONFERRED, DECEMBER 23, 2019
 Chaoyang Liu                          CANDIDATES FOR DEGREES, MAY 16, 2020      Kelsey Lynne Clancy Dzwilewski
 Binbin Luo                             Diab W D Abueidda                        Kristen M. Flatt
 Jaba Mitra                             Hyeongyun Cha                            Noelle Pearl James
 Shannon Elizabeth Murray               Ping-Ju Chen                             Dai-Chi Liu
 Zihao Ou                               Zhelin Chen                              Francheska Marie Merced-Nieves
 Andrew J. Steveson *                   Purnima Ghale                            Joachim Thomas Operskalski
 Kuo-Pin Tseng                          Ram Sai Gorugantu                       CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Seyedehzahra Hosseinisarani              Jiang Li
IN MATHEMATICS                          Nishana Ismail                           Ghazal Naseri Kouzehgarani *
DEGREES CONFERRED, AUGUST 05, 2019      Seth M. Kenkel
 Xinghua Gao                            Jiho Kim                                IN NUCLEAR, PLASMA, AND
 Kalliopi Paolina Koutsaki              Nam-Hoon Kim                            RADIOLOGICAL ENGINEERING
 Marissa Kawehi Loving                  Sunphil Kim                             DEGREES CONFERRED, AUGUST 05, 2019
 Ruth Luo                               Juyoung Leem                             Zhikun Cai
 Dileep D. Menon                        Jun Li                                   Pawel Andrzej Piotrowicz
 Elizabeth C. Merriman                  Mingwu Li                               DEGREES CONFERRED, DECEMBER 23, 2019
 Travis Nell                            Jacob Lee Meyer                          Mark M. Kamuda
 Malik Obeidin                          Kyungwook Min                            Vineet Kumar
 Matej Penciak                          Inkyu Oh                                 Majdi Ibrahim Ahmad Radaideh
 Vanessa Rivera Quinones                Jun Kyu Park                             Nathan P. Walter
 Shiyu Shen                             Donggyu Benjamin Sohn
 Yun Shi                                                                        CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Hyunggwi Song                            Katherine C. Hepler
 Scott Robert Tichenor                  Louis Louw Steytler
 Minh Chieu Tran                                                                 Min-Tsung Kao
                                        Keong Han Yong                           Mohan Li
 Derrek J D Yager                       Jaehyung Yu                              Matthew Michael Szott
DEGREES CONFERRED, DECEMBER 23, 2019    Jingwei Zhu                              Chen Wang *
 Siraprapa Rawig
 Arnold J. Schmidt
                                       IN MICROBIOLOGY                          IN NUTRITIONAL SCIENCES
                                       DEGREES CONFERRED, AUGUST 05, 2019       DEGREES CONFERRED, AUGUST 05, 2019
CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Elizabeth Eileen Haywood                 Lauren Killian
 Iftikhar Ahmed
                                        Kyungsub Kim
 Alexander Jason Dunn                                                           DEGREES CONFERRED, DECEMBER 23, 2019
 Martino Fassina                       DEGREES CONFERRED, DECEMBER 23, 2019      Lucy Jane Mailing
 Elizabeth C. Field                     Muhammad Shafiul Azam                    Laura Allison Moody
 Christopher J. Gartland                Alisa M. King
                                                                                CANDIDATES FOR DEGREES, MAY 16, 2020
 Terence Lee John Harris               CANDIDATES FOR DEGREES, MAY 16, 2020      Caitlyn Grace Edwards
 Stefanie Klajbor-Goderich              Colleen Marion Bianco                    Bridget Ann Hannon
 Lina Li                                Kyle P. Grim                             Ching-Yen Lin
 Xiao Li                                Alexander Palmer                         Joe Lee Rowles
 Christopher Linden
 Nigel Adam Pynn-Coates
                                       IN MOLECULAR AND INTEGRATIVE             IN PHILOSOPHY
 Fernando Yahdiel Roman-Garcia         PHYSIOLOGY
                                                                                DEGREES CONFERRED, AUGUST 05, 2019
 Lan Wang                              DEGREES CONFERRED, AUGUST 05, 2019        Addison C. Ellis
 Ningchuan Zhang                        Hanna Lynne Erickson
                                        Bhoomika Mathur                         DEGREES CONFERRED, DECEMBER 23, 2019
IN MECHANICAL ENGINEERING               Alison Marie Neff                        Steven Fong-Yi Lee
DEGREES CONFERRED, AUGUST 05, 2019                                               Steven D. Rokosz
                                       DEGREES CONFERRED, DECEMBER 23, 2019
 Gaurav Chaudhary                       Jiuhe Zhu                               CANDIDATES FOR DEGREES, MAY 16, 2020
 Rebecca Eve Corman                                                              James Keller
                                       CANDIDATES FOR DEGREES, MAY 16, 2020      Daniel William Meyer
 William Allen Davies
                                        Sisi He
 Mohamed M Rashad Ibrahim Elhebeary
                                        Jessica Jia-Wen Saw                     IN PHYSICS
 Yaqing Jin
                                        Bingtao Tang                            DEGREES CONFERRED, AUGUST 05, 2019
 JunHwan Kim
 Hua-Wei Ko                            IN MUSIC EDUCATION                        Markus J. Atkinson
 Woowon Lee                                                                      Jackson Richard Fliss
                                       CANDIDATES FOR DEGREES, MAY 16, 2020      Brianne Nicole Gutmann
 Thiago Marinho                         Matthew Christopher Fiorentino
 Venkat Pavan Nemani                                                             David Robert Hamilton
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 Shantanu Shashank Shahane             CANDIDATES FOR DEGREES, MAY 16, 2020      Suraj Shankaranarayana Hegde
 Piyush Kumar Singh                     Frederick Thornton Miller                Robert S. Heitz
 Amirhossein Taghvaei                                                            Ashwathi Iyer Anantha Krishnan
 Cheng-Min Yang                        IN NATURAL RESOURCES AND                  Dmitrii Kochkov
 Kaihao Zhang                          ENVIRONMENTAL SCIENCES                    Jia Gloria Lee
                                       DEGREES CONFERRED, AUGUST 05, 2019        Louis William McFaul
DEGREES CONFERRED, DECEMBER 23, 2019                                             Harry Foster Mickalide
 Sihan Chen                             Nicole Marie Evans
                                        Daniel Bryan Johnson                     Melinda Sue Rak
 Shankar Anand Deka
                                                                                 Thomas M. Rao
 Naheed Ferdous                        DEGREES CONFERRED, DECEMBER 23, 2019
                                                                                 Mohammed A. Sheikh
 Muhammad Umer Huzaifa                  Jason M. Gleditsch
                                                                                 Yifan Song
                                        Sasha J. Tetzlaff
                                        Xiaohan Zhang *
                                                                                 Exhibit 38 - Page 12 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                     GRADUATE COLLEGE




DEGREES CONFERRED, DECEMBER 23, 2019   IN RECREATION, SPORT AND               IN SYSTEMS AND ENTREPRENEURIAL
 Brian Mao Busemeyer                   TOURISM                                ENGINEERING
 Angela Quanling Chen                  CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, AUGUST 05, 2019
 Yizhi Fang                             Allison J. Musser                      Sree Shankar Satheesh Babu
 David T. Fraebel                       Kerri R. Schiller
 Courtney Krafczyk
                                                                              DEGREES CONFERRED, DECEMBER 23, 2019
                                       IN REGIONAL PLANNING                    Danny John Lohan
 Eric John Meier
                                                                               Gaurav Singh
 William Nathan Morong                 CANDIDATES FOR DEGREES, MAY 16, 2020
 Akshat Puri                            Sergio Andres Contreras Pinto         CANDIDATES FOR DEGREES, MAY 16, 2020
 Dalmau Reig-I-Plessis                  Stephen Averill Sherman                Shrey Pareek
 Leslie Ann Ross                                                               Sree Kalyan Patiballa
 Nicholas Alexei Sherer                IN SLAVIC LANGUAGES AND                 Naveen Kumar Sankaran
                                       LITERATURES                             Naveen Kumar Uppalapati
CANDIDATES FOR DEGREES, MAY 16, 2020
 Katherine A. Ansell                   DEGREES CONFERRED, AUGUST 05, 2019     IN THEORETICAL AND APPLIED
                                        Marina Filipovic
 Angela Maria Barragan Diaz                                                   MECHANICS
 Huacheng Cai                          DEGREES CONFERRED, DECEMBER 23, 2019   DEGREES CONFERRED, DECEMBER 23, 2019
 Shu Chen                               Jasmina Savic
                                                                               Jonathan Berchmans William Bunyan
 Alex Ilieff Finnegan
                                       IN SOCIAL WORK                          Timothy Andrew Smith
 Stephen Thomas Gill
 Joseph Andrew Hlevyack                DEGREES CONFERRED, AUGUST 05, 2019     CANDIDATES FOR DEGREES, MAY 16, 2020
 Sean T. Howard                         Yang Wang *                            Jin Tae Kim
 Kin Lam                               CANDIDATES FOR DEGREES, MAY 16, 2020    Xiaoyi Lu
 Nicholas Laracuente                    Kyle M. Bennett                        Fereshteh Alsadat Sabet
 Yulia Maximenko                        Kelly Lynn Clary                       Shikhar Mohan
 Seyyedehrezvan Shahoei                 Shuo Xu                                Sicong Wu
 John Yukio Yoritomo
                                       IN SOCIOLOGY                           IN VETERINARY MEDICAL SCIENCE -
 Matt Zhang                                                                   COMPARATIVE BIOSCIENCES
                                       DEGREES CONFERRED, DECEMBER 23, 2019
IN PLANT BIOLOGY                        Ashley Colleen Feely Hutson           DEGREES CONFERRED, AUGUST 05, 2019
DEGREES CONFERRED, AUGUST 05, 2019      Rebecca L. Morrow                      Robyn Elliene Ellerbrock
 Joseph Napier                         CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, DECEMBER 23, 2019
 Daniel Bruce Raudabaugh                Matthew Jerome Schneider               Catheryne L. Chiang
DEGREES CONFERRED, DECEMBER 23, 2019    Liqun Zeng                            IN VETERINARY MEDICAL SCIENCE -
 Darshi Banan                                                                 PATHOBIOLOGY
 Julie K. Nguyen
                                       IN SPANISH
                                       DEGREES CONFERRED, AUGUST 05, 2019     DEGREES CONFERRED, AUGUST 05, 2019
CANDIDATES FOR DEGREES, MAY 16, 2020                                           Jingjun Lin
                                        Adrian Bello Uriarte
 Nicholas Jennings Delucia                                                     Daniel B. Woodburn
                                        Sara Auxiliadora Fernandez Cuenca
 Kavya Kannan
                                        Liz Karine Moreno Chuquen             DEGREES CONFERRED, DECEMBER 23, 2019
 Christopher M. Montes
                                       DEGREES CONFERRED, DECEMBER 23, 2019    Maya Patrice Scott
 Jessica Marie Wedow
                                        Sara Ann Mason
IN POLITICAL SCIENCE                    Noelia Sanchez-Walker                 DOCTOR OF THE SCIENCE
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 Jillian E. Evans                       Teresa M. Greppi                       Carlos Andres Delvasto Perdomo
 Tyler Joseph Pack                      Ane Icardo Isasa                       Hailong Jia
DEGREES CONFERRED, DECEMBER 23, 2019    Monica E. Lugo Velez
 Peter John Chereson                    Cristina Mostacero Pinilla            ARTIST DIPLOMA
CANDIDATES FOR DEGREES, MAY 16, 2020    Juan Andres Suarez Ontaneda
 Michael B. Uhall                                                             DEGREES CONFERRED, DECEMBER 23, 2019
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IN PSYCHOLOGY                          DEGREES CONFERRED, AUGUST 05, 2019      Areum Park
DEGREES CONFERRED, AUGUST 05, 2019      Shari Lynne Hopkins                   CANDIDATES FOR DEGREES, MAY 16, 2020
 Mona Ayoub                            DEGREES CONFERRED, DECEMBER 23, 2019    Jiaxin Lin
 Michael Llewellyn Griffin              Hsiu-Wen Yang                          Trevor Allyn Thompson
 Alice B. Huang                        CANDIDATES FOR DEGREES, MAY 16, 2020
 Michael David Kruepke                  Christopher Cormier                   CERTIFICATE OF ADVANCED
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                                        Suzanne Lee                           STUDY
                                        Kristina Rios
 Yara Mekawi                                                                  IN CURRICULUM AND INSTRUCTION
 Suvarna Vinod Menon                   IN SPEECH AND HEARING SCIENCE
                                                                              CANDIDATES FOR DEGREES, MAY 16, 2020
 Maria Martinovna Robinson             CANDIDATES FOR DEGREES, MAY 16, 2020
                                                                               Kathryn Marie Brown
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 Christian Williams                                                           IN EDUCATION POLICY,
                                       IN STATISTICS
DEGREES CONFERRED, DECEMBER 23, 2019                                          ORGANIZATION AND LEADERSHIP
                                       DEGREES CONFERRED, AUGUST 05, 2019
 Faaiza Fayyaz Khan                                                           DEGREES CONFERRED, DECEMBER 23, 2019
                                        Michael Gordon Nute
 Tania Suet Ling Kong                                                          Jennifer S. Eggert
                                        Fei Xue
 Zhiyuan Wang                                                                 CANDIDATES FOR DEGREES, MAY 16, 2020
                                       DEGREES CONFERRED, DECEMBER 23, 2019
CANDIDATES FOR DEGREES, MAY 16, 2020                                           Mykah Renee Lee Jackson
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 Melody Paula Buyukozer Dawkins
 Evan Garrett Center
                                        Albert Xingyi Man                     IN LIBRARY AND INFORMATION
 Alexis Victoria Hanna                 CANDIDATES FOR DEGREES, MAY 16, 2020   SCIENCE
 Anna M. Madison                        Yinyin Chen                           DEGREES CONFERRED, DECEMBER 23, 2019
 Katherine Miller Wood                  Xinming Yang                           Alec Veda
                                        Yubai Yuan                            CANDIDATES FOR DEGREES, MAY 16, 2020
                                                                               Amy C. Brokaw
                                                                               Zhonghong Wang
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GRADUATE COLLEGE                                                       2020 COMMENCEMENT AT ILLINOIS




MASTER OF ACCOUNTING                   Emily Samantha Kramer              Shihan Tian
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SCIENCE                                Alex Kwok                          Jiaxin Tu
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 Qiwei Wang                            Jun Young Kwon                     Michael Edward Turek *
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 Yue Qiu                               Byung Yoon Lee                     Aditya Kapil Venkitarama
                                       Kerong Li                          Alyssa N. Walsh
CANDIDATES FOR DEGREES, MAY 16, 2020
                                       Mengyang Li *                      Di Wang *
 Ziv Abergel
                                       Rang Li                            Ruoning Wang
 Andrew David Allen
                                       Wenyulin Li                        Tianyi Wang
 Alexis Adan Alvarez
                                       Xiahe Li                           Xinran Wang
 Craig Robert Angelbeck
                                       Xiongjie Li                        Ziyu Wang
 Karina V. Arroyo
                                       Mark William Lincoln               Caleb William Weise
 Joshua David Mahon Bagger
                                       Shaoyu Liu                         John William Wester
 Gregory Louis Barlow
                                       Xin Liu                            Nicholas Junhee Whang
 Eric Carl Barone
                                       Yuanzhen Liu                       Darion Lamar Wiggs
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                                       Katherine Elizabeth Lomas          Amanda Nichole Wilkins
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                                       Yupeng Long                        Jesse Louis Wilson
 Emily Christine Bedard
                                       Shu Ming Loo                       Tyler S. Wong
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                                       Jaime Lopez                        Robin A. Wood
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                                       Louis Luan                         Samuel Virgil Wortman
 Cole Patrick Berry
                                       Albino I. Lucero                   Haoran Wu
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                                       Hanshen Ma                         Yingyi Wu
 Christopher R. Billing
                                       Jessica Stella Ma                  Ting Ying
 Jennifer Lynn Boals
                                       Kevin Paul Marcotte                Max Henry Yusim
 Justyna Borowski *
                                       Anthony Thomas Martin              Lucy Elizabeth Zeng
 Jessica Rosalyn Brady
                                       Stephanie C. Mbi                   Xiaolin Zeng
 Logan John Cailteux
                                       Jakob Elijah McLaughlin            Jiahui Zhang
 Robert Thomas Carlos
                                       Daniel Brendan McNamee             Linjie Zhang
 Giscela Carrillo
                                       Qian Meng                          Yaoyu Zhang
 Lauren Marie Carter
                                       Josie W. Moy                       Lin Zhao
 Adriana M. Casali
                                       Maripaz Munoz                      Shuoran Zhao
 Karan Chellani
                                       Brian Raymond Murphy               Yuewei Zhao
 Daisy Wenjing Chen
                                       Pratheek Muvva                     Peiwen Zheng
 Lin Yuhui Chen
                                       Marc Louis Torres Natividad *      Jennifer Zhong
 Yimin Chen *
                                       Robert Nicholas Navarro            Andy L. Zhou
 Toni Hiutung Cheng
                                       Ryan Joseph Nilles                 Joshua Logan Zumdahl
 Elizabeth Anne Chmelik
                                       Maggie Claire O’Brien
 Shadae O. Clarke
 Colleen Elizabeth Coyle
                                       Peyton Diane O’Neill              MASTER OF ANIMAL SCIENCES
                                       Elena Rose Ochoa
 Matthew John Cummings                                                   DEGREES CONFERRED, AUGUST 05, 2019
                                       Jacob Craig Overton
 Tomislav Josip Cuvalo                                                    Matthew Nicholas Vardas
                                       Jose Enrique Palomo
 Haley Kathleen Daggett                                                  CANDIDATES FOR DEGREES, MAY 16, 2020
                                       Yanjun Pan
 Justin Chase Uy Daoey                                                    Geoffrey Taylor Carangal Carney
                                       Anthony Robert Paoli
 Mitchell J. Darabaris                                                    Carra Gray
                                       Sarah Irene Pitzaferro
 Rohit Das                                                                Gina Anne Guthrie
                                       Hao Qin
 Dino Pasquale DeVivo                                                     Leigha Ann Maree Johnson
                                       Carissa Dee Rice
 Yihui Ding                                                               Yvonne Marie O’Rourke
                                       Jairon Robert Ritter
 Charles W. Donohue
                                       Elan Jonel Robinson *
 Kiley Ann Fannin                                                        MASTER OF ARCHITECTURE
                                       David Eric Rosenberg
 Sarah C. Felvey
                                       Drew Alexander Rouches            DEGREES CONFERRED, AUGUST 05, 2019
 Meredith Emily Fleck
                                       Ryan L. Rowden                     Esraa Kamal A Aljawi
 Preslie Ann Fletcher
                                       Joel Sanchez                       Runqing Huang *
 James Trevor O’Keeffe Franzen
                                       Julia A. Sapozhnikov               Zhenhao Luo *
 Pranav Ganesh
                                       Kaylyn Anne Scalley                Ankita Mansharamani *
 Slater Thomas Girocco *
                                       Ashlei Joan Sellinger              Amy Michelle Stubenfoll
 Jeremy Michael Godzicki
                                       Mariyah Shah
 Brittany Gonzalez                                                       DEGREES CONFERRED, DECEMBER 23, 2019
                                       Donghao Shi
 Megan E. Graham                                                          Ali Abdallah
                                       Julia Erin Siebert
 Wenting Guan                                                             Mahdi Saeed Ibrahim Ahmed
                                       Isabelle Sage Siegel
 James Dominic Haggerty                                                   Prahallad Aravind Badami *
                                       Justin Cole Silverman
 Robert A. Hamer                                                          Shannon Nicole Fitzgerald
                                       Alexandra Marie Skerjan
 Colin Lawrence Hamm *                                                    Xinchen Guan
                                       Hannah Josephine Smith
 Matthew Edward Hansen                                                    Teng Long
                                       Nicole E. Socall
 Christopher James Hidaka                                                 Teresa Michelle Meyer
                                       Elena M. Sofia
 Leighanne Clare Hildebrand                                               Victor Manuel Orozco Chavez *
                                       Jared Carver Sombeck
 Yen Hoang                                                                Swetha Sangubhotla *
                                       Junyu Song
 John Clarke Hough                                                        Colter E. Wehmeier
                                       Alexander Anthony Sorsen
 Jun Huang                                                                Shuqin Xu *
                                       Thomas D. Steinhaus
 Laith F. Ibrahim                                                        CANDIDATES FOR DEGREES, MAY 16, 2020
                                       Danielle E. Stumpf
 Zhaohao Jiang                                                            Sneha Ananthanarayanan
                                       Jason Sumbada
 Sara Marie Joergens                                                      Megha Bhatnagar
                                       Xiaoyi Sun
 Nicholas Peter Jordan                                                    Zachary Ryan Campbell
                                       Jaclyn O’Brien Switkes
 Ye Ju                                                                    Prathiksha Chandra Mohan
                                       Brenda Tang
 Yijing Ke                                                                Antonia Hyunjin Cho
                                       Yuxuan Tang
 Matthew Sean Kelly                                                       Karolina Marianna Chojnowska
                                       Wynne Tansiri
 Dong Jae Kim                                                             Sabina Cristina Choragwicki
                                       Joan Tessalonika
 Stavri Kono                                                              Tristan Theodore Clauson
                                       Samuel Robert Testo
                                                                          Bhavi Vikram Dalal
                                                                          Exhibit 38 - Page 14 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                     GRADUATE COLLEGE




 Ashish Rajeev Dandekar                IN CLASSICS                            IN LINGUISTICS
 Aaron B. Deroux                       CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, AUGUST 05, 2019
 John Robert Dohse                      Emma Jeannette Starr                   Caitlin Nicole Cassidy
 Joshua Benjamin Downes
 Stephen Ferroni                       IN COMMUNICATION                       DEGREES CONFERRED, DECEMBER 23, 2019
 Luis Felipe Flores Garzon                                                     Chase Michael Adams
                                       CANDIDATES FOR DEGREES, MAY 16, 2020    Yinglun Sun
 Arunima Ganguli                        Wallace S. Golding
 Dipayan Ghosh                          Melinda Rose Sevilla                  CANDIDATES FOR DEGREES, MAY 16, 2020
 Marilia Gomes De Sa Ribeiro                                                   Allison Theresa Casar
 Daniela E. Gomez *                    IN COMPARATIVE LITERATURE               Aylin Coskun Kunduz
 Lauren Jean Gramann                   CANDIDATES FOR DEGREES, MAY 16, 2020    Amy Yuiko Gorgone
 Nesma Neuf Hamouda                     Leah Renee Raimondi                    Taraneh Sanei
 Phillip James Hietter
                                       IN CURRICULUM AND INSTRUCTION          IN POLITICAL SCIENCE
 Yasna Rahman Jain
 Jeril John                            CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, AUGUST 05, 2019
 Letizia Luisa La Spia                  Katherine Lenora Ekwejunor             James Robert Steur
 Mario Ledesma                         IN EAST ASIAN STUDIES                  DEGREES CONFERRED, DECEMBER 23, 2019
 Mu-Yen Lee                                                                    Joshua S. Holmes
 Yuyang Liu
                                       DEGREES CONFERRED, DECEMBER 23, 2019
                                        Tsutomu Nagata                        CANDIDATES FOR DEGREES, MAY 16, 2020
 Zhanpeng Liu                                                                  Ji Young Lee
 Michelle Nicole Lorenz                CANDIDATES FOR DEGREES, MAY 16, 2020    William Mark Pettit
 Ritvika Luthra                         Chie Nozaki
 Raksha Satish Babu Magal               Wesley Jordan Sampias                 IN RELIGION
 Nima Maghzi *                          Xiangyu Wang                          DEGREES CONFERRED, AUGUST 05, 2019
 Malavika Mallik                       IN EDUCATION POLICY,                    Janani Mandayam Comar
 Yoonah Noh                                                                    Heather Marie Wetherholt
                                       ORGANIZATION AND LEADERSHIP
 Rebecca Lynn Palmer *                                                        CANDIDATES FOR DEGREES, MAY 16, 2020
 Tejashkumar Ramesh Panchal            DEGREES CONFERRED, AUGUST 05, 2019
                                                                               Asena Acar
 Aashna Hetav Panwala                   Maria Zoey Battor
 Eshani Bharat Patel                   IN ENGLISH                             IN RUSSIAN, EAST EUROPEAN, AND
 Meghavi Vineet Patel                                                         EURASIAN STUDIES
                                       DEGREES CONFERRED, AUGUST 05, 2019
 Ramya Pattanur Vasudevan               Laura M. Coby                         DEGREES CONFERRED, AUGUST 05, 2019
 Aparna Surendran Pillai                Megan E. Cornell                       Jennifer Sydney Lazarus
 Amrit Kaur Randhawa                    Patrick Kimutis                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Chad D. Rash                                                                  Megan Elizabeth Carpenter
 Sharanya Ravi Reddy                   CANDIDATES FOR DEGREES, MAY 16, 2020
 Jacob Jonathon Sanders                 Hyeree Ellis                          IN SOCIOLOGY
 Conor D. Schafer *                     Annah Freudenburg                     DEGREES CONFERRED, AUGUST 05, 2019
 Ravideep Singh                         Samuel Hersh                           Jessennya Hernandez
 Shriyak Singh                          Cierra C. Humphrey                     Everardo Francisco Reyes
 Rachel Marie Sloan                     Jasmine Felecia Johnson
                                        Danielle Renny Palatin                CANDIDATES FOR DEGREES, MAY 16, 2020
 Ji Young Song *                                                               Alishia Alexander
 Akshay Srinivas                        Melanie Dawn Snyder
                                        Aidan J. Watson-Morris                 Katherine Copas
 Amal Tariq                                                                    Nehal Mohamed Abdelaziz Abdelfattah Elmeligy
 Somesh Tripathi                       IN EUROPEAN UNION STUDIES
 Christine Alexandra Turek                                                    IN SPANISH
                                       DEGREES CONFERRED, AUGUST 05, 2019
 Tehreem Un Nisa *                      Victoria Lynn Bauer                   CANDIDATES FOR DEGREES, MAY 16, 2020
 Marlom Vargas                          Alberto Miguel Burgos-Rivera           Jeferson Barboza Torres
 Sheetal Haresh Vora                                                           Paul Allen Haker
 Riad Khalil Wehbi                     CANDIDATES FOR DEGREES, MAY 16, 2020    Danil Massip Formenov
 Yong Yi Ye                             Jordan Michael Evans-Kaplan
 Jiayu Zhang                            Viktoria Loidl                        IN SPEECH AND HEARING SCIENCE
 Xinran Zheng                           Victoria Anna Prince                  DEGREES CONFERRED, AUGUST 05, 2019
 Ruiqing Zhou                           Francesca Patrice Robinson             Jennifer Nicole Bechtold
                                        Allison Catherine Wheeler              Samantha Kay Black
                                        Javier Zenil Pena
MASTER OF ARTS                                                                 Cienna M. Blum
                                       IN FRENCH                               Nimra N. Burney
IN AFRICAN STUDIES                                                             Anna M. Fischer
                                       CANDIDATES FOR DEGREES, MAY 16, 2020    Lauren Lindsey Godwin
CANDIDATES FOR DEGREES, MAY 16, 2020    Jesse Marie Keruskin
 Amelia Marguerite Adams *                                                     Norma Laura Gregorio-Perez
 Amber Dilara Scarborough              IN GEOGRAPHY                            Savannah Marie Hubly
                                       DEGREES CONFERRED, AUGUST 05, 2019      Elana Shira Hunt
IN ANTHROPOLOGY                                                                Emily N. Knetsch
                                        Erron Marie Perez
DEGREES CONFERRED, DECEMBER 23, 2019                                           Samantha R. Larocca
 Chibundo Anwuli Egwuatu               IN HISTORY                              Sarah Aubrey Luebke
CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, AUGUST 05, 2019      Alice Eva Schuermann
 Caitlyn Elizabeth Antoniuk             Matthew J. Harshman                    Jessica Kristine Spera
                                                                               Jodi Lynn Thomas
                                       DEGREES CONFERRED, DECEMBER 23, 2019
IN ART EDUCATION                                                              CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Jacob Steven Bell
DEGREES CONFERRED, DECEMBER 23, 2019    Natalie R. Leoni *                     Hannah Lee Cassiday
 Rian Mobley-Luke                                                              Stephanie E. Cheng
CANDIDATES FOR DEGREES, MAY 16, 2020   IN ITALIAN                              Erin Elizabeth Fabry
 Emma Kathryn Jebe                     DEGREES CONFERRED, AUGUST 05, 2019      Elizabeth M. Habisohn
 Seo Yeon Kim                           Soraya Cipolla
 Patricia Leon Quecan                  IN LATIN AMERICAN STUDIES
                                       CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Mark Joseph Anthony Hughes
                                        Christopher John Vecoli
                                                                               Exhibit 38 - Page 15 of 76
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GRADUATE COLLEGE                                                                 2020 COMMENCEMENT AT ILLINOIS




IN TEACHING OF ENGLISH AS A             Kenneth Robert Crippen                      Mark Andrew Parent
SECOND LANGUAGE                         Jennifer Anne Crone                         Jungmin Park
                                        Margaret Mary Culkeen                       Digvijay Singh Parmar
DEGREES CONFERRED, AUGUST 05, 2019
                                        Emma A. Dashut                              Murtaza Penwala
 Ana Beatriz Galdamez
                                        Frederic David                              Brian Edward Pietrzak
 Eric Chen Pei Ho
                                        Daniel De Lima                              Ari Ben Pitchenik
 Hanyu Jia
                                        Atul Sadashiv Deshmukh                      Mohyeldin Ragab
 Kelvin Njuguna Kiarie
                                        Satish Dhavalgi                             Daniel Joseph Rooney
 Pamela C. Kline
                                        Chen Ding                                   Luis Angel Rosario
 Rachita Rana
                                        Crystal Leanne Edwards                      Sanjeeb Kumar Sahoo
CANDIDATES FOR DEGREES, MAY 16, 2020    Freddie Eisa                                Dominik Salamon
 Hannah A. Butler-Auld                  Joel Michael Erickson                       Angela Marie Sanders
 Isabelle Cavazos                       Jonathan Sisson Ferrell                     Vivek Reddy Sarasam
 Ruth S. Chung                          Sergio Ivan Fierens Bayo                    Alexander Desmond Schallmo
 Anita K. Greenfield                    Katie G. Finochiaro                         Kelly Marie Schaudt
 Nalaka Saman Hewage                    Richard Fisher                              Norma Esthela Serrano Cuadra
 Tatiana Kashina                        Emily Frawley                               Sunny Shajan
 Megan Li Nierenhausen                  Timothy Douglas Fries                       Benjamin Charles Shamis
 Erin Rose Ryan                         Daniel David Gartley                        Gaurav Sharma
 Hillary Rose Veitch                    Kumar Gauraw                                Vanessa Rose Shields
IN THEATRE                              David Stuart Gilliat                        Micah Isaac Singerman
                                        Kelsey Brandon Gingrich                     Suniti Singh
CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Michael Grinman                             Roger Mitchell Spencer
 Kimberly Nicole Batson
                                        Matthew S. Grose                            Simon Robert Starkey
IN TRANSLATION AND INTERPRETING         Cory Gu                                     Miranda Marie Stevens
DEGREES CONFERRED, DECEMBER 23, 2019    Jarryd James Hawley                         Joshua David Szumski
 Xiao Luo                               Wei He                                      Venkateswar R. Tadepalli
 CANDIDATES FOR DEGREES, MAY 16, 2020   Matthew Peter Heid                          Alicia Marie Tagtmeyer
 Abdullah Fahad M Alqahtani             James Howard Hinderer                       Douglas Lee Thonus
 Angela Elena Bustos                    Colin Regan Houchins                        Lance Tolman
 Sofia Ceron Montalban                  Dandan Huang                                Jeremy Clayton Vaa
 Thomas More Galgani                    Khandoker Maharul Hussain                   Kristin Noelle Vitek
 Malikah Asrayyah Gordon                Raymond Watson Ives                         Eric Weaver
 Audra Lincoln                          Michael A. Jacobs                           Emily J. West
 Mengying Zhao Lunsford                 Kevin Allen Jaglowski                       Wojciech Winkler
 Monica Madel                           Amir Jeelani                                Matthew Wopperer
 Joao Luís Mota Marques                 Rachelle Kelley Jewison                     Shengjie Yao
 Bridget Kathryn Reddy                  Jeffery Adam Kaiser                         Carlos Andres Yoncon Changkuon
 Abdulhakeem Saffar Salaudeen           Shezan Kanjiyani                            Sarah Youngs
                                        Luz Kanwar                                  Anne Ciechanowski Zalewski
MASTER OF BUSINESS                      Alexandra Eleni Lee Kapelos-Peters          Matthew J. Zidow
                                        Stephanie Lynn Keller                      DEGREES CONFERRED, DECEMBER 23, 2019
ADMINISTRATION                          Muhammad Kaleem Khan                        Nadeem Ahmed Abbasi
DEGREES CONFERRED, AUGUST 05, 2019      Yusuf Solaiman Jay Khan                     Aldous Zandro Alphonsus Mercado Acacio
 Raji Abraham                           Khem Singh                                  Adedamola Kehinde Adegbite *
 Isaac B. Akinrinade                    Jin Woo Kim                                 Yinka Olutayo Adenekan
 Salah Ahmed Mohamed Al Rasbi           Paul Kim                                    Harpreet Singh Ahluwalia
 Alceu Demartini De Albuquerque         Dustin Charles Knapp                        Asif Ali
 Mary Winifred Ales                     Jerry Komitas                               Lawrence Achile Ali
 Mirza Alihodzic                        Katherine Kortum                            Khaled Mazin Subhi Alkayyali
 Antonio A. Andere                      Nadia Kountoures                            Rommel M. Alvarez
 April Ann Anderson                     Kousik Kundu                                Amy Jo Applegate
 Michael D. Anderson                    Milena Rumenova Laskova                     Abdur R. Arif
 Maximus Masood Armani                  Bobby Dong Lee                              Michael Chubiyo Aromeh
 Julie Ann Arnold                       Eun Kyong Lee                               Nishu Arora
 Sophia Barnes                          Soongyup Jason Lee                          Michael Douglas Askren
 Anant Baveja                           Loren Elyse Leeberg                         Gerardo Ayala
 Christine A. Bekoe                     Michael Scott Leib                          Mostafa A. Azab
 Jason Adam Bird                        Daniel John Lennon                          Jordan Ryszard Baczynski
 Dinesh Rao Boinpally                   Daniel M. Levy                              Gavin Ronald Baker
 Mark Daniel Brazinski                  Cora Lewallen                               Lauren M. Barth
 Manuel Breschi                         Michael Patrick Mahanay                     Faiyaz Firoze Baxamusa
 Colin Michael Brown                    Sarath Chander Mangudi Gopalarathinam       Larry Bryant Beaman
 Joseph Charles Brown                   Pavan Kumar Mantha                          Caleb M. Beasley
 Jennifer Renee Buergermeister          Kameswara Prasad Maruvada                   Rachel R. Beckett
 Heather Burchfield                     Chrystin Nicole Matuszek                    Eugene T. Bergmann
 Richard Albert Burchfield              Jacob Charles McCammack                     Vladyslav Bezruchko
 Joseph Burritt                         Hope Simone Mitchell                        Scott Charles Bloom
 Jennifer Byrd                          Dustin Jacob Mongler                        Derek Michael Bochnak
 Huseyin Gokhan Caliskan                Heidi Dawn Moore                            Daniel Lee Boedeker
 Mikhaila Taylor Carbajal               Charles Joseph Mueller                      Jess Michael Boersma
 Silvye M. Castillo Soza                Venkateswarlu Nalabothu                     Rajasekhara Reddy Bommareddy
 Nan Chen                               Kasthuri Rengan Nallappa Soundararajan      Kamalpreet Braich
 Dhinakaran Maheswaran Chinappen        Subhro Samarendra Nathak                    Erin Elizabeth Broderick
 Vincent Robert Ciura                   Jose Antonio Noriega Romero                 Kirsten Brogan
 Ashley Marie Conrad                    Ayoade Oguntade                             Bruce J. Brotine
 Christa Michelle Cook                  Kassirim Stella Onyeri                      Kenneth David Browning
 Roberto Emanuel Cortes Garcia          Allison Catherine Osoba                     Victor Manuel Cajes Gonzalez
 Renju Alex Cownan                      Krishnamurthy Padmanabhan                   Trent Lee Carmichael
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                           GRADUATE COLLEGE




 John Francis Carroll                 Yeonjoo Chloe Kang              David Lowell Otey
 Jo Fujimura Cartagena                Bradley Alexander Kastrup       Anindya Panda
 Kalyana Chadalavada                  Enoch Nshimiyimana Katabarwa    Heena Y. Pandya
 Xi-Jun Chen                          Ryan C. Kelley                  Ravikanth Pappu
 Wai Shing Chioe                      Muhammad Sheraz Khan            Maheshkumar Kantilal Patel
 Nond Chittaphraphai                  Saood Khan                      Jacqueline Ly Paulus
 Michael J. Chittenden                Waleed Z. Khan                  Tina Huong Pham
 Nidhi Chopra                         John W. Kindt                   Suvrat Pidara
 Lindsey R. Cox                       Colton Kolaja                   Alisa Anne Pierson
 Kyle Steven Cresswell                Amelia Dawn Kolander            Dominique Piot-Swat
 Lorelei Cretu                        Sarma Kolluru                   Bhuvana Ramachandran
 Meredith Anne Crews                  Sarma Kompalli                  Vandana Pravin Rangnekar
 Jonathan Slade Crowder               Andrew Wesley Kosic             Emma Crandell Ratajczak
 Voni Lee Daugherty                   Sridevi Kota                    Nathan Revel
 Jordan M. Davis                      Eric Kraft                      Felipe M. Reyes
 Meredith A. Davis                    Sudarsan Krishnan               Mario Alejandro Riveros Trujillo
 Marcelo De Barros Alcantara          Patrick Daniel Kuang            Anwar Roji Chein
 Steven James Delaney                 Satish Kumar                    Leif Rosenquist
 Douglas Vincent Dimola               Tai-Chi Kuo                     Michael Cameron Ross
 Tobias Dinesen                       Elaiyaraja Kuppannan            Michael Scott Roudebush
 Michael Andrew Dirnberger            Alex Thomas Kurian              Swarnamali Indumathie Rupassara
 Arsen Drach                          Louisa M. Kwasigroch            Kyung Mi Ryu
 Danilo Alejandro Duran               Natesh Babu Lakshmanan          Taylor A. Sabatini *
 Suman Kumar Dutta                    Melissa Lang                    Laura Renee Saylor
 Shantell Eady                        Craig Lawrie                    Swagata Asim Kumar Sengupta
 Anthony Joseph Eells                 Kathy Suzanne Ledvina           Manan Ketan Shah
 Alaa Ahmad Fouad Mohammad Abdallah   Brandon Howe Kwan Lee           Manuj Sharma
    Elhawwari                         Young Choon Lee                 Pratibha Sharma
 Narges Esmailzadeh                   Perry Charles Lewis             Daniel Sherman
 Jeffrey George Faria                 Trent Lewis                     James Robert Shore
 Yushu Feng                           Huiyi Joyce Liang               Salman Siddiqui
 Marc-Andre Ferland                   Julie Chia-Hui Lin              Amit Singh
 Benny Fernandez                      Minshuo Lin                     Damanjit Singh
 Jorge Eduardo Fioranelli             Duane Mohamad Lira              Harpreet Singh
 Brennan Folmer                       Bernadette Martha Liu           Rajashri Singh
 Melissa Gold Fournier                Patrick Edward Loftus           Dola Chakrabarti Sivanesan
 Natalie Maria France                 Kevin Looby                     Ryan Smat
 Brian Kavanaugh Franck               Karen Finocchio Lubeck          Joshua Tyler Smith
 Prudence Franklin                    Dan Matheson MacDonald          Kenneth Peter Smorynski
 Bhavesh Anilchandra Gandhi           David Macedo                    Trent Walter Sparrow
 Christian Peter Giebler              Gayathri Mahagamarachchi        Shaughnessy Conley Speirs
 Amanda Gomez                         Muhammad Mahmood                Koushik Channasandram Sridar
 Jose Benigno Gonzalez                Rodrigo Tadeu Malange Troise    Ananth Srikrishnan
 Andrew Joseph Gravano                Paulina Marin Montemayor        James P. Stevens
 Jeremy Armstrong Green               Alberto Mariscal Torres         Andrew P. Sticklen
 Matthew Aaron Greene                 Brent Marshall                  Coretta Delores Stone *
 Roger Eugenio Guerrero               David Martin                    Ryan Corey Stoulil
 Leonardo Krisianto Hadi              David Maxwell McCallister       Randall J. Stubbe
 Adam Joseph Hamilton                 Denis Marcus McCarthy           Fuzhuo Sun
 William Blaine Hanson                Jennifer Lynn McClellan         Konstantinos Ignatios Symeonidis
 Subramaniam Hariharan                Tyler Daniel McKay              Jan Paul Szatkowski
 Jorge Hector Haro                    Jeffrey William McNutt          Doreen Elyassian Tannenbaum
 Molly Samanta Hassan                 Jeffrey Daniel McRitchie        Taravatu Arua Taravatu
 Brent Thomas Hasse                   Srishti Garg Mendiratta         Crystal Brooke Templeman
 Chase Percival Hathaway              Joseph B. Mercado               Clara Roxana Terry
 Christopher James Hathaway           Christos A. Metropulos          Joseph William Thekkath
 Brandi Lynn Hedrick                  Douglas Edward Mette            Jose Tijam
 Kristy Marie Heppner                 Grant Thomas Miller             Armando Rafael Torres-Bartolomei
 Roy D. Hillman                       Sara Michelle Miranda           Andrew S. Touvannas
 Aubrey Lincoln Hines                 Abdulaziz Baig Mirza            Christopher John Traeger
 Sarah M. Hoerner                     Megan Lee Mitchell              Hieu Huu Tran
 Jeremy J. Holzner                    Iqbal Mohammed                  Sam D. Umanandh
 Emily J. Hopkins                     Manuel Anthony Moreno           Marcelino Oscar Valderrama
 Matthew Craig Horney                 Chris Moriarity                 Patricia Lynne Van Solt
 Michael Robert Hoy                   Kierra Regine Morris            Mariana Vargas Ramirez
 Chih Cheng Huang                     Rose Millicent Mugabe           Satish Vasudevan
 Hina Hussain                         Margaret Elyse Murdock          Viswanath Veerappan
 Muzammil Hussain                     Radha Muthulaxmi                Markus Walter Veile
 Chidozie Ibeabuchi                   Lakshmithejaswi Narasannagari   Lissette Venable
 Eric John Ice-Gipson                 Karl William Newton             Guruprasath Venkatesan
 Ravi Iyer                            Steven T. Nichols               Jayaprakash Reddy Vennapusala
 Sajit Janardhanan                    Gurpreet Singh Nijjar           Zaira E. Villanueva
 Sarah Marie Janshego                 Rose Caitlin Nolan              Andriy Vintonyak
 Jacob Thomas Jarrett                 Daniel Andrew Norris            Prasada Reddy Vontipenta
 Jeremy Michael Johnson               Marek Novotny                   Stephanie Vukotic
 Zacharia Madden Johnson              Fernando F. Nucum               Vincentiu Wassilko
 Monica Sindelar Jordao               Denise Ann O’Brien-Peterson     Zachary Keith Waterman
 Murtuza Zoeb Hussain Kagalwala       Jasmine Chichi Onianwa          Emily Paige Webster
 Sushant Jagannath Kale               Kelly Oppe                      Michelle Renee Wellens
 Larry Michael Kane                   Kimberly D. Otchere             Jennifer Esther Williams
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GRADUATE COLLEGE                                                     2020 COMMENCEMENT AT ILLINOIS




 Zoe Christine Williams                Snehangshu Ghosh                 Vijayakumar Ramalingam
 Kevin Quan-Xin Wu                     Jason J. Ginzkey                 David Rand
 Christopher Y. Xu                     Peter A. Grande                  Hannah Timmins Reed
 Hailing Xu                            Austin Griffin                   Stephanie Lauren Reiss
 Siu Chung Yan                         Ryan Scott Haff                  David Hwan Rice
 Gary Alan Yelenosky                   Kyu Heon Han                     Matthew C. Rivers
 Konstantinos N. Yfantis               Kenrick Alexander Harrigan       Mitchell John Rybacki
 Yeun Yim                              Jennifer K. Hart                 Michael Mueller Saigh
 Lai Hung Yip                          Masako Hashimoto                 Ssu-Chia Chen Samuel
 Gabrielle Anita Young                 David Justin Hayter              Patrick Scharfe
 Emily Elizabeth Yu                    Scott Philip Hendricks           Steven Schilling
 Sherien Jafari Yuen                   Michelle Hernandez               Jennifer Ellen Schmidt
CANDIDATES FOR DEGREES, MAY 16, 2020   Robert Paul Hertlein             Nilay J. Shah
 Francis Taiwo Adereti                 Tyler L. Hill                    Catherine Shaver
 Andrew Adreani                        Joshua Richard Holmstadt         Shyambihari Umashankar Singh
 Jayashree Aduthurai Perumalkoil       Kevin Jarchow                    Tuomo Sipila
    Chandrasekharan                    Muhammad Zafar Javed             Karen R. Slezak
 Olajumoke Akinleye                    Sudhan Kanade                    Afshin Allen Stafford
 Khalid Aldajani                       Thomas A. Kane                   Andrew J. Steveson *
 Mohammed Ahmed Algmesh                Christopher J. Keeley            Adam Joel Stillman
 Andreas Norbert Altmann               Mark Sterling Kennedy            Shane Gray Stimpson
 Heather Sunshine Ambrose              Mahmood Ahmad Khalid             Phillip A. Surrey
 Mohit Singh Anand                     Donghoo Kim                      Piotr Szumieluk
 Jon Anderson                          Hyunseok Kim                     Abdalla Mohamed Taha
 Chad Michael Archer                   Jae Beom Kim                     Michael John Tembrina
 Fuad Arshad                           Suhwan Kim                       Brian Tesar
 Kandasamy Arunachalam                 Bradley Dean Klein               Eric Steven Tharp
 Robert Renwick Baker                  Lyle David Knapp                 Kristn Lori Theisen
 James Henderson Bamford               Brian Paul Kreitzer              Gopinath Thiruvengadam
 Zachary Stephen Bardsley              Katherine Ashley Kulpa           Madison Ann Toft
 Andrew William Bettin                 Manish Kumar                     Yoni Izhak Toledo
 Somashekar Jambur Bhagavan            Simanti Lahiri                   Jose Gregorio Tremaria Leon
 Vivek Bhamre                          Carl William Leader              Peter A. Vandermyde
 Michael Day Blasberg                  Karen Lee                        Gaurav Vasudeva
 Christina Rebecca Boodoosingh         Steven Philip Lee                Jeevan Vijayan
 Colin Boone                           Andres Eduardo Lopez             Ruth Violo Vidal
 Sara Brooks                           Xuemin Lu                        Alex Wang
 Pierre Aldrich Bunag                  Emilia Maria Luty                Yi-Wei Wang
 Hogan Patrick Campbell                Celia G. Lynch                   Barbara J. Webb
 Jeffrey Ryan Cancienne                Hawa Rose Macauley               Jie Wen
 Brandon James Carey                   Juliana Pinheiro Maia            Tyler James White
 Dejan Cato                            Steven Barry Main                Swardiman Esron Widodo
 Venkata Prabhakara P Challa           Naresh Malhotra                  Alicja Wilk
 Matthew Thomas Chisholm               Shashank Malhotra                James Brandon Wilkinson
 King Yi Chu                           Rory John Mammano                Christopher Francis Williams *
 Seung Whan Chung                      Daniel C. Mardis                 Jaylan Daniel Melvin Williams
 Rodrigo Do Vale Ciossani              Sophia A. Martinez               Steven J. Williams *
 Kelly M. Comastro                     Tejas Vijaykumar Mayavanshi      Kristin A. Williamson
 Gustavo Alfredo Cota Toscano          Ryan Patrick McCrady             Kellie Qinyi Wong
 Joel Dadepogu                         Joseph McGee                     John T. Wood
 Pooja Tushar Das                      Colin Buchanan McMahan           Ziping Wu
 Mars Dauer                            Shara Joan McNamara              Matthew Aaron Wunderlich
 Jessica Davis                         Pamela L. Meeks                  Jaime Marie Xinos
 Matthew T. Davis                      Edward Alonso Mejia              Feng Xu
 Jose Carlos De Oliveira Junior        Anna Jane Miller                 Tomoya Yashiro
 Neil Laurence Denault                 Craig Blake Miller               Courtney Thomas Yockey
 Danesh Amritraj Deonarain             Kristin Allen Morris             Maged S. Zagow
 Harshad Shankar Desai                 Marissa Cathleen Murphy          Vanessa Eve Zalik
 Snil Prajeshkumar Desai               Harish K. Nankani                Tian Zhang
 Jerry Wembi Dimandja                  Niren Narang
 Dapeng Ding                           Rajkumar Dasharath Narkhede     MASTER OF COMPUTER SCIENCE
 Steven Joseph Diver                   Julia Nehring
                                       Brandon Han Jieh Ngai           DEGREES CONFERRED, AUGUST 05, 2019
 Austin Francis Dixon                                                   Vipul Aggarwal
 Xiaowei Du                            Luann Nicole Nicolosi
                                       Ibilola O. Ogun                  Muhammad Zulfiqar Ahmed
 Samuel Conner Elmore                                                   Yuliya Vasylivna Astapova
 Lauren Erlandson                      Fidelis Azubuike Okwesa
                                       Ryan Robert Osolin               Mark Cerf Berman
 Sahel Chacomeh Esa                                                     Nestor Alejandro Bermudez Sarmiento
 Xiao Fan                              Rebecca Lynn Palmer *
                                       Saejoon Park                     Viraj Bharat Bhalala
 Nicole Renee Farley                                                    Stephen Boesch
 Bao Feng                              Bansari Y. Patel
                                       Ritesh S. Patel                  Mallory Brandt
 Mason Douglas Fox                                                      Monroe Massey Brooks
 Dessalines Francois                   Saveta Pecanova
                                       Jacob Charles Pierce             Alexandra Christine Bueno
 Amy Michelle French                                                    Dominic Fitzgerald
 Hany Salah Gad Elhak                  John A. Pierczynski
                                       Kathryn Anne Poole               Mohit Khanna
 Chetan Gadhavi                                                         Shikhar Khanna
 Laura Beth Garbarini                  Rex Lee Powers
                                       Joshua David Prentice            Kapil Kumar
 Christine Denise Gayden                                                Kesava Reddy Lakki Reddy
 Viktoriia Gerzhyk                     Norman Quach
                                       Eric Noel Quintanilla            Xiaoxia Liao
                                       Kasra Rafia                      Chen Ling

                                                                         Exhibit 38 - Page 18 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                GRADUATE COLLEGE




 Nilesh Manohar Malpekar               Lu Jin                              Dai Teng
 Nagraj Kakunur Jaganath Naidu         Songyue Jin                         Fei Teng *
 Sadhana Jamuna Nandi                  Cynthia Joy Johnson                 Daniel Xing Tian *
 Ramya Priyadharshini Narayanaswamy    Manoj Kumar Joshi                   Wilfredo Torres Calderon
 Yongwoo Noh                           Avinash Kadimisetty                 Mritunjay Tripathi
 Melanie Bing Qu                       Yiran Kang                          Peter Tsapatsaris
 Martynas Sapoka                       Veerendra Kumar Koya                Cindy S. Tseng
 Shrashti Singhal                      Michael James Kresca                Anusha Varadharajan
 Yingying Tang                         Varun Kumar                         Francisco Andres Vargas Piedra
 David Edward Wales                    Rahul Kunji                         Suma Venugopal
 Muhammad Rizky Wellyanto *            Sudheer Kumar Kusuma                Yash Vijay
 Richard Wheeler                       Alex Tan Kwan                       Kiran Kumar Vuyyuru
 Sridhar Reddy Yerraguntla             Young Ju Kwon                       Haseeb Wajid
 Il Jo Yoo                             Jugat Singh Lamba                   Xinran Wang
 Xunyi Zhao                            Elmar Helmut Langholz Villarreal    Tyler John Watkins
DEGREES CONFERRED, DECEMBER 23, 2019   Zachary Robert Lawless              Margaret Maria Weglarz
 Vedaanta Agarwalla                    Dongrong Li                         Wang Chun Wei
 Mohammad Moaaz Ahmad                  Jingwei Li                          Bryan Mark Winmill
 Kahtan Suhail Al Jewary               Lingxiao Li                         Han-Chiat Wong
 Ashwin Amrutphale                     You Li                              Jonathan Wong
 Vaijanath Angadihiremath              Zhaoxing Li                         Yao Xiao
 Nischol N. Antao                      Zisheng Liao                        Mengyu Xie
 Luis Fabio Arciniegas                 Wei Kang Lim                        Na Yang
 Amila Shamika Ariyawansa              Weiran Lin                          Stanley Xiaoteng Yang
 Hyun Suk Bae *                        Zuoning Liu                         Yidi Yang
 Phillip Wayne Bailey                  Szymon K. Lobocki                   Yuanchao Yao
 Ravishankar Balasubramani             Hanna Loboda                        Jiazheng Yuan
 James Michael Banasiak                Kechen Lu                           Haoyu Zhai
 Rohit Bansal                          Lihao Lu                            Yihan Zhang
 Sudip Bapat                           Lin Lyu                             Kaiqi Zheng
 Naseer Ud Din Ahmed Batt              Sachin Mallapura Somasundar         Shicheng Zhou
 Donald William Arthur Bennett         Qinglu Meng                         Chen Zhu
 Christopher Franz Biedermann          Anjali Menon                        Fangcheng Zhu
 Avery E. Boyd                         Linling Miao                        Shichu Zhu *
 Adrian Brown                          Alberto Miller                      Xuan Zhu
 Randall Joseph Cantrell               Ionel Miu                           Joel Zou
 Harish Chandramohan                   John Frank Moran                    Daniel Robert Zurawski
 Le Chang                              Manas Kumar Mukherjee              CANDIDATES FOR DEGREES, MAY 16, 2020
 Qiang Chen                            Chaitra Nagaraj                     Taylor Robert Allred
 Zhihan Chen                           Anirudh Nain                        Preethi Anantharaman
 William Justin Cherry                 Kiomars Nassiri Kahnamooee          Rama Anem
 Robert Glen Cottrell                  Paul Luther Nel                     Naga Narayana Reddy Avula
 Francisco Manuel Cruz Morales         Thai Duy Cuong Nguyen               Shan Bai
 Yangyang Dai                          Naveen Kumar Palani                 Sogol Bazargani
 Vishal Dalmiya                        Dev Patel                           Sudhir Behani
 Infant Prabhu Dassan Cicilamma        Amit Milind Patil                   Chetan Kumar Bhatt
 Cheng Ding                            Pratik Prakashchand Patwari         Scott Andrew Bishop
 Aiqing Dong                           Hang Peng                           Matthew Carl August Bitter
 Bin Dong                              Tishun Peng                         Alexey Burlakov
 Jasdeep Duggal                        Aaron Nathaniel Predmore            Carlos Ernesto Celada
 Hussein Ahmed Hassan Elmessilhy       Ayan Putatunda                      Michael Hung-Yiu Chan
 Aaron Andrew Falloon                  Xiaolu Qi                           Jonathan Chang
 Keh-Harng Feng                        Chengyu Qian                        Rui Chang *
 Yan Feng                              Lan Qin                             Zheng Chuan Chen
 Zhengyang Feng                        Jing Qiu                            Quanxin Cheng
 Joseph Thomas Fetsch                  Xin Qu                              Xin Cheng
 Raymond Alexander Fix                 David Joshua Rabinowitz             Osmar Alberto Coronel Rodriguez *
 Deborah Sue Folks-Huber               Dipali Ranjan                       Jesus Enrique Corro Fuentes
 Hasitha Gajjala                       Eloise Heydenrych Rosen             Joel David Detweiler
 Mehryar Khalili Garakani              Robert Andrew Ruester               Harrison Ding *
 Jeffrey Lee Gerlach                   Robert Kirk Rupprath                Xin Xin Dong
 Dax Jonathan Gerts                    Manojit Saha Sardar                 Jian Du
 Richard John Gjeldum                  Wenhan Shi                          Simon Du
 Ivan Arpan Gomes                      Pavel Shukhman                      Sanjay Ediga Chinnappaiah
 Balaji Gopalan                        Amitesh Shukla                      Tianyi Geng
 Rahul Govind                          Nivedita Singh                      Neetusingh Khushalsingh Ghota
 Driss P. Guessous                     Ganeshram Sivashanmugam             Vivek Gnanavelu
 Venkata Apurva Hari                   Prasanna Navalchand Soni            Steven Golemme
 Nfn Hari Manan                        Apoorva Hoysala Srinivasa           Minyuan Gu
 Dhanush Harihar                       Shanthakumar Subramanian            Nandhini Gunalan
 Conrad Harley                         Weize Sun                           Praveen Gupta
 Hsin-Yu Hou                           Zhiran Sun                          Ping-Che Ho
 Daniel Yi-Chia Huang                  Sriram Sundararaman                 Shirley Huang
 Yansong Huang                         Yen-Chieh Sung                      Hong Ngai Ip *
 Harshit Jain                          Tanvi Surana                        Xiaoming Ji
 Cristian Jansenson                    Subhash Talluri                     Wanjun Jiang *
 Japson Vedakumar Jacob Jeyasekaran    Xiao Tang *                         Xilun Jin *
 Maya Nand Jha                         Yiran Tao                           Michael Dennis Johnson
 Lin Jiang                             Iulia Deltcheva Tcholakova          Jeffrey Angelo Lanzaderas Josol
                                                                           Exhibit 38 - Page 19 of 76
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GRADUATE COLLEGE                                                              2020 COMMENCEMENT AT ILLINOIS




 Amit Kanfer                           DEGREES CONFERRED, DECEMBER 23, 2019      Jason Sakowski
 Roger Herbert Kasinger                 Lourdes del Pilar Bustos                 Jasmine Mercedes Singletary
 Anuj Kumar                             Jessica Lee Mirowski                     Vincent Joseph Spina
 Kaichen Le *                           Sylvia Yang                              Kajal Tailor
 George Lee                             Allison Semi Yu                          Ericka Taylor
 Gil Ho Lee                            CANDIDATES FOR DEGREES, MAY 16, 2020      Marcus Aldwight Taylor
 Ignacio Leonhardt                      Corey Leigh Bilger                       Phillip A. Vargas
 Peiyao Li *                            Erika Evila Esparza                      Robert Connor Whiteside
 Xiaohui Lin                            Rosa Michelle Hoak                       Douglas Claude Williams
 Fei Ling                               Alissa Gigi Irvin                        Cassie BoYeon Yoon
 Jesse True Little                      Ali Alena Marten                        CANDIDATES FOR DEGREES, MAY 16, 2020
 Zachariah Levi Litz                    Alyssa Mayer                             Alicia Kay Abdella
 Curtis W. Lowder *                     Alexandra B. Park                        Brian Scott Alexander-Ward
 Kevin Dale Mackie                      Catherine Peterson                       Nicole Marie Amato
 Alexander Morgan Ward Mackowiak *      Yoonah Shin                              Jo-Ann Archey
 Brandon Mader                          Elizabeth Marie Smith                    Nicolette Suzanne Baccadutre
 Radu Florin Manolescu                                                           Rebecca Ann Berkshire
 Matthew McKeithen                     IN EDUCATION POLICY,                      Joseph Kennedy Bingle
 Vedprakash Ramanuj Mishra             ORGANIZATION AND LEADERSHIP               Jason J. Bluhm
 Mohammad Hassan Mohammad Khorasani    DEGREES CONFERRED, AUGUST 05, 2019        Brogan Boles
 John Mohoang                           Krystilyn Marie Atkinson                 Anna M. Bradford
 Ivan Mora-Ortiz                        Joanne V. Becker                         Lora E. Brewsaugh
 Cristian Mori                          William Robert Behrends                  Abigail Marie Brinkoetter
 Sriharsha Mukundappa Sathyavathi       Sara B. Berebitsky                       Yaning Cao
 Ria Kala Nair *                        Aaron Michael Brewer                     Jennifer Carroll
 Danny Paez *                           Kathleen Rachel Carter                   Allison Jayne Carter
 Neha Pandey                            Nolan Matthew Dahman                     Anna L. Chovanec
 Neil Bharat Patel                      Damon Phillip Dreke                      Bryan Stewart Conger
 Prem Prakash                           Elizabeth Aki Fujita                     Angela W. Cox
 Dao Qu                                 Rebecca L. Fundator                      Caitlin Alyssa Day
 Balaji Hanuman Singh Rajaputra         Samantha Ha                              Robyn Rebecca DiPietro-Wells
 Prithvi Raman Ramanathan *             Jordan Hohm                              Giovanna DiPolo
 Nathaniel Steven Ross                  Jill Ann Kammer Wozniczka                Hannah L. Dickson
 Arnav Sankaran *                       Matthew James Kiefer                     Ashley E Gentner Dodson
 Russell Javiniar Sarmiento             Emma Suzanne Nixon                       Raul Dominguez
 Reshma Vishwanath Sathe                Diana Parker                             Lindsay Marie Dumas
 Prathamesh Prabhakar Satpute           Kristin Lynn Szydelko                    Madison Dunbar
 Michael George Schoen                  Jessica Erin Zeh                         Meghan Elizabeth Durst
 Eric Antoine Scuccimarra              DEGREES CONFERRED, DECEMBER 23, 2019      Chaise Avan Edebiri
 Karthikeyan Selvarajan                 Lydia Allen                              James Arthur Elliott
 Vamsi Mohan Senathi                    Deborah Kay Amos                         Kathleen Engelking
 Yanislav Nikolaev Shterev              Jennifer Carolen Bruhn                   Shayla Alaine Ewing
 Gassan Soukaev                         Natdhanai Chanchamroen                   Elizabeth Daly Foran
 Babu Srinivasan                        Leslie A. Chenoweth                      Lucero Y. Garcia-Villegas
 Naman Srivastava                       Sarah Nicole Devine                      Kathleen Noelle Gilles
 Babu Prasanna Kumar Sugumaran          Alexis Kiana Diaz-Feliciano              Sandra Leigh Gladish
 Victor Sui *                           Lauren Kunze Duff                        Meera G. Gorawara
 Hao Tang                               Charva R. Edwards                        Jordan Lee Gray
 Maximilian Trumpf                      Jacob Alexander Ellsworth                Karen Marie Groszek
 Carlos Valle                           Brian Thomas Everson                     Shirice Tempest Harris
 Amber Ved                              Mairi Elizabeth Freeman                  Rachel Jolie Hartley
 Nicholas J. Walker                     Margaret Germann                         Jeffrey Paul Herman
 Di Wang                                Catherine Jones Gottlieb                 Hillary Hollowood
 Michael Hecheng Wang                   Emma Marie Hart                          Rachel Elizabeth Hurliman
 Rongzi Wang *                          Jordin Hartwig                           Andrea Renee Jackson
 Zhenbang Wang                          Lauren Nicole Heitman                    Chantal Jean-Baptiste
 Thomas J. Warther *                    Ajene Netrice Holmes                     So Hyun Jung
 Hao Wu                                 Logan Jolea Honegger                     Meron Alem Kahssai
 Kevin Wu                               Sang Kyung Sandra Hong                   Steven Ray Keepes- England
 Tiancheng Wu *                         Julia Starre Horn                        Jessica Renee Keider
 Weiguang Wu                            Dallas C. Johnson                        Kaitlyn Arlene Krone
 Sijing Xin                             Ritanza Keeshavia Jordan                 Tara Anne Leeson
 Jen-chien Yu                           Emma Pebley Kaveney                      David Michael Leonard
 Beichen Zhang *                        Sarah Morgan Knight                      Ginger Elizabeth Logemann
 Luwei Zhang                            Thomas W. Kucera                         Gaynor Antonia Lyseight Myers
 Stanford Xin Cheng Zhou                Julianne Elizabeth LaFleur               Denise J. Madden
 Tao Zhou *                             Andrea S. Lile                           Christian Jonathan-Russell Madrid
                                        Chelsea Jinlee Nelson                    Michelle J. Mallari
MASTER OF EDUCATION                     Christy Ann O’Donnell                    Sarah M. Masanek
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IN ART EDUCATION                                                                 Lindsay Elizabeth McGrane
                                        Thomas Richard Parry
CANDIDATES FOR DEGREES, MAY 16, 2020    Katheryn Mary Periasamy                  Lauren Merrild
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 Katrina Sally Widholm                  Rose Stefany Quispe                      Kyra Ann Newnam
                                        Lauren Michele Redman                    Latrice Michele Nurse
IN CURRICULUM AND INSTRUCTION
                                        Colleen Roer                             Collette Oprondek
DEGREES CONFERRED, AUGUST 05, 2019                                               Megumi Otaki
                                        Roma Rae Ryan
 Jacob C. Ramsey
                                                                                Exhibit 38 - Page 20 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                    GRADUATE COLLEGE




 Maria C. Pittos                        Julia Jacqueline Cahill                Shixing Ma *
 Nicholas Ponder                        Mia T. Chudzik                         Alexander G. Province
 Gabriela Porras                        Faith Teresa Fiorito                   Kun Qiao
 Dillin E. Randolph                     Zoe Angeline Kell                      Mike Edward Schaub *
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 Katelynn Renaud                        Jennifer Marie Rivera                  Chia-Hsin Weng
 Jenna Ann Rio                          Kristy Leigh Saar                      Xingyu Yao
 Grant Wallace Risley                   Stephanie Schremp                      Xiaocong Yu
 Beth Marie Rock                        Madeline Grace Williams                Zhanzequn Yuan
 Bryanne H. Roemer                      Brittany Yates                         Haoliang Yue
 Ava Lorraine Rollins                   Nicole Maria Yoon                      Baohe Zhang
 Samantha Paris Saban                                                          Chengyi Zhang
 Nicole Marie Sarm                     MASTER OF ENGINEERING                   Chenwei Zhang
 Jamilah Asa Adebayo Scott                                                     Ye Zhang
 Natasha Hussnain Shah                 IN BIOENGINEERING                       Zihao Zhang
 Raissa Marie-Stella Singleton         DEGREES CONFERRED, AUGUST 05, 2019      Chenpeng Zhao
 Erin Elizabeth Smith                   Riwei Jin                              Haoyuan Zhong
 Maxwell Patten Stanford                Dong Hoon Lee                          Yida Zhong
 Patricia Diane Stevens                DEGREES CONFERRED, DECEMBER 23, 2019    Yuxuan Zhou
 Julia Megan Sullivan                   Alekha Charles                         Dongxin Zhu *
 Nina Mary Tandle                                                              Jingcheng Zhu
 Stefan Tatroe                         CANDIDATES FOR DEGREES, MAY 16, 2020    Zhengliang Zhu
 Raven M. Temple                        Aminah Bilal
                                        Yvon Maurice Bogdonoff                CANDIDATES FOR DEGREES, MAY 16, 2020
 Dylan Thomas                                                                  Akhil Alapaty *
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 Tony Torres                                                                   Anthony Alexander Chemaly
 Anne Christine Tritsch                 John Patrick Godziszewski
                                        Bushra Nazmy Hamad                     Zehua Chen
 Samantha Lynn Turner                                                          Katherine Kei-Yan Chung
 Hannah Elisabeth Walborn               Jiuyuan Han
                                        Ethan Daniel Hartowicz                 Divya Gopinath
 Tracy Caroline Ward                                                           Renjie Fan
 Jeanice A. Wiard                       Lu Jiang
                                        Brycen Dell Kirklin                    William Thomas Gayde
 Jasmine Latisha Wilkes                                                        Daniel Walter Halperin
 Steven J. Williams *                   Imu Lin
                                        Kun Liu                                Miao He
 Sydney N. Williams                                                            Ruibin Huang
 Jasmine Chung-Yan Wong                 Zihan Liu
                                        Xiaowei Lyu                            Stephen Jay Hurwit *
 Eunhye Yu                                                                     Victor C. Ibe
 Laura d’Almeida                        Vamsikrishna Pisipati
                                        Aaheli Poddar                          Iswarya Alex
IN EDUCATIONAL POLICY STUDIES           Mehran Rozbahani                       James R. Krein *
                                        Kaicheng Tang                          Sooraj Senthil Kumar *
CANDIDATES FOR DEGREES, MAY 16, 2020                                           Kunhao Li
 Nnenna Akotaobi                        Jason H. Wei
                                        Valentino Ivan Wilson                  Parker Changkun Li
IN EDUCATIONAL PSYCHOLOGY               Peibo Xu                               Puming Li
DEGREES CONFERRED, DECEMBER 23, 2019    Tiffany Yathaputanon                   Zheng Liu *
 Sarah Lynn Johnson                     Fanyang Yu                             Guo-Cheng Lo
 Shengmei Xu                            Berenice Zarate Espinoza               Ian Mindich *
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                                       IN ELECTRICAL AND COMPUTER              Carolyn L. Nye
IN ELEMENTARY EDUCATION                ENGINEERING                             Shounak Ray
CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, AUGUST 05, 2019      Logan Joseph Rosenmayer *
 Sungho Chu                             Zhuohang Cheng *                       Junnun Safoan
 Emily Marie Frobose                    Sean Luo Li                            Amber Sahdev *
                                        David Shan *                           David Michel Stone
IN HUMAN RESOURCE EDUCATION                                                    Kuang Wang *
                                       DEGREES CONFERRED, DECEMBER 23, 2019
DEGREES CONFERRED, AUGUST 05, 2019                                             Chuck Warren Wong
                                        Hsiu-Yao Chang
 Arnold D. White                                                               Jack Liu Yang *
                                        Jiahong Chen
                                                                               Yingquan Yu *
IN SECONDARY EDUCATION                  Tian Chen
                                        Yuying Chen                            Patricia Shasha Zhang
CANDIDATES FOR DEGREES, MAY 16, 2020                                           Siqi Zhang
 Cory J. Castaneda                      Tianhao Chi *
                                        Lingzhi Chu *                          Kexuan Zou
 David E. Dahowski
 Harrison Bernard Davis                 Younan Deng                           IN ENGINEERING
 Amy E. Hoke                            Hengzhe Ding                          DEGREES CONFERRED, AUGUST 05, 2019
 Weronika Paulina Kaczmarczyk           Yijian Duan                            Agbewornu Yaw Akpaloo
 Katie R. Kamba                         Mingren Feng                           Morgan Stuart Bishop
 Dorothy L. Silverman                   Ziyan Feng                             Onur Kahveci
 Daniel Thomas Zolecki                  Heba Khaled A Flemban                  Austin Shea Penn
                                        Shunhan Gao
IN SPECIAL EDUCATION                    Huakun Guo                            DEGREES CONFERRED, DECEMBER 23, 2019
                                        Zhipeng Hong                           Yihui Cui
DEGREES CONFERRED, AUGUST 05, 2019
                                        Boya Hou                               Benjamin David Junkroski
 Cassandra Lynn McConkey
                                        Haoqi Hu                               Maryam Karimah
 Megan Lee McDonald
                                        Shuyue Lai                             Nursultan Karimov
 Brittney Rose Ryan
                                        Ao Li                                  Sanjana Kartik
 Monica Elizabeth Velasco
                                        Jingyu Li                              Andrew Ansel Robinson
DEGREES CONFERRED, DECEMBER 23, 2019                                           Rebecca Nisha Silva
 Kayli Jean Elliott                     Yidan Li
                                        Ming-Cheng Liao                       CANDIDATES FOR DEGREES, MAY 16, 2020
CANDIDATES FOR DEGREES, MAY 16, 2020                                           Alethia Venus Barnwell
                                        Tinghui Liao
 Gina Marie Barnhart                                                           Benjamin Roy Davis
                                        Dong Liu
 Melissa Beckman                                                               Kyle Paige Kovitz
                                        Zhe Liu
 Hannah Rose Brenner                                                           Erwin Lavric
                                                                               Exhibit 38 - Page 21 of 76
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GRADUATE COLLEGE                                                                 2020 COMMENCEMENT AT ILLINOIS




 Kristian E. Martinez                      William A. Ervin                         Brianna Ashley Corleto
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 Nino Carmine Randazzo
                                          IN THEATRE                                Oliverio Covarrubias
 Zequn Wang                               DEGREES CONFERRED, AUGUST 05, 2019        Rebecca Elizabeth Cuccurullo
                                           Patrick Michael Szczotka                 Sarah Elizabeth Curtis
IN MECHANICAL ENGINEERING                 DEGREES CONFERRED, DECEMBER 23, 2019      Michael John Dressel
DEGREES CONFERRED, AUGUST 05, 2019         Matthew Scott Powell                     Sylwia Alicja Dutka
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DEGREES CONFERRED, DECEMBER 23, 2019       Larissa Nallely Almanza                  Jessie Nicole Feher
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 Ruizhe Chen                               Shea Lee Hittman                         Meghan C. Hannigan
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 Leon Hardman                              Mark Quiles                              Wenfeng Hu
 Yen-Wen Lu                                Alena Samoray                            Samantha Jankowski
 Junren Ran                                William Emrys Sturman                    Brittiney Jones
 Alex Sierra Bello                         Yvonne Rosalie Tessman                   Te’Asha Renee Jones
 Jasper Wan                                Kayla Alexis Uribe                       Savreen Kaur
 Jing Wu                                   Naomie Shanna Marie Winch                Tara Nicole Kirchner
 Jiachen Xie                                                                        Junyi Li
 Weiye Zhang                              MASTER OF HUMAN RESOURCES                 Mingzhu Li
 Ivan R. Zlatanov                                                                   Yueyuan Liang
                                          AND INDUSTRIAL RELATIONS                  Zifan Liu
CANDIDATES FOR DEGREES, MAY 16, 2020
 Kevin A. Boron                           DEGREES CONFERRED, AUGUST 05, 2019        Lc Lloyd
 Blake J. Burton                           Jennifer Bristol                         Marie M. Lukusa
 Dadong Chen                               Kenia Bugarin                            Zixuan Lyu
 Jinhao Cui                                Olivia Chung                             Anna Rose Marunde
 Grant M. DeAtley                          Chelsea Leschae Cross                    Sarah Jean McCabe
 Stuart Thomas Gerger                      Lina Johanna Diaz                        Katherine Victoria McDonald
 Raanan Isaac Gluck                        Lauren M. Forrest                        Brittney Anne Miechle
 Austin Hamlett                            David Huang                              Kelsey Mary Mills
 Jiaxuan Han                               Tomika Marie Jackson-Hathorn             Sydney Nicole Mumm
 Niket Jayesh Shah *                       Joseph Kim                               Mia Xiu Naslund
 Yihan Wang                                Adeola Abimbola Korode                   Erika E. Perez
                                           Matthew John Lesh                        Kaiyue Qi
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                                           Travis Marcotte                          Yi Ren
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                                           Joseph Bernard Sobieralski               Muhammad Omar Shareef
DEGREES CONFERRED, DECEMBER 23, 2019                                                Kelsey Lynne Smoot
                                           Brooke Alyson Taylor
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                                           Fai C. Thompson
 Yunan Wu                                                                           Coretta Delores Stone *
                                           Kelsey Ann Thurman
CANDIDATES FOR DEGREES, MAY 16, 2020                                                Brittani Monique Terry
                                          DEGREES CONFERRED, DECEMBER 23, 2019
 Christopher Mark Beaty                                                             Tina Marie Turner
                                           Connor B. Abendroth
 Luyao Chen                                                                         Emily E. Wallace
                                           Adedamola Kehinde Adegbite *
 Mengyuan Chen                                                                      Mengjie Wang
                                           Oluwatosin Oluwafunmilayo Ajanaku
 Simon Dai                                                                          Shu Wang
                                           Zainab Abiodun Alaka
 Meredith Leigh Dallas                                                              I-Tan Weng
                                           Rebecca Catherine Alexander
 Lai Jiang                                                                          Eric Joseph Whalen
                                           Hania Jafer Ali
 Christopher Robert Jones                                                           You Wu
                                           Sarai Almanza
 Sara Rose Kramer                                                                   Yunqing Xie
                                           Shane Adam Anderson
 Rachel M. Lindsay-Snow                                                             Haoran Xu
                                           Joshua Michael Angles
 Lauren Elaine Mistilis                                                             Rui Xu
                                           Priithy Appandarajan
 Katherine N. Netti                                                                 Yongyu Ye
                                           Felix Alfredo Atoche-Juarez
 Miriam Hesham Mohamed Kamaleldin Salah                                             Pu Zhang
                                           Rachel Suzanne Barrera
 Amanda Haesun Shin                                                                 Tianjiao Zhang
                                           Ena Bekonjic
 Natalie Frances Smith                                                              Zuoyi Zhang
                                           Paul Christopher Bennett
 Elliott Ross Stokes                                                                Xue Zhao
                                           Kellie M. Bergschneider
 Qiuyan Tang                                                                        Xueying Zhao
                                           Hannah Elizabeth Bohn
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CANDIDATES FOR DEGREES, MAY 16, 2020       Yuan Cai                                 Shefali Balyan
 Aumaine Gruich                            Angela Kim Caselli                       Gerald Konnor Browne
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 Justin Todd Smith                         Chang-Wen Chen                           Sarah Rose Gianni
                                           Fuyue Chen                               Meice Hamad
IN DANCE                                   Wei Chen                                 Dale S. Kang
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 Evvie Dale Allison                        Fuyuan Chi                               Elijah W. Klaber
 Elliot Reza Emadian                       Ha Eun Choi                              Janet Lam
                                           Johnathan D. Chong                       Alexander Charles MacKenzie
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                       GRADUATE COLLEGE




 Amanda Grace McCall                       Julieta Lopez Ayechu                   Danielle Jean Sekel
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 Andis Shehu                               Paco Mehdi Mengual                     Emma Marie Taylor
 Nicholas Edward Tandle                    Yudaya Hussein Mirembe                 Lillian Michaela Wright
 Charity S. Woods                          Clovis Monteiro Ferreira Silva Neto    Joy Yang Yang
 Richard Peter Wright                      Paolo Antonio Musso                    Shulamite Chi Chen Yeh
 Sang Kyu Lee Yi                           Tomoko Nakashima                       Chin Chen Marc Yeo
                                           Brian Nasala
MASTER OF LANDSCAPE                        Ugochukwu Samuel Nnamani              MASTER OF MUSIC EDUCATION
ARCHITECTURE                               Marie Joe Noon
                                           Toochukwu Obumneme Obayi              DEGREES CONFERRED, AUGUST 05, 2019
DEGREES CONFERRED, AUGUST 05, 2019         Ogochukwu Kenneth Okoani               Chevauna Berdette Adams
 Yizhen Ding                               Onyinyechi Christene Onyejiaka         Natalie Christine Bayles
 Sara Hadavi                               Elsie Agnes Awino Oyoo                 Steven W. Boswell
                                           Yu Pan                                 David Jonathan Cruz
CANDIDATES FOR DEGREES, MAY 16, 2020
                                           Manuel Alejandro Perez Jaramillo       Kelsey R. Hagan
 Yan Guo
                                           Matteo Pesenti                         Michael Thomas Harris
 Jingyi Li
                                           Phonethavy Phengnammachack             Zachary Gaylord Hilligoss
 Xuejing Li
                                           Marco Propato                          Alexander Moberg
 Yuanyu Li
                                           Jose Joaquin Sanchez Garcia            Rebecca J. Park
 Xi Liu
                                           Maryia Shybut                          James J. Schiffer
 Yan Liu
 Lauren K. Mathias                         Michelle Anna Kristina Sköldén        CANDIDATES FOR DEGREES, MAY 16, 2020
 Bo Pang                                   Jin Sukme                              David Matthew Lofy
 Yutian Wang                               Haosong Sun                            Brianna Marie Tyler
                                           Shiyu Tan
MASTER OF LAWS                             Jingyao Tian                          MASTER OF PUBLIC HEALTH
                                           Emmanuela Ifunanya Udom-Azogu         DEGREES CONFERRED, AUGUST 05, 2019
DEGREES CONFERRED, DECEMBER 23, 2019       Ryo Uezono
 Eugene Nana Kwame Agyei                                                          Kendall V. Biegel *
                                           Osahon Godfrey Ukponahusi              Derrius Stephon Carter *
 Fred Johnson Asiimwe                      Davud Vasseghi
 Coline Marion Charlotte Cauvin                                                   Maureen Terese Cooney *
                                           Shaojie Yang                           Rebecca Colleen Cuppy *
 Antoinette Winnie Akua Akyere Essilfie
 Oshole Imhoagene                                                                 Dana Rose Kirsh *
 Minseong Kim
                                          MASTER OF MUSIC                         Natalie Ann Noonan *
 Rumi Lee                                 DEGREES CONFERRED, AUGUST 05, 2019      Maria Bisola Osundairo *
 Chi Mai                                   Michael Thomas Chapa                   Austin Joseph Roberts *
 Ikechukwu Nwora Obiora                    Yunhee Kim                            DEGREES CONFERRED, DECEMBER 23, 2019
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 Xiaoyu Pu                                 Zachary John Osinski                  CANDIDATES FOR DEGREES, MAY 16, 2020
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 Atupele Yamika Samson Sanyila            DEGREES CONFERRED, DECEMBER 23, 2019    Edson Flores
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 Xinlong Xing                              Kevin Francis Lucas                   IN ACCOUNTANCY
 Yang Yang                                CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, AUGUST 05, 2019
CANDIDATES FOR DEGREES, MAY 16, 2020       Yeoryeong Ahn                          Matthew Brown
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 Ejike Raphael Arumah                      Scott Patrick Augustine                Scott Alan Mendoza
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 Diana Bikbaeva                            Eun Ha Cho                            DEGREES CONFERRED, DECEMBER 23, 2019
 Luca Edoardo Bottillo                     Everett Tyler Cornwall                 Rachelle Anderson
 Andre Gustavo Cesar Cavalcanti            Brenna Sanford Cunningham              Jeremy Keith Baier
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 Qi Chen                                   Eric Devey                             Sean P. Burke
 Chukwuebuka Victor Chikezie               Lauren Falk                            Sabrina Joy Carlos
 Anastasiia Demidova                       Andrew Michael Farrar                  Joseph Sigmund Cella
 Jianyuan Du                               Grace Elizabeth Fink                   Dong Min Choi
 Xinbin Duan                               Ian Gindes                             Teodora Christopher
 Chukwudi Innocent Eboh                    On Yin Got                             Coltin Corydon Cunningham
 Salem Eniola Ekundayo                     Brock Barron Gwaltney                  Megan R. Cunningham
 Benita Ogochukwu Ezeigbo                  Michael Andrew Helgerman               Joseph Paul Fangman
 Gonzalo Alfredo Gandara                   Berit Alice Johnson                    Aaron Fischer
 Rinat Gareev                              Yo Han Kim                             Tyun Fomby
 Pablo Ignacio Godoy                       Grace Colby Lamb                       Ying Guo
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 Marynthe Romay Hafkamp                    John Lawrence Lash                     Rebecca Hanrahan
 Mukades Hasani                            Jung Hyun Lee                          Rafael Higashi Pacheco
 Xiao Hu                                   Susie April Lee                        Michael Justin Hoal
 Elin Inger Maria Jakobsson                Tanaeya Whitney McCoy                  Yuan-Chun Huang
 Tri Julyanto                              Melissa Anne Merkel                    Tianjin Ji
 Maxime Sebastien Kac                      Matthew Ethan Miller                   Rachel Heather Knapp
 Ilkiz Kocoglu                             Craig Christopher Moman                John T. Koenig
 Minghao Li                                Alexander James O’Boyle-Ince           James Alexander Liddy
 Peiyu Li                                  Gabriel Augustus Pellino               Marc Malmquist
 Yuxin Li                                  Hanan Rahman                           Victoria Anne Moore
 Hanqing Liu                               Melinda Rose Rodriguez                 Crystal Elizabeth Morrow
 Sirui Liu                                 Mary Catherine Sanderson
                                                                                  Exhibit 38 - Page 23 of 76
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GRADUATE COLLEGE                                                       2020 COMMENCEMENT AT ILLINOIS




 Cristian Emmanuel Munarriz            Hanui Jang                         Ruoxun Sun
 Watson Mushava                        Sujin Jang                         Wen Sun
 Natalia Raquel Novotny                Qu Jian                            Rafael Tamargo
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 Crystal Perez                         Yue Jiang                          Yajie Tang
 Samantha J. Postillion                Wenqi Jin                          Denis Tavares Simoes
 Derek A. Radek                        Simon Hyun Joo                     Jiayi Tian
 Samantha Lynn Rondinelli              Mason Tola Joshua                  Andrew Kwan Hang To
 Garad John Soderman                   Ankur Navinchandra Kalaria         Reika Toyama
 Andrey A. Teverovsky                  Chiao-Chen Kao                     Kelly Marie Uthe
 Jenny Theresia                        Sara Marie Kaschube                Jing Wang
 Renato Torres                         Zina Katusian                      Jingxuan Wang
 Eric VanHorn                          Patrick William Keating            Junfan Wang
 Andrew Lee Villagomez                 Sungsik Kim                        Junyan Wang
 Kristen West                          Jou-An Ko                          Liyi Wang
 Sin Yu Yeung                          Yuanyuan Lan                       Mengyuan Wang
 Nan Zhang                             David Yongwoon Lee                 Muhan Wang
CANDIDATES FOR DEGREES, MAY 16, 2020   Hsiao-Yin Lee                      Qian Wang
 Abigail Afriyie                       Meng-Hsuan Lee                     Xinyu Wang
 Naurin Ali                            Huiwen Li                          Yanrou Wang
 Mhd Haitham Alkawi                    Jiahua Li                          Yayan Wang
 Panagiotis A. Altidis                 Kuangyi Li                         Yihan Wang
 Julia Amstutz                         Shumo Li                           Yikun Wang
 Xin An                                Xinshu Li                          Yiwen Wang
 Brianna Lynn Andress                  Yongfei Li                         Zicheng Wang
 Arif Yusuf Arif                       Yuhan Li                           David R. Weber
 Aycelen Aydogan                       Keyi Liang                         Jing Wen
 Megan Ayers                           Xianwei Liang                      Timothy John Robert Widick
 Xinran Ba                             I-Wen Lin                          Michael Robin Wiggins
 Kevin Baker                           Lung-Chih Lin                      Matthew Winters
 Haley Carin Boyd                      Diyu Liu                           Yui Wong
 Vania L. Brown                        Hanzhi Liu                         Jiaying Wu
 Nicholas Callias                      Jiaqi Liu                          Jiayu Wu
 Meiqi Cao                             Jingzhi Liu                        Jinqin Wu
 Peter Molloy Carey                    Luyao Liu                          Linyu Wu
 Hsun-Feng Chang                       Mengdi Liu                         Meiwei Wu
 Wei-San Chang                         Sheng Liu                          Qinnan Wu
 Cong Chen                             Shucen Liu                         Shiyuan Wu
 Fenglai Chen                          Siyu Liu                           Zhanzhong Xiao
 Kuan-Yu Chen                          Yan-Yu Liu                         Yusi Xin
 Miaomiao Chen                         Alisha Loos                        Dongqi Xu
 Yuren Chen                            Xinyi Lu                           Haifeng Xu
 Xuewen Cheng                          Yichao Luo                         Jianwen Xu
 Yi-Han Cheng                          Heyan Lyu                          Ruixin Xu
 Yu-Sheng Chiang                       Shumin Ma                          Han Xue
 Cirenzhuoma                           Zi Yin Ma                          Kailin Xue
 Thomas Coats                          Garima Mahlawat                    Manning Xue
 Jason Samuel Corona                   Pitshou Mbo Kenkalite              Shanshan Yan
 Chunyi Dai                            Cole Mellott                       Yumeng Yan
 Jingyi Dong                           Ziyao Mi                           Di Yang
 Heeten Doshi                          Jonathan Schiefer Mrowiec          Qing Yang
 Jingwei Du                            Yujia Ni                           Rong Yang
 Xingyu Du                             Yue Niu                            Yijun Yang
 Vanessa Duarte                        Mihaela Alina Obreja               Lujing Yao
 Mark Vafa Eghrari                     Chu-Yu Ou                          Yao Yao
 Daniel Entile                         Liang-Yi Ou Yang                   Yihao Yao
 Biying Fan                            Haichen Pan                        Rewa Yassen
 Zirui Fang                            Hongrui Pan                        Hsin-Ying Yeh
 Laura Farnam                          Carlos Javier Petit Torelli *      Yi-Ting You
 Heng Fei                              Shuang Qiu                         Megan W. Young
 Stephanie Fuller                      Ganesh Ramakrishnan                Haoran Yuan
 Dustin Funk                           Jinghui Ren                        Ye Yuan
 Wendi Gao                             Zhen Ren                           Chi Zhang
 Yi Gao                                Andrew Christopher Rohne           Huarui Zhang
 Sara Lynn Gile                        Stephen Cameron Rowland            Jingwen Zhang
 Xiaoran Guo                           Matthew Scott                      Jingxin Zhang
 Yinjun Guo                            Su Won Seo                         Qingwen Zhang
 Xinting He                            Naila Shawabkeh                    Qiongwen Zhang
 Yuhong He                             Jiaqi Shi                          Ruolin Zhang
 Briana Hiltabidel                     Jinghan Shi                        Shiyu Zhang
 Wan-Tsz Ho                            Lu Shi                             Shujie Zhang
 Iris Horng                            Yunhui Shi                         Yicheng Zhang
 Shuo Hou                              Han Si                             Yiwen Zhang
 Anqi Hu                               Walter Slater                      Yuchen Zhang
 Hao Hu                                Corinne Sorrentino                 Yuling Zhang
 Shuxin Hu                             Tara Sterba                        Yuting Zhang
 Tianzheng Hu                          Qiwen Su                           Yuzhe Zhang
 Yifei Huang                           Xiangyin Su                        Jingting Zhao
 Olivier Ketler Jacques                Junyan Sun                         Nanxue Zhou

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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                            GRADUATE COLLEGE




 Tingfeng Zhou                                 Raeann Minniece VanSickle             IN AGRICULTURAL PRODUCTION
 Wenjing Zhou                                  Terry W. Yu                           DEGREES CONFERRED, DECEMBER 23, 2019
 Ning Zhu                                      Dongxin Zhu *                          Rachael Mackenzie Sirek
 Qinglu Zhu                                   CANDIDATES FOR DEGREES, MAY 16, 2020    Assel Tuyakbayeva
 Zhixin Zhu                                    Marc Akiki
 Zikai Zhu                                     Adam Joseph Augustyniak               IN ANIMAL SCIENCES
 Qianqian Zhuang                               Vanessa Ghislaine Awate               DEGREES CONFERRED, AUGUST 05, 2019
 Ziruo Zhuang                                  Marie Merwyn Beasley                   Kayla Erin Barkley
 Xiaoyang Zou                                  Kyle Ray Cochran                       Ryan Elizabeth Bucktrout
 Amanda Joy de la Iglesia                      Sai Kiran Duddukuri                    Meredith Quinn Carroll
IN ACTUARIAL SCIENCE                           Brett Samuel Gilbert                   Lauren Taylor Honegger
                                               Jason G. Gruenwald                     Sara Elizabeth Knollinger
DEGREES CONFERRED, AUGUST 05, 2019             Brian Patrick Hardy                    Thunyaporn Phungviwatnikul
 Yuanpa Cai                                                                           Mareah Jean Volk
                                               Yukti Kathuria
DEGREES CONFERRED, DECEMBER 23, 2019           Yuri Marxen Lopes                      Jalisa D. Zimmerman
 Owen Adhikaputra                              Hariharan Manickam Vaithiyanathan     DEGREES CONFERRED, DECEMBER 23, 2019
 Chenna Krishna Reddy Bhumi Reddy              Michelle Nicole McClary                Erin Elizabeth Bryan
 Yiwen Dong                                    Mario Arturo Perez Perez               Heath Matthew Harper
 Zhenghan Ji                                   Jose Rodriguez                         Brady Joseph Klatt
 Linshan Jiang                                 John Joseph Vergere                    Nahal Matin
 Kelvin Waribu Kahome                          Sagar Ketan Vyas                       Andres Fernando Tolosa Russi
 Rhyxian Lim                                   Nicholas John Zuiker                   Sara M. Tondini
 Biwen Ling                                                                           Laura Jean Tooley
 Chenfei Ma                                   IN AGRICULTURAL AND APPLIED
 Ying-Chia Meng                               ECONOMICS                              CANDIDATES FOR DEGREES, MAY 16, 2020
 Liang Qiao                                   DEGREES CONFERRED, AUGUST 05, 2019      Molly M. Baldes
 Dong Shin Seol                                Cody M. Brandt                         Rafael Ovidio Bautista Rivas
 Lilang Wang                                   Samantha Sea Forrest                   Caroline Julia James
 Da Xu                                         Maria Gerveni                          Cristhiam Jhoseph Munoz Alfonso
                                               Felipe Grimaldi Avileis                Hannah Elizabeth Price
CANDIDATES FOR DEGREES, MAY 16, 2020                                                  Jack Dalton Redifer
 Nargiz Alekberova                             Rachel McClain Richardson
                                               Gowthami Venkateswaran                 Emily Danielle Schunke
 Supasin Chalermpoonsup                                                               Molly Kathleen Sermersheim
 Prathamesh Padhye                            DEGREES CONFERRED, DECEMBER 23, 2019    Naomi Christine Willard
 Bhanu Sehgal                                  Protensia Hadunka
 Ruiqi Sha                                    CANDIDATES FOR DEGREES, MAY 16, 2020   IN APPLIED MATHEMATICS
 Morteza Tavanaie Marvi                        Steven Burak                          DEGREES CONFERRED, DECEMBER 23, 2019
 Fudi Xu                                       Adam Joseph Kurczewski                 Chaoyue Cui
 Zonghao Yang                                  Junyuan Li                             Ankush Hore
IN ADVERTISING                                 Rebecca E. Martin *                    Yuanyuan Zhai
                                               Marshaun Montgomery                    Yiming Zhang
DEGREES CONFERRED, AUGUST 05, 2019
                                               Ryan Paul Olson                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Xiao Feng
 Xuanjun Gong                                 IN AGRICULTURAL AND BIOLOGICAL          Eion Michael Blanchard
 Weizi Liu                                    ENGINEERING                             Zhoutong Jiang
 Jasmine Latrice Moultrie                                                             Haneul Kim
                                              DEGREES CONFERRED, AUGUST 05, 2019      Rohan Sameer Limaye
DEGREES CONFERRED, DECEMBER 23, 2019           Jacob Jordan Wood                      Alfredo Guillermo Sanchez Rivadeneira
 Amy Irene Pan                                DEGREES CONFERRED, DECEMBER 23, 2019    Rui Feng She
 Allison Copenbarger Vance                     Daniel Joseph Glass                    Navjot Singh
 Yujie Wei                                     Kelsey Lynn Schreiber                  Han Wei
 Kieshana M. Williams-Beeler                   Tianhao Wu                             Haolin Yang
CANDIDATES FOR DEGREES, MAY 16, 2020           Kendra Rose Zeman
 Justin H. Baker                                                                     IN ARCHITECTURAL STUDIES
                                              CANDIDATES FOR DEGREES, MAY 16, 2020
 Corey L. Sharp                                Donghao Cheng                         DEGREES CONFERRED, DECEMBER 23, 2019
 Sojin Shin                                    Tiago Henrique Da Cruz Costa           Swetha Sangubhotla *
 Wentao Wang                                   Sihan Li                              CANDIDATES FOR DEGREES, MAY 16, 2020
IN AEROSPACE ENGINEERING                       Jacob Daniel Niehaus                   Conor D. Schafer *
                                               Haoxuan Sun
DEGREES CONFERRED, AUGUST 05, 2019                                                   IN ASTRONOMY
 Michael J. Banks                             IN AGRICULTURAL EDUCATION              DEGREES CONFERRED, AUGUST 05, 2019
 Anwesa Choudhuri                             DEGREES CONFERRED, AUGUST 05, 2019      Patrick Dean Mullen
 David Alan Degenhardt                         Angelle Ockmond Lippert                Kedar Anil Phadke
 Alexander William Jessee                      Edward Hamilton Walker
 Ashwin Vivek Kanhere                                                                IN ATMOSPHERIC SCIENCES
                                              DEGREES CONFERRED, DECEMBER 23, 2019   DEGREES CONFERRED, AUGUST 05, 2019
 Saravana Balaji Mettapalayam Pannir Selvam
                                               Britney Ann Cowan
 Johannah Rather                                                                      Rose Marie Miller
                                               Riley J. Hintzsche
 Sandeep Srikonda                                                                     Emma Lee Scott
                                               Sarah Christine Luce
 Karl Hany Thompson                                                                  DEGREES CONFERRED, DECEMBER 23, 2019
                                               Donna Ann Page
DEGREES CONFERRED, DECEMBER 23, 2019                                                  Carolina A. Bieri
                                              CANDIDATES FOR DEGREES, MAY 16, 2020    Shaowen Amy Chen
 John William Alaimo
                                               Emily Christine Ade
 Alexander Brooks Faustino                                                            Jessica T. Gasparik
                                               Kara May Boozer
 Michael Ian Gray                                                                     Cameron Jordan Miller
                                               Lakiah Natasha Clark
 Rodra Wikan Hascaryo                                                                 Adam C. Springer
                                               Kaleigh N. Evans
 Vegnesh Jayaraman                                                                    Shichu Zhu *
                                               Samantha Nicole Gaither
 Olivier Massicot                                                                    CANDIDATES FOR DEGREES, MAY 16, 2020
                                               Lauren Elizabeth Hadden
 Dominik Miaso                                                                        Alexander John Adams
                                               Madalyn Rose Hammel
 Morgan O’Rorke                                                                       Luke Robert Allen
                                               William Joseph Milashoski
 Nicolas Gerard Emmanuel Rasmont                                                      Devin Andrew Chehak
                                               Jennifer Nicole Myers
                                               Jessica Ann Ochs                       Eunkyoung Choi
                                               Gracia Leighann Ramp
                                                                                      Exhibit 38 - Page 25 of 76
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 Michael F. Sessa                       Kevin Sunardi Purnama                    Muhammad Ali Khan
 Sarah Marie Szymborski                 Xiangning Qu                             Utkarsh Vankatesh Kode
 Troy J. Zaremba                        Sanath Kumar Satyanarayana               Hang Li
                                        Brij Ajaykumar Sheth                     Xinchang Li
IN BIOCHEMISTRY                         Milosz Phillip Tomaszewski               Zhenhao Luo *
DEGREES CONFERRED, DECEMBER 23, 2019    Supicha Ungaree                          Nanaissa Nana-Boncano Maiga
 Dustin Allen Buntrock                  Yao Wan                                  Ankita Mansharamani *
 Xinyi Li                               Zhitong Wan                              Ricardo Ramirez Betancourt *
IN BIOENGINEERING                       Chao Wang                                Rishabh Singhvi
                                        Ruohan Wang                              Jonathan Reese Snow
DEGREES CONFERRED, AUGUST 05, 2019      Justice Christopher Williams             Jese Vance
 Yi Wen
                                        Lanjun Wu                                Yi Zhong
DEGREES CONFERRED, DECEMBER 23, 2019    Shishi Wu                                Alexander Steven Zickar
 Meng-Yao Huang                         Chong Xiao                              DEGREES CONFERRED, DECEMBER 23, 2019
 Sony Manandhar                         Jiahao Xu                                Mohammad Y M Y A Albisher
 Ariana Mostafa                         Kangyan Xu                               Ali H R M H Ali
IN BIOINFORMATICS                       Na Yang                                  Saleh Abdulrahman S Alshayea
                                        Hao Zhang                                Sina Anesteh
DEGREES CONFERRED, AUGUST 05, 2019      Yaxi Zhang
 John A. Capozzo                                                                 Najam Ul Arfeen
                                        Zidian Zhang                             Krishna Shrija Ayyarsamy
DEGREES CONFERRED, DECEMBER 23, 2019    Ruiying Zhou                             Harsh Badera
 Matthew C. Kendzior                    Zhengyang Zhou                           Alvin Parande Bayudanto
 Tanqiu Liu                             Lina Zhuo                                Abhik Jyoti Borthakur
 Xiaoyue Zhang                         DEGREES CONFERRED, DECEMBER 23, 2019      Lesly Assen Boulos
CANDIDATES FOR DEGREES, MAY 16, 2020    Jing Fan                                 Mauro Jose Braca Viloria
 Sparsh Dayal Agarwal                   Zhuoting Gao                             Austin Todd Burton
 Ravin S. Bandara                       Xuanming Wang                            Wenyuan Cai
 Prakruthi Burra                       CANDIDATES FOR DEGREES, MAY 16, 2020      Stacey Lauren Ceretti
 Dave Deandre Istanto                   Shu Liu                                  Hongze Chen
 Joshua K. Tomaszewski                                                           Miles O. Churchill *
                                       IN CELL AND DEVELOPMENTAL                 Robert Corbett
IN BIOLOGY                             BIOLOGY                                   Yiao Ding
CANDIDATES FOR DEGREES, MAY 16, 2020   CANDIDATES FOR DEGREES, MAY 16, 2020      Michael Peter Duczynski
 Lauren Kelley McDaniel                                                          Amira Hesham Saad Elsherbiny
                                        Omid Gholamalamdari
 Andrew E. Wszalek                                                               Bowen Geng
                                        Gabriela Andrea Hernandez Gonzalez
IN BIOPHYSICS AND QUANTITATIVE          Dongwook Kim                             Ryan L. Hanson
BIOLOGY                                IN CHEMICAL ENGINEERING
                                                                                 John Sheridan Henderson
DEGREES CONFERRED, DECEMBER 23, 2019                                             Billy Hernawan
                                       DEGREES CONFERRED, AUGUST 05, 2019        Yu-Soon Hsiao
 Jordan J. Sickle
                                        Saket Sanjay Bhargava                    Feng Hu
IN BIOPROCESSING AND BIOENERGY          Danielle Danae Harrier                   Akash Jain
DEGREES CONFERRED, DECEMBER 23, 2019    Ching-Wei Lee *                          Himanshu Joshi
 Joshua Aaron Bales                     Min Chiang Gary Ong                      Eugene H. Kim
 Ya-Fang Cheng                          Abinaya Sampath                          Aishwarya Suhas Kodnikar
 Kalyani Ananthakrishnan                Charles Douglas Young                    Luwei Li
 Xinyu Liu                             DEGREES CONFERRED, DECEMBER 23, 2019      Nitish Mohan Mankani
 Laura Cristina Pelaez Medina           Ece Zeynep Ayla                          Antoine Menassa
 Shuxin Xiao                            Andrew N. Kuhn                           Harsh Dipakkumar Naik
                                        David Bernd Ollodart                     Xi Nan
CANDIDATES FOR DEGREES, MAY 16, 2020
                                       CANDIDATES FOR DEGREES, MAY 16, 2020      Victor Manuel Orozco Chavez *
 Rahul Krishnan Viswanath
                                        Tahere Mokhtari                          Yoshinori Oshiro
IN BUSINESS ADMINISTRATION                                                       Ritesh Pathak
DEGREES CONFERRED, AUGUST 05, 2019     IN CHEMISTRY                              Megha Puttaswamy
 Ningya Ba                             DEGREES CONFERRED, AUGUST 05, 2019        Thomas A. Roadcap
 Debora G. Bernal                       Nels Thomas Anderson                     Matthew Thomas Schmit
 Penphob Andrea Boonyarungsrit         DEGREES CONFERRED, DECEMBER 23, 2019      Brooke Dara Schreiber
 Hsing-Chih Chang                       Alekzander Sky Garcia                    Digaant Sharma
 Sifei Chen                             Alexander Stephen Kurzhals               Qian Song
 Xinyi Chen                             Mark Allen Mills                         Zihan Song
 Yiming Chen                            Andrea Elizabeth Nikolai                 Abel Richard Vera Iglesias
 Bixia Gong                             Anand-Markose Thomas Poozhikunnel        Anias K. Welcome
 Yang Huang                             Tyler Jay Smolczyk                       Yixuan Wen
 Yufei Huang                            Zubaoyi Yi                               Peiyu Xu
 Yun Huang                              Tianyue Zhang *                          Shuqin Xu *
 Sheng-Chiang Ji                                                                 Qingwen Zhou
                                       CANDIDATES FOR DEGREES, MAY 16, 2020      Aatif Zubair
 Ying Pong Lei                          Ali Asghar Aghajani
 Bingyue Li                             Aidan Todd Beckley                      CANDIDATES FOR DEGREES, MAY 16, 2020
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 Chi-Yun Liu                                                                     John Matthew Berens
 Haodi Liu                             IN CIVIL ENGINEERING                      Gabrielle McKay Bethke
 Pei-Yu Liu                            DEGREES CONFERRED, AUGUST 05, 2019        Joseph Loend A-Namba Bongungu
 Yinghan Liu                            Rachel Noelle Alfond                     Tony Calles
 Xinyue Ma                              Jordan N. Fleming                        Adriana Campa *
 Gundoo Moon                            Shoaib Ahmad Goraya                      Matthew V. Carsello
 Karan Patel                            Kevin Grygo                              Chung-Lin Chan
 Carlos Javier Petit Torelli *          Runqing Huang *                          Guosen Chen
 Yuhuan Pi                              Yazen Fawaz Kashlan                      Wen-Chi Chen

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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                       GRADUATE COLLEGE




 Laura Andrea De La Guardia Hernandez     IN COMPUTER SCIENCE                     Dennis Wang
 Mingliang Deng                           DEGREES CONFERRED, AUGUST 05, 2019      Xiaoyan Wang
 Deisy Marlene Diaz Gonzalez               Abhinav                                Jiaqi Wu
 Adrian Diaz de Rivera                     Shashank Gupta                         Ke Xu
 Anuj Dubey                                Sha Li                                 Peilun Zhang
 Jiawei Fan
 Caroline E. Fletcher
                                           Sameer Manchanda                      IN CROP SCIENCES
                                           Harshita Meena                        DEGREES CONFERRED, AUGUST 05, 2019
 Gloria Anna Frank                         Oliver B. Melvin
 Yilan Fu                                                                         Danielle Rose Cooney
                                           Riccardo Paccagnella                   Scott William Foxhoven
 Haoting Ge                                Zubin J. Pahuja *
 Anthony Scott Groenewold                                                         Stephen Joseph Jinga
                                           Aravind Sagar                          Robert James Twohey
 Zhaorong Gu                               Ashwin Kumar Vijay
 Shuocheng Guo                             Doris Suiyi Xin                       DEGREES CONFERRED, DECEMBER 23, 2019
 Karen Elizabeth Gupta                     Xilin Yu                               Nicholas J. Frillman
 Xuhui Han                                 Wenjie Zhu                             Jay Eli Howard
 Victoria Elizabeth Heath                  Yuxuan Zou                             Scott McFadden
 Hadil Khaled Mahmoud Abdelghany Helaly                                           Tracy Jo Mulliken
 Jameel Rusli Kaddo                       DEGREES CONFERRED, DECEMBER 23, 2019    Vitor Rampazzo Favoretto
 Alan Kanybek                              Ran Ang
                                           Chinedu Alexander Emeka               CANDIDATES FOR DEGREES, MAY 16, 2020
 Samun Higgs Khalilian                                                            Amanda Ann Bardeau
 Kaustubh Kridutta                         Antonio Maria Franques Garcia
                                           Nathan H. Jay                          Daniel Griffin
 Joseph C. Krueger                                                                Charlette Ann-Jauch Hasty
 Chun-Wei Lai                              Rohan Kasiviswanathan *
                                           Maghav Kumar                           Sabin Khanal
 Xiyue Li                                                                         Ashley Renee McEwen
 Chun-Yu Liao                              Kevin Liao
                                           Abhishek Srivastava                    Jacob Samuel Montgomery
 Weijie Liao                                                                      Alexander Craig Mullens
 Darren Yu-Tin Liu                         Mariam Vardishvili
                                                                                  Olivia Augusta Obenland
 Taipeng Liu                              CANDIDATES FOR DEGREES, MAY 16, 2020    Yuting Qiu
 Jason Martin Lopez                        Michael Lee Abir                       Christopher W. Rudisill
 Yujia Lu                                  Nuraini Binti Aguse                    August Anton Schetter
 Minglu Lyu                                Sushmita Azad                          Steven John Sprieser
 Nima Maghzi *                             Sayantani Basu                         Marshal Henry White
 Haotian Mi                                Bhavya                                 Benjamin James Herbert Wiegmann
 Junrong Mi                                Aabhas Chauhan
 Bartosz M. Migus                          Qingrong Chen                         IN ECONOMICS
 Muhammad Waleed Mirza                     Haricharan Cheruvu *                  DEGREES CONFERRED, AUGUST 05, 2019
 Daniel Morgan                             Patrick Alexander Cole                 Rodrigo Carbonell
 Michael James Neal                        Jishnu Dey                             Feifan Chen
 Lihang Peng                               Hantian Ding                           Yi Fang
 Xingjian Qi                               Xiaodan Du                             Aginta Geniusa
 Ximi Qu                                   Sultan Hayat Khan Durrani              Sixu He
 Bangzheng Rao                             Tiantian Fang                          Yulu Li
 Peter V. Regan                            Umar Farooq                            Chong Liu
 Joel Timothy Reynolds                     Hao Gao                                Tanele Lydia Magongo
 Timothy Sam                               Aaron Gregory Green                    Aryo Ardi Nugroho
 Takuya Sasada                             Sahil J. Gupta *                       Jae Man Park
 Shayegan Shakeri Nasab                    Christiaan Duesenberg Hazlett          Jakob Ryan Puckett
 Ali Bin Sohail                            Vedhus A. Hoskere                      Tong Sun
 Nidhi Somani                              Eric C. Huber                          Jiayu Wang
 Ji Young Song *                           Zih-Siou Hung                          Ninglu Wang
 Zheng Sheng Toh                           Heather Huynh                          Wahyu Wisnu Wardana
 Tehreem Un Nisa *                         Allyson Lauren Kaminsky                Benjamin Paul Wegloski
 Jared Christopher Vegrzyn                 Sanket Makarand Kanjalkar              Xuelian Wei
 Han Wang                                  Jaewoo Kim                             Amanda Wijayanti
 Ruobing Wang                              Vandana V. Kulkarni                    Zhihui Yu
 Shengyi Wang                              Ankit Kumar                            Rui Zhang
 Xuehao Wang                               Angela Lee *                           Yiduo Zhang
 Angela Wu                                 Isabella Lee *                         Xiaoyu Zhao
 Jiapei Xu                                 Minghao Liu                            Zhihua Zhong
 Qianzhi Xu                                Justin N. Lizama                      DEGREES CONFERRED, DECEMBER 23, 2019
 Fan Yang                                  Chirantan Mahipal                      Abdulmalik Abdullah S Alsuwayni
 Xiaoxuan Yang                             Sofia Emmanuilovna Meyers              Ahmad Aulia
 Jacob W. Zander                           Noor Sultan Michael *                  Bowen Cai
 Lingfeng Zhang                            Andrew Hehner Miranti                  Tsun Kin Chow
 Ziyi Zhang                                Mohit Vyas                             Qi Ding
 Jiaxi Zhao                                Venkatasubrahmanian Narayanan          Song Ding
 Hanjing Zhu                               Jonathan Osei-Owusu                    Qianhan Duan
                                           Joon Sung Park                         Julio Guimaraes Kumai
IN COMMUNITY HEALTH                        Jeetu Raj                              Hongyuyang Guo
DEGREES CONFERRED, AUGUST 05, 2019         Ashwin Ramesh                          Siwei Luo
 Mengmeng Ji                               Sanjeev Thikkavarapu Reddy             Phong Quoc Nguyen
 Tarisha Jeanne Showers                    Mia Johanna Schoening                  Jingxuan Ren
DEGREES CONFERRED, DECEMBER 23, 2019       Ishan Pankaj Shah                      Wenyi Song
 Jessica Faith Jackson                     Yuanjing Shi                           Huandong Sun
CANDIDATES FOR DEGREES, MAY 16, 2020       Siwakorn Srisakaokul                   Xinhui Sun
 Rifat Binte Alam                          Jinghan Sun                            Yu Sun
 Janeth Juarez Padilla                     Ray Sun *                              Tonghui Tian
 Andrea Paola Ramirez Olarte               Zhenyi Tang                            Junjie Wang
                                           Warut Duke Vijitbenjaronk              Kai Wang
                                                                                  Exhibit 38 - Page 27 of 76
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GRADUATE COLLEGE                                                                 2020 COMMENCEMENT AT ILLINOIS




 Zhiyuan Wang                           Byung Hoon Min                              Jiaying Wu
 Yu Wen                                 Chao Pan                                    Michael Chi Wu
 Wanying Wu                             Zhen Qin                                    Ningkai Wu
 Chi Xu                                 Hojoon Ryu                                  Yulun Wu
 Yilin Ye                               Jose Rodrigo Sanchez Vicarte                Yuming Wu
 Shunkai Yu                             Ankit Sharma                                Mike Xiang
 Jiayi Zhang                            Shivang                                     Mingye Xiong
 Miao Zhang                             Binghui Wang                                Xiujia Yang
 Zhehao Zhou                            Lingda Wang                                 Yangxue Yu
 Shuocun Zhu                            Xiaohao Wang                                Peihua Zhao
CANDIDATES FOR DEGREES, MAY 16, 2020    Zhonghao Wang                               Zijing Zhao
 Monther Mohammed I Alhussini           Shushan Xia                                 Xingkai Zhou
 Muhammad Reza Aslim                    Yi Yang
                                        Chris Sunghyun Yim
                                                                                  IN ENTOMOLOGY
 Yuxi Chen
 Miryana Vinka Dayanti                  Hanchao Yu                                DEGREES CONFERRED, AUGUST 05, 2019
                                        Nanjie Yu                                   Kristen Elizabeth Reiter
 Feba Tresa Francis
 Yuqing Han                             Yifan Yuan                                CANDIDATES FOR DEGREES, MAY 16, 2020
 Jungkeon Jo                            Ziheng Zeng                                 Edward M. Hsieh
 Malabika Koley                         Chuanyi Zhang                               Daniel J. Pearlstein
 Yiqiu Liu                              Yibo Zhao
                                        Yixuan Zhao
                                                                                  IN ENVIRONMENTAL ENGINEERING IN
 Bangyong Luo                                                                     CIVIL ENGINEERING
 Roberta Menin Lafraia                 CANDIDATES FOR DEGREES, MAY 16, 2020
 Florica Felicia Mois                   Ayush Agarwal                             DEGREES CONFERRED, AUGUST 05, 2019
 Siqi Qiu                               Aaron Douglas Anderson                      Courtney Anne Ackerman
 Younghwan Seo                          Vikram Sriram Anjur                         Samuel Enrique Aguiar
 Xiaofan Shen                           Adam B. Auten                               Lawrence Michael Blahnik
 Hasudungan Siburian                    Alex Eben Ayling                            Emily Marie Floess
 Jing Su                                Suhas Venkat Baddela                        Anisa Nicole Hardin
 Chengxi Tan                            Sourya Basu                                 Mekhakhem S. Kheperu
 Chenxi Tang                            Michael Anthony Brenner                     Seungyun Park
 Yifan Wang                             Nicholas Foster Cebry                       Sagar Dilipbhai Rathod
 Zijun Xu                               Chin-Yu Cheng                               Yu Zhang
 Shujing Yang                           Jae Won Choi                              DEGREES CONFERRED, DECEMBER 23, 2019
 Ying Yang                              Michael Liam Collins                        Skanda Subramanya Bharadwaj
                                        Guangzhe Cui                                Valeria Nicole Colon Melendez
IN EDUCATIONAL PSYCHOLOGY               Hassan Dbouk                                Indran Kamalanathan
DEGREES CONFERRED, AUGUST 05, 2019      Brendan Chee-Ming Eng                       Yuqing Mao
 John Keagan Dempsey                    Yifeng Fan                                CANDIDATES FOR DEGREES, MAY 16, 2020
 Qiawen Liu                             Yang Fu                                     Hezi Bai
DEGREES CONFERRED, DECEMBER 23, 2019    Anuththari Sankalpa Gamage Gamarallage      Michael James Boetel
 Mingya Huang                           Daniel Sebastian Gonzales                   Yuting Gao
CANDIDATES FOR DEGREES, MAY 16, 2020    Guannan Guo                                 Conor R. Healy
 Sanchari Banerjee                      Joshua McKinley Hanson                      Anqi Li
 Hannah Shirlee Valdiviejas Cohn        Yanda Hu                                    Abhijeet Saraf
                                        Pin-Chiao Huang                             Amber J. Volmer
IN ELECTRICAL AND COMPUTER              Mihir Vishwanath Iyer                       Weihao Wang
ENGINEERING                             Zhijie Jin                                  Xuguang Wu
DEGREES CONFERRED, AUGUST 05, 2019      Kiwook Lee                                  Yiquan Wu
 Wenning Fu                             Qin Li
 Berat Levent Gezer                     Yongxin Li                                IN FINANCE
 Yu Huang                               Yuqi Li                                   DEGREES CONFERRED, AUGUST 05, 2019
 Theerasit Issaranon                    Elie Libbos                                 Sopit Aimpichaimongkol
 Dae Hee Kim                            Jingyang Liu                                Mingyang Han
 Woraprach Kusolthossakul               Tianqi Liu                                  Yunrong Zhou
 Nantao Li                              Haoming Lu                                DEGREES CONFERRED, DECEMBER 23, 2019
 Yayao Ma                               Seyedsohrab Madani                          Aishwarya Almelkar
 Tara Yasmin Mina                       Akshayaa Magesh                             Srinivasa Narasimhan Ananthan
 Matthew Joseph Peretic                 Shyamala Devi Malagari                      Ayesha Ardelia
 Jorge Tordera Mora                     Amr Mamoun Martini                          Amir Baradaran Rafii
 Yuyao Wang                             Julian Arthur Michaels                      Jiun-An Chen
 Dufei Wu                               Simran Pramod Patil                         Qing Chen
 Yuanheng Yan                           Ducheng Qian                                Tianle Chen
 Huozhi Zhou                            Yanli Qian                                  Wan-Yun Chiu
 Xinrui Zhu                             Yujia Qiu                                   Zimeng Cui
DEGREES CONFERRED, DECEMBER 23, 2019    Benjamin Daniel Rabe                        Fernando Dambros Lucchesi
 Kirk Ryan Busche                       Ankit Raj                                   Rong Fu
 Xuanzhen Cao                           Zhongyi Shen                                Chunjia Ge
 Bowen Cheng                            Robin Singh Sidhu                           Priya Gouri
 I Chien                                Sergio Silva                                Yutao Guo
 Amit Deliwala                          Austin William Steinforth                   Akash Gupta
 Junfeng Guan                           Jingning Tang                               Somesubhra Halder
 Hsien-Chih Huang                       Sirimanna Withanage Don Thusara Samith      Jihad Huda Hanggawan
 James Patrick Keiller                     Sirimanna                                Simran Vijay Harsora
 Varun Ajit Kelkar                      Chih-Shin Wang                              Boyu He
 Bonhyun Ku                             Dong Kai Wang                               Hsin-Yi Ho
 Yue Li                                 Liming Wang                                 Yingdong Hou
 Mei-Yun Lin                            Qihao Wang                                  Yihan Huang
 Chetna Malhotra                        Bingzhe Wei                                 Zihao Huang
                                        Anna Winnicki                               David Lin Hung
                                                                                   Exhibit 38 - Page 28 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                     GRADUATE COLLEGE




 Jiamin Jiang                           Bo Lyu                                 Zefang Zhao
 Zhuyun Jiang                           Miras Makitov                          Hao Zheng
 Jinyang Li                             Wiratama Gandhi Rimbawan               Ziheng Zhou
 Sihao Li                               William Brian Schneider                Jingxia Zhu
 Jui-Te Lin                             Caiyan Sha                            CANDIDATES FOR DEGREES, MAY 16, 2020
 Yan Lin                                Mingjie Shen                           Biao Feng
 Dhwani Jitesh Mehta                    Shuhan Shen                            Sida Huang
 Nursultan Mukhamedkarimov              Logan Zachary Stuart                   Yi Liu
 Xiao Nie                               Tianen Wan                             Yuhang Mao
 Jing Ning                              Anheng Wang                            Wenyu Ni
 Perizat Orman                          Haoda Wang                             Guanhua Sun
 Emery Daniel Parker                    Yanxin Wang                            Zhen Wang
 Prarthana Pankajbhai Patel             Yue Wang                               Xiaoyu Yuan
 Yanli Pu                               Jingxuan Xu
 Haolin Qi                              Yimeng Yang                           IN FOOD SCIENCE AND HUMAN
 Tangyue Qian                           Shanting Ye                           NUTRITION
 Ying Qiu                               Yuhui Yin                             DEGREES CONFERRED, AUGUST 05, 2019
 Abhishek Rallabandi                    Ruijiao Yuan                           Kiersten F. Bourgault
 Shreya Rajesh Rathi                    Ziqi Zhang                             Hoi Ting Cheung
 Jose Carlos C. Raunelli Montero        Mingye Zhao                            Dylan Matthew Comer
 Saraja Umesh Samant                    Xudan Zhao                             Amanda Sue Haubrock
 Ruiran Shi                             Xinle Zhong                            Amanda Jean Hebert
 Yan Shu                                Zifan Zhou                             Adam Lee
 Jiaqi Sun                              Yanqing Zhu                            Jingyi Meng
 Yeqi Sun                               Zongze Zhuang                          Mary K. Nance
 Harsha Talakad Rajashekara                                                    Daniel Joseph Petry
 Ao Tan
                                       IN FINANCIAL ENGINEERING                Shannon Deborah Rezac
 Jianqiu Tang                          DEGREES CONFERRED, DECEMBER 23, 2019    Beth Roberts
 Jinge Tang                             Audrey Erembe Ayo                      Ana Maria Vilches
 Eduardo Toledo da Silva                Harshavardhan Baheti                   Mustafa Yavuz
 Chun-Hao Tseng                         Haichao Bo
                                                                              DEGREES CONFERRED, DECEMBER 23, 2019
 Vikas Venkatapathy                     Samir Rajendra Chincholikar
                                                                               Jie-Yu Chung
 Dongjin Wan                            Jianhao Cui
                                                                               Naikang Kuan
 Mengshi Wang                           Yuchen Duan
                                                                               Jordan Scott Letterly
 Qiuya Wang                             Ning Fan
                                                                               Ly Khanh Luu
 Tianyun Wang                           Xiaokang Feng
                                                                               Michael Joseph Mauro
 Yan Wang                               Xiaoman Gong
                                                                               Paul Moresco
 Yanbo Wang                             Mengming Guo
                                                                               Prachi Bipinbhai Patel
 Yiqing Wang                            Qi Guo
                                                                               Maxwell Curtis Pombert
 Yiwen Wang                             Wei Guo
                                                                               Jennifer Quigley
 Ziyi Wang                              Bingjie Han
                                                                               Lawrence Kayum Intiaz Saheed
 Meiou Wen                              Chaozhen He
                                                                               Jenna Schroen
 Qingzhi Wu                             Renjie Hu
                                                                               Hakime Gul Yavuz
 Xiao Xiao                              Jiayong Huang
                                        Alexander Ilnytsky                    CANDIDATES FOR DEGREES, MAY 16, 2020
 Yiqing Xu
                                        Chinmayi Kargal Manjunath              Anguel Kirilov Anguelov
 Luming Yang
                                        Aparna Avinash Kesarkar                Danielle Francesca Aycart Mite
 Yulin Yang
                                        Rishabh Ladha                          Erik Jon Bauer
 Zhanwen Yang
                                        Sihan Li                               Helen A. Bengtson
 Wanting Yao
                                        Wenning Li                             Ariel E. Cavazos
 Jiaqi Ye
                                        Yuezhi Li                              Sarah E. Cragwall
 Po-Wei Yeh
                                        Zhenlong Li                            Dana Leigh Dubinski
 Chenyue Yin
                                        Xiaodong Liu                           Daniel R. Ehrenberg
 Yang Yu
                                        Yue Liu                                Kathryn Claire Frothingham
 Muen Yue
                                        Joseph James Loss                      Marieta Velkova Hyde
 Chen Zhang
                                        Yijun Lou                              Brian E. Jacobson
 Lu Zhang
                                        Changjie Ma                            Kaitlyn M. Joyce
 Nan Zhang
                                        Utkarsh Mishra                         Miya Kelsey Kakuda
 Yundi Zhang
                                        Habeeb Afolabi Olawin                  Ilse Dana LeVine
 Zhuoqun Zhang
                                        Stephen Leonard Pretto                 Michael W. Wilke
 Tian Lun Zhao
 Qinjian Zheng                          Hao Ren                               IN GEOGRAPHY
 Yu Zhou                                Zhanjie Shen
                                                                              DEGREES CONFERRED, DECEMBER 23, 2019
 Yucheng Zhou                           Yuxin Sun
                                                                               Busranur Cakal
 Daohui Zhu                             Peichen Tian
                                                                               Tianshun Deng
 Yue Zhu                                Jingyi Wang
                                                                               Zizhao Ge
                                        Yizhou Wang
CANDIDATES FOR DEGREES, MAY 16, 2020                                           Aaron Jon King
                                        Dizhou Wu
 Ramzi Waleed A Abuljadayel                                                    Lirong Kou
                                        Fengkai Xu
 Linhan Chen                                                                   Evan Morrow Lindroth
                                        Ruozhong Yang
 Xu Du                                                                         Hyun Seok Moon
                                        Sa Yang
 Yexin Du                                                                      Malik Overton Moulton
                                        Shengdong Yang
 Pei-Ning Hsu                                                                  Yang Qiu
                                        Zhaocheng Ying
 Naiwen Hu                                                                     Nurmakhan Ziyadin
                                        Yeo Doo Yoon
 Yue Hu                                                                       CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Zhenqin Yuan
 Wenjie Huang                                                                  Alexander Christian Fojtik
                                        Hongyu Zhang
 Yiming Huang                                                                  Wenhao Gu
                                        Jinhui Zhang
 Yue Jiang                                                                     Dong Liu
                                        Xianhao Zhang
 Honglei Li                                                                    Zhesong Wu
                                        Zhaoning Zhang
 Mingsi Li
                                        Tianhao Zhao
 Wanying Li
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IN GEOLOGY                              Shengzhe Jiao                            Min Seo Mo
DEGREES CONFERRED, AUGUST 05, 2019      Yuqi Kang                                Jingxian Na
 Cecilia Cullen                         Sreeharsha Kavuru                        Nidhi Pramod Paliwal
 Jia Jia Wang                           Mubin Ahmed Khan                         Yeli Park
                                        Gaozheng Liu                             Pranay Kantilal Parmar
CANDIDATES FOR DEGREES, MAY 16, 2020    Tejal Arvind Mahore                      Sarvani Putta
 Nicole Kathleen Murray                 Pranali Rajesaheb Mane                   Xuefeng Qin
IN HEALTH ADMINISTRATION                Gordon James Moreau                      Soundarya Ramani
                                        Yunlu Pan                                Shubham Rawlani
DEGREES CONFERRED, DECEMBER 23, 2019
                                        Ankita Pant                              Anvitha Rayabhari
 Julie Ann Kumar
                                        Shraddhaa Deepak Parkar                  Jyotika Roychowdhury
 Carly Nicole Thomas
                                        Srikanth Pendyala                        Shamini Hilda Samuvel Mani
CANDIDATES FOR DEGREES, MAY 16, 2020    Harshitha Ravindra                       Dhruman Jayesh Shah
 Rebecca Lynn Biernacki                 Devashish Sahay                          Jiani Shi
IN HEALTH COMMUNICATION                 Raghav Sethi                             Meghna Rakesh Shrivastava
                                        Salonee Shailesh Shah                    Smriiti Singhal
DEGREES CONFERRED, AUGUST 05, 2019
                                        Yanan Shen                               Srijith Srinath
 Katrina Bellan Crichton
                                        Yu-En Tsai                               Shraddha Srivastava
 Emily M. Geocaris
                                        Kandace Yvonne Turner                    Yisheng Sun
 Dara Amira Kusumo
                                        Mayank Vijaywargia                       Sweta Surbhi
 Molly Ann Mihlbachler
                                        Saurav Subhash Yadav                     Mansi Tripathi
 Kristi Michele Miller
                                        Yanxing Yang                             Man-Tzu Tsao
 Klara Lynne Wooster
                                        Hunju Yun                                Gnanendra Reddy Tugu Yagama Reddy
DEGREES CONFERRED, DECEMBER 23, 2019    Wendi Zhang                              Han Wang
 Erin Bennett Baber                     Yazhuo Zhang                             Ke-Rou Wang
 Laura Elizabeth Riordan                Zhe Zhang                                Saxue Wang
CANDIDATES FOR DEGREES, MAY 16, 2020    Yueru Zhao                               Xiaoxin Wang
 Jamy Lyn Delk                         CANDIDATES FOR DEGREES, MAY 16, 2020      Yiwen Wang
 Courtney Nicole Harlow                 Dai-En An                                Zhe Wang
 Jane Elizabeth Latimer                 Akshay Bafna                             Simran Sanjiv Wig
 Melanie Lanique Lucas                  Priya Pradeepkumar Balgi                 Che-An Wu
                                        Yifan Bao                                Yang Wu
IN HUMAN DEVELOPMENT AND
                                        Vinu Prasad Bhambore                     Zhenglin Wu
FAMILY STUDIES
                                        Ushma Urvish Bhatt                       Yilin Xia
DEGREES CONFERRED, AUGUST 05, 2019                                               Cong Xiang
                                        Yuqian Cao
 Christopher Royce Maniotes                                                      Qiyuan Xiao
                                        Worawich Chaiyakunapruk
IN INDUSTRIAL ENGINEERING               Wentao Cheng                             Yao Xiao
                                        Sarvagya Dasgupta                        Fenyi Ye
DEGREES CONFERRED, AUGUST 05, 2019
                                        Aakash Dogra                             Shijia Zhang
 Deborshi Goswami
                                        Sayantan Dutta                           Yixin Zhang
DEGREES CONFERRED, DECEMBER 23, 2019                                             Bo Zhao
                                        Cherilyn Anne Easterwood
 Niranjan Uday Kulkarni                                                          Junyi Zheng
                                        Devansh Nitin Gandhi
 Boyu Li                                                                         Yuzhang Zhu
                                        Shanshan Gao
 Reuben Benjamin Wong
                                        Shixiang Gao                            IN JOURNALISM
 Shilin Xia
                                        Mingyan Gong
CANDIDATES FOR DEGREES, MAY 16, 2020    Rajkumar Awadhooyati Gosai
                                                                                DEGREES CONFERRED, AUGUST 05, 2019
 Sharan Balasubramanian                                                          Abigail Joy Bobrow
                                        Yunya Gu
 Kunika Gupta                                                                    Ramiro Nicolas Ferrando
                                        Minghao Guo
 Zhouyun Jin                                                                     Logan F. Hanson
                                        Harshit Gupta
 Xinyang Liu                            Mohit Gupta                             DEGREES CONFERRED, DECEMBER 23, 2019
 Sanjana Menon                          Tatum M. Hawkins                         Pramod Acharya
 Seyoung Park                           Nihit Nitin Hindlekar                   CANDIDATES FOR DEGREES, MAY 16, 2020
 Olivia Helene Reynen                   Xiuyu Hong                               Karen Liu *
 Zekun Yang                             Sayed Shazeb Hussain
 Sihan Yong                             Phoebe Weng Hwang
                                                                                IN KINESIOLOGY
                                        Ziqi Jiang                              DEGREES CONFERRED, AUGUST 05, 2019
IN INFORMATION MANAGEMENT
                                        Wenyao Jin                               Allyson G. Box
DEGREES CONFERRED, AUGUST 05, 2019                                               Dakota G. Morales
                                        Samuel John
 Robert Patrick Callahan                                                         Rebecca Kathleen Yarnot
                                        Mihir Sadanand Joshi
 Paul Edouard Gauthier
                                        Aditya Hemant Kadrekar                  DEGREES CONFERRED, DECEMBER 23, 2019
 Yuerong Hu
                                        Saumye Kaushik                           Nakia Nicole Brown
 Rahul Kumra
                                        Vibhor Khetan                           CANDIDATES FOR DEGREES, MAY 16, 2020
 Linxi Liu
                                        Archana Uday Kulkarni                    Rafael Armando Alamilla
 Tanvi Malhotra
                                        Hsu-Feng Lee                             Mikaela Lynn Frechette
 Lang Qin
                                        Chang Li                                 Gabriela Garcia
 Ulyana B. Starchuk
                                        Xinrong Li                               Haley Elizabeth Holz
DEGREES CONFERRED, DECEMBER 23, 2019    Yongyi Li                                Samuel Christian Lapp
 Devanshi Asit Bhatt                    Yi Liang                                 Dennis Michael Minton
 Rahul Chandran                         Hung-Yi Lin                              Alexander Daniel Nichol
 Tianqi Chen                            Li-Yu Lin                                Juan Esteban Nino Gomez
 Harsh Vijay Chheda                     Qikun Liu                                Mark Anthony Skonieczny
 Pin-Huey Chiang                        Siyu Liu                                 Yuliana Soto
 Gaurav Sarojini Dharra                 Xiner Liu                                Samuel L. Streeter
 Yuan Gao                               Yiqing Liu
 Yashi Gupta                            Xue Lu                                  IN LIBRARY AND INFORMATION
 Cheng Hu                               Xiaofei Luo                             SCIENCE
 Gangfeng Huang                         Priyanshu Madan                         DEGREES CONFERRED, AUGUST 05, 2019
 Pujeethaa Jakka                        Nishi Dhiren Mehta                       Michael Raymond Azzarello
 Lan Jiang                              Yang Meng                                Katherine Ingrid Bence
                                        Shray Kumar Mishra                       Andrea Betenia
                                                                                 Exhibit 38 - Page 30 of 76
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 Seanine Lee Brady                      Margaret J. Robbins                    Ellen Mary Lechman
 Christina Denise Bush                  Gavin Scott Robinson                   Emilye Lewin
 Heather Mary Campbell                  Sophie Hazel Rodgers                   Diana Liao
 Raegan L. Carter                       Jacquelyn Anne Rubashkin               Jessica Licklider
 Ian David Chapman                      Joni Elizabeth Scofield                Victoria Scarlett Lieggi
 Ben Boss Chiewphasa                    Kayla Sheffey                          Eileen M. Lopez
 Andrew McCamman Cook                   Grace Marie Neeley Simons              Michelle Luna
 Samantha Lynne Covis                   Lindsey Nicole Spears                  Rebecca Taylor Maree
 Tina A. Cowsert                        Kortni Paige Springer                  Holly Christine Mathews
 Sara Elizabeth Degraff                 Rebecca Dale Strang                    Gabrielle Mays
 Benjamin Charles Eggler                Kevin Arnold Strickland                Adam Michael McConville
 Brent Andrew Ferrantelli               Christinna Young Gene Swearingen       Cynthia Medrano Torres
 Megan Nicole Freeman                   Tang Tian                              Claire Elizabeth Michaels
 Victoria Gomez                         Tara Loren Trentalange                 Joanna Nicole Miller
 Nell Chapin Gram                       Anne Elizabeth Wallace                 Pamela Marie Nila
 Anna Grau Schmidt                      Amanda Joan Weber                      Anastasiya Olkanetskaya
 Samantha Leigh Hagar                   Benjamin Peter Weller                  Megan Nicole Pearson
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 Mark Smylie Hart                       Adam Widera                            Dennis W. Piehl
 Catrina Leann Klassen                  Janelle Williams                       Annabel Lauren Pinkney
 Warren Jay Lambert                     Erin Wittry                            Naijun Qu
 Kristin N. Lansdown                    Nicholas Martin Wolf                   GraceAnne Elizabeth Roach
 Niki Terese Marabotti                 CANDIDATES FOR DEGREES, MAY 16, 2020    Jayde A. Rose
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 John Morgan                            Elora Alexandra Agsten                 Mariah Mendes Schaefer
 Cesar Ortega                           Taylor Renee Anderson                  Gloria De La Garza Shaw
 Dee Anna Phares                        Kaye Walker Asplund                    Kelsey Lucinda Shaw
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 Sarah Justine Schoon                   Xena Becker                            Claressa Renee Slaughter
 Emily Marie Schroeder                  Sara Johnson Bennett                   Courtney Amber Smith
 Katherine Joyce Stein                  Emily Adele Benton                     Taylor Skelton Smith
 Molly Lennon Stevenson                 Kelly Ann Birky                        Angela Maeve Solis
 Sherry Williams                        Mia Ana Blixt-Shehan                   Amy Elizabeth Spitz
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 Ashley Marie Ajayi                     Lauren Ashley Camarillo                Patricia Templeton
 Aicha Azzaoui                          Anna Catherine Campbell                Joseph Rocco Tucci
 Salim M. Belahi                        Corey David Campbell                   Elizabeth Ellen Tucker
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 Julie Michele Calcagno                 Amanda Read Crow                       Claire Elizabeth Weibel
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 Dale June Correa                       Catherine Moon Dudley                  Sara Huber Williams
 Devon Rose Davidoski                   Kaylen Dwyer                           Christine Rose Willson
 Lizette De La Mora                     Kelly Rose Ferreira                    Jeanie Winkelmann
 Siobhan Caitrin Egan                   Yvonne Rose Freebourn                  Jasmine Mingjieh Wong
 Amanda Kay Endicott                    Rosemary Catherine Froeliger           Sarah Joan Zagotta
 Sara Marie Finnigan                    Linden Daniel Galloway                 Valerie Faye Zulevic
 Michelle C. Frigo                      Jena L. Garber                        IN MANAGEMENT
 Jeremy T. Goossens                     John Dunbar Gargiulo
 Jenna Greiner                          Catherine Elizabeth Garner
                                                                              DEGREES CONFERRED, AUGUST 05, 2019
                                                                               Joseph Brandt-Unger Freeman
 Erica Nicole Halpern                   Dykee Gorrell
                                                                               Nicholas Cornell Green
 Kate Elizabeth Hartman                 Rebecca N. Graham
 Monica Katie Tucker Hoh                Cordelia Lee Grob                     CANDIDATES FOR DEGREES, MAY 16, 2020
 Michele Nicole Hunt                    Joshua Miriam Hackel                   Ruth A. Adekale
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 Bradley Edmund Kane                    Corinne Marie Henderson                David Edward Boehne
 Jungeun Kim                            Taylor Fisk Henning                    Myla A. Cook
 Sarah Marie Kimes                      Bryan Tyson Hinds                      Lauren Ashley Estes
 John Matthew Leeker                    Nina Elizabeth Hopkins                 Mousa A. Jodeh
 Natalie R. Leoni *                     Amber Gail Hoppenworth                 Erica Noel Larson
 Jiaoyuan Li                            Victoria Regina Horberg-Olson          Samantha Qianhua Li
 Aaren Deon Lindberg                    Hanan Hazem Jaber                      Bing Liu
 Ashley Nicole Long                     Thomas Matthew Jencks                  Lillian Marie Ondera
 Olga Makarova                          Luesoni Denetta Johnson                LaTosha G. Pointer
 Michael Carl Massaro                   Erika Lynn Johnsrud                    Elizabeth Marie Prince
 Matthew Richard Mayton                 Jennifer Ashley Jordan                 Joshua Tia Pullman
 Savannah McClellan                     Erin Elizabeth Kane                    Caleb J. Reams
 Justin D. Miller                       Tiffany Nicole Kane                    Ann Elizabeth Righter
 Monica Lynn Otoide                     Hilary Nicole Kelly                    Adam Edward Skoff
 Whitney Parrillo                       Gregory Scott Kessler                  Sarah Jimin Sung
 Amelia Ryerson Ranney                  Allison E. Kilberg                     Robert Murphy Walker
 Katie D. Ratliff                       Naomi Rebekah Kufel                    Robin Patricia Wilson
 Kaitlyn M. Reed
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IN MATERIALS SCIENCE AND                Wuchen Fu                                Maureen Lindsay Hurd
ENGINEERING                             Lauren Elizabeth Kovanko                 Christine Anne Lepine
                                        Gowtham Kuntumalla                       Luke James Malanchuk
DEGREES CONFERRED, AUGUST 05, 2019
                                        Jiayu Li                                 Melissa Ann McCabe
 Arneet Rajput
                                        Rupesh Kumar Mahendran                   Jessica Leigh Stern
 Venkatesh Kumaran Sivagnana Desigan
                                        Daniel J. Meaney                         Henry L. Symanski
DEGREES CONFERRED, DECEMBER 23, 2019    Austen Motily
 Avirup Kundu                           Qasim Nazir
                                                                                IN NUCLEAR, PLASMA, AND
 Sridhar Sashank Peravali               Vaibhav Vinay Tipnis                    RADIOLOGICAL ENGINEERING
 Naga Srinivasa Kalyan Villari          Jasvir Virdi                            DEGREES CONFERRED, AUGUST 05, 2019
 Chih-Hung Yeh                          Qiong Wang                               Jan P. Uhlig
CANDIDATES FOR DEGREES, MAY 16, 2020    Yilin Wang                               Yanqin Zhai
 Alexander Joseph Deptula               Yuchen Xu                               DEGREES CONFERRED, DECEMBER 23, 2019
 Jing Jiang                             Kai Zhou                                 Gwendolyn Jin Yi Chee
 Phalgun Madhusudan                                                              Ming Fang
 Chuqiao Shi                           IN MICROBIOLOGY                           Alexander Lawrence Heald
 Mitisha Surana                        DEGREES CONFERRED, AUGUST 05, 2019        Camilo Jaramillo Correa
 Yuxuan Wu                              Matthew Alex Georgiou                    Mikayla Marie Molnar
 Luyang Xie                             Peter James Korajczyk                    Gianluca Anthony Panici
 Zhaoran Xu                             Sangeetha Ramesh                         Matthew Scott Parsons
 Kaiyuan Zhang                         DEGREES CONFERRED, DECEMBER 23, 2019      Dren Qerimi
                                        Talina Sylviane Bastille                 Carly Joan Romnes
IN MATHEMATICS
                                        Sneha Das                                Karl Abraham Roth
DEGREES CONFERRED, AUGUST 05, 2019      Ruben Leonardo Sanchez-Nieves            Heather N. Sandefur
 Adriana Morales Miranda                                                         Hanna Schamis
                                       CANDIDATES FOR DEGREES, MAY 16, 2020
DEGREES CONFERRED, DECEMBER 23, 2019    Molly Katherine Crowder                  Gregory Thomas Westphal
 Timothy Cortland Drake                 Nicholas Bayne Handy                     Taiyang Zhang
 Joseph D. Malionek                     Roy Joel Rodriguez-Carrero              CANDIDATES FOR DEGREES, MAY 16, 2020
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CANDIDATES FOR DEGREES, MAY 16, 2020   IN MOLECULAR AND CELLULAR                 Samuel Xavier Bennett
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 Xiying Du                             CANDIDATES FOR DEGREES, MAY 16, 2020      Yunlai Chen
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 Nikhil Mertia                          Braesen Lee Rader                        Park Sun Myung
 Amber Srivastava                                                                Aric Charles Tate
                                       IN MOLECULAR AND INTEGRATIVE
 Samuel Austin Thompson                                                          Jiajin Zhang
                                       PHYSIOLOGY
 Shukun Wu
                                       DEGREES CONFERRED, AUGUST 05, 2019       IN NUTRITIONAL SCIENCES
IN MECHANICAL ENGINEERING               Daphne Elizabeth Eagleman               CANDIDATES FOR DEGREES, MAY 16, 2020
DEGREES CONFERRED, AUGUST 05, 2019      Xiyu Ge                                  Ruyu Liu
 Vineeth Bodapati                       James T. Nguyen                          Susan K. Mantell
 Fan Kiat Chan                          Anushna Sen
 Hussein Darir                          Amanda C. Weiss                         IN PHYSICS
 Benjamin Robert Gilbert               DEGREES CONFERRED, DECEMBER 23, 2019     DEGREES CONFERRED, AUGUST 05, 2019
 Kimberly Jane Gustafson                Harvey Marvin Andersen                   Muyan Du
 Larsson M. Johnson                                                              Chong Han
                                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Da Sol Kim                                                                      Vincent Enno Thomas Hickl
                                        Gregory C. Tracy
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 Gautham Krishnan                      IN NATURAL RESOURCES AND                  Zachary J. Weiner
 Elizabeth Renee Livingston            ENVIRONMENTAL SCIENCES                    George Nathaniel Wong
 Yeshern Maharaj                       DEGREES CONFERRED, AUGUST 05, 2019       DEGREES CONFERRED, DECEMBER 23, 2019
 Sara Grace Moshage                     Amaryllis Kathleen Adey                  Allycia Gariepy
 Hyunjik Park                           Sarah Elizabeth Brown                   CANDIDATES FOR DEGREES, MAY 16, 2020
 Boqiang Qian                           Katelynn Sue Dearth                      Jackson Okech Ang Ong A
 ChangHee Son                           Sean E. MacDonald                        Kathleen Anne Bolan
 Sharanya Subramaniam                   Dino Robert Maraldo                      Ali Abdullah Husain
 Luis E. Urrutia                        Sarah Ashley Molinaro                    Weizhen Jia
 Lihua Wei                              Michael T. Nosbisch                      Timothy Curtin Miller
DEGREES CONFERRED, DECEMBER 23, 2019    Mara Kathleen Rembelski                  Jacob Jose Rangel
 Christopher T. Aksland                 Evalynn Trumbo                           Taylor Nicole Shimek
 Yashraj Rajendra Bhosale               Jeffrey Scott Turner
 Hae Woo Chung                                                                  IN PLANT BIOLOGY
                                       DEGREES CONFERRED, DECEMBER 23, 2019
 Prateek Prabhakar Garag                Luis Fernando Andino Galeano            DEGREES CONFERRED, AUGUST 05, 2019
 Amin Salami                            Kathryn V. Drahota                       Mia Sands
 Zhenghe Shangguan                      James Anthony Garavaglia                IN PSYCHOLOGICAL SCIENCE
 Sreenath Sundar                        Samantha E. Klein
 Chuyuan Tao                                                                    CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Kaitlyn E. Ripple
 Giridar Vishwanathan                                                            Christopher Michael Crawford
                                        Zachary Andrew Rozansky
 Yupeng Wang                                                                     Yadong Dai
                                        Lores T. Steury
 Jad Jean Yaacoub                                                                Gabrielle R. Drong
                                        Stephen Albert Tyndel
                                                                                 Siqi Feng
CANDIDATES FOR DEGREES, MAY 16, 2020   CANDIDATES FOR DEGREES, MAY 16, 2020      Grace Goodwin
 Lucheng Bao                            Michael S. Beaudoin                      Lydia Yuna Jiang
 Allison Kay Bushman                    Devin A. Edmonds                         Rhyann Leslie Robinson
 Austin Josiah Butler                   Eric John Gates                          Wing Yan Sze
 Yixiao Cui                             Monique Soraya Hazemi                    John Yi
 Carolyn Nicole Darling                 Noah Prescott Horsley
                                                                                Exhibit 38 - Page 32 of 76
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IN PSYCHOLOGY                           Do Hyun Hwang                              Yuxuan Zhang
DEGREES CONFERRED, AUGUST 05, 2019      Shuang Ke                                  Haowen Zhou
 Fan Xuan Chen                          Wei Chen Lin                               Jingyi Zhu
 Hope Holland                           Nanzhu Liu                                 Lin Zhu
                                        Fanwei Meng
 Philip Alexander Huebner
                                        Meng Meng
                                                                                  IN STRATEGIC BRAND
 Victoria Lynn Jay
                                        Ghazal Naseri Kouzehgarani *              COMMUNICATION
 Lynda C. Lin *                                                                   DEGREES CONFERRED, DECEMBER 23, 2019
 Benjamin Xavier White                  Rongqi Pan
                                        Chieh-Han Pu                               Linsey Bahl
DEGREES CONFERRED, DECEMBER 23, 2019    Bing Qiao                                  Matthew Beebe
 Grace M. Clements                      Xiong Qin                                  Alexia M. Brown
 Auburn A. Jimenez                      Danielle Kaye Sass                         Taylor Callais
 Melinh Lai                             Naveen Mathew Nathan Sathiyanathan         Jenny Q. Chang
 Anqi Li                                Christopher Aiden Tetro                    Aryelle Cook
 Kenzhane D. Pantin                     Haofeng Wang                               Jamie E. Corcoran
 Andi Lee Quasebarth                    Li Wang                                    Kerry Flagg
 Haley V. Skymba                        Wenqing Wei                                Michelle Marie Floyd
 Walter James Venerable                 Qianting Xie                               Katie Jane Friar-Glass
CANDIDATES FOR DEGREES, MAY 16, 2020    Yuning Xie                                 Julian Garcia
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 Talia Rebecca Berson                   Hai Yan                                    David Alma Hale
 Chelsea S. Birchmier                   Xinyuan Yang                               Frank A. Horger
 Yueyang Chen                           Yang Yu                                    Catharine L. Ingram
 Megan K. Finnegan                      Chenzi Zhang                               Sarah Ye Eun Kang
 Nicole Alyssa Morales                 CANDIDATES FOR DEGREES, MAY 16, 2020        Kathleen Colleen Komraus
 Marissa Danielle Sbrilli               Siddharth Ahuja                            Bridget Lee-Calfas
 Jonathon S. Whitlock                   Krishna Dwaipayana Bharadwaj Anapindi *    Sylvia Loza
                                        Arjitha Balaji                             Aaron Michael Mace
IN RECREATION, SPORT AND                                                           William Matthew Magnesen
TOURISM                                 Xuanyang Cai
                                        Aditya Chanodia                            Dalton Steven Manci
DEGREES CONFERRED, DECEMBER 23, 2019                                               Yatevia Manning
                                        Xi Chen
 Andres Balcazar                                                                   Tayler D. McCarthy
                                        Yong Chen
 Daniel Joseph Bednarczyk                                                          Mayank Mehta
                                        Timothy Chin
 Matthew E. Buchi                                                                  Rachel Nicole Peabody
                                        Hun Cho
 Reginald Antonio Corbin                                                           Richard Joseph Pieczynski
                                        Alessandro Contento
 Nathaniel H. Cualoping                                                            Paula Elizabeth Popowski
                                        Onur Demirkaya
 Michael Jones                                                                     Caitlin Christy Robb
                                        Kimberly Jo Diller
 Aaron M. Jordan                                                                   Holly Nicole Rushakoff
                                        Chenghao Ding
 Steven Knysch                                                                     Emily N. Skorin
                                        Pulkit Dixit
 Matthew Rafael Lopez-Cervantes                                                    Lisabette K. Spellman
                                        Sada Margaret Egenriether
 Abigail Jean O’Brien                                                              Kyla Margaret Temple
                                        Jiamin Geng
 Yue Pei                                                                           Kelly Mallon Young
                                        Mingqi Hu
 Evan A. Shawgo                                                                   CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Wenxuan Ji
 Matrisha Souvannarath                                                             Laura Leigh Genise
                                        Zhengcheng Jiang
 Dana Marie Tincher
                                        Pradnyesh Vineet Joshi                    IN SUSTAINABLE URBAN
CANDIDATES FOR DEGREES, MAY 16, 2020    Sunny Katiyar
 Marissa Marie Bainter                                                            MANAGEMENT
                                        Jiarui Li
 Mindy Margaret Brand                   Jingwei Li                                DEGREES CONFERRED, DECEMBER 23, 2019
 Jared Robert Brown                     Min Li                                     Hyejin Kim
 Katryn Chryst                          Lynda C. Lin *                             Minho Kwon
 Sean Ryan Cicogna                      Yan Liu                                   IN SYSTEMS AND ENTREPRENEURIAL
 Alexis A. Conlin                       Tianyi Mao
 Natalie Jayne Dukes
                                                                                  ENGINEERING
                                        Daniela Mejia
 Michael Anthony Girot                                                            DEGREES CONFERRED, DECEMBER 23, 2019
                                        Matthew Christopher Modaff
 Michael Thomas Haynes                                                             Ryan P. Somerfield
                                        Yevgeniy N. Onegov
 Joseph A. Kalwat                       Luke Alan Plutowski                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Karlee Kolb                            Roberto Jose Sanchez-Vegas                 Bo Chen
 Nicole Kristine Lamborn                Xinyi Song
 Matthew Steven Poland
                                                                                  IN TEACHING OF BIOLOGICAL
                                        Chendan Tang                              SCIENCE
 Gus Sarantos Psimoulis                 Neeraj Milind Wagh
 Michael D. Sprieser                                                              DEGREES CONFERRED, AUGUST 05, 2019
                                        Alex P. Wang
 Derek John Hom Wagner                                                             Amanda Mae Young
                                        Chen Wang *
 John Coleman Weems                     Qing Wang                                 DEGREES CONFERRED, DECEMBER 23, 2019
                                        Yutong Wang                                Renee K. Anderson
IN STATISTICS                                                                      Amanda Birth
                                        Teng Wu
DEGREES CONFERRED, AUGUST 05, 2019                                                 Jonathan Albert Hamelinck
                                        Wang Xiang
 Xi Chen *                                                                         Casey Landon Hertz
                                        Lingyi Xu
 Adam Christopher Lightner                                                         Jacob Knobloch
                                        Yi Xu
 Tianxin Wu                                                                        Daniel P. Sinclair
                                        Meng Yang
 Albert Yu
                                        Bowei Ye                                  CANDIDATES FOR DEGREES, MAY 16, 2020
DEGREES CONFERRED, DECEMBER 23, 2019    Hulya Duygu Yigit                          Brian Thomas Delsandro
 Yingying Cao                           Bo Zhang                                   Zoe Elizabeth April Edwards
 Junyao Chen                            Cindy Zhang                                Ellen Kelm Berger
 Samuel David Collins                   Peng Zhang                                 Kara Anne Nash
 Wenjing Du                             Xiaohan Zhang *                            Elizabeth Amanda Seal
 Lingzhu Gu                             Xinlei Zhang                               Amanda Jo Stenger
 Aamodini Sameer Gupta                  Yanrui Zhang
 Davin Alexander Hill
                                                                                  Exhibit 38 - Page 33 of 76
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GRADUATE COLLEGE                                                                      2020 COMMENCEMENT AT ILLINOIS




IN TEACHING OF MATHEMATICS              Seungyeol Lee                                   MASTER OF SOCIAL WORK
CANDIDATES FOR DEGREES, MAY 16, 2020    Sichen Li
                                        Wen-Hsuan Liang                                 DEGREES CONFERRED, AUGUST 05, 2019
 Paul Thomas Jones                                                                       Megan Christine Barritt
                                        Pei-Yi Lin
IN TECHNICAL SYSTEMS                    Teng-Yung Lin                                    Emily Ann Bauman
MANAGEMENT                              Xiner Ling                                       Katya Cerrato
                                        Yuxuan Liu                                       Stephanie Chavez Ayala
DEGREES CONFERRED, DECEMBER 23, 2019
                                        Zixuan Liu                                       Daniel Bryant Crowley
 Octavio Pena
                                        Chenyang Lu                                      Anna Marie Eastman
IN TECHNOLOGY MANAGEMENT                Aniket Mittal                                    Elizabeth Jean Eichelberger
DEGREES CONFERRED, AUGUST 05, 2019      Nikita Brentovich Newcomb                        Kassidi Rae Franzen
 Miao-Hsun Chang                        Jiaji Pan                                        Alexis S. Gatses
 Tun Chang                              Yiyue Pang                                       Beatriz Gonzalez
 Wei-Hao Chen                           Stephen Thomas Quinn                             Morgan Graefen
 Yilin Chen                             Yicun Ren                                        Avery Suzanne Gutwein
 Chia-Chi Cheng                         Jingyang Tan                                     Arianna Irene Haines
 Shao-Wei Cheng                         Sai Sushanth Tharigopula                         Jessica L. Heckenmueller
 Kuan-Chen Chou                         Kyle J. Venet                                    Aide Hernandez
 Varsha Choudhary                       Zixi Wang                                        Ana Maria Hernandez
 Tsai-Ting Chung                        Annie Jui-Chieh Wu                               Carmen Karina Hernandez
 Namita Prabhakar Dhakate               Yangyang Yan                                     Gaynett Charie Hoskins
 Amal Dutt                              Ying Yan                                         Eleni Kaldis
 Xiaoxu Fu                              Xiao Yang                                        Emily D. Lalich
 Samarth Gupta                          Rui Yu                                           Devin L. Lanin
 Jae Yong Hong                          Shizheng Yu                                      Min Young Lee
 Amaan Mansoor Hundal                   Aoxue Zhang                                      Sarah Mae McCoy
 Mariam Inam                            Jinhan Zhang                                     Clarence E. McCray
 Somkajorn Janekasidit                  Jinxuan Zhang                                    Victoria Ariel Mendiola
 Elijah Evan Johnson                    Xingya Zhang                                     Patrice LaShay Murphy
 Tufel Salim Kadri                      Yingqian Zhang                                   Artinese Renee Myrick
 Hak Hae Kim                            Yuxiang Zhao                                     Nancy Jacquelyn Perez-Flores
 Chia-Ju Lee                            Bocong Zheng                                     Amber Lynn Phillips
 Kyuho Lee                              Shiyi Zhou                                       Anna Kinsey Pryde-Wait
 Sunho Lee                                                                               Khoran Renae Readus
 Yi-Chien Lee
                                       IN THEORETICAL AND APPLIED                        Jeslyn Elean Roat
 Sean Eugene Leland
                                       MECHANICS                                         Macie Marie Sarver
 Chi-Fang Li                           DEGREES CONFERRED, AUGUST 05, 2019                Anna Elizabeth Schneider
 Yicun Lin                              Aditya Heru Prathama                             Katherine Sidwell
 Vibhor Mathur                         DEGREES CONFERRED, DECEMBER 23, 2019              Alyssa Taylor Snodsmith
 Nikita Nerkar                          Kento Kaneko                                     Jessica Delores Stear
 Jason Pereira                          Anthony Salvatore Margotta                       Kevin Thomas Steidinger
 Yasir Israr Romee                      Alireza Mojahed                                  Laura Beth Tallon
 Sameer Vijay Sawardekar                Matthew Glen Robertson                           Lyndsey Nicole Utter
 Vishal Sharma                          Jonathan M. Wang                                 Yang Wang *
 Deeksha Shetty                                                                          Kacie Layne Waterman
 Swetosree Sinha                       IN VETERINARY MEDICAL SCIENCE -                   Mary Elizabeth Wetzel
 Yogita R. Sonavane                    COMPARATIVE BIOSCIENCES                          DEGREES CONFERRED, DECEMBER 23, 2019
 Surrbhi                               CANDIDATES FOR DEGREES, MAY 16, 2020              Zainab Lawan Adam-Anderson
 Prashant Laxman Waman                  Jia Fu                                           Sarah Stephanie Aiello
 Chenyun Wan                            Lyndzi Marie Miller                              Kia Kollette Alcorn
 Kai Wang                              IN VETERINARY MEDICAL SCIENCE -                   Jill Michelle Bachman
 Ting-I Wu                                                                               Emily Backode
                                       PATHOBIOLOGY
 Jiyao Yang                                                                              Jasmine G. Baines
 Jingyi Zhang                          DEGREES CONFERRED, AUGUST 05, 2019                Kristoffer VanDyke Barrington
 Xiaowen Zhang                          Rachel Louise Autran Lourenco Teixeira Neto      Jacqueline Claire Blackburn
DEGREES CONFERRED, DECEMBER 23, 2019   CANDIDATES FOR DEGREES, MAY 16, 2020              Margaret Anne Blake
 Li-En Huang                            Jineui Kim                                       Claire Suzanne Borsinger
 Rui Lu                                 Jennifer Elizabeth Nickolyn-Martin               Nicole Christine Brix
 Pinkan Fedria Taroreh                                                                   Kawanna Matoya Brooks
                                       IN VETERINARY MEDICAL SCIENCE -
                                                                                         Sara Eleonore Burt
CANDIDATES FOR DEGREES, MAY 16, 2020   VETERINARY CLINICAL MEDICINE
                                                                                         Lydia Jane Zhen Douglas
 Tolulope Adenola Samuel Akintan       DEGREES CONFERRED, AUGUST 05, 2019                Shelby Lynn Emerick
 Rahul Anand                            Giorgia Podico                                   Kye Thomas Ewing
 Avinash *
                                       DEGREES CONFERRED, DECEMBER 23, 2019              Alayia Renne Felkner
 Daniel Adnan Badro
                                        Carrie Lynn Cavett                               Amanda Lynn Gaugler
 Yifan Bu
                                        Christina Cocca                                  Erin Elizabeth Gelke
 Chia-Kang Chao
                                        Samantha N. Vitale                               Adam James Griffy
 Jiasi Chen
                                       CANDIDATES FOR DEGREES, MAY 16, 2020              Rachel A. Harden
 Jiayu Chen
                                        Jeffrey Brunson Curtiss                          Michaela Lynn Hillen
 Ruiqing Chen
                                        Hadley Eliza Gleason                             Samantha A. Hoard
 Xin Chen
                                        Danielle Louise Gordon                           Brittney Dawn Homann
 Abhiraj Singh Chouhan
                                        Natalie Michelle Kirk                            Miranda M. Honigman
 Nikil Peter D Silva
                                        Rachel Lampe                                     Nicole Michele Hrabik
 Zihao Gu
                                        Andrea Elizabeth Pohly                           Edith Jaucian
 Abhilasha Arun Gulhane
                                                                                         Ashley Marie Kersten
 Yi Ting Huang
                                                                                         Jordin Marie Kirk
 Pranaya Jajoo
                                                                                         Mariya Kozak
 Austin Jairrod King
                                                                                         Kellsi Nichole Litwiller
                                                                                         Hannah Maloney
                                                                                         Exhibit 38 - Page 34 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                         GRADUATE COLLEGE • ACES




 Rachel Elizabeth Mikel                MASTER OF STUDIES IN LAW                Nathen Julian Rimpila
 Elizabeth Ann Miner                                                           Christopher M. Scanlan
 Anthony Evan Mosinski                 CANDIDATES FOR DEGREES, MAY 16, 2020    Yue Xu
 Adolfo Oropeza                         Sebastian Nicholas Pique               Anyu Yang
 Camillia Renee Percefull                                                      Timothy M. Zelek
 Margaret Elizabeth Perry              MASTER OF URBAN PLANNING                Ziwei Zhang
 Tracy Reyes                           DEGREES CONFERRED, AUGUST 05, 2019      Yuhan Zhu
 Jennifer Renee Richards                Celia Reeanne Burke                   CANDIDATES FOR DEGREES, MAY 16, 2020
 Krystina Chantice Robinson             Lindsey N. Miller                      Dylan Ross Abrams
 Sarah Ilo Salisbury                    Anusha Mishra                          Bina Liaqat Ali
 Richard McKinley Setzer                Sushma Pramod                          William Anthony Almond
 Aileen Valdovinos                      Muhammad Usman                         Derek Wayne Anderson
CANDIDATES FOR DEGREES, MAY 16, 2020   DEGREES CONFERRED, DECEMBER 23, 2019    Grace Isabelle Andre
 Gabrielle Joy Adams                    Prahallad Aravind Badami *             Yorin Anggari
 Mary Louise Adams                      Miles O. Churchill *                   Lane Nathaniel Avenatti
 Ann Nicole Ambrose                     Jasmine Patricia Thomas                Mackenzie T. Bach
 Kara Marie Anderson                                                           Jason Corey Baer
 Christopher C. Bell                   CANDIDATES FOR DEGREES, MAY 16, 2020    Thomas Grant Bailey
 Amy Bisby                              William Allan Andresen                 Joseph Edwin Song Banks
 Emily Christine Braden                 Rebecca Carolina                       Kyle K. Barry
 Taylor Marie Brady                     Seyed Mohsen Fatemi                    James Patrick Belz
 Marjorie Marie Buss                    Hunter Lynn Fillers                    Grecia Benitez
 Matthew T. Carter                      Daniela E. Gomez *                     Maria Demitra Blanas
 Jenna M. Colgan                        Ming Hang                              Nathan Robert Breisch
 Sheryl J. Coyle                        Pio Ibrahim                            Madeline McLean Brown
 Alison Rose Crooks                     Caitlin Marie Kelly                    Ty Anderson Brown
 Regan Marie Cunningham                 Agustina Krapp                         Carolyn Zhang Cai
 Ashti Nicole Dawson                    Arum S. Lee                            Aliza Christine Calmer
 Carly N. Delzell                       Rebecca E. Martin *                    Mark N. Candotti
 Manasi Deshmukh                        Munira Mithaiwala                      Katlyn Frances Carrington
 Nathan Joel Donaldson                  Aubria Nicole Myers                    Nicole Z. Chacin
 Keaton James El-Talabani               Brent David Panozzo                    Rebecca Chan
 Lyndi Elliott                          Swati Rastogi                          Yimei Chen
 Delaney Sue Grafelman                  Manika Shrivastava                     Natalie Chui-Jing Chow
 Geddy B. Grove                         Emma Lee Smith                         Constance Hellena Chrones
 Adeline Hakes                          Alexis Michelle Stewart                Noah Clayton Clohisy
 Anna Lisa Hammeleff                    Katherine R. Trotter                   John Christopher Cullen
 Jessica Ann Hanko                                                             Timothy D. Cullen
 Mariah Christine Hanson               COLLEGE OF AGRICULTURAL,                Cody David Daech
 Alexus C. Hasler
 Anna Morning Hatgidakis
                                       CONSUMER AND ENVIRONMENTAL              James William Dalessandro
                                                                               Dominic Edward Daley
 Emily Elizabeth Haycraft              SCIENCES (ACES)                         Max Joseph Daly
 Jennifer Bryanna Held                                                         Shyam A. Dave
 Noami Miranda Hernandez               BACHELOR OF SCIENCE                     Jack Howard Davis
 Taylor Nicole Horn                                                            Anthony J. Diperte
 Angela Ruth Hudelson                  IN AGRICULTURAL AND CONSUMER            William Joseph Doran
 Ryan Michael Isenhower                ECONOMICS                               Nathaniel Christian Dowell
 Fatema Firoz Jivanjee                                                         Lance M. Dumont
                                       DEGREES CONFERRED, AUGUST 05, 2019
 Eleni Isabel Kaitson                                                          Carson A. Edwards
                                        Yimin Chen *
 Hailey Elizabeth Kline                                                        Ezekiel James Eisenmenger
                                        Brent A. Frump
 Samantha Marie Lacey                                                          Emmet Gregory Elisha
                                        Nia I. Gipson
 Julie Ann Lauper                                                              Taylor Alexandra Evonitz
                                        Nicholas James Lentz
 Logan Ann Lauritzen                                                           Griffin Farrelly
                                        Jung Heon Park
 Tenyia Nykia Lewis                                                            Presley Shae Fee
                                        Abigail Jane Phillips
 Natasha Michelle Mables                                                       Matthew James Finan
                                        Nathan D. Pimentel
 John Matosian                                                                 Gabriella Medina Hamilton Fishe
                                        Asha N. Simmons
 Chelsea Mae Theresa Mehegan                                                   Rachel P. Fleischman
                                        Jacob Lee Toutloff
 Christopher Miner                                                             Calvin Robert Florey
                                        Michael Edward Turek *
 Haley Renee Moreland                                                          Elliot Boyd Foley
                                        Jordan Samuel Wolf
 Bridget Clare Murphy                                                          Eric Michael Foley
 Alexandra Nambo                       DEGREES CONFERRED, DECEMBER 23, 2019    Luke Edward Forfar
 John Robert Nesse                      Michael H. Alexander                   Christopher Michael Fox
 Alice Blake Paul                       Oksana Batryn                          Trey Frank
 Frank J. Pisano                        Siyao Cheng                            Michael Frederick
 Sophia Anne Plocher                    Cade Emery Day                         Dennis Cole Garmon
 Jennifer Kay Queen                     Jacob Zachary Dismang                  Bishal Ghosh
 Tessa Lynn Reid                        Michael D. Glenn                       Colbey Jyaire Gilford
 Erin Jane Rooney                       Deforest Charles Gould                 Elaine Catherine Girardi
 Edwin Salgado                          Tessa Grewer                           Stanley Chahenza Godia
 Samantha Joanne Sanders                Immanuel J. Hartsfield                 Noah James Gonzales
 Abigail Jean Schuldt                   Drew J. Heitzman                       Daniel Ryan Graham
 Michael Ronald Soltis                  Bumjoon Kee                            Anthony P. Greco
 Lynn Norine Wiley                      Kyle Richard Laska                     Gina Lee Groesbeck
 Vanita Shivana Williams                Jiabao Li                              Milan Grover
 Carrie Lynn Wyatt                      Casey J. Modglin                       Egan Gerald Guzaldo
 Caitlin Marie Yore                     Abigail Roberta Mongan                 Alexis Rose Hartman
 Emily M. Young                         James Barron O’Neill                   Grace Elizabeth Hennelly
                                        Daniel Ogrodny                         Jalen Hill
                                        Brent Austin Pruitt                    Laine Dale Honegger
                                        Sydney Queen
                                                                               Exhibit 38 - Page 35 of 76
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ACES                                                                   2020 COMMENCEMENT AT ILLINOIS




 Erin Anne Hughes                Michael Patrick Sullivan                 Riccai-Jenine K. Hunter
 Joseph T. Hull                  Noah Benjamin Taffel                     Kori Kyara Johnson
 Alexander T. Izard              Yu Tang                                  Ye Wool Kim
 Nikhil Jain                     Reed Taylor                              Fiona Christine Kuo
 Andrew Scott Johnson            Taleah Nicole Thomas                     Leonardo Mauricio Molina *
 Philip Timothy Johnston         Harley Martin Tobon                      Elizabeth Ann Murray
 Mason Lee Joop                  Jake T. Trattner                         Julia Jocelyn Perez
 Thomas Frederick Justison       Eileen M. Urish                          Alanis N. Rich
 Kevin Michael Kawarski          Rohan G. Vaidya                          Eileen Patricia Salas
 Patrick M. Keffer               Clare Elizabeth Vandenbergh              Emily Nicole Shepard
 Joohye Kim                      Daniel Alexander Vasko                   Jacob Matthew Wirth
 Taehee Kim                      Anastasia S. Vorobiova                  DEGREES CONFERRED, DECEMBER 23, 2019
 Benjamin William Kimes          Leslie Ann Walker                        Nur Bint Fuad As-Siddiqui
 Sean Buckley Kindra             Grace M. Waters                          Danielle Jessica Cammon Parker
 Dominique Erica LaSalvia        Samuel Lee Weber                         Ashley Elizabeth Cooney
 Dylan Arthur Lafayette          Taylor Wenzel                            Milos Dordevic
 Jacob Austin Lankford           Andrew Scott Winter                      Lily Ellen Eagleton
 Brian Charles Lapham            Jacky Wong                               Jessica Elizabeth Kadyk
 Calvin L. Lau                   Shujie Wu                                Annabel Murillo
 Juan Lee                        Tianle Xu                                Juliette E. Nye *
 Bryce M. Leigh                  Hanlong Zhang                            Benjamin Wyeth Parsons
 Rachel Lenz                     Jingyu Zhang *                           Vanessa D. Rodriguez
 Baiyu Li                        Mian Zhang                               Natalina Marlene Troncozo
 Weiji Li                        Yifan Zhou
                                                                         CANDIDATES FOR DEGREES, MAY 16, 2020
 Christopher J. Lim
 Ye Lin
                                IN AGRICULTURAL COMMUNICATIONS            Jazmine Aguilar
                                DEGREES CONFERRED, AUGUST 05, 2019        Leslie Aguilar
 Kylie A. Lindley-Bohman
                                 Christina Lindsay Young                  Rinya N. Allen-Hodges
 Ella M. Liskiewicz
                                                                          Luis Manuel Alvarez
 Tanner John Litton             DEGREES CONFERRED, DECEMBER 23, 2019      Mariana Anaya
 Megan Blossom Lomas             Lindsey I. Kelso
                                                                          Averie Jean Anderson
 James Joseph Loughney           Maddilynn Corita Lindstrom
                                                                          Caleb Ethan Applebaum
 Janet Mai                       Zachary Morgan
                                                                          Alicia Taylor Ary
 Kevin Cagney Manna              Andrea N. Osorto
                                                                          Katie Marie Bernhard
 Matthew David Mark              Ashley Nicole Price
                                                                          Briawna Jamese Binion
 Sadie Marie Marks              CANDIDATES FOR DEGREES, MAY 16, 2020      Trenton Lucas Black
 Emily Ann Martin                Kelsie Ann Camling                       Arial Ulani Bransford
 Nathaniel John Mayfield         Gretchen Michal Macklin                  Dylan M. Burke
 Ryan Patrick McCauley           Kimberly Diane Villanueva                Akram Singh Cheema
 Peyton Jeffery McClure          Eric Julius Westerlund                   Xuenan Chen
 Zoey Isabella Melinger
                                IN AGRICULTURAL LEADERSHIP AND            Samantha Ann Cianci
 Jack M. Miles
                                SCIENCE EDUCATION                         Caysie Jeanne Colasuono
 Shaun Marie Minniti
                                                                          EvyJo Mae Compton
 Thomas Leo Morrone             DEGREES CONFERRED, AUGUST 05, 2019        Jennifer D. Cortes Galvan
 Joseph Allen Mosele             Allison Hand                             Courtney A. Day
 Sheila M. Murphy                Kristin Fae Iverson                      Ashley Marie Dickerson
 Mark R. Myers                  DEGREES CONFERRED, DECEMBER 23, 2019      Caroline Jessie Downey
 Alec Michael Navickis           Kolton G. Kimpling                       Gianna N. Dragon
 Nicholas George Needs
                                CANDIDATES FOR DEGREES, MAY 16, 2020      Rebekah Lynn Drysdale
 Danny Nguyen
                                 Jenna Rae Baker                          Kaylie Dyer
 Cameron Joseph Nylec
                                 Megan Lindsay Barnhart                   Emma Shanleigh Elmiger
 Andrew Michael O’Brien
                                 Kade Teague Hill                         Jessenia Figueroa
 Elijah John Olin
                                 Kaylee Madison Shouse                    Rachel Nicole Foster
 Roman Gabriel Padilla *
                                 Sarah K. Van Asten                       Autumn M. Fuller
 John Santino Parise
                                                                          Lizet Garcia
 Nikesh Patel                   IN AGRICULTURAL LEADERSHIP,               Ana Patricia Garduno Lopez
 Matthew Dennis Peruba          EDUCATION, AND COMMUNICATIONS             Elizabeth L. Geary
 Christofer Pina                CANDIDATES FOR DEGREES, MAY 16, 2020      Isabelle Grace Gil
 Travis Joseph Piotrowski *      Noah J. Capps                            Anisa Nayid Godinez
 Samantha Faith Poulsen          Reed Jackson Capps                       Mandy Kauai Gollay
 Dominic Thomas Purciarello      Courtney Cox                             Emma Lee Gontarek
 Zachary Michael Razik           Kinze Jo Ehmen                           Eanna Gou
 Ronald Thomas Reitz             Abigayle June Endress                    Gillian Virginia Gould
 Sonny Ruan                      Vanessa Lynn Gould                       Tyra Jean Greer
 William Armando Sanchez         Kacie Mae Haag                           Monica Ann Guyett
 Hayden Joe Schaumburg           Corrine Elise Harding                    Brea N. Harris
 Jacey Jane Schick               Joseph Curran Harmon                     Shelby Ryan Harrison
 Jacob Dean Schluter             Victor Johns                             Conner Henry Herion
 Meghan Irene Selip              Monica Erin Merkle                       Magda Elena Hernandez
 Joseph Shapiro                  Oakley Sue Whalen                        Vanessa Ibarra Cecenas
 Simon Harry Shindler
                                                                          Sarah K. Jeffries
 Jacob B. Simmons               IN AGRICULTURE
                                                                          Taemin Jeon
 Daniel Simon                   DEGREES CONFERRED, DECEMBER 23, 2019      Hayden Andrew Keltner
 Kacper Aleksander Sip           Elizabeth Marie Moon                     Laylah R. Khan
 Robert Clifford Skogh
                                IN ANIMAL SCIENCES                        Sydney Elizabeth Killey
 Theresa B. Snarski
                                                                          David Kim
 Manuela Solis                  DEGREES CONFERRED, AUGUST 05, 2019
                                                                          Jordyn Olivia Klapperich
 Abigayle Anne Steffes           Lauren Anastasia Helene Cortes
                                                                          Hannah Nicole Koonce
 Kevin Steiner                   Colleen Lois Ann Dugan
                                                                          Dominique Eva Krason
 Melissa Nicole Stitt            Emily Marie Graham
                                                                          Adam Robert Kwiatt
                                 Alyssa Pearl Horne
                                                                          Exhibit 38 - Page 36 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                                           ACES




 Benjamin K. Liang *                   CANDIDATES FOR DEGREES, MAY 16, 2020    Jade S. Hamann
 Laima Licitis                          Luke Edward Boeckman                   Taylor R. Helenthal
 Tianying Liu                           Connor Philip Carmody                  Katherine Lucy Hinojosa
 Cassidy Rose Loftus                    Michael Elliot Conway                  Miao Hu
 Jasmin Lopez                           Luke Jason Dotterer                    Shahina Hussain
 Qiana Chantae Lowery                   Ryan E. Galloway                       Rubbia Iqbal
 Jessica Paige Luciano                  Jennifer Eileen Gray                   Taylor E. Jacobs
 Leif Ellis Majeres                     Peter K. Hansen                        Clare Yu Jiang
 Amy Michelle Marroquin                 Celeste Danielle Jackson               Elizabeth Mary Johnson
 Kelsey Martin                          Ethan James Kunkel                     Brittany Elizabeth Kiss *
 Esmeralda Martinez-Sanchez             Brett Michael Langen                   Abby Darlene Kudia
 Roshni Mathur                          Yanbang Terence Lo                     Jennifer Kusumah *
 Tanner Raeann McGowan                  Cameron Matthew McCoy                  Greta H. Lauer
 Kyleigh R. Mendoza                     Kalvin Andrew Miller                   Jenna Lynn Lemenager
 Emma Yvonne Merriman                   Connor Joseph Owens                    Queenie Li
 Airreail Jahnae Merritt                Madeline Patricia Poole                Fanny Liao
 Joseph Lee Metz                        Juhyeon Roh                            Anita L. Litwiller
 Nicole Katherine Moest                 Adlai Joseph Schetter                  Yi Chen Liu
 Amaris Isabel Morales                  Cameron Nicole Stahl                   Yiyang Liu
 Crystal Moreno-Garcia                  Kristine Elaine Stewart                Victor J. Lopez
 Adriana Muniz                          Sean M. Tobin                          Emma C. MacMillan
 Alexandra C. Nebelle                   Emily Jo Vaughn                        Riley Anne Maloney
 Taje Sarie Neely                       Natalie Renee Vujanov                  Mary Elizabeth McCarthy
 Lo Fan O Yang                          Kimberly Marie Ward                    Honor Lyn Millette
 Anike Olusade Oke                      Joshua Benjamin Williams               Hazirah Ismah Muhamad Rapidi *
 Mira Oros                              Travis Robert Winans                   Mackenzie Erin Musch
 Lauren Eva Paddock                     Monica Lee Zimmerman                   Ashley L. Newton
 Max Steven Paulson                                                            Stephanie Sachiko Okumura
 Alexis Rose Perez                     IN FOOD SCIENCE AND HUMAN               Tzau-Uei Ouyang
 Caroline K. Pocher                    NUTRITION                               Kathryn Nichole Pacheco
 Juliann Cathy Qiu                     DEGREES CONFERRED, AUGUST 05, 2019      Noelle Park
 Amber Dawn Quast                       Derek Thomas Allen                     Kaylin J. Patton
 Carl Joseph Raczka                     Nayan Bahl                             Emily Hazel Patzke
 Kalina Izetta Reger                    Claire Sungkyung Cho                   Rachel Suzanne Peters
 Emma Valerie Robbins                   Madison Sanchez Evaristo               Adrianna Maria Pilch *
 Megan Nicole Rosborough                Madeline Ling Kuhn                     Carly D. Pine
 Sophia Jacqueline Ruggeri              Nisha A. Patel                         Rachel B. Sachs
 Alejandra Ruiz                         Miranda Susan Ropski                   Taylor M. Sambucci
 Karsen Jami Sample                     Erika Villanueva                       Paulina Serowik
 Ruben Sanchez-Onate                   DEGREES CONFERRED, DECEMBER 23, 2019    Amy Lynn Shemash
 Madelynn Sarver                        Vianey Aquino                          Holly Rose Stallard
 Emma K. Schmit                         Brianna Nicole Baker                   Xinyi Sun
 Garren Renee Schneider                 Sydney Marie Handspike Ford            Kailee Ann Tasca
 Anna Seweryniak                        Katharine Jurkovic                     Rossy Ivette Tejeda
 Palak Nikhil Shah                      Gloria Kamidi                          Alexis Marie Thornton
 Kelly Marie Sieja                      Jae Ho Lee                             Michael James Pasco Victuelles
 Austin Seth Smith                      Ryan H. Lee                            Gabrielle Deanne Walker
 Abigail Victoria Spike                 Yawei Lin                              Herbert Wan
 Kendra Ann Sutherlin                   Yue Luo                                Kevin Wang
 Melissa Merlene Swire                  Nicholas M. Martsch                    Qiaochu Wang
 Yuanjue Tan                            Lucas Randall Perry                    Yirong Wang
 Victoria Jeanette Toenjes-Brown        Raphael Yoga Sanjaya                   Judith Ng Wen
 Timmy D. Tran                          Maria Camila Schultz                   Asha Woldu
 Matthew Thomas Turner                  Stefany R. Veldhuizen                  Francine Yoon
 Danesia E. Valladarez                  Jie Zhang                              Morgan Renee Young
 Matthew David Vonch                    Xinyun Zhou                            Julio C. Zacarias
 Elisa Joy Waldoch                     CANDIDATES FOR DEGREES, MAY 16, 2020    Leah M. Ziolkowski *
 Cecilia Rose Weislow
 Mackenzie Grace Wells
                                        Shobhit Agarwal                       IN HORTICULTURE
                                        Shreya Ahuja                          CANDIDATES FOR DEGREES, MAY 16, 2020
 Lisa A. Wetzel                         Amy R. Arbus
 Brittany Alexis White                                                         Kee Joo Nam
                                        Brian Kevin Daniswara Atmadjaja
 Kristine Anne Witte                    Eva Jacqueline Bacon                  IN HUMAN DEVELOPMENT AND
 Kathryn Frances Wright                 Olivia Rose Bordenet                  FAMILY STUDIES
 Jazmine Dinora Zamora-Valdez           Hailey Alissa Brooks
 Wanting Zhou                                                                 DEGREES CONFERRED, AUGUST 05, 2019
                                        Subhiksha Chandrasekaran               Nia Iman Howard
IN CROP SCIENCES                        Catherine Chang                        Carolina K. Kuhl
DEGREES CONFERRED, AUGUST 05, 2019      Feifei Chen                            Hannah Vjollca McFadden
 Olivia Jade Ashby                      Shuxin Chen                            Nataly Stefanie Quito
                                        Yi Chen                                Samantha Ayn Scheck
DEGREES CONFERRED, DECEMBER 23, 2019    Aiko Chihara
 Katelyn R. Culp                                                              DEGREES CONFERRED, DECEMBER 23, 2019
                                        Lucas A. Craft
 Ryan J. Harter                                                                Emily B. Allen
                                        Flora Rose Denton
 Lilia Grace Johnson                                                           Jacob H. Berg
                                        Katherine Grace Douglas *
 Mara Jeanne Krone                                                             Courtney JoLyn Callaway
                                        Ann Mariae Favela
 Myranda Faye Mayhall                                                          Audrey E. Carlson
                                        Zayna Melinda Flahaut
 Rachel Eileen Mullen                                                          Nathalia Amelysse Davila
                                        Kelsey Erin Griffin
 Alyssa Marie Nunez                                                            Tyranny Jacoby Davis
                                        Erika G. Gustafson
 Kody Lane Richardson                                                          Madyson A. Fleming
                                        Elizabeth Gutierrez
 Jacob J. Snider                                                               Katherine Elaine Hayek
                                        Maribel Guzman
                                                                               Exhibit 38 - Page 37 of 76
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ACES                                                                          2020 COMMENCEMENT AT ILLINOIS




 Lizbeth Hernandez                      Tanner Michal Massey                     Manuel Carrillo
 Emily Anne McCratic                    Alan M. Sherrill                         Michael L. Covington
 Elleis Mikaela Miranda                 Annie Elise Stavins                      David Anthony Del Valle
 Elijah Odukoya                         Zachery Dale Suthers                     Cristian Hernandez
 Angeles Osorio                         Adam William Wojciechowski               Daniel Fredrick Hof
 Donnesha Janiece Patterson             Zhiyi Zhang                              Keith C. James
 Mariali Rodriguez                     CANDIDATES FOR DEGREES, MAY 16, 2020      Dashawn Maurice Julion
 Rachel Anne Sellars                    Kieran John Andreoni                     Alexander I. Manahilov
 Dejia’ Monae Smith                     Venus Monserrat Apantenco                Jihad N. Muhammad
 Nikeiya Stiff                          Cristian Antonio Arana                   John Gerard Niestrom
CANDIDATES FOR DEGREES, MAY 16, 2020    Logan S. Boehler                         Harrison Michael Schweitzer
 Jennifer Aquino                        Britta Lynn Braden                       Ted Victor Stelling
 Lauren Helen Broderick                 Caeley Lynn Ann Bryan                    Benjamin R. Swanson
 Nayeli A. Cadenas                      Shannon M. Callahan                      Marques Q. Webster
 Maria Elise Chemello                   Haley Elizabeth Capone                   Christian A. Wilson
 Abigail Ann Christensen                Allison Renee Carleton                  CANDIDATES FOR DEGREES, MAY 16, 2020
 Mae Elise Christianson                 Jacqueline Marie Cordell                 Emily R. Aguirre
 Savon Ella Coleman                     Rachel Claire Daughtridge                Enobong Stephanie Chukwudalu Asanga
 Emma Nicole Collins                    Ijiltsetseg Dorjsuren *                  Douglas Paul Bach
 Alondra Colunga                        Rebecca Grace Ebeling                    Terrell Lee Baker
 Monica Contreras                       Christina Lizette Fernandez              Seth Aric Barker
 Geraldine Dzifa Dagher                 Jennifer Teresa Flores                   Nicholas David Braden
 Julia S. Della Torre                   Megan Rose Gaddy                         Jake Thomas Burke
 Rachel Marie Fox                       Nicole Elizabeth Gamble                  Christina Ellen Cannova
 Bitanya Solomon Gebrekristos           Ziling Guo                               Chase Arne Carlson
 Jaharra S. Griffin                     Raagini Gupta                            Jason Cho
 Jordan Alexis Halic                    Emily Guske                              Isabella S. Dalla Valle
 Hannah Dara Hoffman                    Ola Hajeissa                             Peter Thomas Dziak
 Desiree S. Isaac                       Kai Deandre Hardy                        Jordan A. Eickelschulte
 Diane Daeun Kim                        Justin S. Harris                         Alexa Naomi Emano
 Erin Kim                               Carly Jeane Hopkins                      Erdenebayar Erdenetuya
 Erick Julian Klein                     Nicholas Frank Iovinelli                 John T. Franey
 MaKaylah Ann Larkins                   Evana D. James                           Samuel M. Gessesse
 Karis Eunhae Lee                       Seoyeon Jang                             Alec K. Gladkowski
 Jennifer Renee Long                    Naomi K. Jones                           Mitchell Lyndon Gribble
 Nicolette Ann Makris                   Mihir Amol Karode                        Bradley Allen Hagerman
 Maria E. McCormack                     Catriona Sylvia Kelly                    Austin Avery Harris
 Sarah Bard Mills                       Nolan Kane Legg                          Trevor Paul Hickey
 Khierra Moore                          Danling Ma                               Alec Marc Higgason
 Rosaura Moreno                         Mary Grace Marsh                         Benjamin Johnson
 Kiara A. Muhammad                      Sara E. Mason                            Kevin Theodore Kalb
 Damina D. Murchison                    Jenna R. Mattes                          Colton David Thomas King
 Kelsie Elizabeth Olsen                 Dakota Mitchell                          Evan Patrick Kiphart
 Marni Lauren Pozin                     Megan Michele Moran                      Cody Tyler Kolbus
 Elena L. Presta                        Liam Joseph Nassib                       Genevieve Marie Korn
 Isabel Marie Putlak                    David Nhat Nguyen                        Winston Wei-Fu Kuo
 Miguel Angel Quinones                  Luka Chris Pavlakis                      Robert E. Long
 Stephanie Melania Ramirez              Keegan Marie Payne                       Ding Yang Ma
 Alejandra Renteria                     Colton Jeffrey Pettit                    Ian Hunter Mattern
 Tafari Amadi Hadiyah Rhodes            Megan J. Poulosophos                     Ajiri Gerrard Oghale
 Claudia Jhanee Roberts                 Ivan Puente                              Bartlomiej Jakub Pecyna
 Aleesha Patricia Roessler              Kelly J. Purtell                         Ethan Roy Plote
 Viviana Sanpablo                       Jake Justin Putty                        Jose Salud Ramos
 Kaitlyn Ann Sebastian                  Valerie Ramirez                          Huber Missael Rodriguez Rico
 Daniel P. Sullivan                     Cynthia Elizabeth Segura                 Samuel G. Sadkhin
 Paige E. Vande Vusse                   Victoria Lynn Velazquez                  Sam Simpson
 Ronald Stephen Vinanzaca               Anna Melissa Vrioni                      Jalen Demetrius Sowell
 Emily Elizabeth Weiss                  Xiantong Wang                            Lucas William Stark
 Jessica Mary Winkler                   Haley K. Ware                            Thomas Rolf Suppes
 Mallory Nicole Winter                  Sara Maxine Wilson                       Yuwei Wu
 Sandra Yamin                           Lihan Zhang                              Chaosong Yan
                                        Qinxiao Zhang *
IN HUMAN RESOURCES AND FAMILY
STUDIES
                                        Jamie Lynn Ziah                         BACHELOR OF SCIENCE IN
DEGREES CONFERRED, AUGUST 05, 2019     IN TECHNICAL SYSTEMS                     AGRICULTURE
 Tara Lyn O’Brien                      MANAGEMENT                               DEGREES CONFERRED, DECEMBER 23, 2019
                                       DEGREES CONFERRED, AUGUST 05, 2019        Estelle R. Bastounes *
IN NATURAL RESOURCES AND                Nikola Bogdanov                          Daniela M. Markazi *
ENVIRONMENTAL SCIENCES                  Chibuisi Ndimele Enyia
DEGREES CONFERRED, AUGUST 05, 2019      Jasperkent A. Juarez
 John F. Bieber                         Aditya Meena
 Aditi Jha                              Calvin Sungwook Oh
 Rachel Morgan Waltermire               Tanmay Tej Takle
DEGREES CONFERRED, DECEMBER 23, 2019    Eldar Uzicanin
 Julia R. Allison                      DEGREES CONFERRED, DECEMBER 23, 2019
 Perry H. Battin                        Sanchita Agrawal
 Evan Humphrey                          John Wyatt Bollinger
 Andrew Humphrey Lona                   Eleasa Pauline Brookman
                                                                                 Exhibit 38 - Page 38 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                        APPLIED HEALTH SCIENCES




                                       Valarie Charlotte DeMuri              Dhara Dinesh Patel
COLLEGE OF APPLIED HEALTH              Rafal Debski *                        Hema M. Patel
SCIENCES                               Kevin Ding                            Shivani Pravin Patel
                                       Sydni Elizabeth Farris                Yash J. Patel
                                       Rashad Hasan Fattash                  Zil Sanjay Patel
BACHELOR OF SCIENCE                    Zaida T. Fernandez                    Ayisat Idowu Pedro
IN COMMUNITY HEALTH                    Diamond Leshion Fikes                 Marcin Robert Piechocki
                                       Kailey Morgan Fitzgerald              Ashly Pinarkyil
DEGREES CONFERRED, AUGUST 05, 2019     Olivia Dashan Ford                    Ktyah Caryn Point Du Jour
 Mahhum Ahmed
                                       Dylan Christopher Foster              Jade Cassidie Poundstone
 Kendall V. Biegel *
                                       Abena Frimpong                        Leah Adeline Proctor
 Cody M. Bowman
                                       Lauren Elizabeth Froehlich            Julia Barbara Radon *
 Derrius Stephon Carter *
                                       Meghan Rose Gaffaney                  Maaz A. Raheem
 Maureen Terese Cooney *
                                       Samantha Jane Gallo                   Rachel E. Rahman
 Rebecca Colleen Cuppy *
                                       Isabel Maria Garcia                   Anna Maria Ricano
 Fayez K. Hneiti
                                       Emily Susan George                    Nicholas Steven Robins
 Onyeka Cindy Iyke
                                       Matthew Joseph Gibbs                  Melanie E. Rodriguez
 Dana Rose Kirsh *
                                       Ariel Marena Glaviano                 Ava Frances Roper
 Kari Sophia Lee
                                       Kendall P. Gloss                      Madeline Paige Rosendahl
 Hope H. Mobley
                                       Jessica Leigh Goldman                 Mariela Saenz
 Alyanna Mae Moraga
                                       Graciela Gonzalez                     Abdulrhman Omer Salih
 Alexandrea E. Nelson
                                       Melissa Gonzalez                      Sahinab M. Saliu
 Maria Bisola Osundairo *
                                       Venice Gonzalez                       Megan C. Sebahar
 Albin E. Palamalayil
                                       Emily Gorman                          Baylin Elaine Shade
 Isam A. Quraishi
                                       Gianna Swan Gradowski                 Rucha Lokesh Shastri *
 Derek Rios
                                       Antania Micole Green                  Sydney Nicole Shephard
 Austin Joseph Roberts *
                                       Andres Gutierrez                      Christina Ann Simi
 Haylee Elizabeth Roe
                                       Hafsa Habib                           Rachael P. Simon
 Elizabeth Mary Skly
                                       Marina Silva Haddad                   Kayla Alexis Sims
 Emily Ann Sliazas
                                       Gabriela Amani Hadyeh                 Latrece M. Smith
DEGREES CONFERRED, DECEMBER 23, 2019   John David Hamman                     Monet Adam Sniezek
 Michael Oluwasegun Adegoke            Mashruba Haque                        Eric A. Solberg
 Naba Agha                             Anvita Hariharan                      Austin C. Sommer
 Kara M. Buenaventura                  Christina Nechelle Harper             Tyler Soy
 Meghan Ann Campbell                   Nykisha Nicole Harris                 Kyle Joseph Spalding
 Katherine R. Castillo                 Ali Haider Arif Hasan                 Anne Elizabeth Spence
 Alexis Shaphi Genous                  Lauren Elizabeth Heinzman             Mira Francesca Spizzirri
 Michelle Lynn Gil                     Pamela N. Hernandez                   Kaitlyn Nicole Staisiunas
 Frances Grace Kerr                    Karen Guadalupe Hernandez Patricio    Amelia Elizabeth Staniszewski
 Daniele Claire Klebern                Gema Herrera                          Rose P. Staples
 Cynthia Jennifer Lund                 Casey Anne Hogan                      Taylor Stateman
 Martha D. Martinez                    Swanese Leshay Houston                Brittany Marie Steineke
 Noah M. Mesa                          Caitlyn Sara Hsing                    Joseph M. Szaflarski
 Sophia Rose Platcow                   Asif Huq                              Laurel Marshall Tesar
 Laura Beryl Potter                    Ajla Ann Husic                        Patricia Marie J. Torres
 Meredith Ann Richards                 Emily Duncan Irwin                    Randall Tran
 Demetrius J. Ruffin                   Ryan Symone Jackson                   Imani N. Turner
 Savanah Letitia Scarlett *            Sachin Jindal                         Nnenna Esther Ukpaby
 Sourabh Sharma                        Clare Buchanan Kessler *              Amelia Annelise Vasilic
 Beatriz Vargas-Ibarra                 Alexis Marie Kosiek                   Nicolette Taylor Westphal
 Kayla A. Wells                        Yazan Hikmat Kudaimi                  Kortney Mikaela Wilcher
 Joya Woodard                          Molly A. Kunstbeck                    Elizabeth Yoon
CANDIDATES FOR DEGREES, MAY 16, 2020   Kaylee A. Lacoco                      Jacob R. Zweig
 Ammar Abualhuda                       Qingyi Lan *
 Faramade Adeniyi                      Jessica Lopez
                                                                            IN INTERDISCIPLINARY HEALTH
 Zaid Shaik Ahmed                      Simran V. Maini                      SCIENCES
 Ali Bin Ahsan                         Mary Alexis Maravelas                DEGREES CONFERRED, AUGUST 05, 2019
 Sophie Jane Akin                      Amy B. Martinez                       Emily Marjeta Davis *
 Michael Thomas Katindoy Ang *         Jocelyn Martinez                      Kaylee Marie Diorio
 Dominique Maria Arcieri               Jevone Ariel Mayes                    Natalie Ann Noonan *
 Adedipupo T. Awolola                  Fiona Clare McDermott                DEGREES CONFERRED, DECEMBER 23, 2019
 Victoria Barbosa Munoz                Danielle M. McNair                    Jessica Marie Coleman
 Stephanie A. Barrett                  Jennifer Medina                       Daniel Patrick Green
 Faye Elizabeth Barry                  Matthew J. Morrow                     Madison Loraine Kaufman
 Samantha Marie Bell                   Caroline E. Moulis                    Seungaha Lee
 Connor Christopher Bertrand           Aminah R. Muhammad                    Yuliya Y. Mykhaylovska
 Jerome Wendell Beverly                Brenda Michelle Munguia Reyes         Mckinzie A. Polchow
 Gabriella Josephine Borghese          Rhea M. Nambiar                       Bridgette Naomi Rasmussen
 Aaron F. Brockmeier                   John Fletcher Neville                 Lindsey Michele Rush
 Ashley Nicole Burgess                 Hanna Sloan Nilsen                    Alexus Angel Thongsakounh
 Joyce Aikman Caldwell                 Frederick Uwaifo Obanor               Sue Ellen Arletta Deborah Wilk
 Grace J. Carlson                      Erik Ochoa                           CANDIDATES FOR DEGREES, MAY 16, 2020
 Jennifer Carrillo                     Nneka S. Okeke                        Ayla Kathleen Adams
 Amaan Aamir Chalisa                   Laura E. Olson                        Olaitan O. Ajayi
 Claire Elizabeth Cody                 Zainab A. Oluokun                     Kasandra Alvarez
 Elizabeth Violet Cohen                Farah Lynn Savannah Ou                Rashmi R. Alwala
 Nicholas Albert Crescenzo             Sidney Oluwasayo Oyebiyi              Michael Chigozie Anukwu
 Luz Angelica Cruz                     Patricia Teresa Pajak                 Antonio J. Arana
 Galila Mekonnen Dandridge             Lauren Ashley Pangelinan
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APPLIED HEALTH SCIENCES                                                 2020 COMMENCEMENT AT ILLINOIS




 Marielena Carbajal Bautista      Ashley Guadalupe Tovar-DeLeon            Jazzmine Nichole Garcia
 Rebecca Lynn Beaupre             Alyzza L. Vargas                         Alexa Brianne Gerdes
 Alyse Kristine Bondarowicz       Vanessa Vazquez                          Monica Gomez
 Nicole D. Bouillet               Laila Velic                              Marcelo R. Gonzalez
 Claudia Christine Brozan         Elijah P. Walker                         Markus Paul Grasemann
 Olivia Burke                     Maxwell Marion Richard Wallace           Victoria E. Grodjesk-Morger
 Alyssa Monique Castro            Selena Shiyue Wang                       Julia K. Gulanczyk
 Michelle Cheung                  Carly Wilson                             Leonardo Daniel Guzman
 Carman Chiu                      Amanda G. Wolff                          Amina Hajro
 Maya Deonette Crawford           Monika Ziogaite                          Tcherna S. Halpern
 Niquan Bernard Dawson                                                     Bryce Akira Hamamoto
 Maria Ida Derrig
                                 IN KINESIOLOGY                            Jacob Gregory Hansen
 Rachel C. Dickey                DEGREES CONFERRED, AUGUST 05, 2019        Hannah Lee Hassan
 Virginia L. Disch                Julie Chen                               Jeremy Ryan Hirsh
 Aliza Ida Dorevitch              John D. Jacobson                         Chance W. Homerin
 Samuel G. Drazner                Ensay Daniel Kim                         Karen Ann Howell
 Yiting Du                        Matthew Jan Krajewski                    Kaitlyn Dawn Hruza
 Clara Z. Dylewski                Megan Amelia Malyszek                    Attia Jenny Huizinga
 Jessica Escutia-Calderon         Beatriz Janet Perez                      Samreen Ana Hussain
 Morgan Paige Fiets               Colin R. Perry                           Colette Marie Jaslowski
 Emily Breanne File               Dylan Sheahan Thurston                   Morgan Ann Johannes
 Natea Imari Fisher              DEGREES CONFERRED, DECEMBER 23, 2019      Jay Roger Johnson
 Katherine Marie Florence         Daisy Alonso                             Justeena T. Jojo
 Ashley Jenneth Garcia            Ryan Wayne Baird                         Brittany Lynn Jones
 Elizabeth Anne Garvey            Komal Bhardwaj                           Madelynn Ann Kallembach
 Emma Faye Gelberg                Brooke Shere Buchanan                    Kimberly Lauren Kamman
 Angelina Marie Gibson            Joshua J. Deeman                         Alexander Romano Keeble
 Sania Kasim Gilani               Yuliya Drab                              Jacob Tanner Keller
 Alaina Marie Gillespie           Isabel Cara Eng                          Maria Nicole Ketsios
 Ryan Michael Gillespie           Jenna Ann Fesemyer                       Camraan Raza Khan
 Sarah A. Gilman                  Sarah Michele Jansen                     Spencer Kiesewetter
 Yanko Gonzalez                   Veronica Soojin Jung                     Elizabeth Lynne Kooy
 Jennifer Leigh Goodfriend        Katie L. Kesslering                      Alexis Renee Koronkiewicz
 Emina Hajro                      Sarah J. Madsen                          Shane Mason Krummick
 Allison Elizabeth Hoefert        Kyle Hunter Murray                       Matthew Kumler
 Chad Hoerr                       Jamiu A. Odunsi                          Ardit Lamaj
 Daria E. Hogren                  Kylie Schultz                            Joshua S. Lee
 Luke P. Howland                  Danielle Moriah Schur                    Jennifer K. Lemke
 Tavita G. Hristova               Hannah L. Uhler                          Kylie Rae Lenschow
 Daniel Jarka                     Gerardo Valdivieso                       Jacob Daniel Light
 Natalie Jamia Jones              Cressa Elizabeth Wagner                  Deena Hope Lipson
 Jaelyn Marie Jugo                Elijah Omar Watson                       Amber N. Lopez
 Claudia Maria Karwowski         CANDIDATES FOR DEGREES, MAY 16, 2020      Bryan Lorenzana
 Harjyot Singh Kattaura           Richardson I. Adeolu                     Jeremy Tyler Luczak
 Magnolia Anna Klepacki           Elizabeth Socorro Alanis                 Jordan Michael Lupeamanu
 Jamie Susanne Kolar              Brock Robert Ambrose                     Yanqing Lyu
 Kelsie Leann Lichtenberger       Ashley Katherine Anderson                Kelly Omeara Maday
 Tommy L. Mai                     Domantas Backus                          Megan G. Manious
 Darrian Lynn March               Amanda Jayne Baker                       Andres Felipe Martinez
 Carleonna Cheyenne Marshall      Nicole A. Bakovich                       Alyssa Rose D. Masangkay
 Jacqueline Medrano               Rachael Marie Balthazor                  Katherine Quill McDade
 Roqayah Mohammed                 Nadia Lilia Basave                       Cynthia Medina
 Paige Lynn Murphy                Morgan Carole Berland                    Michael A. Michalak
 Nikita Nangia                    Nicole A. Beros                          Ithika Viroopax Mirji
 Cydney Natzke *                  Daniel Connor Brito                      Timothy D. Mollman
 Esmeralda Nevarez                Anne N. Bunten                           Andrea Monarrez
 Jacob Q. Nguyen                  Brian Richard Burns                      Christopher Monsingh
 Alexandria M. Nischke            Joseph Tyler Busse                       Connor Patrick Murphy
 Eduardo Orozco Rodriguez         Kathleen M. Callaghan                    Zaki Hasan Naqvi
 Lindsey Morgan Panozzo           Nathan Michael Carper                    Clayton Richard Nimz
 Megha D. Parikh                  Jeffrey Brian Cartwright                 Blake H. Nizko
 Nidhi Harish Parikh              Andrew Holden Casula                     Tristyn Alese Nowlin
 Ashley Yearin Park               Gregory M. Chan                          Jasmyn Nunez
 Juli Patel                       Wesley Yelop Chan                        Natalie Ann O’Shea
 Sophia A. Peng                   Tiffany Chin                             Young-Hyun H. Oh
 Katarina Nicole Pong             William Donald Cihlar                    Brianna Nicole Oldenburg
 Kevin H. Qin                     Eryka Denise Cordero                     Rowan E. Olson
 Fred Phillip Reetz               Jared Angelo Cruz                        Dana Ashley Pape
 Alexa Rodriguez                  Isaac D. Daiber                          Migi Park
 Anastasiya Smal                  Delaney Mae Davis                        Brandon Nabor Pelayo
 Cozette A. Smith                 Alexander Michael Diab                   Kaitlyn Emily Pieler
 Sydney B. Snider                 Kristi L. Escobar                        Jackson Robert Potrue
 Anna S. Song                     Michael Farmer                           Cathryn Elizabeth Quinlivan
 Mansi N. Soni                    Brittany Michelle Faurie                 Kent Edward Roberts
 Alisha Janine Steging            Charles A. Fell                          Mayra Rosado
 Gabrielle Brenae Stirgus         Kazia Lynn-Brooke Frederick              Austin Michael Ryan
 Monica Rose Strom                Carly Jane Frerichs                      Natalie Anne Saeger
 Madeline Eve Timken              Meghan Elizabeth Fritchey                Abigail Joanne Scheidt
                                                                           Victoria M. Schorsch
                                                                          Exhibit 38 - Page 40 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                          APPLIED HEALTH SCIENCES




 Johnathon August Otto Schulte          Nick M. Taylor                         Elena Marie Frizzell
 Dulcenea Katrina Scott                 Ross Steven Thompson                   Gabrielle Leeann Greaser
 Claire Elizabeth Scully                Antonio Latrell Vance                  Bailey E. Harmon
 Jung In Seo                            Demetria M. Varygiannes                Sandra G. Kogan
 Ahmed Elmorsy-Elzohery Shehata         Michael Aaron Walsh                    Heather Autumn Levon
 Lauren Nichole Smitherman              Thomas Hall Wellborn                   Ragnar Richard Dean Lindberg
 Eleanor A. Spina                       Ethan Paul Wolff                       Lakshmi Nanduri
 Stephanie E. Stec                     DEGREES CONFERRED, DECEMBER 23, 2019    Sheryl Ellen Quinn
 Michaela J. Stich                      Benjamin A. Barnes                     Allison Marie Rush
 Amanda Hayley Sugar                    Michael Stephen Braverman              Anna Rose Tulley
 Nimota-Lai Oluwaseyi Sulaiman *        Trenard Lamar Davis                    Gabrielle Van Zant
 Johnathan Arthur Sutton                Zachary Deliberto                     CANDIDATES FOR DEGREES, MAY 16, 2020
 Jack Swindells                         Maxwell Richard Ernest                 Eleena Ahmed
 Edward Tang                            Mallory C. Jenkins                     Payton K. Archer
 Raymond Tang                           Pengxuan Jiang                         Sabrina Mai Barkal
 Malcolm Jamison Taylor                 Madeline Mari Klein                    Madeline Kaye Berg
 Abby Trojanek                          Adam James Kulek                       Katrina Anne Blum
 Justin M. Tsang                        Tyler J. Opilka                        Angela Caroline Bogusz
 Celeste Vaughn Twombly                 Devin Kenneth Quinn                    Ada Kamila Bulka
 Taylia J. Tyo                          Shaiquan Terry Ray-Pringle             Hannah Jayne Bulthuis
 Adrian Valdez                          Jeffrey John Reichling                 Yazmin Camarena
 Jenna Eve Vangalis                     Arturo Rocha                           Jillian Logan Campbell
 Adriana Velasco                        Emmanuel Jabarie Smith                 Andriani Katerina Christoforou
 Matthew Villa                                                                 Cori Dahl
                                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Nhung Ngoc Vo *                                                               Amanda Quincena Diaz
                                        Tarren Bradford Adams
 Brendan Egan Walker                                                           Raquel Diaz Deleon
                                        Stanley Marshall Belfort
 Rita M. Walsh                                                                 Kathleen Ann Dowling
                                        Anthony Joseph Bellanca
 Caroline Elizabeth Welsh                                                      Elizabeth Clare Dudzik
                                        Kennedy Nicole Brown
 Paige Nicole Winter                                                           Karin Eig
                                        Andrew Camugnaro
 Nolan James Woller                                                            Lily Elisabeth Ellyin
                                        Ashley E. Coleman
 Rachel Morgan Woods                                                           Ericka Estrada
                                        Justin J. Coyle
 Duorui Xu                                                                     Anwyn Marie Eydt-Beebe
                                        Maciej Wojciech Czerlonko
 Yanira Y. Yanez                                                               Ada Ezlakowska
                                        Dawn May Failla
 Byungho Yoo                                                                   Ellie Mary Gatz
                                        Michael Dominic Feagles
 Abagail Diane Younger                                                         Richard E. Glasser
                                        Michael James Fischer
 Kyle Raymond Zajac                                                            Emily Nancy Griggs
                                        Alejandro Flores
 Maryana Zhamaledinovna Zalova                                                 Guadalupe Herrera
                                        Jasmine Nicole Gencik
 Marcos Zaragoza                                                               Elissa R. Hoffman
                                        Tyler Scott Gold
IN LEISURE STUDIES                      Matthew Tyler Goldstein                Claire Elizabeth Inskeep
                                        Daniel Thomas Harder                   Eirelyn Sass Johnson
DEGREES CONFERRED, DECEMBER 23, 2019                                           Madalene Jane A. Jorda
 Morris J. Virgil-Winston               Taylor M. Jackson
                                        Alec David James                       Emma Margaret Kahle
IN RECREATION, SPORT AND                Jordyn Abrianna Jones                  Hiba Katerji
TOURISM                                 Liam Patrick Kerrigan                  Hyerin Kim
DEGREES CONFERRED, AUGUST 05, 2019      Collin H. Lafon                        Gabrielle Paige Kosh
 Brandon Michael Bancoro                Alec Bradley Lamoureaux                Taliya Mailanchi Kottai
 Thomas J. Boland                       Daniel Hyun Woo Lee                    Natalia Katherine Krasuska
 John Tanner Brewer                     Mikkie Lopez                           Jenna M. Lachman
 Rachel J. Carey                        Melani Nia McCoy                       Veronica E. Lane
 Benjamin Michael Carlson               Brendan James McGuire                  Madison Leigh Larocca
 Micaela M. Childress                   Nathaniel Charles Mechling             Brianna Marie Legner
 Henry Philip Cox                       Madeline Elizabeth Meinhold            Bella J. Lindquist
 Taylor Ann Edwards                     Austin Montbriand                      Patricia Marek
 Zaki Fakhouri                          Maya Selena Montoya                    Kathryn Michele McBain
 Mitchell D. Foster                     Robert Joseph Nardini                  Cristina McCormack
 Nydia E. Garza                         Victoria Loris O’Connor                Angela Lucille Medrano *
 Alejandro G. Gonzalez                  Jack Martin O’Malley                   Kari Annmarie Moore
 Amanda Marie Graham                    Emily A. Oberst                        Malinda V. Mullet
 Alexandro Gabriel Griffin              Cierra D. Rice                         Elizabeth A. Musur
 Ana Cecilia Gruber                     Anna K. Skaredoff                      Ryan Lou Oimoen
 Leah G. Haymon                         Lauren Beverly Spencer                 Emily Noelle Pankey
 Elijah E. Holloman                     Elyse Eileen Standard                  Jessica Rose Philipp
 Deja Marie Hood                        Murray Tao                             Mikayla Ilyssa Pollard
 Kelly Jo Horgan                        Kaylee Thompson                        Kyler Madison Rennels
 Mitchell A. Jones                      Zachary David Vargas                   Celia Michelle Rodriguez
 Payton Zachary Juarez                  Anthony J. Vitucci                     Benjamin Philip Rose
 Allison K. Kafka                       Grant Webb                             Isabella De Jesus Russell *
 Jacob D. Leopold                       Yueyao Zhao                            Jenna Cheri Savell
 Kaley N. Long                                                                 Molly Nicole Schultz
                                       IN SPEECH AND HEARING SCIENCE           Cynthia Catherine Secaras
 Lauren G. McCourt
 Jacqueline Ann Moffat                 DEGREES CONFERRED, AUGUST 05, 2019      Hannah Therese Shultz
 Sara M. Reilly                         Abigael F. Kelly                       Shaliny Somson
 Charles Davison Rice                   Searam Park                            Charlotte Faye Spiro
 Jake Anthony Rohrbacher *              Valerie Kay Sherwood                   Margaret Warkenthien
 Riley Elisabeth Scharf                DEGREES CONFERRED, DECEMBER 23, 2019    Katherine M. Weber
 Brian Shiau                            Itzel G. Abundis                       Hailey Jean Wilson
 Jocelyn S. Solis                       Diana Jasmine Carrillo
 Matthew Allan Struck                   Amanda L. Carroll
                                                                              Exhibit 38 - Page 41 of 76
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GIES BUSINESS                                                                    2020 COMMENCEMENT AT ILLINOIS




                                        Qiaofei Wang                                Kristin Ann Farrell *
GIES COLLEGE OF BUSINESS                Yan Wang *                                  Mitchell P. Feehan *
                                        Zhuoyun Wang *                              Scott Joseph Finley
BACHELOR OF SCIENCE                     Emma Marie Weber                            Bradley T. Fishman
                                        Miaochi Wen *                               Jingxiao Fu *
IN ACCOUNTANCY                          Jiaxin Wu                                   Claudia Natalia Galica *
DEGREES CONFERRED, AUGUST 05, 2019      Anqi Xu                                     Jun Gao *
 Imani T. Berry                         Xuerou Yuan                                 Yi Gao *
 Justyna Borowski *                     Brenda Isabel Zamudio Reza                  Alexis Garcia
 Slater Thomas Girocco *                Weijia Zhang                                Monica Yulissa Garcia
 Viola Gjanci                           Yuliaoliao Zhang                            Joseph Dolan Garibotti
 Alexandra Elise Gonzalez               Xingrui Zhu                                 Aakriti Gaur *
 Colin Lawrence Hamm *                  Joel David Zielke                           Benjamin Joseph Getka *
 Isabel Hernandez Martinez             CANDIDATES FOR DEGREES, MAY 16, 2020         Vinit Rajeshkumar Gheewala *
 Seoyoung Kil *                         Michael Andrew Adams *                      Francesco Saverio Gianni
 Mengyang Li *                          Ross Matthew Agins                          Katherine Maryanne Gorenz *
 Marc Louis Torres Natividad *          Hammad Ahmed *                              Krishna Priya Gourishetty
 Elan Jonel Robinson *                  Edgar Alba                                  Max Aaron Grill
 Di Wang *                              Nicholas Scott Albert                       Minghao Guan *
DEGREES CONFERRED, DECEMBER 23, 2019    Avan Denise Alleyne                         Eduardo Roman Guimaray Cortes
 Alexander C. Arroyo                    Heena Shilu Amin *                          Keyu Guo *
 Pranav Arya                            Lila Catherine Ammarell                     Katherine Ann Hacker *
 Deborah P. Chang *                     Marie K. Amsler *                           Cole Alan Hagan
 Lin Chen                               Hazar Aquil                                 Belinda Han *
 Yue Chen                               Payton Marie Arger                          Qiaochu Han
 Amy H. Choi                            Pawel Tadeusz Armatys *                     Austin P. Hardas
 Jeremy Andrew Chong                    Garima Arora                                Moe Hayashi *
 Jason Jisoo Chung                      Tyler Austin Arp *                          Courtney A. Hayman
 Leslie Emmanuel Kortei Clottey         Rachel Emily Atristain *                    Yuqi He *
 Adam David Daniels *                   Robert Joseph Austin                        Elizabeth Michelle Heffernan *
 Daniel Flores                          Nayelin Avila                               Brendan Joseph Held
 Tyler William Grimsley *               Simran Bagga *                              Vincentia Chelsea Henz
 Zirui Guo *                            Manasi Baheti *                             Jessica Rachel Herst *
 Jacob Elgin Hettenhausen               Viktor Justin Balchunas                     Zachary Houghton Hoffman
 Ariel V. Jimenez                       Amanda Marie Blank                          Jifan Hong *
 Jin Tek Jung                           Aidan Michael Boehm *                       Samantha N. Horcher
 Ruei Kao *                             Trevor James Bon *                          Iris Huang
 Steve Kennedy                          Olha Bosnova                                Min Chen Huang
 Yaryna Khlibovych                      Emma Nicole Boyd                            Yitian Huang *
 Do Hyung Kim                           Agastya Sainadh Brahmamdam *                Gabriel A. Iacovelli
 Jin Hwan Kim                           Maggie Jo Brennan                           Cedric Alexander Ignacio
 Yuval Kushnirsky *                     Dontrell J. Brown                           Nicole Elizabeth Infantino
 Hosung Lee                             Dylan Jacob Brown                           Joseph P. Johnson
 Jaehoon Lee                            Samuel Patrick Brown                        Patrycja Kaminska
 Courtney Elizabeth Lewis               Vuk Miomir Budic                            Brandon Noah Keller *
 Carol Li                               Jennifer Christina Burke *                  Ammar Khan *
 Siyi Li *                              Iqra N. Burney                              Noe Khlif
 Shanshan Liu                           Mitchell Jacob Byron *                      Kelly Megan Kiel
 Ming-Chang Lu                          Yujie Cai                                   Gregory Wanjoe Kim
 Yuqing Lu                              William Rocco Campbell *                    Yeong Sun Kim *
 Mukund Malpani                         Abhinav Reddy Challa *                      Erin L. King
 Griffin Carson Maynard                 Linxian Chen                                Nicholas J. Kissick *
 Gina Marie Mehringer                   Xinhui Chen                                 Corrin Marie Klapacz *
 Tian Meng                              Yixi Chen                                   Vineel Kolluru
 Jordan Jeffery Mercure                 Yixin Chen                                  Almasa Krvavac
 Jared Daniel Minor                     Yudong Chen *                               Lukasz Kuczynski
 Brian V. Munoz                         Kevin Xin Chin                              Tineke Larasati
 David Noah Neuman                      Pramod Mukunduan Chinnadurai Manivel *      Natalie S. Lauschke
 Kevin Declan Neumann                   Shayan Choudhury                            Colleen Clare Lawlor
 Quinn Austin Nonnemacher *             Wi Ju Chun                                  Aiden Lee
 Sungseok Oh *                          Kevin Patrick Conlon                        Austin C. Lee
 Adam Ronald Panek-Hickey               Antonino Conte *                            Hendy Sebastian Lee
 Dawid P. Piotrowski                    John Patrick Crean                          Junghyuk Lee
 Sebastian Joseph Podgorni              Gregory James Crowley *                     Justin S. Lee
 Zoe Isabelle Potts                     Andrew Richard D’Astice                     Kevin Lee
 John Robert Powell                     Yusang Dai *                                Nathan Y. Lee
 Ricardo Preciado Tejeda                Phi Dang *                                  Weonjun Lee
 Yingying Qian                          Andrew Charles Delorme                      Sean Vincent Leeming
 Tanya Roy                              Pranita Deora *                             Owen M. Leon
 Aaron M. Schluter                      Kassandra Diaz                              Samuel Delmar Lessaris
 Megan Noel Schneider                   Cindy Duan                                  Huixin Li *
 Eunice J. Shin *                       Dayna Ruth Duffy                            Minqiao Li *
 Joshua A. Shook                        Bailey Cate Durward                         Zinuo Li
 Sang Hoon Suh                          Iaroslav Ekimtcov                           Chuyin Liang
 Angela Wei-Hui Sun                     Sarah El Zayyat                             Xinyou Liang
 Rujia Sun                              Kerri Marie Elson                           Jacob Cole Albert Lieber *
 Zihan Tian                             Timothy Joseph Fallon                       Sunmin Lim *
 James Tiao *                           Natasha Priscillia Fandawa                  Wei-Hsun Lin

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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                       GIES BUSINESS




 Zachary Thomas Lindley           Alexander Berka Slager                IN FINANCE
 Jiayi Liu                        Matthew William Smiles *              DEGREES CONFERRED, AUGUST 05, 2019
 Jiayun Liu *                     Ethan Saif Smith *                     Arjun Gopal Chopra
 Shangwen Liu                     Brett Matthew Sokol                    Alishaa Fatima Hasan
 Xiangxi Liu                      Myoungjoon Son                         Seoyoung Kil *
 Yutong Liu                       James Joseph Stanton                   Andrew Dayton Trainer
 Richard Joseph Lootens           Klaudia Staszczuk                      Atulya Vishwanath
 Jinghui Lou                      Warren W. Stippich *
 Xinyue Lou                       Natalie Kate Stratemeyer              DEGREES CONFERRED, DECEMBER 23, 2019
 Nhi Thuy Lu                      Bo Jun Suh                             Alexander Poyer Ackerman
 Wayllon Aspen Lu *               Courtney Ying-Yen Sum                  Jacob M. Arends
 Stephanie Pearl Luna             Hanze Sun *                            Tomas Eduardo Bejarano Robayo *
 Yuxiang Luo *                    Yu Sun *                               Christopher E. Burwell *
 Rebecca Yuenyin Luu              Jueyu Tang *                           Craig Lyle Campbell *
 Isabella Marie Maddiex           Andrea Elizabeth Terraza               Ryan T. Chow
 Juhi Mahajan *                   Gillian Kathleen Thanasouras           Andrew Robert Dyke
 Nicholas John Main               Polyxeni Thanopoulos *                 Tyler B. Erhard
 Charles David Marshall *         Demetrios A. Therios *                 Tyler William Grimsley *
 John Richard Martin              Mamadou L. Thiam                       Michael E. Hurley
 Izabella A. Marzec               Alexander Ross Thomas                  Arya A. Jhaveri
 Brigid M. McCann                 Scott A. Thomas *                      Quinn Stuart Julian
 Sean Daniel Austin McGowan *     Taylor F. Thurston                     Brett Joseph Kelly
 Shawn F. McPartland              Dan Cristian Tibrea                    Patrick Ryan Kenny
 Jacob Ian Mehlman *              Patrick Timothy Tracy                  Jay Eausuk Kim
 Nathaniel Thomas Meier           Jason Aditya Trisna                    Yuval Kushnirsky *
 Jack Ronald Meredith *           Niklas Mara Troe                       Daniel Kuzmin
 Timothy Jacob Miller *           Liang-Yun Tsai                         Austin N. Luebchow
 Emily Mok                        Chi Lok Un                             Grant I. Lynn
 Shannon Maeve Monaghan           Matthew Uthupan *                      Tyler T. McCray
 Jaz Alan Monahan *               Jobin Mathew Varghese *                Benjamin Patrick Michel
 Matthew D. Monks *               Sarah Marie Venen                      Dirgham Zuhair Nubani
 Matthew Kent Montrose            Ines Karmen Vias                       Zachary H. Orozen
 Ryan Kelly Moran                 Jack A. Villa                          Rikin B. Patel
 Jason Matthew Morgan             Michael Frank Vitucci *                Jacob L. Pence
 Maxwell James Moskalewicz        Vishnoo Ram Vivekananthan              Mario Francisco Peterson
 Patrick John Mulhern             Brendan Louis Walsh                    Manveer S. Sangha
 Sadhvi Narayanan                 Dingyuan Wang                          Lima Shen
 Trace Michael Nims               Jingwen Wang                           Annika Beckstrand Stout
 Ramail Eddie Nissan              Junyi Wang *                           James Tiao *
 Ryley Sy James Norwood           Ryan Wang *                            Abby Sandra Wachtel
 Kyle George O’Malley             Yixin Wang *                           Kevin Yiu *
 Sean Michael O’Malley            Adler Joseph Weil                     CANDIDATES FOR DEGREES, MAY 16, 2020
 Olivia Catherine Oberdorf        Jiake Wen                              Thomas Drinan Abrams
 Adam Joseph Okrzesik *           Maolin Wen                             Garrett Patrick Acton
 Geoffrey Ong *                   John Karttunen Wheeler                 Michael Andrew Adams *
 Carly Ann Owens                  Trenton Lyle Wheeler                   Garrett H. Adamson
 Priya Ashwin Patel *             Natalie Lynn White                     Phillip A. Alpern *
 Kevin Ryan Paton *               Ashley Lauren Wipfler                  Rolando Alvarado
 Xinyi Peng                       Ethan C. Witz                          Thomas L. Alvarez
 Sophia E. Peters                 Jiaxi Joanna Wu                        Marie K. Amsler *
 Andrew John Pierropoulos         Jingying Wu *                          Michael Ryan Arens
 Joseph Pinsky *                  Haoming Xing                           Pawel Tadeusz Armatys *
 Kelly Ann Prete                  Duo Xu *                               Simran Bagga *
 Boyang Qu                        Haoxiang Xu *                          Joshua A. Balon
 Pingyi Que *                     Audrey Nicole Yager                    Carson Philip Banghart
 Navni M. Ratnakar                Hao-Cing Yan                           Pranav Bhargava
 Jassiem Adjua Renfro *           Yudong Yan                             Irwindeep S. Bhathal
 Jieun Rim                        Yifan E. Yang *                        Anirudh Bhatia
 Alec William Riportella          Jiawen Zhang                           Matthew Jack Blanks
 Rebecca Lynn Rodriguez           Litai Zhang                            Christian Francis Bobak
 Benjamin Michael Ross            Qiwei Zhang                            Aidan Michael Boehm *
 Trevor A. Royse                  Shidian Zhang *                        Alexis Miranda Borg
 Gladys Ivone Rubio               Siqiong Zhang *                        Matthew Robert Borgstrom
 Sydnie Paige Rush                Tiantian Zhang *                       Kirsten Paige Bosman *
 Cindy Salgado-Ramirez            Xiaochong Zhang *                      Agastya Sainadh Brahmamdam *
 Kayla Mary Santucci              Xinye Zhang                            Grace Anne Brown
 Ananya Saxena *                  Yuxuan Zhang                           Noah A. Brown
 Mallory Anne Schindler           Colin Zheng                            Conor Daniel Bryan
 Jason Andrew Schoo *             Lan Zhou                               Mitchell Jacob Byron *
 Jackson Humberto Schroedter *    Tianxing Zhou                          Justin Javier Campos
 Zachary William Schultz *        Tong Zhou                              John Patrick Carlson
 Arun Mani Sekar *                Mengyi Zhu *                           Dominic Harry Carmignani
 Charmi Shah                      Mary Elizabeth Zimmer                  Symaria D. Cartman
 Vrushita H. Shah                 Ruixin Zou                             Bor-Rhoan Chang *
 Mauricio Shelly                                                         David Alex Chang
 Cong Shen *
                                 IN BUSINESS PROCESS MANAGEMENT          Yudong Chen *
 Danying Shen                    CANDIDATES FOR DEGREES, MAY 16, 2020    Pramod Mukunduan Chinnadurai Manivel *
 William J. Sheung *              Jason Andrew Miller                    Audrey June Christopher
 Kara Marie Shudy                 NaJua C. Rivers                        Carter Martin Conroy
                                                                         Exhibit 38 - Page 43 of 76
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GIESS BUSINESS                                                     2020 COMMENCEMENT AT ILLINOIS




 Antonino Conte *                  Seraphine Ruth Markgraff           Ana Laura Ugarte
 Alexis Nicole Cosmos              Charles David Marshall *           Serena P. Upadhyay
 Gregory James Crowley *           Brad A. Martisauski                Matthew Uthupan *
 Phi Dang *                        Sneha Alisha Mathew                Jobin Mathew Varghese *
 Drew Michael Danko                James Charles McCourt              Luke A. Vaughn
 Dawson Riley Dodds *              Jacob Ian Mehlman *                Xhoel Veizi
 Camron G. Durr                    Matthew Gerald Meier *             Michael Frank Vitucci *
 Dylan Thomas Dvorak               Claire Victoria Meyer *            Daniel Joseph Von Albade *
 Ryan El-Harake                    Zachary Michalski                  Qianyue Wang
 Jennifer Kelly Eng                Camren Christopher Miller          Yixin Wang *
 Mitchell P. Feehan *              Robert W. Mitchell                 Jack G. Westerkamp
 Xianghua Feng                     Mistura R. Momson                  Julia M. White
 Naail N. Fidai *                  Jaz Alan Monahan *                 Jakub T. Wiater
 Vanessa M. Flaherty               Seth Howard Morford                Jordan Kathryn Wicks
 Bridget Kathleen Flynn            William Morrice                    Shannon K. Will
 Ryan Christopher Ford             Ryan Christopher Murray            Ryan Christopher Williams
 Cheng-Hsuan Fu                    Pranjal Nandi                      Jingying Wu *
 Enrique Fuentes                   Levi Douglas Neaveill *            Duo Xu *
 Milosz J. Gajda                   Deepesh C. Notaria *               Haoxiang Xu *
 Jun Gao *                         Neil Louis Novosel                 Emily Anne Yates
 Yi Gao *                          Nicholas W. O’Grady                Vishruth Reddy Yeruva
 Joshua J. Garner                  Geoffrey Ong *                     Ziliang Zhang *
 Michael P. Gavin                  Enkhlen Orgil                      Mengyi Zhu *
 Benjamin Joseph Getka *           Nicholas David Osikowicz
 Vinit Rajeshkumar Gheewala *      Griffin J. Palmer
                                                                     IN INFORMATION SYSTEMS
 Tucker George Goebeler            Thomas M. Parkinson               DEGREES CONFERRED, DECEMBER 23, 2019
 Andrew James Goodwin              John Jacob Paschen                 Adam David Daniels *
 Alex D. Graden                    Virginia Kathleen Pastorek        CANDIDATES FOR DEGREES, MAY 16, 2020
 Jade Elizabeth Graff              Krupa Chirag Patel *               Abhinav Reddy Challa *
 Glenn John Graham                 Shreenath Prashant Patel *         Michelle Thuy Trang Hoang
 Peter M. Grob                     Kevin Ryan Paton *                 Ryan William Miller
 Keyu Guo *                        Ryan Paul Phillips *               Tatjana Utvic
 Samiksha Gupta *                  Joseph Pinsky *
 Katherine Ann Hacker *            Max Christopher Plesh
                                                                     IN INFORMATION SYSTEMS AND
 Aditya Hajela                     Flavio Cesar Quito                INFORMATION TECHNOLOGY
 Richard George Hatton             Brianna Gavin Reilly              DEGREES CONFERRED, AUGUST 05, 2019
 Jessica Ann Hauser                Isaac N. Reitzel                   Vyas V. Krishnan
 Moe Hayashi *                     Harry Ren                         DEGREES CONFERRED, DECEMBER 23, 2019
 Jessica Rachel Herst *            Francesco Ricchio                  Deborah P. Chang *
 Drake Lee Hill                    Nicholas Scott Robinson            Xuyang Chen
 Zachary S. Hoffman                Shikai Ruan                        Milan Marie Dickens
 Jesse Thomas Holt                 Ashley Jo Ryan                     Luke Brennan Falls
 Jifan Hong *                      Jeffrey W. Rybak                   Benny A. Hernandez
 Kendall Scott Huckins             Gene Hojin Ryou                    Ruei Kao *
 Jeffrey Ethan Hymen               Nathan David Saporta               Johnathon George Lampros
 Catherine Rose Hynes *            Nathaniel Peter Sauers *           Siyi Li *
 Brady Glen Jackson                Jason Andrew Schoo *               Sungseok Oh *
 Eric Robert Jacobsen              Matthew Alan Schrock               Nikita Joshua Rogers
 Kireeti Jana *                    Jackson Humberto Schroedter *      Eunice J. Shin *
 Caitlin Anne Jandacek *           Zachary William Schultz *          Yuting Xue
 Jessie Yewon Jung                 Rachel Eilene Scott                Kevin Yiu *
 Rishi Karamchandani               Nicholas J. Seger                 CANDIDATES FOR DEGREES, MAY 16, 2020
 Brandon Noah Keller *             Arun Mani Sekar *                  Hammad Ahmed *
 Naader A. Khan                    Dhruvi V. Shah *                   Enrique Alvarez
 Sahareen Aijaz Khan               Udai Sharma                        Heena Shilu Amin *
 Emily Cruz Kilgallon *            Cong Shen *                        Ji Yong An
 Corrin Marie Klapacz *            William J. Sheung *                Leonardo Altun Anlar
 Lauren E. Kohn                    Michael Kevin Shieh                Rachel Emily Atristain *
 Elizabeth Ann Koritz              Nicholas G. Simadis                Ulises Avila
 Christopher Bernard Kraemer *     Ethan Saif Smith *                 Manasi Baheti *
 Douglas Robert Kramer             Sonia Sood *                       Matthew R. Beckerman
 Patryk Krasnicki                  John Patrick Stephens              Anna N. Blackledge
 Peter James Kritikos              Jonathan David Stone               Trevor James Bon *
 Faith Marie Krumviede             Arthur Julian Stys                 Leah Josefina Brizuela
 Lauren Michelle Kuklin            Kristin Jane Sweem                 William Rocco Campbell *
 Jennifer Jingyu Kuo *             Joann Y. Tam                       Bor-Rhoan Chang *
 Matthew Joseph Lach               Clarissa Ann Tarandy               Ah Young Cho
 Caid Michael Gardner Landers      Nathaniel J. Tee                   Kyu Sun Chung
 Justin Ross Leonard               Polyxeni Thanopoulos *             Jose L. Del Real
 Joseph Raymond Levin              Kritin Thapar                      Pranita Deora *
 Minqiao Li *                      Demetrios A. Therios *             Varun Devabhaktuni
 Yuxuan Li                         Scott A. Thomas *                  Steven Y. Eng
 Jacob Cole Albert Lieber *        Steven Gabriel Tijerina            Ethan Henry Feinberg
 Sunmin Lim *                      Simeon I. Trendafilov              Yen-Lin Feng
 Wayllon Aspen Lu *                Juan Pablo Triana Mayorga *        Naail N. Fidai *
 Yuxiang Luo *                     Austin M. Triplett                 Margaret Yirui Frieman
 Aditya R. Mangalagiri             Jacqueline Alyssa Trujillo *       Ethan T. Friman
 Carly A. Marchal *                Aana Tsakiris                      Claudia Natalia Galica *
                                                                      Exhibit 38 - Page 44 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                                GIES BUSINESS




 Stanley M. Gitogo                      Ravina H. Patadia                      Trennedy Alexis Bria Kleczewski
 Patrick J. Gonzalez                    Alexander Wojciech Rodak               Alyssa Margaret Kluth
 Minghao Guan *                         Noel Alejandro Rodriguez               Sean William Kohl
 Samiksha Gupta *                       Sophia Saint-Cyr                       Marissa Elise Krebs
 Kamel Hampton                          Stephen Anthony Santucci               Matthew R. Kuta
 Belinda Han *                          Grant M. Van Scoy                      Miriam Y. Lam
 Yuqi He *                             CANDIDATES FOR DEGREES, MAY 16, 2020    Kyra Gabrielle Lavalais
 Elizabeth Michelle Heffernan *         Katherine McGowan Andrews              Allison Susan Leach
 Shannon E. Hoople                      Bryan Austin Baumgarten                Shinae Lemrise
 Yitian Huang *                         Jennifer Christina Burke *             Ziyue Lin
 Grace Modell Hudson                    Jacob T. Cerny                         Christina Estir Magnuson
 Catherine Rose Hynes *                 Keller Ross Chavez                     Carly A. Marchal *
 Zackary Richard Jones                  Irene Chun                             Yuliya Maslava
 Ashley Aelah Jun                       Atillia Christine Difranco             Micayla Marie Mathieson
 Han Kyung Jung                         Arlen J. Garippo                       Kelsey Anne McGrath
 Minyoung Kim                           Katherine Maryanne Gorenz *            Nancy Ibarra Medrano
 Yeong Sun Kim *                        Jeremy J. Gumila                       Selena Mei
 Christopher Bernard Kraemer *          Cooper Lee Hitchens                    Matthew Gerald Meier *
 Corissa Rose Kurth                     Alexander Ilnyckyj                     Brooke Deanne Meyer
 Bao-Tran Le                            Sarah Katharine Jaeger *               Claire Victoria Meyer *
 Samantha J. Lee                        In Hwa Kang *                          Claire C. Murphy
 Jiayun Liu *                           Ammar Khan *                           Sandra Nicole Neyenesch
 Adam Thomas James Loch                 Huixin Li *                            Grace Eileen O’Malley
 Juhi Mahajan *                         Pauline Maczuga                        Michael John O’Shea
 Sean Daniel Austin McGowan *           Jean C. Pabon Ayala                    Obiamaka Alexandria Onwuta
 Jack Ronald Meredith *                 Vladyslav Protsenko                    Jeremiah Park
 Timothy Jacob Miller *                 Anthony Ruiz *                         Bansari Patel
 Matthew D. Monks *                     Saheli Bimal Sheth *                   Shivam D. Patel
 Anthony Michael Mosele                 Elaine Clarissa Sine                   Yogi Patel
 Deepesh C. Notaria *                   Matthew William Smiles *               Nicole Katherine Perillo
 Adam Joseph Okrzesik *                 Emily Jo Voss                          Margaret Ann Piazzi
 Taha Parekh                            Joseph Philip Wakeman                  Andrew Douglas Pullam
 Changgyu Park                          Trenton D. Williams                    Daniel James Reardon
 Krupa Chirag Patel *                   Xinzhu Zhang                           Calvin Stanley Sailer
 Priya Ashwin Patel *                                                          Meagan Aleesia Schaffer
 Shil Patel                            IN MARKETING                            Luke Arthur Shilling
 Shreenath Prashant Patel *            DEGREES CONFERRED, AUGUST 05, 2019      Brian Alexander Smith
 Jordan Matthew Peel                    Aqib Syed Muhammad Amir                Krista Marie Solano
 Matthew Brian Petersen                 Emily Marie Crews                      Hamza Takriti
 Hilary Hanh Pham                       Sanaa Khan                             Kristyn A. Tarpey
 Ryan Paul Phillips *                   Cassidy James Lepper                   Adebare Aolat Tella
 Jacob Evan Price                       Sophia Marie Niforatos                 Jacqueline Alyssa Trujillo *
 Antonella Primmer                     DEGREES CONFERRED, DECEMBER 23, 2019    Anastasia E. Velliotis
 Zachary E. Quarton                     Tomas Eduardo Bejarano Robayo *        Kristin Elaine Vlach
 Pingyi Que *                           Jaelyn Cunningham                      Carolina Widjanarko
 Jassiem Adjua Renfro *                 Pravallika Reddy Dantapalli            Emmanuel Zambrano
 Wilson Ruan                            Zirui Guo *                            Sydney C. Zupan
 Nathaniel Peter Sauers *               Quinn Austin Nonnemacher *
 Ananya Saxena *
                                                                              IN OPERATIONS MANAGEMENT
                                        Claire Victoria Parker
 Dhruvi V. Shah *                                                             DEGREES CONFERRED, DECEMBER 23, 2019
                                        Jacqueline Ann Quade
 Natasha N. Shah                                                               William Mason Potts
                                        Tatiana S. Ridgeway
 Maura E. Smith                                                                Kathleen A. Townsley-Samuel
                                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Sonia Sood *                                                                 CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Joseph Asbach
 Warren W. Stippich *                                                          Joshua Peter Cassaro
                                        Junsung Bang
 Nina Francesca Stuckel                                                        Tomasz Czerwinski
                                        Elizabeth Edith Barrera
 Andrew Suchsland                                                              Maliha Fatima Hasan
                                        Jacob William Blair
 Yu Sun *
 Scott Jared Tablerion
                                        Mackenzie C. Byxbe                    IN SUPPLY CHAIN MANAGEMENT
                                        Melenie Calderon                      DEGREES CONFERRED, AUGUST 05, 2019
 Kristel To
                                        Michelle D. Cantre                     Jiewen Han *
 Celine Tsai
                                        Michelle Ophelia Cheng
 Ethan James Tunstall
                                        Isabelle Eui-In Cho
                                                                              DEGREES CONFERRED, DECEMBER 23, 2019
 Daniel Joseph Von Albade *                                                    Christopher E. Burwell *
                                        Luke Robert Collings
 Junyi Wang *                                                                 CANDIDATES FOR DEGREES, MAY 16, 2020
                                        John Richard Coombs
 Dana Kathryn Wonderlin                                                        Suliyat Folashade Adekola
                                        Kenzie Alexandra Crabtree
 Yifan E. Yang *                                                               Lauren Mary Alberts
                                        Warren Charles Dawes
 Zhibin Ye                                                                     Tyler Austin Arp *
                                        Leslie A. Dreiling
 Shidian Zhang *                                                               Alexa Jane Auld
                                        Jennifer Florez Rueda
 Siqiong Zhang *                                                               Kirsten Paige Bosman *
                                        Michaela M. Foreman
 Ziliang Zhang *                                                               Alexandra Jouet Carrier
                                        Adam Mark Furman
IN MANAGEMENT                           Tatiana Ariel Gonzalez                 Dawson Riley Dodds *
                                        Sarah Jean Hampton                     Shane J. Donovan
DEGREES CONFERRED, AUGUST 05, 2019
                                        Bailey Elizabeth Hartrich              Jacob H. Ebens
 Megan G. Bruckhauser
                                        Petra Holesinska                       Ethan Jacob Fivel
DEGREES CONFERRED, DECEMBER 23, 2019                                           Aakriti Gaur *
                                        Jessica Lin Hung
 Matheus Villas Boas De Amorim                                                 Himaja Gorantla
                                        Kaila Shanell Jones
 Jerry A. Baffour                                                              Jocelyn Leigh Harmon
                                        Ann Marie Kennedy
 Craig Lyle Campbell *                                                         Nadia Aneese Hussain
                                        Emily Cruz Kilgallon *
 Lauren Taylor Holmes                                                          Kireeti Jana *
                                        Daniel Hanil Kim
                                                                               Exhibit 38 - Page 45 of 76
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GIES BUSINESS • EDUCATION • GRAINGER ENGINEERING                              2020 COMMENCEMENT AT ILLINOIS




 Caitlin Anne Jandacek *                Kiley Sage Isaacson                      Amber L. Clay
 Caitlin June Josephs                   Ashley C. Joaquin                        Kristen Victoria Cook
 Olivia Ann Kohlenberger                Emma E A Jones                           Monika Karla Culjak
 Rachel Alison Kuehr                    Ashley Gayoung Kang                      Jennifer Marie DiSalvo
 Matthew Minki Lee                      Ashley Brooke Kaufman                    Corey Austin Elitzer
 Luke Anthony McCurdy                   Tessa Jaejin Kim                         Shannon Mary Faherty
 Meghan L. Mediratta                    Brooke R. Kramer                         Natalie Celeste Hernandez
 Hannah M. Mickey                       Stephanie Rose Lawrence                  Rachel Elana Hernandez
 Emily Rose Olson                       Rachelle J. Lee                          Michael Francis Kelley
 Sarah Therese Paulsen                  Sydney A. Lehmann                        Karolina Maniewski
 Jacob Dennis Peruba                    Isabel Lietza                            Erica Lashawn Parks
 Jack A. Rappaport                      Gabija Majute                            Andrei M. Popa
 Madeline Paige Roach                   Daisy Mendez                             Maria G. Pozo
 Isabella Munro Salafatinos             Christopher T. Minnec                    Yera Shin
 Ethan R. Senner                        Danielle Emilia Nichols                  Sabrina Madison Simpson
 Mingchen Shi                           Tiffany Nieves                           Alexandra Vazquez
 Alec M. Sommer                         Madison Elaine Nordstrom
 Abigail Nicole Spencer                 Kamila Nozka
                                                                                IN SPECIAL EDUCATION
 Michelle Tang                          Susanna Ogorkowska                      CANDIDATES FOR DEGREES, MAY 16, 2020
 Juan Pablo Triana Mayorga *            Anne Reuvers Payne                       Lauren Mary Amabile
 Anastasia Maria Vlassov                Luisana Danae Perez Chavez               Shemia Barnes
 Heather D. Walsh                       Eleanor Faye Pfister                     Emily Anne DePasquale
 Lucas Wang                             Brady Michael Platt                      Avalon Marie Dittmer
 Jordan John Weidler                    Jinrong Qiu                              Patrick J. Duncan
 Hayden Wenger                          Samantha Marie Rasulo                    Samuel E. Fishman
 Madison Nicole Wicklund                Michaela Anne Reynolds                   Danielle A. Golob
 Berton Yen                             Claire Elizabeth Riemersma               Allison Constance Irwin
 Hayden N. Zielinski                    Melissa Rivera                           Elizabeth Mae Jolie
 Andres Zocchi                          Nicole Rohn                              Eamon F. Kelly
 Nick Zou                               Taylor Ann Russo                         Bridget Francis Lawler
                                        Kelsey Anna Schweiger                    Haylee Elizabeth Lester
                                                                                 Margaret Joyce McClowry
COLLEGE OF EDUCATION                    Genes Jinmi Seok
                                                                                 Nicholas R. Mitchell
                                        Audrey Rose Siemer
                                        Michaela Rose Skweres                    Maribel Munoz
BACHELOR OF SCIENCE                     Jennifer Jinhee Son                      Caleigh Noel Oneil
                                        Samantha Ann Streeter                    Alyssa E. Pinones
IN EARLY CHILDHOOD EDUCATION            Marlinde R. Taylor                       Gabriela Ann Sabatino
DEGREES CONFERRED, AUGUST 05, 2019      Megan Elizabeth Teeter                   Antonia Mia Schmidt
 Ashley I. Garcia                       Jessica Valenzuela                       Benjamin Carl Serck
 Ashanti Briana Pulphus                 Shelby Rose VanderMeulen                 Jackson Riley Spencer
CANDIDATES FOR DEGREES, MAY 16, 2020    Katharine Elizabeth Wennerdahl           Heather Lynn Staples
 Sarah Devorah Davis                    Elisabeth A. Werries                     Silvia Sukenic
 Emily Duong                            Payton E. White                          Kelly Morgan Wallace
 Jordan E. Freer *                      Eleanor A. Wiley                         Jenna Lynn Walsh
 Abby Danielle Friedman                 Alison Rene Wolfe                        Brianna Helen Zickert
 Mary C. Glorioso                       Haley Marie Yetter
 Rebecca M. Keeley                      Michelle Zhen                           GRAINGER COLLEGE OF ENGINEERING
 Micaela Elian Malter
                                       IN LEARNING AND EDUCATION
 Mia Elizabeth Moustakas
 Austen Z. Ouyang
                                       STUDIES                                  BACHELOR OF SCIENCE
 Evelyn Reynoso                        DEGREES CONFERRED, AUGUST 05, 2019
                                        Marisol Jimenez                         IN AEROSPACE ENGINEERING
 Matthew James Sondag
 Teresa Lorraine Taflan                 Shelana K. Martin                       DEGREES CONFERRED, AUGUST 05, 2019
                                       DEGREES CONFERRED, DECEMBER 23, 2019      Nicholas C. Martin
 Celia Valdivia
                                        Ivan Guan                               DEGREES CONFERRED, DECEMBER 23, 2019
IN ELEMENTARY EDUCATION                 Zainab Abisola Yaya                      Jorge Alejandro Aranda
DEGREES CONFERRED, AUGUST 05, 2019     CANDIDATES FOR DEGREES, MAY 16, 2020      Andrew Daiki Burke
 Emily Kamel Bleibel                    Sean Duckin Chung                        Jenna Marie Commisso
 Kaleigh Elizabeth Clark                Wendi Ding                               Michael Danendra
 Keshonda Lashay Johnson                Griselda Escobedo *                      Jamie Lee Fredrick
CANDIDATES FOR DEGREES, MAY 16, 2020    Ashlyn Naomi Fleming                     Isaiah J. Gilbert
 Samantha Denise Abbott                 Claire Noel Follis                       Lucas A. Hobart
 Joel Alva                              Theodore James Grant                     Basilios Christopher Kakates
 Madeline Therese Atwood                Tymir Trumell Oliver                     Jonathan Quoc Viet Nguyen
 Dania Avila-Cardona                    Sukanya Prasad                           Ryan Matthew Noe
 Meghan M. Bohn                         Yang Rui                                 Suzanne Rebecca Peterson
 Stephanie Anne Burton                  Samantha Ann Weil *                      Akshay Raman
 Ulysses F. Cirilo                                                               David E. Salmi
 Nia C. Curtis                         IN MIDDLE GRADES EDUCATION                Grayson Kenneth Schaer
 Abbey Margaret Delaney                DEGREES CONFERRED, AUGUST 05, 2019        Rachit Singhvi
 Tara Chong Der                         Jacqueline Breimeier                     Daniel Steinberg *
 Brian Francis Finnerty                 Nancy Mariela Lazaro                     David Nathaniel Stier
 Marie-Rose Therese Fuchs               Karen Perez                              Amy Elizabeth Strauch
 Kaylee Marie Gerhardt                  Mayra Villanueva                         Tanay Vardhan
 Jessica Joy Gronwick                  CANDIDATES FOR DEGREES, MAY 16, 2020      Robert M. Zajac
 Christa Ann Halter                     Katherine Erin Barr                     CANDIDATES FOR DEGREES, MAY 16, 2020
 Phoebe R. Handler                      Carly Lauren Bessinger                   Nicolas Arturo Alvarado
 Emily Shannon Isaacson                 Carmen Carteno                           Nicholas Andrew Anderson
                                        Megan Virginia Clark                     Berkan Bolkan

                                                                                 Exhibit 38 - Page 46 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                               GRAINGER ENGINEERING




 Luke T. Calian                         DEGREES CONFERRED, DECEMBER 23, 2019    Kiran Lila Murphy
 Julian Welch Carter                     Estelle R. Bastounes *                 Tarun S. Nagarajan
 Elijah C. Chen                          Regan Daniel Bowman                    Jacqueline Anita O’Connor
 Kevin Joe Chen                          Gregory I. Caceres-Munsell             Victor M. Pastrana-Gomez
 Tony Koohong Chung                      Alexander R. Chong                     Avani Asit Patel
 Andrew M. Cichon                        Daniela M. Markazi *                   Tej V. Patel
 Franco Sebastiam Cubas Pastor           Jennifer A. Marten                     Lauren Kathryn Pritz
 Matthew Mark Czop                       Matthew Alan Sebring                   Kyle Kotaro Ritchie
 Joshua Varghese Daniel                  Jacob Mack Shumate                     Ana Laura Rivero Valles
 Parth S. Dhruve                         Samuel Shien Wang                      Luie Isaac Monaco Siegel
 Matthew David Dickinson                CANDIDATES FOR DEGREES, MAY 16, 2020    Noah H. Simon
 Aidan Dale Dreher                       Kyle Alexander Bright                  Diana Marie Slater
 Christopher Matthew Endres              Trevor Bultinck                        Craig Gavin Soares *
 Daniel Louis Engel                      Tianai Chen                            Justin C. Tiao
 Destiny Michelle Fawley                 Brandon Tyler Chiodini                 Nikita Tummalapalli
 Angel Jose Garcia                       Jessica M. Devine                      Jason Ren Wu
 Douglas William Henry Grasty            Sarah Marie Gardner                    Yitong Yang
 Nathan Patrick Griffin                  Jessica Sharmi Halder                  Heather Laurel Zelko
 Joseph John Grigus                      Claire Yui Hanrahan                    Stephanie Elena Zimbru
 Yuxuan Guan                             Jiawen Hu
 Eric Bruce Hammon
                                                                               IN CIVIL ENGINEERING
                                         Rong Jin
 Conor Ladd Hershey                                                            DEGREES CONFERRED, AUGUST 05, 2019
                                         Aiden Kamber
 Saym Adnan Imtiaz                                                              Roland Francis Adrian
                                         Aditya N. Kashyap
 Jack M. Johnson                                                                Abdulhamid Osama Al Naimi
                                         Elisa Kim
 Alexandru Kirr                                                                 Adriana Campa *
                                         Noah Bijan Lopez
 Mateusz Marek Korzen                                                           Paulina Claudia Carbajo
                                         Daniel Scott Marshall
 Jacob George Joseph Kraft                                                      Brian Chul Woo Chung
                                         Matthew Francis Mote
 Ali Lasemi                                                                     Amanda V. Darling
                                         Quintin Oshay Potthast
 Louis Edward Lataif                                                            Paige Jacqueline Dore
                                         Rashna Raham
 Connor James Latham                                                            Peter Gregory Heintz
                                         Anne Elizabeth Reardon
 Tianyu Li                                                                      William T. Krone
                                         David Reese Richardson
 Patrick David Linehan                                                          Aaron R. Linker
                                         Brent Ruan
 Yanbin Long                                                                    Javier A. Mulero
                                         Tanner R. Scherer
 Justin Gregory Lorenz                                                          Daniel Anthony Pituch
                                         Ethan Scholl
 Yufeng Luo *                                                                   Ricardo Ramirez Betancourt *
                                         Emma Catherine Sementi
 Connor Enzo Madell                                                             Morris Chung Hao Wang
                                         Myles Donald Slavicek
 Himmat Singh Mann                       Margaret Mary Tamm                    DEGREES CONFERRED, DECEMBER 23, 2019
 Damian Markiewicz                       Eva M. Vignola                         Soham Ahuja
 Toshiki Matsuya                         Alisha Weatherspoon                    Matthew J. Babirak
 Miles J. McKaig                                                                Jae Min Baek
 Mason William Metzkes                  IN BIOENGINEERING                       Gabriel A. Braboy
 Cameron Milan Abraham Monroe Carlson   DEGREES CONFERRED, AUGUST 05, 2019      Keith Supan Briones
 Aldo Montagner Martinez                 Joshua L. Au                           David Budzik
 Jonghyun Moon                          DEGREES CONFERRED, DECEMBER 23, 2019    Chequita L. Burkins Grant
 Avantika Murali                         Daniel D. Lee                          Hsienli Stanley Chiang
 William Noh                             Jace Jeffrey Peters                    Tulsi S. Chudgar
 Katherine Theodora O’Connell                                                   Zachary Curtis Cinq-Mars
 Oscar Everardo Ortiz                   CANDIDATES FOR DEGREES, MAY 16, 2020    Andrew Matthew Diorio
 Michael Robert Paradise                 Vignesh Alla                           Dakota A. Gonzales
 Magdalena M. Parta                      Brittany Angara Amawan                 Nicholas T. Kerska
 Ravi D. Patel                           Sohil Parthiv Amin                     Christian Jon Khachaturian *
 Niklas Philipp Perujo                   Luke Ping Ang                          Lyle O. Lacanlale
 Natalie Christine Pfister               Nathan Matthew Apter                   Sung Min Moon
 Peter John Piatek                       Alicia C. Barker                       Theodore Joseph Mossman
 Ankit Ranjan                            Eamon J. Bracht                        Kevin Duy Nguyen
 Brenda Alexandra Reyn                   Kajsa E. Chen                          Timothy Andrew Rassi
 Raymond Hugh Roglans                    Vincent Chandler Cornelius             Sean Sunghwan Rhee
 Daniel Gu Rong                          Amelia Claire Cornman                  Andrew Jimmy Rivera
 Charles Avi Rovin                       Denzel Ryan De Leon Cruz               Leonel R. Rodriguez
 Arushi Saxena                           Jonathan Scott Cruz                    Arianna Renee Roldan
 Dominic T. Singer                       Andrea Tara Daniel                     Catherine Teresa Seebauer
 Joshua David Super                      Benjamin Misael David                  Mingruo Shen
 Jasmine Thawesee                        Zachary Bryce Favakeh                  April Irene Shewry
 Kevin John Triner                       Molly Gabrielle Fay                    Karolina Urban
 Courtney Grace Trom                     Kelsey T. Finnamore                    Annmarie Babu Varghese
 Alexander J. Wang                       Jacob Tyler Foster                     Hantao Xu *
 Weizhuo Wang                            Carlos E. Garcia Gamez                 Junlin Zhang
 Wesley Joseph Warton                    Lauren Mae Grove
                                         Krista Mari Habing                    CANDIDATES FOR DEGREES, MAY 16, 2020
 Jiaqi Yang                                                                     Prajval Acharya
 Yoshihiro Yoshida                       Charlie Youngcheol Huh
                                         Shubhangi Sanjeev Joshi                Aiman Ahmad Azmil *
 Nicole Anna Zaworski                                                           Kristin Joy Anderson
 Yikun Zhou                              Varshini C. Kadadevarmath
                                         Monika Kizerwetter                     Matthaios Iorgos Aravosis
IN AGRICULTURAL AND BIOLOGICAL           Yujin Lee                              Marco Marin Babic
ENGINEERING                              Benjamin K. Liang *                    Alp Balcay
                                         Nicole Gabrielle Lima                  Nicholas Bartuce
DEGREES CONFERRED, AUGUST 05, 2019                                              Melissa Anne Bayer
 Janae Brianna Moore                     Ramon Macias
                                         Nikita Mandhan                         Helena Elisa Beikircher
 Hitarth Nehul Patel                                                            Thomas Ray Belluomini
 Colleen Catherine Williams              Faisal Masood
                                         Monica Mastalerz                       Jacob D. Benner

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GRAINGER ENGINEERING                                                          2020 COMMENCEMENT AT ILLINOIS




 Liam Thomas Benson                     Lindsay Therese Muth                     Yunxiao Diao
 Margaret Kathleen Berger               Peter Thomas Nagle                       Zhaoying Du
 Tanvi Tushar Bhole                     Shosuke Naokawa                          Chen Fan
 Lawrence Kent Brucker                  John Paul Neal                           Atindraya Ganti
 Kylie Renee Burkett                    Kayla Carolyn O’Sullivan                 Matthew Ryan Grossfeld
 Jinyi Cai                              Krishna J. Patel                         Aayush Gupta
 Alonso Cardiel                         Max Joseph Potvin                        Seong Wook Ha
 Jacob Robb Carlson                     Michael Jacob Rajlich                    Harsh Harpalani
 Mark James Cerabona                    Adnan Rauf                               Majdi M. Hassan
 Wai Chuen Chan                         Alexandros Rellos                        Elaine Morgan Houha
 Chang Chen                             Brayan Gustavo Rico                      Jinhao Hu
 Zhuo Chen                              James Joseph Roggeman                    Jason Hwang
 Alexander Sinclair Chinn               Dana Claire Rosenblum                    Isaac Bharat Iyengar
 Gabrielle Kim Choo-Kang                Bugra Mirsat Sahin *                     Thomas William Judd
 Keanu Yun Hun Chow                     Ryan Samuel Schiffer                     Kshithij Kamal *
 Joseph Frank Ciannella                 Justin Daniel Schmit                     Utsav Kawrani
 Abigail R. Cohen                       Julia Marie Schultz                      Divyam Khandelwal
 Christopher Joseph Cooney              Zachary Robertson Scurry                 Bum Jun Kim
 Haowen Deng *                          Paul A. Segovich                         Caleb Jaehyun Kim
 Brandon Joseph Dengel                  Jessica Marie Camalongay Silva           Min Kue Kim
 Berk Vehbi Dincerler                   Nicholas R. Spicuzza                     Seung Sik Kim
 Yicong Dong *                          Matthew Joseph Stein                     Terry Kim
 Henry F. Doyle                         Adam Carl Stepping                       Maxim Korolkov
 Jinglin Duan                           Zhichao Sun                              Minh Quang Le
 Jack A. Everett                        Sam Meyers Swislow                       Wonyong Lee
 Lauren Elysse Excell                   Elisabeth P. Tarpey                      Hong Lin
 Jacob M. Feiger                        Moe Nge Thant                            Jiahang Liu
 Angelo Robert Feola                    Charlee Isabella Thompson                Kevin K. Liu
 Alvin Jesse Fernandez                  Nathan Robert Tomerlin                   Yuhao Liu
 Gordon Joseph Foley                    Sorawit Treeprasertsuk                   Tianlun Luo
 Nicholas Slaton Friel                  Elif Ulucan                              Raymond Y. Mai
 Julisa Galvan                          Emily Grace Voigt                        Yupei Mao
 Heather Faith Gathman                  Cyrus Y. Wang                            Lucas Connor McDonald
 Joseph Michael Giglio                  Jakub S. Wojtas                          Pawel R. Michalski
 Yutong Gong                            James R. Wolford                         Vismayak Mohanarajan
 Lucas John Gough                       Yijun Wu *                               Jonathan T. Mullen
 Tristan Richardson Stanfield Greene    Tianshu Xiao                             Junrui Ni
 Trevor Gresham                         Jianqi Xue                               Cameron Palte
 Alexander Edward Hanskat               Huichuan Yang                            Siheng Pan
 Allisa Grace Hastie                    Alexa Jane Yeo                           Nikhil Kirti Parmar
 Tanner Reed Hasty                      Sonia D. Zala                            Kush J. Patel
 Matthew Phillip Hayes *                Yunxuan Zeng *                           Advaith V. Ravikumar
 Ethan Jacob Heidrich                   Manying Zhang                            Sachin Sreenivasa Reddy
 Shain Christopher Hennessy             Mingxi Zhang                             Alan Zhang Ren
 Jacob Christian Hofstetter             Yi Zhang                                 Eric Matthew Roch
 Michael Edward Hogan                   Alan Zhou                                Issac C. Ruthe
 Eamon Homedi                           Nathaniel Glenn Zipperich                Sajjad Mohammad Sainsi
 Ze Hua                                                                          Hersh K. Singh
 Michelle Kimberly Irawan
                                       IN COMPUTER ENGINEERING                   Matthew Tad Szczepaniak
 Abigail M. Iuorio                     DEGREES CONFERRED, AUGUST 05, 2019        Ann H. Thomas
 Mark G. Jette                          Harry Manuel Arakkal                     Jaskirat Singh Vig
 Jayden Marcos Jimenez                  Steven Michael Benack                    Megan Elizabeth Walsh
 Cameron T. Johns                       Matthew B. Cheng                         Yichen Wang
 Alexander James Keil                   James J. Ickes                           Robert T. Weiner
 Jack Knapp                             Nachiket S. Joshi                        Yue Xu
 Hui Yi Koh                             Xaviera Nzetam Kuissi                    Hao Yang
 Jonathan K. Kothe                      Mihir Kumar                              Kangho Yang
 Samuel Joseph Kottoor                  Ian Mindich *                            Lilan Yang
 Matthew Kuechenberg                    Rohan Mohapatra                          Yuechun Yang
 Dinaz Kureishy                         Saurav C. Puri                           Janish Venkata Sai Yerra
 Kyle M. Lacanlale                      Jaeho Shin                               Brandon Yu
 Forest H. Lam                          Robert M. Turza                          Yichi Zhang
 Lillian Bei Jia Lau                    Soumitri Vadali                          Stanley Yin Zhao
 Ian Vincent Li                         Jash Samir Vora                          Mingrui Zhou
 Yi Li                                  Mason M. Weigand                         Jiacheng Zhu
 Yongxi Liang                          DEGREES CONFERRED, DECEMBER 23, 2019      Allan J. Zou
 Diane Catherine Lipa                   Guillermo Aguirre                        Prabhakar Vinayak Zutshi
 Robert Austin Love                     Moosa S. Al-Nimer                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Randy Maamari                          Ashraf Ali Djauhari                      Niharika Agrawal
 Sheikh Muhammad Maazuddin              Christian S. Arboleda                    Syed H. Ali
 Jack Michael Majcher                   Siva Phani K Bachu                       Taras Ambrozyak
 Christopher Anthony Meilinger          Justin Donovan Malig Badua               Pragya Aneja
 Richard Thomas Meuris                  John Michael Born                        Shania Arora
 Jack Robert Miller                     Samuel Yu-An Chang                       Yashovardhan Arora
 Shrey Mittal                           Paul S. Chung                            Connor Joseph Aubry
 Eleftherios Michael Monaxios           Peter Landis Clark                       Dylan G. Bentfield
 Alexis Montoya                         Alexy Cruz                               Mitalee Bharadwaj
 Jonathan Lee Morales                   Christopher Stephan Daniels              Bhavish Umapathy Bhattar
 Drew Joseph Murtaugh                   Nishant Dash                             Jason M. Bilas
                                                                                 Brock Victor Boehler
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                              GRAINGER ENGINEERING




 Dhruv L. Bohra                  Eun Jae Kim                    Elliot Martin Salvaggio
 Matthew James Bremer            Geonil Kim                     Andrew Samboy
 Yurui Cao                       Timothy Ko                     Christopher Santoso
 Matthew Michael Cardia          Gauri Mohandas Konanoor        Debopam Sanyal
 Cary Z. Chai                    Oleksiy Korniychuk             Ayush Guha Sarkar
 Chang-Wei Chang                 Rahul Krishnan                 Ethan Forrest Sciuckas
 Evan I. Chang                   Anthony Christopher Lambert    Yohanes Mahardhika Setiawan
 Ashmita Chatterjee              Timothy J. Lan                 Mohammed Omer Shafeeq
 Jingde Chen                     Chelsea M. Langston            Arkin Anand Shah
 Yifan Chen                      Chang M. Lee                   Dhruvi G. Shah
 Zikun Chen                      Jihyun Lee                     Sahil P. Shah
 Derek S. Cheng                  Tae Kyung Lee                  Xiaoyi Shen
 Cherian Kunnumpuram Cherian     Nayman Shun Leung              Diwen Shi
 Benny Chiang                    Peter Homing Leung             Seung-Hyun Shin
 Yen-Ling Chiang                 Hongxuan Li                    Marshall G. Shriner
 Aditya Abhijit Chitnis          Mengxuan Li                    Gundeep Singh
 Minjae Choe                     Qingyu Li                      Saransh Sinha
 David Ming-Ern Choo             Rong Zhou Li                   Oumar Soumare
 Megan Marie Coleman             Tingou Liang                   Nathan Sparacino
 Victoria Ruth Colthurst *       Weihang Liang                  Vignesh Srivatsan
 Patrick Ryan Connelly           Zuodong Liang                  Kevin Young Su
 Elliot Shien-Ming Couvignou     Junyeob Lim                    Shihao Su
 Nathaniel G. Cueto              Brian Po-Ting Lin              Yu-Tang Su
 Arnav Mohanty Das               Zibo Lin                       Ke Sun
 Tyler James Davis               Ke Liu                         Sayan Pico Sur
 Hubert Z. Deng                  Phillip E. Lovetere            Kishan Surti
 William J. Doherty              Alan Zigi Lu                   Thomas Edward Swiszcz
 Thomas Franklin Driscoll        Fang Lu                        Omar Ahmed Taha
 Charles Ekwueme                 Hanxiao Lu                     Brian Tang
 Noah B. Feinberg                David James Luo                Rajiv Tatineni
 Kathryn Erzsebet Fejer          Sean Luo                       Hebron D. Taylor
 Janette Marie Folliard          Kelvin Ma                      Vyom Thakkar
 Michael Fong                    Yuan Ma                        Natasha Thomas
 Anthony Andrew Gacek            Samarth Makhija                Kevin Reagan Thompson
 Christine Ting Gao              Neva Mery Manalil              Joshua Daniel Varghese
 Fangwei Gao                     Addiel Martinez-Perez          Aditya Varottil Umakanth
 Qichao Gao                      Dillon Michael McNulty         Deepan Venkatesh
 Shengyu Ge                      Ankur Mehta                    Brian Paul Vickers
 Stephen L. Gioja                Tianyi Meng                    Samantha Jane Walter
 Ninad Ajay Godbole              Ryan Thomas Mikes              Benjamin Fen Wang
 Kushal Kumar Goenka             Damian Artur Mirecki           Jinghua Wang
 Varun Govind                    Anumay Ashish Mishra           Kuang Wang *
 August R. Gress                 Daniel Mouscher                Lijian Wang
 Michael Scott Gulson            Johan Tshisumpa Mufuta         Qihao Wang
 Xinyi Guo                       Francis Mui                    Benjamin James Wasicki
 Kushagra Gupta                  Ashwin Mukund                  James Edward Welander
 Tulika Gupta                    Pratheek R. Muskula            Brian Scott Wilens *
 Henry David Haase               Selim Can Mutluer              Henry Wu
 Darius Haery                    Murugan Ramasamy Narayanan     Jiayi Wu
 Nicholas Toshibo Halteman       Dylan J. Nielsen               Xiangyu Wu
 Fangqi Han                      Derek A. Niess                 Zaizhou Wu
 Jusung Han                      Ryan Edward Oberlander         Zhenbang Wu
 Rohil Hatalkar                  Zhifeng Ou                     Zhixin Wu
 Spencer John Hecht              Ruian Pan                      Siwei Xian
 Pavan Hegde                     Emmanuel H. Pang               Fengze Xie *
 Jake Bender Heilmann            Aditi Panwar                   Jiaqi Xing
 Kaleb Jeffrey Henderson         Francis Peter Papa             Albert W. Xu
 Phillip Arthur Hines            Yeongyoon Park                 Chao Xu
 Ruofan Hu                       Eric Anthony Parks             Chenxi Xu
 Chenyang Huang                  Aniket J. Patel                Yuhui Xu
 Jinghan Huang                   Dhruv Bharat Patel             Srikanth B. Yaganti
 Zhengcheng Huang                Het A. Patel                   Jason Yang
 Joseph Anthony Hutter           Kyle S. Patel                  Michelle Yang
 Erik A. Jacobson                Misha Patel                    Patrick Y. Yang
 Sameer Jain                     Rutu Mittalkumar Patel         Ruihao Yao
 Siddhant Jain                   Vraj Nilesh Patel              Deniz Yildirim
 Nitin Jaison                    Michael E. Pauls               Yinuo Ying
 Micah Jeng                      Christopher Pelcastre          Justin Kai Young
 Enyi Jiang                      William John Peterson          Sicong Yu
 Xutao Jiang                     Nathan William Post            Zihong Zeng
 Yuming Jin                      Gautam Putcha                  Charles Z. Zhang
 Jalen Isaiah Jouett             Quentin Clark Putnam           Haiyang Zhang
 Anusha Harita Kandula           Michael Qian                   Haoyang Zhang
 Da Youn Kang                    Brandon Jeffrey Qiao           Heling Zhang
 Pooja Kankani                   Ziwei Qiu                      Run Zhang
 Shayna Harish Kapadia           Bhuvaneshkumar Radjendirane    Shuyue Zhang
 Santan Datta Katragadda         Jason David Raether            Tailin Zhang
 Austin W. Kerwin                Aayush Raj                     Xiangyuan Zhang
 Varad Khandelwal                Paul R. Reckamp                Chengyao Zou
 Rohan Khanna                    Thomas John Roberts
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GRAINGER ENGINEERING                                                          2020 COMMENCEMENT AT ILLINOIS




IN COMPUTER SCIENCE                     Jiawen Wu                                Utkarsh Jha
DEGREES CONFERRED, AUGUST 05, 2019      Joshua Wu                                Wanjun Jiang *
 Ruiyao Ding                            Guiping Xie                              Xilun Jin *
 Drake Thomas Eidukas                   Xizi Yang                                Diya Kalaimani
 Pawel Galusza                          Drew Harrison Zelac                      Elizaveta Kalinina
 Robert Roger Hsu                       Andrew L. Zhang                          Ziv Benjamin Kaputa
 Zubin J. Pahuja *                      Xiaohua Zhang                            Ryan Michael Kastl
 Juliana Tiffany Snarski                Steve Zhu                                Anna H. Kim
 Karthik Sudana                        CANDIDATES FOR DEGREES, MAY 16, 2020      Hyein Kim
 David Isaac Van Cleve                  Laith A. Abad                            Jaehwi Kim
 Tatiana I. Vinogradov                  Jorge Isaac Adorno                       Scott Kim
 Xiao Wei                               Azriel D. Alvarado                       Katie Heekyung Ko
 Muhammad Rizky Wellyanto *             Max Phillip Anderson                     Lingkai Kong
 Honghou Zhou                           Raajesh Arunachalam                      Dillon P. Korman
                                        Tyler B. Awdisho                         James Will Koster
DEGREES CONFERRED, DECEMBER 23, 2019                                             Lukas R. Kulbis
 Abdullahi Mohamed Abdalla              Divya Badri
                                        Vaibhav Bajaj                            Soumya Sarah Kuruvila
 Hyun Suk Bae *                                                                  Shaoheng Lai *
 Ningshuo Bai                           Vivek Reddy Bandapalle
                                        Babak Omeed Baniasad                     Kaichen Le *
 William Louis Bauer                                                             Angela Lee *
 Bruce Alan Bruno                       Alecia Denise Bell
                                        Sahil Bhatt                              Eric Dean Lee
 Anna V. Buyevich                                                                Isabella Lee *
 Ian Sukamto Cabacungan                 Alex John Blacketor
                                        Hiranmayi V. Bommireddipally             Jinyuan Li
 Jianing Cheng                                                                   Peiyao Li *
 Alexander X. Chung                     Justin Bu
                                        Joshua Adam Burke                        Shijie Li
 Maren Evan Dewyze                                                               Xiaomin Li *
 John Wallace Diffor                    Matthew Robert Cannalte
                                        Eric James Cao                           Xinyu Li
 Allegra Augusta Domel                                                           Kaizhao Liang
 Chase Rylan Engelbrecht                Yubo Cao *
                                        Akhil Deepak Chainani                    Chen Lin *
 Angad Garg                                                                      Jingxiang Lin
 Jessica Sayoni Gomes                   Michael Chang
                                        Rui Chang *                              Qiaoqian Lin
 Garima Gupta                                                                    Weili Liu
 Youcef Farouk Hadjarab                 Gabrielle Ka Yan Chen
                                        Juefei Chen                              Curtis W. Lowder *
 Jonathan David Hoelzel                                                          Bryan Yong Lu
 Nandini Iyer                           Yanlin Chen
                                        Zehao Chen                               Yijie Lu
 Han Heul Jo                                                                     Licheng Luo
 Bayawi Julian                          Ethan L. Cheng
                                        Xiang Cheng                              Amelia Kennedy Lutz
 Rohan Kasiviswanathan *                                                         Zachary James Mabry
 Farhan Ahmed Khan                      Haricharan Cheruvu *
                                        Ryan Chien                               Alexander Morgan Ward Mackowiak *
 Miqueas Kim Han                                                                 Megha Mallya
 Yashna Kumar                           Byung Il Choi
                                        Joseph Nathaniel Chung                   Alejandro Marin
 Jacob Kovaka LaGrou                                                             Troy Emery Martin
 Wei Liang                              Adrian Julius Clark
                                        Zachary Andrew Codiamat                  Rishi Masand
 Isabell Lin                                                                     Michael Levi McGuire
 Jiacheng Liu                           Michael Thomas Colomb
                                        Osmar Alberto Coronel Rodriguez *        Richard E. Mehl
 David M. Long                                                                   Noor Sultan Michael *
 Malachi Reed Loviska                   Tristan V. Creek
                                        Zachary Allen Dale                       Ema Milojkovic
 Shaoqin Lu                                                                      Madison A. Minnick
 Kabir Manghnani                        Jacob Henry Dannhausen-Brun
                                        Krastan D. Dimitrov                      Richa Misra
 Samuel Floyd McFadden                                                           Maciej P. Mleczko
 Justin Richard Meid                    Harrison Ding *
                                        Tochi Jude Egbejimba                     Nikhil Deelip Modak
 Jacob G. Miller                                                                 Javed Mohamed
 Renuka Nannapaneni                     Che Giovanni Ellis
                                        Zackarya Faci                            Akash Mukherjee
 Travis Alexander Newgren                                                        Mukhil Murugasamy
 Daniel Antoni Niewierowski             Alan S. Fang
                                        Zhengqi Fang                             Ria Kala Nair *
 Nicolas George Nytko                                                            Tamara Louise Nelson-Fromm
 Goutham Pakalapati                     Melody Marie Felix
                                        Julia Fiorino                            Hung Woei Neoh *
 Zhengyang Pan                                                                   Anmol Nigam
 Adarsh B. Ramchandran                  David Hutchison Flint
                                        Kailang Fu                               Alexander James O’Kennard
 Siddharth Ray                                                                   Danny Paez *
 Shilpa Repakula                        Nupoor Manoj Gandhi
                                        Sneha Gaur                               Nikhil Paidipally
 Ada Rosa                                                                        Chen Pan
 Justin Ruan                            Michelle Giang
                                        Jeremy Mwangi Green                      Vibha V. Pandurangi
 Chae Won Ryu                                                                    Mihir Pandya
 Nishanth Ravi Salinamakki              Deepika Gudavalli
                                        Jiaxuan Guo                              Andrew Inkyu Park
 Udit Prakashkumar Samani                                                        Samantha Yumi Park
 Rahul Shah                             Sahil J. Gupta *
                                        Yimeng Han                               John Martin Parzynski
 Howard Shan                                                                     Denzel Pfeifer
 Yashovardhan Sharma                    Tianyi Hao *
                                        Miraal Haq                               Antoine F. Pfeiffer
 Michael James Shea                                                              Danielle C. Plecki
 Annabelle Y. Shih                      Freddy Hernandez
                                        Parker I. Hess                           Maksymilian Podraza
 Venisa Sinha                                                                    Rohan Baskar Prabhakar
 Tejas A. Siripurapu                    Daniel John Holley
                                        Feng Hou                                 Chen Qian
 Shachi D. Solanki                                                               Zhengru Qian
 Allen Jiacheng Tang                    Ian William Howe
                                        Alan Leyi Hu                             Annie Qiu
 Xiao Tang *                                                                     Devika Khanna Raathor
 Fei Teng *                             Connie Bei Huang
                                        Hong Ngai Ip *                           Rishabh Rajagopalan
 Daniel Xing Tian *                                                              Ann Mary Rajan
 Spencer K. Tracy                       Justin Robert Isla
                                        Akshaya Jagannadharao                    Prithvi Raman Ramanathan *
                                        Akriti Jain
                                                                                Exhibit 38 - Page 50 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                              GRAINGER ENGINEERING




 Rati Rastogi                          CANDIDATES FOR DEGREES, MAY 16, 2020   CANDIDATES FOR DEGREES, MAY 16, 2020
 Shane Alexander Redman                 Akhil Alapaty *                        Oluwatosin Promise Akinsanya
 Hana Gazi Rimawi                       Stephen Jay Hurwit *                   Fethi Bartu Alp
 Isabel Joyce Ruiz                      James R. Krein *                       James Phillip Arnold
 Daniel Robert Rychel                   Sooraj Senthil Kumar *                 Robert J. Audino
 Mingi Ryu                              Zheng Liu *                            Abhishek Nemkumar Bhandari
 Ochithyaa Niraalee Samarakoon          Nathan Ashwin Narasimhan *             Luis E. Bibian
 John Robert Sanavaitis                 Logan Joseph Rosenmayer *              Dean Curtis Biskup
 Arnav Sankaran *                       Amber Sahdev *                         Michael A. Chang
 Rolando J. Santos                      Jack Liu Yang *                        Daniel Hongrui Chen
 Anna Shabayev                          Yingquan Yu *                          Haonan Chen
 Shunfan Shao                                                                  Ximin Chen
 Yujie Shao *                          IN ELECTRICAL ENGINEERING               Zitong Chen *
 Caiying Shen                          DEGREES CONFERRED, AUGUST 05, 2019      Chulwon Choi
 Luke Isaiah Smith                      Karthikeya P. Achar                    Myung Won Chung
 Ophir Tessel Sneh                      Fadi Al Zuabi                          Robert M. Conklin
 Shao Yie Soh                           Kourosh Arasteh                        Anders J. Cox
 Surabhi Shreya Sonali                  James Chen                             Samuel Irvin Darmamulia
 Pranav Srinivas                        Joseph Anthony Espino                  Daniel Ranjit Davidar
 Daniel Mead Stelzer *                  Dimitrios Stavros Gotsis               Yihao Deng
 Prashant Subramanian                   Kyung-Hoon Han                         Kousthubh Milind Dixit
 Paras Sud                              Fernando Hernandez-Campos              Yicong Dong *
 Victor Sui *                           Charles Leonard Lewis                  Hiraal Doshi Milankumar
 Dachun Sun *                           Justin J. Li                           Ioan G. Draganov
 Ray Sun *                              Ian Allan Napp                         Benedict Nosakhare Egiebor
 Ankur Sundara                          Micheal Scott Westfall                 Ali-Berk Eroglu
 Takeshi Suzuki                         Michael J. Zhang                       Michael David Faitz
 David Szewerniak                      DEGREES CONFERRED, DECEMBER 23, 2019    Ethan James Filzone
 Panqiu Tang                            Mohammad Singgih Adiprayogo            Colin Lee Flavin
 Yu Tang *                              Marc U. Backas                         Andrew Gacek
 Sizhe Tu                               Pablo Catalan                          Shreyas Sai Gandlur
 Sushrut Sundeep Vani                   Jiawen Chen                            Kyle Patrick Gibbs
 Abhay Muralidhara Varmaraja            Jintao Chen *                          Alejandro Gonzalez
 Tanya Verma                            Tiger White Chung                      Hanlei Gu
 Sameer Vijay                           Justin Shien-I Couvignou               Jason Paul Hackiewicz
 Kristen Elise Viola                    Amalia Joy Dungey                      Sang Baek Han
 Benjamin Vonderheide                   Yijun Gan                              Ruomu Hao
 Michael Wan                            Joseph A. Garcia                       Keshav Harisrikanth
 Bo Wang                                Matthew T. Gross                       Edward W. Harper
 David Enshuo Wang                      Alexa Loran Hirsch                     Madison R. Hedlund
 Junting Wang *                         Christopher C. Horn                    Brian Michael Hill
 Rongzi Wang *                          Zheyuan Hu                             Zachary Hoegberg *
 Wei-Chen Wang *                        Wentao Jiang                           Quanhua Huang *
 William Wang                           Chase Liston Johnston                  Shudong Huang
 Zihan Wang                             Euiho Jung                             Ziming Huang
 Thomas J. Warther *                    Clay Kaiser                            Andrew David Ingram *
 Grace J. Wehner                        Christopher Kennedy Kalebich           Lukas Leonard Janavicius *
 Kevin Jason White                      Christopher S. Kang                    Stephanie Nicole Jaster
 Brandon Allen Willis                   Akeem Jamal Kennedy                    Dohun Jeong
 Jennifer Wu                            Dong Hyun Kim                          Pu Jin *
 Tiancheng Wu *                         Umme Kulsoom                           Xin Jin
 Zhaoyu Wu                              Rohin Kumar                            Seongje Jung
 Yuxin Xiao *                           Joseph Kuo                             Louis Thomas Kim
 Chang Xu                               Reda Lamniji                           Sarah M. Kolak
 Jinlin Xu *                            Douglas Lee                            Mark David Kraman
 Qingqing Yang *                        Yong Jun Lee                           Lakshya Lahoty
 Jenny Yao                              Quan Liu                               Yaning Lan
 Yulun Yao                              Antonio Martinez                       Derik H. Lee
 Franklin Feihu Ye                      Jaime Ontiveros                        Seunghyun Lee
 Yue Yin                                Sachin Kasyap Chiranjeevi Parsa        Sung Hoon Lee
 Caren Zeng                             Nicholas Everett Radler                Haoxiang Li
 Beichen Zhang *                        Joseph Paul Rapp                       Heyuan Li
 Dongxuan Zhang                         Elliott D. Robinson                    Yanye Li
 Hanyu Zhang                            Jordan Alexander Rodier                Jiayin Ling
 Tingli Zhang                           Prerak Manish Sanghvi                  Alexander James Littlefield
 Tao Zhou *                             Platon Slynko                          Hanhaotian Liu
 Yiqing Zhou *                          Drew G. Stogner                        Jianzhi Long
 Benjamin Phillip Zinn                  Mark William Syrek                     Esteban Looser-Rojas
                                        Nicholas Joseph Thoele                 Erik Johanson Lundin
IN ELECTRICAL AND COMPUTER
                                        Rohan Tikmany                          Kushal Dipakkumar Majmundar
ENGINEERING
                                        Miguel A. Torres                       Didrick Manahan
DEGREES CONFERRED, AUGUST 05, 2019      Matthew B. Tyiran                      Vaidotas Paulius Marcinkevicius
 Zhuohang Cheng *                       Dillon Vadgama                         Dhruv Chandra Mathur
 David Shan *                           Yusheng Wei                            Nikhil Mehta
DEGREES CONFERRED, DECEMBER 23, 2019    Sean Edward White                      Qingxi Meng
 Tianhao Chi *                          Shixin Wu                              Justin Lee Meyer
 Lingzhi Chu *                          Phillip Zhou                           Sahil Singh Morrow
 Shixing Ma *                                                                  Adam Riley Newhouse
 Mike Edward Schaub *                                                          William Stewart Newman
                                                                              Exhibit 38 - Page 51 of 76
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GRAINGER ENGINEERING                                                          2020 COMMENCEMENT AT ILLINOIS




 Brandon Wayne Noble                   CANDIDATES FOR DEGREES, MAY 16, 2020      Ir-Jene Austin Shan
 Marco Antonio Palella                  Arnav Arora                              Rahul Sharma
 Edwin Huanwei Pan                      John Henry Burke                         Tanya Sinha
 Varun K. Pattalachinti                 Zhanghao Chen                            Jonathan Andrew Sutkowski
 Elise Brenna Perry                     Zongnan Chen                             Bing Jyun Tsao
 Vassily Andrew Petrov                  Samuel V. Drew                           Bhairav Shailesh Valera
 Klee T. Pollock                        Alyssa Anne Gunn                         Paul Samuel Vandeventer
 Matthew James Price                    James Peter Jaeger *                     Ge Wang
 Rui Pu                                 Seung Hyun Kim                           Ningdong Wang *
 John Michael Quinn                     David Kordaczka                          Shoham Weiss
 Ahsan A. Qureshi                       Yilin Lou                                Brian Scott Wilens *
 Adithya Rajan                          Ruoyang Qu                               Kara R. Wong
 Sai Rajesh                             Adam Velasquez Rosales                   Fengze Xie *
 Brandon Seth Ramos *                   Arthur Treiger Sredni                    Brian Y. Xu
 Lyle Regenwetter *                     Sitao Zhang                              Diyu Yang *
 Yuhang Ren                                                                      Yusen Ye *
 Anabel Iris Rivera                    IN ENGINEERING PHYSICS                    Jiayuan Zhang
 Joshua Kiel Rodriguez                 DEGREES CONFERRED, AUGUST 05, 2019        Yifan Zhang *
 Megan Rose Roller                      Michael Victor Habisohn                  Yiqing Zhou *
 Nicholas Edward Russo                  Hugh D. Yeh *
 Alec Whitson Saebeler
                                                                                IN INDUSTRIAL ENGINEERING
                                       DEGREES CONFERRED, DECEMBER 23, 2019
 Masayoshi Sakakura                     Alexander N. Bazil                      DEGREES CONFERRED, AUGUST 05, 2019
 Noah James Salk                        Michael George Chakinis                  Haazib H. Awan
 Sumanendra Sanyal                      Jintao Chen *                            Min Soo Kim
 Kyle Aaron Schildgen                   Anshul Biren Doshi                       Binh T. Phung
 John T. Scholl                         Nader R. Emamjomeh                       Emir Sonmezler
 Tanvi Sanjay Shah                      Mergenbaatar Gerelbat                    Matthew Ramon Tune
 Isha Sharma                            Christopher Daniel Ho                   DEGREES CONFERRED, DECEMBER 23, 2019
 Amritpaul Singh                        Swan Yee Htun                            Aldrin Matthew De Ramos Alvarez
 Neil Tupper Stimpson                   Dongyoung Kim                            Eashaan Gunapati
 Nathaniel Frederick Stoll              Seokhyun Kim                             Manuel Cyriac Kappen
 Karthikeyan Sundaram                   Dana Song Sim                            Aditya R. Kishore
 Sujal F. Sutaria                       Chenkai Xia                              Bohan Li
 Irfan Suzali                           Jacob W. Zeeb                            Xinhang Li *
 Alexander Y. Tam                       Kaiwen Zhang *                           Cheryl Jessica Lynn Macklin
 Armando R. Terrones                   CANDIDATES FOR DEGREES, MAY 16, 2020      Alexander David Rotello
 Samira A. Tungare                      Joseph Dominick Adamo                    Kristin Elise Simkus
 Anushrav Vatsa                         Shreya Addanki                           Amelia Li Snyder
 Abishek Sreeraman Venkit               Bingxue An *                             Xuren Zhou
 Richa Vijayvergiya                     Jacob Eric Anderson                      Jiahao Zhu
 Grace Elizabeth Wackerman              Maxwell Johndro Aronsohn                CANDIDATES FOR DEGREES, MAY 16, 2020
 Andrew Wang                            Grace Catharine Avellar                  Bill Morgan Minoru Agung
 Haonan Wang                            Michael John Bengston                    Mia Alvergue
 Ningdong Wang *                        Cole Joseph Brookhouse                   Aashin A. Amin
 Ran Wang                               Sergi C. Castells                        Sara Gabrielle Baase
 Tingyu Wang                            Barry Tzu-Jui Chiang *                   Kevin Kacper Baczek
 Yunhan Wang                            Ian Christian Cornejo *                  Divya Balaji
 Matthew Aaron Weberski                 Giovanni Concepcion Diaz                 Brandon Charles Benge
 Corey Hunter Weil                      Surjo Shekhar Dutta                      Alexander Scott Berube
 William Widjaja                        Andrew William Engel                     Michael Joseph Doyle
 Joseph William Wightman                Sean Edward Frintner                     Kayhan Kubi Eryilmaz
 Peiming Wu                             Marcos Garcia                            Rami Fouani
 Xiaolin Wu                             James Amthor Graessle                    Michael Eric Gale
 Xihang Wu                              Marc Sean Graff                          Ruixuan Gong
 Ziyang Xu                              Sarah Mary Habib                         Jayant K. Gude
 David Zhou Wang Yan                    Tianyi Hao *                             Dongyup Han
 Tingfeng Yan                           Matthew Phillip Hayes *                  Hongchao Hu
 Joseph Yang                            Jamie Travis Howell                      Ryan Jeffrey Jaeger
 Canlin Zhang                           Wolfgang Matthias Huber                  Darsh Vinod Jalan
 Jingfan Zhang                          Andrew David Ingram *                    Nathan V. Joshi
 Junhan Zhao                            Elaine P. Jaross                         James M. Kane
 Kaiwen Zhao                            Justin A. Languido                       Anisha V. Karande
 Fengmao Zheng                          Jarrett James Leuck                      Lawrence Lin
 Zhiyuan Zheng                          Shouyan Li                               Austin Connor Lofquist
 Mingrui Zhu                            Joshua Hyochul Lim                       Adarsh Manawa *
 Jingwei Zhuo                           Hannah Jean Manetsch                     Kayleigh Elise Manley
IN ENGINEERING MECHANICS                Adrian Manjarrez                         Mateusz Maturski
                                        Andi Mankolli                            Kushagra Mittal
DEGREES CONFERRED, AUGUST 05, 2019
                                        Kyle Edward Morrisey                     Adithi Murthy
 Shengqiao Zhou
                                        Barrett J. Neath                         Anjana Narasimhan
DEGREES CONFERRED, DECEMBER 23, 2019    Kyle Christopher Nelli *                 Connor Chung Ng
 Esa Mohammed Amin                      Tomas Pavydis                            Milutin Perovic
 Mohammad Imad Khan                     Brian Phouthavong                        Bennett Samuel Preskill
 Vedant Puri *                          Sarah Kathleen Popenhagen                Suhaib M. Qazi
 Syed Muhammad Wali Rizvi               Kevin S. Rajan                           Samuel Charles Rasnic
 Zachariah James Ross                   Ramone Aries Randle                      Blake Anthony Rosenbusch
 Jamie A. Sergay                        Jake Joseph Ribich                       Armaandip S. Saraina
 Zhong Zhou                             Mani Sawhney                             Ashvath Swaminathan Sekhar
                                                                                Exhibit 38 - Page 52 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                              GRAINGER ENGINEERING




 Cameron Craig Shaffer                  Andrij Kozych                          Jose Rafael R. Ridao
 Roshan C. Shankar                      Namita Shekhar Kulkarni                Aditya Bhaskar Shedge
 Juliette Lihong Shesgreen              Bao Hoang Lam                          Brian Newbatt Smith
 Jaemoon Daniel Shim                    Rachel L. Lawless                      Sean Michael Stimac
 Sanghyun Shin                          Dong Geon Lee                          Yuming Sun *
 Wuyue Sun                              Kathryn Kwangja Lee                    Uttam Krishna Suryadevara
 Amay Jatin Thakkar                     Matthew Young Jae Lee                  Adrian E. Tovar
 Vishnu Pranav Varada                   Zachary Levell                         Michael Andrew Vellai
 Ronak Velluvakkandy                    Samuel I. Li                           Christopher T. Wahlund
 Yanjie Wang                            Brian H. Liu                          CANDIDATES FOR DEGREES, MAY 16, 2020
 Charles Thomas Wennerstrum             Mengke Ma                              Bassel J. Abu Jabal
 Nicholas Daniel Wiesbrock              Raka Mahakul                           Jaycie M. Ackerman
 Mingqian Wu                            Jose A. Mancias                        Adreet Hemant Agrawal
 Haosheng Xiong                         Venkata Kaushik Mantravadi             Richard T. Alonso
 Zhuo Zhou                              Garn Masathienvong                     Faisal Ahmed S Alsayed
                                        Madeleine M. McDonald                  Stefanie T. Anderson
IN INNOVATION, LEADERSHIP AND           Jarod E. Meyer
ENGINEERING ENTREPRENEURSHIP                                                   Blaise Philip Antico
                                        Andrey Vladimirovich Nosatov           Tristan Sommer Antonsen
DEGREES CONFERRED, DECEMBER 23, 2019    Gina Mary Oshana                       Ashwin Azhagiri
 Kshithij Kamal *                       Sri Sowmya Panuganti                   Christopher Robert Bauer
 Christian Jon Khachaturian *           Eugene Park                            Tanner Michael Bergner
CANDIDATES FOR DEGREES, MAY 16, 2020    Justin Huy Pham                        Michael Charles Berutti
 Nathan Ashwin Narasimhan *             Daniel Plata                           Kelsey Anne Biscocho
                                        Paige Caroline Prendergast             Thomas Houlihan Block
IN MATERIALS SCIENCE AND                Erik Du Ratta
ENGINEERING                                                                    Zachary Max Borkan
                                        Kevin F. Sager                         Stephanie N. Broden
DEGREES CONFERRED, AUGUST 05, 2019      Ian Paul Saxton                        Megin Kraft Budacki
 Donna Daye Chung                       Curtis Alan Schwarzkopf                Daniel N. Bumpus
 Alexander J. Magganas                  Justin Edward Silberman                Thomas Butruille
 Dongqing Yang                          Edward Michael Thomas                  Evan M. Cali
DEGREES CONFERRED, DECEMBER 23, 2019    Mustafa Tobah                          Kyle J. Calvert
 Brian Paul Bailey                      Noah T. Vivo                           Matthew Thomas Carr
 Kendall E. Furbee                      Katherine Vuong                        Lu Chen
 Jacqueline T. Hardin                   Ching-Kai Wang                         Christopher Jinkyo Chong
 Charlotte Jeffries Israel              Yizhuo Wang *                          Rafael Cicogna Santos
 Kangwoon Kim                           Jingyi Wen                             Cristian Claramunt
 Sai Prakash Komaragiri                 Brendan F. Wolan                       Brian Carlos Schmit Dardon
 Timothy A. Lee                         Ji Wu                                  Mitchell Lloyd Dawson
 Carol Lin                              Yusen Ye *                             Dev Ganesh Desai
 Jacob James Maher                      Rachel Simone Yuan                     Shail Viral Desai
 Rahul Rao Miriyala                                                            Zhi Dou *
                                       IN MECHANICAL ENGINEERING
 Sarah Rose Pirih                                                              Nicholas James Duncan
 Taeyoung Son                          DEGREES CONFERRED, AUGUST 05, 2019      Ayman A. Elgowainy
 Yeojeong Yun                           Dhipak Murthy Bala
                                                                               Kathleen Rose Ferreira
                                        Dylan Wesley Harmon
CANDIDATES FOR DEGREES, MAY 16, 2020                                           Eric Flores
                                        Kevin F. Murphy
 Pranjal Agarwal                                                               Keira A. Frese
                                        Niket Jayesh Shah *
 Humza Taufiq Ahmad                                                            Madeleine Hadinata Gandawidjaja
 Yoojin Ahn                            DEGREES CONFERRED, DECEMBER 23, 2019    Thomas James Gibbons
 Karol Boleslaw Baczkowski              Ahmad M. Abdulla                       Isaac Burton Kingsley Ginnodo
 Priyalini Ai Bharath                   Rajan K. Aggarwal                      Megan Elise Glaeser
 Shweta Bhushan                         Olivia S. Barron                       Jason Aaron Golden
 Dylan W. Blake                         Justin Ryan Bettenhausen               Tremaine Gooden
 Julia Elizabeth Brodecki               Yujin Chang                            Marcelina Liana Gorka
 Mason P. Bushell                       Antonino Cirrincione                   Amelia Scarlett Gosse
 Sanjna Chowdary Chilakapati            Nicholas Renzo Di Cola                 Christiana Helena Gray
 Travis D. Christner                    William Cartwright Drennan             Yuliang Gu
 Kenneth Yuon-Kuan Chui                 Steven A. Faber                        Kellie Marie Halloran
 Nikolaos Charles Coderko               Evan Michael Goedelmann                Steven Philip Harris
 Kastania Marie Dahlen                  Mitchell Robert Gosma                  Yu-Chen Ho
 Ryan Michael Estep                     Kamau Yafeu Haymon                     Zachary Hoegberg *
 Ellen Rose Feldsien                    Ayano Hiranaka                         Veronica Elizabeth Holloway
 Timothy John Fogliatti                 Selena Jin                             Peyton Philip Huene
 Victor Font Bartumeus                  Naman Jindal                           Isaac John Husemann
 Kevin James Frank                      Dongyun Kang                           Sung Jae Hwang
 Ruiling Ge                             Sameh Adnan Kattom                     Christian Davis Hyde
 Allen Xiyuan Guo                       Kathryn Megan Kosinski                 Moira E. Iten
 Kevin Patrick Halloran                 Jacey Delaney Lambert                  Kaiying Jiang
 Julia Justine Hammond                  Elisabeth Ashley Lang                  Sean Gregory Johnson
 Arianna Elizabeth Harding              Zhaoxuan Liu                           Benjamin D. Jones
 Mustafa Syed Hashim                    William Ma                             James Anthony Kabbes
 Molly Lee Hein                         Charles William MacKh                  Kyle Lee Kallberg
 Emily Le Ho                            Sean James McShane                     Rebecca Katherine Kasner
 Yaochen Hu                             Anthony G. Morales                     Praveen George Kattappurath
 Tejas Sanjay Idate                     Margaret Hannah Nolton                 Michael T. Kik
 Mary Elizabeth Jablowicz               Christopher David North                Susanne Dong Kim
 Lukas Leonard Janavicius *             Andrew Riley Nummy                     Samuel B. Klein
 David Harrison Johnson                 Eric N. Pingel                         John M. Kolder
 Aneesh Jonelagadda                     Daniel S. Poole                        Harikrishnan Kumar
 Yoshihiro Koyake                       Daniel Hanyoung Rhyoo

                                                                              Exhibit 38 - Page 53 of 76
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GRAINGER ENGINEERING • FINE AND APPLIED ARTS                                  2020 COMMENCEMENT AT ILLINOIS




 Jennifer M. Kummerer                   Andrew J. Fink                           Bella Yolanda Pulido
 Jillian L. Laird                       Patrick Leonard Hering                   Thomas Daniel Purtell
 Jeffrey Lee                            Heyuan Huang *                           Yang Rong
 Ethan Li                               Isabella Marie Iaccino                   Armin Sanei Moghadam
 Yinshuo Liu                            Daniel In                                Priyam P. Shah
 Grace Y. Lu                            August Samuel Kasten                     Arnav Simha
 Brian August Lynch                     Matthew J. Kozak                         Simran Singh
 Junqi Ma                               Matthew David Koziol                     Selin Sipahi
 Amanda H. Maher                        Nayeli Lara                              Sydney Patricia Steger
 Jackson R. Matlak                      Hangyu Li                                Zhengdong Sun
 Richard A. Mauge                       Andy Liu                                 Derek Hochun Tam
 Rebecca L. Maxedon                     Jianxin Liu                              Ketaki Sanket Tamhankar
 Aniliza Sarah May                      Kelsey Elisabeth Luo                     Ruolei Wang
 Jessica L. Mell                        Franklin McDonald                        Grant T. Williams
 Quinn D. Menzies                       Timothy James Norman
 Abigail Anne Merges                    Connor O’Donnell                        COLLEGE OF FINE AND APPLIED ARTS
 Zachary Lee Mesplay                    Dario Giovanni Panici
 Melanie Nicole Milewski                Dean Reid Price
 Miranda A. Moody                       Muzammil Ahmed Siddiqui                 BACHELOR OF ARTS
 Samantha M. Moran                      Stuti Rajesh Surani
 Christopher M. Napier                  Phillip John Tanton                     IN DANCE
 Sandhya S. Narasimharaj                Edward J. Vaughn                        DEGREES CONFERRED, DECEMBER 23, 2019
 Dhruvi Rajiv Narielwala                Eliza Danielle Wright                    Savanah Letitia Scarlett *
 Kyle Patrick Nolan                                                              Eddie Shellman
 Connor John O’Brien
                                       IN SYSTEMS ENGINEERING AND
                                                                                CANDIDATES FOR DEGREES, MAY 16, 2020
 Nicholas Ryan O’Connell               DESIGN
                                                                                 Hannah Mary Dziura
 Christopher Gerald Oberg              DEGREES CONFERRED, DECEMBER 23, 2019      Nicholas Carl Hittle *
 Addison John Pablo                     Eric A. Brecklin
 Junhyeong J. Park                      Shijun Cao                              IN MUSIC
 Vishal Hasmukhbhai Patel               Gayatri Dandu                           DEGREES CONFERRED, DECEMBER 23, 2019
 Bo Peng                                Miguel A. Fernandez                      John Joseph Greska
 Shihao Peng                            Adam P. Heinz                           CANDIDATES FOR DEGREES, MAY 16, 2020
 Emery A. Perl                          Grace C. Kelley                          Thaddeus A. Arndt
 Thomas Douglas Phelps                  Jacky Li                                 Antwon Tayvon Billups
 Rajeev Pillutla                        Ana Michaela Lobato                      Michael T. Brewer
 Milos Popovic                          Peter Mark Maneykowski                   Jose Marcelo Champion
 Poom Prasopsukh                        Emmanuel Olatunde Oduola                 Barry Tzu-Jui Chiang *
 Mohamed O. Radwan                      Jonathan Jungjin Park                    Alyssa S. Coronato *
 Amol Chintamani Rairikar               Keshav Prashant Patel                    Justin Tyme Franklin
 Anand K. Raju                          Adam Robert Rush                         Elizabeth Bae Han *
 Aaron Alexander Ramirez                Alban Shehu                              Rachel He
 Lyle Regenwetter *                     Nikolay I. Tzankov                       Federico Andres Hernandez Nater
 Luis Joel Rendon                       Yu Wang                                  Joshua Gabriel Hoffman-Peterson
 Mason Samuel Rosenberg                 Maria Lee Werba                          Alex James Marcusiu
 Joshua Thomas Rosenthal                Alexandra Rose Wittinger                 Gabrielle Alyssa Marzouk
 Sathvik Reddy Sanagala                 Vincent Matthew Wong                     Daisianee S. Minenger
 Yijing Shao                            Jinyuan Zhou                             Michael Andrew Olszowka
 Sifan Shen                            CANDIDATES FOR DEGREES, MAY 16, 2020      Mason James Patt
 Tianheng Shi                           Michael James Adams                      Rachel Anne Peterson
 Paige Marie Solcani                    Sir-Simons N. Addo                       Brent William Rodhouse *
 Robert A. Stavins                      Woojin Ahn                               Dachun Sun *
 Henry R. Steenkolk                     Daniel Belfort                           Carissa Ariana Yau
 Abigail V. Steimel                     Maya Tally Burgard
 Morgan L. Sutherland                   Jeremy C. Cai                           IN URBAN PLANNING
 John Kenneth Tolentino Tiongson        Raymond Chao                            DEGREES CONFERRED, DECEMBER 23, 2019
 Kathleen A. Tracy                      Christina Tianyu Chen                    Madeline Grace Stephany
 Ethan Noyes Uken                       Joseph Paul Chetupuzha                  IN URBAN STUDIES AND PLANNING
 Jeffrey Michael Visk                   Joseph Enrico Conte
 Maximillian P. Vittore                 David Robert Dailey                     DEGREES CONFERRED, AUGUST 05, 2019
 Megan Frances Voris                    Reilly M. Devine                         Amanda Teresa Rodriguez
 Paxton William Wiersema                Kenneth Lee Ferguson                    DEGREES CONFERRED, DECEMBER 23, 2019
 Christian A. Williams                  Connie Macy Fu                           Lauren E. Farrow
 Christopher Daniel Wong                James John Gandy                         Malik Jackson
 Zhengtao Xu                            Jianqiao Ge                              Michael Mills
 Justin F. Yurkanin                     Arjun T. Goradia                        CANDIDATES FOR DEGREES, MAY 16, 2020
 Pengwei Zang                           Jake A. Guth                             Christopher Ackerman-Avila
 Haoyang Zou                            Ruth Ann Ilene Haefli                    Cori Candice Burke
                                        Gaurav Deepak Jagiasibava                Joey Charles Campbell
IN NUCLEAR, PLASMA, AND                 Nicholas Aron Kasner
RADIOLOGICAL ENGINEERING                                                         Joseph T. Campos
                                        Fahad Khan                               Andrew Patricio Campoverde
DEGREES CONFERRED, DECEMBER 23, 2019    Michelle Eleanor LaFemina                Camrin V. Garrett
 Alexander P. Bohm                      Patric Fengyi Liu                        Marcus A. Gilliean
 Lauren Nicole Lahr Ditmars             Luis Enrrique Maldonado                  Carlin Mary Hastings
CANDIDATES FOR DEGREES, MAY 16, 2020    Kai Motoyama                             Noah Scott Jones
 Alp Aktuna                             Keith Chukyin Ng                         Maximiliano Santiago Leal-Gomez
 Johnathan Andrew Beal                  Alec Jesse Nolan                         Samantha Nicole Lenoch
 Christopher Bitters                    Shane Michael O’Brien                    Valeria Alejandra Loo-Kung Yi
 Kaitlyn Renae Butler                   Aqsa Owais                               Jameelah A. McCregg
 Alexandra Taylor Fanning               Harsh Patel                              Matthew John McElligott
                                        Sareen Reddy Podhuturi
                                                                                 Exhibit 38 - Page 54 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                              FINE AND APPLIED ARTS




 Ana Isabel Mendoza                     Brandon Holt                           Amy Li
 Nicole Marie Mormando                  Sydney Nicole Hrnyak                   Tianran Li
 Maximo Pita                            Sebastien Florian Luke Johnson *       Xiya Li
 Charles Alexander Rasmussen            Emmesi Janice Kenny                    Suixin Liu
 David Enrique Rios                     Mia C. Kinowski                        Carolyn Grace MacNaughton
 Djordje Takov                          Kayley Robin Kirgan                    Pragya Maheshwari
 Ping-Hsuan Wu                          Anna Korol                             Anastasia Elena Mantas
 Zhaoxiang Yun                          Justin E. Laken                        Neiva Marie Mulhern
 Xuezhu Zhao                            Alyssa Marie Lenenfeld                 Abhijoy Kamal Nandi
 Jingyuan Zhu                           Xiaoyuan Li                            Deying Pan
 Eric J. Ziegler                        Jamie Lim                              Ziting Pan
 Molly Rose Zupan                       Bryan Lin                              Nathan Scholz Peckus
                                        Ching Fang Liu                         Natalie Sujin Pettersen
BACHELOR OF ARTS IN STUDIO              Hsin-Ya Liu                            Siddhartha Kazuma Rangarajan
ART                                     Edgar Madrigal                         Edith Jasmine Rojas
                                        Sophia R. Mendicino                    Ellynna S. Ruan
CANDIDATES FOR DEGREES, MAY 16, 2020    Shayla Lee Mille                       Connor Mark Schneider
 Colleen Mary Lappe                     Monika Monko *                         Aashna Pratish Shah
                                        Eric Nguyen                            Lateefat K. Sulaiman
BACHELOR OF FINE ARTS                   Jenna Nicole Nowak                     Xueqiao Sun
                                        Charlotte Rose Peloquin                Liang Gen Aspen Tng
IN ART EDUCATION                        Sylvia Peng                            Jack W. Trotter
DEGREES CONFERRED, AUGUST 05, 2019      Hayley Elizabeth Peterson *            Yao Xiao
 Amal Ghanimah                          Gabriel William Rodriguez              Ningyu Yu
DEGREES CONFERRED, DECEMBER 23, 2019    Keenan C. Schmidt                      Mingjie Zhu
 Naambia L. Mitchell                    Tia Reika Smith
                                        Sydney H. St Leger
                                                                              IN NEW MEDIA
CANDIDATES FOR DEGREES, MAY 16, 2020                                          DEGREES CONFERRED, DECEMBER 23, 2019
 Jade V. Browning                       Ian A. Taylor
                                        Tiffany Hsiao Teng                     Margaret Ann O’Mahoney
 Bailey Elizabeth Bryan                                                        Jordan Chase Wooten
 Rhavin Haynes                          Benjamin Roy Tschetter
 Korin Melody Hehn                      Grace Elizabeth Turcich               CANDIDATES FOR DEGREES, MAY 16, 2020
 Nicolette A. Kelsay                    Lulin Wang                             Sierra Jessica Benson
 Machaela C. Leno                       Andrea Renee Worthington               Chloe G. Chan
 Natalie A. Novak                       Hyein Yang                             Claudia Choi
                                        McKenzie Shane Zarn                    Tony Hun Kim
IN DANCE                                                                       Eva Matcuk-Gaiownik
                                       IN HISTORY OF ART                       Nicolle Reynolds
DEGREES CONFERRED, DECEMBER 23, 2019
 Tia Shirese Pruitt                    DEGREES CONFERRED, DECEMBER 23, 2019    Avalon Aurelia Ruby
                                        Andres Molina                          Emma Grace Sielaff
CANDIDATES FOR DEGREES, MAY 16, 2020    Melody Rohrer *
 Taylor Kaetlyn Adams                                                          Natalie Zajac
                                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Michelle Lynne Burns
                                        Lauren Nicole Bavaro
                                                                              IN PAINTING
 Nina Sofia Crouchelli                                                        DEGREES CONFERRED, DECEMBER 23, 2019
 Kaleigh Telisa Dent                    Alexandra Gabriela Estrada
                                        Lijiang Fu *                           Jocelyn Victoria Byer
 Mary K. Ford                                                                  Krystyna Blake Gilmore
 Lindsey Jo Jennings                    Megan Marina Reyes
                                        Indyia Christina-Unay Robinson         Melody Rohrer *
 Madeline Grace Mellinger
                                                                              CANDIDATES FOR DEGREES, MAY 16, 2020
 Symone Elizabeth Sanz                 IN INDUSTRIAL DESIGN                    Sarah Ann Ginnard
 Emily Elizabeth Schwartz              DEGREES CONFERRED, AUGUST 05, 2019
 Danner Elizabeth Self                                                         Keeyan Haack
                                        Anushka Khemka *                       Ji Hyun Han
 Jeremy I. Taylor
 Alyssa Jade Trelz                     DEGREES CONFERRED, DECEMBER 23, 2019    Sebastien Florian Luke Johnson *
 Brianna C. Undzis *                    Xinyu Zhang                            Abigail Hayoung Jung
 Nhung Ngoc Vo *                        Xuejun Zhang                           Mikhail A. Kogan
                                       CANDIDATES FOR DEGREES, MAY 16, 2020    Monika Monko *
IN GRAPHIC DESIGN                       Gema Elamae Monastrial Atta            Maria Michelle Speck
DEGREES CONFERRED, DECEMBER 23, 2019    Jackson T. Bauer                      IN PHOTOGRAPHY
 Jayson Rodrigo Mijangos                Estefany Chavez Ruiz
 Alexis Aracely Vasquez *               Xiaying Chen
                                                                              DEGREES CONFERRED, AUGUST 05, 2019
                                                                               Anushka Khemka *
CANDIDATES FOR DEGREES, MAY 16, 2020    Katelyn L. Clemons
                                                                               Xiner Xu
 Jessica Rachel Badofsky                Charlotte E. Cunningham
 Yuxuan Bai                             Gabriel Enrique Delgado               DEGREES CONFERRED, DECEMBER 23, 2019
 Amelia Marie Bertaud                   Xinyi Dong                             Alexis Aracely Vasquez *
 Abrielle Jean Bujack                   Henry John Stanhope Duckworth         CANDIDATES FOR DEGREES, MAY 16, 2020
 Madeline Ann Castillo                  Alexandra Nicole Falbo                 Avie Breon Banks
 Yu Chen                                Lijiang Fu *                           Mary Brancaleon
 Taylor Nicole Chism                    Qi Fu                                  Sarah Dominguez
 Sueun Choi                             Ian Wynne Fulton                       Konrad Julian Eiring
 David Del Toro                         Allison D. Gomez                       Emmaline Loren Fleener *
 Donna M. Dimitrova                     Wenjing Hao                            Alyssa B. Knights
 Nicole Marie Dowling                   Alexander John Hills                   Kaelynn Renee Longfellow
 Morgan Catherine Dunn                  Maximilian John Horcher                Crystal Goldye Mostow
 Christopher Q. Duong                   Amy Sue Janson                         Elisabeth Claire Neely
 Michela P. Emmerich                    Uriah J. Jones
                                        Je Hoon Kim
                                                                              IN THEATRE
 Kayla Rose Feldstein
 Emmaline Loren Fleener *               Michelle Haeji Koh                    DEGREES CONFERRED, DECEMBER 23, 2019
 Chyanne T. Fuller                      Lingqi Kong                            Carolyn Kiana Schalk
 Rebecca Marie Gacek                    Cheyenne H. Lam                        Anika Lena Vogen
 Andrew Y. Harlan                       Ryan Michael Larkin                    Hannah Yonan
 Jianni He                              Jae Yeon Lee

                                                                               Exhibit 38 - Page 55 of 76
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FINE AND APPLIED ARTS                                                         2020 COMMENCEMENT AT ILLINOIS




CANDIDATES FOR DEGREES, MAY 16, 2020    Daniel Ostrow *                          Jessica Rose Duschean
 Emma Louise Anderson                   Clark Mitchell Stevens                   Leila Sharif El Erian
 Robert James Bradley                   Victoria Anne Tompkins *                 David Figueroa
 Dane C. Brandon                        Victoria Anne Tompkins *                 Andrew J. Foster
 Grace Michelle Chariya                 Alyssa Katelyn Ore Tong                  Dustin James Anderson Frye
 Konrad K. Ciolkosz                     Zoe Anne Willott                         Fernando D. Galvan
 Tafadzwa Shirley Diener                Heng Wei Zhang                           Haoran Gao
 Katelin Sophia Dirr                                                             Allison Rose Gasper
 Charlotte Zimet Elfenbaum             BACHELOR OF MUSIC                         Alicia Gomez
 Julia Rose Gold                       EDUCATION                                 Natalie Rose Graves
 Casey J. Griffin *                                                              Henry Zeller Holm
 Lauren Marie Harders                  DEGREES CONFERRED, DECEMBER 23, 2019      Lily Corinne Holmes
 Gabriel Willem Herzog *                Brandon Michael Berg                     Curtis L. Howard
 Kara M. Hynes                          Nina Sophie Chamberlin                   Kamil Jerominski
 Brian Kim                              Kate Elizabeth DeMonica *                Michael P. Johns
 Zoe E. Nemetz                          Thomas John Domagala                     Genevieve Virginia Jones
 Lily Ellora Newton                     Devin E. Gilbreath *                     Sopefoluwa O. Kelani
 Jacklyn E. Ovassapian *                Andrew J. Magosky                        Campbell G. Kraemer
 Samantha Abbie Esguerra Padillo        Miranda Collette Molina                  Chan Uk Lee
 Devin J. Richard                       Phoebe Yeon Nah                          Sze Nga Lee
 Erin Delaney Ryan                      Kaitlyn R. Nelson                        Jonathan Grant Levitske
 Elisabeth Anne Schapmann              CANDIDATES FOR DEGREES, MAY 16, 2020      Xiang Li
 Omri Schwartz                          Michael Spencer Brook                    Anthony Michael LoCasio
 MacKenzie Leigh Sinta                  Charlotte Mary Graham                    Bunkunzie Pong Lun
 Phillip Andrew Smith                   Thereza Dinorah Lituma *                 Taylor Lutz
 Kevin Patrick Troy                     Nicholas A. Ortiz                        Sarah L. MacTaggart
 Patrick Cleland Weber                  Rowan Morgan Ownby                       Jayden Salcedo Maloto
 Ilana Sophia Weiner                    Madison Elizabeth Penn                   Michelle Janire Martinez
 Ningyi Zhang                           Ann Reilly                               Laura Marie McHugh
                                        Lindsey M. Sander                        Angelica Miramontes
BACHELOR OF LANDSCAPE                   Justin Jeffrey Slater                    Noah Christopher Morris
                                        Kevin Ivan Snyder                        Faith Monica Nolan
ARCHITECTURE                                                                     Kathleen May Pacione
                                        Elizabeth J. Zarley
DEGREES CONFERRED, DECEMBER 23, 2019                                             Sabas Antonio Padilla
 Katherine J. Bulin                    BACHELOR OF MUSICAL ARTS                  Jasson Partogi
CANDIDATES FOR DEGREES, MAY 16, 2020                                             Errol Robert Pasia
                                       CANDIDATES FOR DEGREES, MAY 16, 2020      David Andrew Perez
 Allison Jane Erdmann
                                        Anna Caroline Benoit                     Miguel Perez
 Patrick James Gainer
 Min Soo Kim                                                                     Xavier Perez
 Yu Hang Leung *
                                       BACHELOR OF SCIENCE                       Stephanie Nicole Perna
 Yinzhe Liu *                                                                    Sergiy O. Pluzhnyk
                                       IN ARCHITECTURAL STUDIES                  Max Joseph Pozen
 Christina Lynn Marelli
 Erika Plascencia                      DEGREES CONFERRED, AUGUST 05, 2019        Karen Alicia Ramos
 Amber Christine Sims                   Michael K. Cooper                        Jenifer M. Romero Marquez
 Jiajia Wang                            Haoming Mei                              Alexander R. Rosado
                                        Robert Burgess O’Neill                   Matthew D. Ross
                                        Chang Sik Park
BACHELOR OF MUSIC                                                                Jesus Omar Sanchez
                                       DEGREES CONFERRED, DECEMBER 23, 2019      Samantha Schuringa
DEGREES CONFERRED, DECEMBER 23, 2019    Sim Agci                                 Sydney Anne Serwatt
 Julius Massey Adams                    Jehlani H. Carter Pace                   Harjot K. Sidhu
 Wesley Matthew Carroll                 Jonathan Michael Chow                    Robin Batya Silver
 Kate Elizabeth DeMonica *              Darius D. Greenleaf                      Benjamin Alexander Tang
 Devin E. Gilbreath *                   Arlinda Haxhiu                           David Hao Thai
 Annika Kulkarni                        Dongyoung Kim                            Michael Kintung Ting
 William Robertson Schmalbeck           Jaelyne Sarah Kirkpatrick                Jesse Torres-Bello
 Mary Margaret Watson                   David Eugene Perrine                     Michael Matthew Vernon
CANDIDATES FOR DEGREES, MAY 16, 2020    Joseph T. Swoboda                        Kassidy L. Weaver
 Paige Alvarado                         Fernanda Daniela Villegas                Greta Murphy Witter
 Mana Azimi                            CANDIDATES FOR DEGREES, MAY 16, 2020      Hanfei Xiao
 Katherine Paige Bruns                  Taoran An                                Dylan Myles Young
 Alyssa S. Coronato *                   Nicholas Riker Athitakis                 Gabija Zemaitis
 Jonathan M. Cortez                     Nicholas Paul Austill                    Yanbing Zhao
 Annika Elise Downey                    Ethan Fredrick Barreto
 Mary Cate Duplantier                   Zachary Dane Belanger
 Korrey F. Frichtl                      David Allan Bell
 Elizabeth Bae Han *                    Kevin James Bergbauer
 Caitlin Elizabeth Hennessy             Morgan Elizabeth Bixler
 James Peter Jaeger *                   Molly E. Blanke
 Scott Christian Knier                  Jackson Rayne Bochat
 Claudia Kubarycz-Hoszowska             Imani Morgan Brown
 Nicholas D. Liese                      Emily Jade Catlin
 Thereza Dinorah Lituma *               Bowen Chen
 Kelsey Amber Maes                      Sizhe Chen
 Jesse W. Moderwell                     Thomas Michael Cooper
 Zachry P. Molina                       Emma Christine Dannhausen Brun
 Adam Zachary Nigh                      Qingqing Deng
 Elizabeth M. O’Brien                   Alec D. Deuter
 Emma W. Olson                          Jeremy Thomas Donohue-Wach
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                              LAW • LIBERAL ARTS AND SCIENCES




                                       Carson M. Klarck
COLLEGE OF LAW                         Matthew A. Koschnitzki
                                                                           COLLEGE OF LIBERAL ARTS AND
                                       William J. Kovaleski                SCIENCES
JURIS DOCTOR                           Edward Y. Kwak
                                       Sei Won Kyung
DEGREES CONFERRED, DECEMBER 23, 2019
                                       Tessa M. Lancaster
                                                                           BACHELOR OF ARTS
 Judge D. Brooks
                                       Alex Lee                            IN TEACHING OF SPANISH
 James Dean Hickman
                                       Jin Soo Lee
 Garrett Logan Kinkelaar
                                       Jun-Young Lee
                                                                           CANDIDATES FOR DEGREES, MAY 16, 2020
 Bryan Schall                                                               Emily Rose Boehm
                                       Sangyoon Lee
 Nicholas G. Shepherd                                                       Alexander Matthew Bryk
                                       Youjin Lee
 Haotian Yi                                                                 Jenna Maria Cardaras
                                       Kaitlyn Therese Leone
 Tianyue Zhang *                                                            Mia Theresia Carris
                                       Gabrielle Rebecca Levy
CANDIDATES FOR DEGREES, MAY 16, 2020                                        Margarita Castrejon
                                       Dong Ha Lim
 John M. Altman                                                             Erica Ciezkowski
                                       Xiaofeng Lin
 Aaron Babajoni                                                             Christopher Corcoran
                                       Jonathan A. Lippner
 Eric M. Beatty                                                             Leah Emily Grabowski
                                       Patrick J. Lombardi
 Kira Berg                                                                  Alice Mary Kenny
                                       Christopher Aaron Lopez
 Katelyn Ohern Bethke                                                       Thomas Joseph Lamantia
                                       Laura Lee Loyd
 Trevor J. Blackmore                                                        Christine M. Savaiano
                                       Douglas Malcolm
 Drew Logan Brandau                    Kevin T. Maloney
 James Brennan Tsang                   Preslav P. Mantchev                 BACHELOR OF ARTS IN LIBERAL
 Kristen Daryana Brooks                Daniel Christian McGovern           ARTS AND SCIENCES
 Emily Gail Brown                      Jaclyn Ann McManus
 Emilio J. Campos                      Michael Medved                      IN AFRICAN AMERICAN STUDIES
 Francis Charles Candre                Daniel K. Meehan                    DEGREES CONFERRED, DECEMBER 23, 2019
 John Vincent Casey                    Brandt T. Miller                     Shontierra Sharmaine Anderson
 Lauren K. Ceckowski                   Walker Joel Mondt                    Earnest Lee Lucious
 Beiying Chen                          Ashley Marie Monzel                 CANDIDATES FOR DEGREES, MAY 16, 2020
 Alexander Sungyung Cho                Sean Morrissey                       Leon Harrison Dixon
 Nicholas W. Collins                   Joseph Anthony Mulhern               Takyla M. Ivery
 Benjamin Hoopes Cook                  Colin Mummery                        Isra F. Rahman
 George L. Cortina                     Moksha R. Muthukrishnan
 Marc Allen Cox                        Lucas David Myrna                   IN ANTHROPOLOGY
 Sara Marie Crook                      Colin T. Nardone                    DEGREES CONFERRED, DECEMBER 23, 2019
 Benjamin Francis Crowe                Ann L. Nenoff                        Sharajonnie LaSharay Adams
 Lauren Elizabeth DeCarlo              James E. Oggerino                    Kristie LeAnn Harris
 Matthew Adam Dejewski                 Clinton O. Oppong                   CANDIDATES FOR DEGREES, MAY 16, 2020
 Nicole Elizabeth Diorio               Stephen E. Osseiran                  Harold Adams
 Gabriella M. Dubsky                   Rachit B. Parikh                     Kenzie Michaela Barr
 Blair Alexandra Ruthe Engerman        Jonathan Sheewon Park                Margaret Braun
 David L. Esquivel                     Vanessa Renee Abigail Pratt          Ryan Michael Bridge
 Saphe-Allah Falaneh                   Rebecca Ray                          Nickolas J. Buczynski
 Sean Joseph Farris                    Aaron Miles Reinsbach                Eric Yih Chin
 Melanie Nicole Fierro                 Jessica Lyn Roberts                  Issa Maria Cruz
 Rachael Hannah Forbes                 Olivia Mae Romano                    Justin Douglas Dirr
 Derek S. Franklin                     Nicholas Victor Ruble                Griselda Escobedo *
 Jeffrey B. Friedman                   Andrew J. Rudolph                    Andre Fitzgerald Garner
 Reva Ghanashyam Ghadge                Jordan Russell                       Nicole Lynee Jennings
 Alexander J. Gil                      Joseph E. Salvi                      Tommy Kenneth Johnson
 Mackenzie R. Gray                     Joseph Peter Salvi                   Celeste Y. Kim
 Zev Liam Grumet-Morris                Minnie M. Seo                        Dylan Thomas Kleiss
 Taylor A. Guzy                        Felicia Moriah Shaw                  Daniel Glenn Leonard
 Christina T. Haleas                   Elliot Slowiczek                     Jingchen Li
 Lucas Jackson Hall                    Matthew Thomas Smith                 Lillian Morgan Oneill
 Tyler James Hamilton                  Christina E. Solomon                 Sulaiman Sanaullah
 Stacy L. Hanson                       Charles W. Sprague                   Christie Minyoung Seong
 Alana C. Hart                         Peter Constantine Stanifer           Dayza Nicole Winters
 Matthew H. Hartzler                   Nicholas W. Starr                    Chumin Wu
 Spencer Joseph Hatfield               Cody M. Statum
 Destinee Dawn Hekmatpour              Brooke N. Stubbee                   IN ASIAN AMERICAN STUDIES
 Alexander J. Henry                    Steven John Tinetti                 CANDIDATES FOR DEGREES, MAY 16, 2020
 Andrew S. Hong                        Miguel A. Valentin                   Xiao Lin Mei
 Minshu Huang                          Kenneth K. Wang
 Victoria Wojciechowski Hubona         Lewis Henry Weaver
                                                                           IN CLASSICS
 Stefan A. Huffman                     Landon Ellis Webster                DEGREES CONFERRED, AUGUST 05, 2019
 Dalton K. Hughes                      Ryan P. Weitendorf                   Nathaniel J. Voss
 Rebecca M. Israel                     Edward Wells                        CANDIDATES FOR DEGREES, MAY 16, 2020
 Jalan Lee Jaskot                      Kate Nicole Weyers                   Brendan John Labbe
 Jun Kyu Jeon                          Brittany L. Wiegand
 Marie Cahill Johnson                  David J. Wilkerson
                                                                           IN COMMUNICATION
 Esther Ann Ju                         Christopher Francis Williams *      DEGREES CONFERRED, AUGUST 05, 2019
 Aldina Kahari                         Joy A. Wilson                        Broneil Azizseir
 Makenzie J. Kelley                    Nathan P. Yeary                      Erin Bartels
 Ah Hil Kim                                                                 Madeline Michelle Burbach
 Jane Joong Kim                                                             Anthony Andre Carabello
 Sharon Y. Kim                                                              Darryl Frederick Cowans
 Soyoon Kim                                                                 Kyala Chanel Duncan
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LIBERAL ARTS AND SCIENCES                                                 2020 COMMENCEMENT AT ILLINOIS




 Jacqueline Lee Geraty                 Ana G. Bermeo                         Jae Won Lee
 Pedro Gonzalez                        Monica C. Bielawiec                   Madison Lynn Lee
 Tyler J. Grose                        Patrick Walker Bittle                 Charles Timothy Lemersal
 Yifan Gu                              Gloria I. Blass                       Grace Sarah Lenthang
 Venkata Krishna Vishal Guntupalli     Amber A. Bond                         Elizabeth Leigh Levine
 Adam Hart                             Austin Gray Boyd                      Rebecca G. Levinson
 Kenya B. Hunter                       Lauren Alexandra Bryant               Michael Luis Licata
 Jewel C. Ifeguni                      Hannah Nicole Burke                   Jingchun Lin
 Charles Devon Jackson                 Jordan D. Cagigal                     Rachel Marissa Ludwig
 Kaia Marie Jenkins                    Kimberly Ann Campos                   Tomasz K. Lyczko
 Reilly Marie McGuire                  Owen Carney                           Taylor Simone Manuel
 Marielle K. McNabney                  Ashley Mitzy Carreon                  Aylin Martinez
 Jordan D. Nelson                      Karen H. Chen                         Jakob Xavier Martinez
 Jake Anthony Rohrbacher *             Min Hong Chen                         Ruben Martinez
 Anthony S. Sanders                    Kwan Lai Cheung                       Gabriella Juliette Mascari
 Daviana Laureal Sankey-Griffus        Jae Woong Choi                        Shelley R. McCarthy
 Terrell Eric Shaw                     Tze Wah Chu                           Austin Xavier McConville
 Davis Catherine Stuart                David George Claus                    Jonathan Tyler McGee
 Gabriella Tamayo                      Sarah Coghlan                         Madeline Claire McMahon
 Liam Daniel Ward-Gladwin              Mariano Covarrubias                   Maya Lynn McMurray
 Raven White                           Lesley Evelin Cruz                    Diana Melstrad
DEGREES CONFERRED, DECEMBER 23, 2019   Julie Lynn Culler                     Jessica Emily Michel
 Isabelle R. Adler                     Christian Denise Davis                Allysia T. Miller
 Jarrod Patrick Clements               Joseph Day                            Osoranna Mojekwu
 Brandon J. Cortez                     Carly Rose DeFilippo                  Eleno Montes
 Daniel Joseph Danek                   Lily Mara Deer                        Paola Hasel Montesino
 Kara Madison Diorio                   Maya J. Delgado                       Katherine Margaret Mooney
 Mclain A. Engel                       Trevor D. Dell’aquila                 Abigail Moore
 Nabor Garcia                          Noah Charles Deutsch                  Wyatt Ryan Morgan
 Julianna Goldberg                     Riya Dhall                            Akilah Simone Mouzon
 Christopher Kelley Hubbard            Zakiyah Miannee Dillard               Charles Anthony Muck
 Zayd S. Jawad                         Autumn Hope Dobbeck                   Mary Katherine Mulligan
 Kento Kushida                         Reese William Dolan                   Claudia L. Nadler
 Laura Margaret Larocca                Madeline Dordek Dolinsky              Sarah Ashley Neal
 Sung Il Lee                           Marissa Nicole Donato                 Bang Nhat Nguyen
 Andrew J. Lenski                      Shannon Marie Doody                   Tucker Joseph Nichols
 Loran Marie Marks                     Tierra J. Dorsey                      Ikenna Azunnah Nwagwu
 Sophia Anne Marz                      Alexander Theodore Dreyfus            Kelsey M. O’Berry
 Annaliese Marie Mayer                 Savannah Leigh Dunn                   Darren James O’Hanlon
 William Ignatius McCain               Mekalah R. El Amin                    Jason Alexander Orringer
 Brandi Christine Mueller              Layne Alexandra Elia                  Edward C. Pacura
 Arslan Munir                          Molly Hanna Ellingsen                 Guadalupe Padilla Mora
 Christelle Kanku Panumpabi            Jessica A. Ernst                      Thomas R. Picchietti
 Andrew Jingook Park                   Oliver Christian Miranda Eugenio      Erin Pocza
 Kevin Hai Pham                        Elizabeth Kathleen Falconburg         Ryan Aaron Rabin
 Jonathan Alexander Piotrowski         Thomas E. Figel                       Younis Yaser Ramahi
 Brittany Elizabeth Reid               Molly Karina Gilles                   Matthew H. Rebich
 Morgan Claire Rhodes                  Jenna Elizabeth Goeke                 Daniel Emmet Riley
 Haley Anne Rice                       Jacob Edward Gomes                    Alyssa Nicole Rivera
 Bayle Alexander Robertson             Serin Gong                            Thomas M. Rizzi
 David Rocha                           Daniela Gonzalez-Luna                 Grace Christine Robinson
 Avi M. Samuels                        Rebecca Lynn Gorski                   Ewelina Rogowski
 Rayan S. Shadman                      Alexander Philip Gowaski              Anthony Manuel Rosalez
 Frances M. Simon                      Joseph Andrew Gunther                 Dominic X. Rose
 Minchang Sun                          Abigail Kate Gustafson                Isabella Maria Rossi
 Kathryn Ann Symanski                  Nicole Christina Haber                Martell Ruiz
 Alexsandra Faith Taylor               David Hamilton                        Salvador Sandoval Molina
 Grace Torkelson                       Valencia Hawkins                      Ethan T. Sansone
 Mary Claire Turko                     Nicholas Erik Hernandez               Alicia Saputra
 Alexis Amanda Vera Cardenas           Zoe Sarah Hoffman                     Jordyn Ashley Schiffman
 Logan Elizabeth Wolfe                 Jiaxuan Huang                         Alexandra Lyn Schneider
 Luke Zocher                           Caleb Joel Hummer                     Gracie Rene Schweighart
                                       Mikala Danielle Irby                  Adriana Josephine Sclafani
CANDIDATES FOR DEGREES, MAY 16, 2020
                                       Vanessa Esmeralda Jacinto             Grant S. Seufzer
 Nicole Ariel Abramson
                                       Kenyon Jair Jackson                   Alexandra Danielle Shanahan
 Danielle Mackenzie Alper
                                       Samone B. Jackson                     Michael Ayo Shogbonyo
 Samantha Kaye Anderson
                                       Kevin Alfonso Jaques                  Shaan Manish Shukla
 Autumn Marie Anzell
                                       Megan Cawley Jelinek                  Lainey E. Simanek
 Alexis Arana
                                       Brandon Palmer Jones                  James Bada Sopkin
 Adrienne A. Asihene
                                       Haley Anne Kamradt                    Maeve Elizabeth Stanton
 Olajuwon J. Atoyebi
                                       Garrett Michael Karoski               Brianna Marie Stevens
 Austin Raleigh Auchstetter
                                       Meagan Mechelle Kehr                  Taylor Lynn-Marie Stewart
 Jacob Michael Babcock
                                       Matthew Wallace Kenyon                Gabriela Elizabeta Stiperski
 Sara Babu
                                       Hyun Kim                              Michael Kenneth Storms
 Mariama Balio Bah
                                       Junghyun Kim                          Insiya Zehra Syed
 Jillian Elizabeth Barrere
                                       Aamy Kuldip                           Joanna Szumny
 Brian M. Bauer
                                       Ryan D. Laboda                        Qwanisha Lanay Taylor
 Sophia L. Bechina
                                       Meghan Marie Lacroix                  Travis J. Taylor
 Martin Bellido
                                       Amanda M. Lansing                     Gloria L. Thompson
                                       Claire M. Lawrence                    Fabian Tovar
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                       LIBERAL ARTS AND SCIENCES




 Tyler James Towne                      Jeffrey Choi                           Afreen Memon
 Sydney Jane Trover                     Christine A. Darabaris                 Safwaan Adam Menk
 Tiffany Yuting Tzeng                   Aneal Singh Dayal                      Eduardo Moreno
 Kelly Veach                            Paroma Raisa De                        Jake K. Novacek
 Miguel Angel Verdin                    Shuo Feng                              Ryan Oh
 Jaycie Alexandra Waite                 Jesus Fernandez                        John Jung Park
 Kylah Imani Walker                     Angela Fu                              Jeel Kalpesh Patel
 Faith-Christina Imani Washington       Dayou Fu                               Pranav Perepa
 Alexis Sabryn Westwater                Jiewen Han *                           Lauren E. Pinderski
 Kevin J. Wild                          Noah Homsi                             Hankai Qi
 Nina Sue Wright                        Jiyu Huang                             Samuel James Quirk
 Jia Yan                                Daniel B. Hutner                       Foyezur Mohammed Rahman
 Julie Zavelevich                       Diana Elizabeth Iarca                  Michael J. Riordan
 Lengxi Zhang                           Vivek Joe Karot                        Yiru Rong
 Ningge Zhu                             Ravi K. Khurana                        Malani Karina Rosa
                                        Rishabh Lal                            Christopher Louis Royer
IN COMPARATIVE LITERATURE               Ho Young Lee                           Farzad A. Saif
DEGREES CONFERRED, DECEMBER 23, 2019    Joshua J. Lee                          Joy Shi
 Mackenzie A. Cooper                    Se Eun Lee                             Eubene J. Sin
CANDIDATES FOR DEGREES, MAY 16, 2020    Joseph C. Lin                          Jaejin Sohn
 Samantha Elyse Lindgren                Naveer Syed Madni                      Madeline Louise Stelle
 Lillian Marie Wright                   Viktor Stanislavovych Makarskyy        John X. Tabet
                                        Mitchell R. Meinhart                   Nanxi Tian
IN CREATIVE WRITING                     Sohum S. Nagi                          Mingjie Wang
DEGREES CONFERRED, AUGUST 05, 2019      Asad Raza Nasir                        Xuanyi Wang
 Salvador Sarmiento                     Michael Sung Oh                        Xiang Yan
DEGREES CONFERRED, DECEMBER 23, 2019    Luis A. Perez                          Yuqi Yi
 Sammantha L. Aubuchon                  Matthew David Porter                   Gary Yim
 Ashli Cean Landa                       Vinay Prabhakar *                      Jinglei Yin
 Nicolas C. Palma                       Brian M. Probst                        Lydia Yun
CANDIDATES FOR DEGREES, MAY 16, 2020    Austin Rochwick                        Nicholas Ryan Zembower
 Sullivan Mark Brawn                    Nikola Momcilo Savatic                 Anders C. Zerlang
 Ajah Michelle Calvin                   Jacob R. Singleton                     Kejie Zhang
 Stephanie Jane’t Finch                 Byung Sub Song                         Zirui Zheng
 Jennifer Lynne Graf                    Ewelina Natalia Stefanska             CANDIDATES FOR DEGREES, MAY 16, 2020
 Kelda M. Habing                        Ashwath Kanakasabapathy Subramanyan    Suha J. Ahmad
 Young Min Kim                          Shreya Uppal                           Aiman Ahmad Azmil *
 Karolina Kamila Kowalska               Adrian G. Vera-Moya                    Hizqeel Ahmed
 Sage Delphi Larson                     James Thomas Walsh                     Nemah Fatima Ahmed
 Michael T. Mazurkiewicz                Nathan E. Winsel                       Amine Ahmed Yahia
 Holly R. Miller                        Ziyi Xia                               Timothy Robert Albright
 Christopher Michael Nied               Mu Zhang                               Innara Badruddin Ali
 Carolyne Parages                       Tianfeng Zhang                         Osman A. Ali
 Katherine Marie Powers                 Yuanyang Zhou                          Ali Amir
 Ioline Annick Regibeau                DEGREES CONFERRED, DECEMBER 23, 2019    David Eric Anderson-Nelson
 Megan Ravalo Resurreccion              Neha Agarwal                           Adil H. Anis
 Emma Rose Ryan                         William Christopher Antonetti          Bharathi Arasan
 Alexis Kimberly Schroeder              Salman Bashir                          John Antony Athans
 William Seelen                         Alissa N. Brankey                      Wesley Au
 Jonathan Stiles                        Chengyi Cao                            Waseb L. Bajwa
 Shreya Vardhan                         Yan Chai                               Inaki Bascaran
 Taylor Ann Marie Vidmar                Ka Wai Choo                            Matthew Armstrong Batinovic
                                        Ryan A. Cobe                           Stephan Basil Bazianos
IN EAST ASIAN LANGUAGES AND             Emiliano O. Damacela                   Charles David Bazzell
CULTURES                                Daniel Dore                            Jacob F. Blood
DEGREES CONFERRED, AUGUST 05, 2019      Jacob D. Fazzini                       Armand Bogdan-Duica-Cacoveanu
 Gabriel Harvey Wacks                   Taylor Jean Ganan                      Evalina A. Bournias
CANDIDATES FOR DEGREES, MAY 16, 2020    Braden J. Gebavi                       George Michael Bravos
 Benjamin A. Cazel                      Avital M. Gordon                       David Herbert Buller
 Zoe Hannah Goldenfeld                  Ryan K. Hupach                         Connor Callaghan
 David K. Israel                        Andrew Ing                             Nicholas Bradley Campbell
 Janghun Kim                            Deepakkumar C. Iyer                    Nicolas Campuzano
 Karina Lin                             Samarth Jain                           Isaiah N. Carpenter
 Jesse C. Park                          Christopher D. Jimenez                 Anthony Carrillo
 Taylor Michelle Peters                 Lier Jin                               Andy A. Chai
 Darien N. Shatley                      Christopher John Jorgensen             Jin Chairatana
 Nicholas Joseph Stack                  Jae Sung Kang                          Edward Boyang Chen
 Joseph Clarence Walters                Patrick J. Killigrew                   Ruijing Chen
                                        Brendan Sahn Kim                       Yongqin Chen
IN ECONOMETRICS AND                     Wooyeon Kim                            Patrick Chomczyk
QUANTITATIVE ECONOMICS                  Akiyoshi Komiya                        Heekang Chung
CANDIDATES FOR DEGREES, MAY 16, 2020    Michelle E. Kras                       John Finley Compton
 Elizabeth McCormack Kepner             Yeeun Kwag                             Mercedes T. Cuevas
 IN ECONOMICS                           Zhe Li *                               Brendan Francis Curley
DEGREES CONFERRED, AUGUST 05, 2019      Wei Liu                                Samantha R. Cushing
 Avinash *                              Yuxi Liu                               Eric Joseph Denby
 Jared R. Bitters                       Zixiang Liu                            Haowen Deng *
 Jessica N. Bresler                     Janet Magana                           Pooja M. Deshmukh
 Bhavin N. Chaudhari                    Josette Allendi McGann                 Samuel Robert Detmers

                                                                              Exhibit 38 - Page 59 of 76
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LIBERAL ARTS AND SCIENCES                                           2020 COMMENCEMENT AT ILLINOIS




 Mounika Devakonda                Joseph Michael MacPhee               Haoming Tian
 Logan Louis Dochterman           James Xavier Magiera                 Riley Justine Tithof Steere
 Ryan D. Donahue                  Sanjana Malireddy                    Vivek Rajesh Tripathi
 Ahmad Araz Douzali               Khawaja Abdul Manan                  Benjamin Alec Trouvais
 Erin C. Dowling                  Ismael Marquez                       Crystal Marie Tseng
 Jake H. Doyle                    Ignacio Javier Martinez Garcia       Alexander Tsoukanaras
 Ashley Lauren Drake              James Patrick McQuillan              Lauren Elizabeth Twardowski
 Elizabeth Marie Drynan           Ravina Samir Medhekar                Aniekan Umoren
 Conor Anthony Durkin             Min Yi Mei                           Charles H. Uram
 Robert Michael Ernsting          Calvin Joseph Migely                 Joshua Daniel Velleuer
 Tae Yoon Eum                     Walter A. Mireku                     Pornchanok Vilailuck
 Caryl F. Ewangan                 Othman A. Mohammad                   Asher Garcia Visperas
 Anne Maloney Farwell             Peyton Christopher Mohr              Madeline Seeley Vogt
 Matthew Finn                     Natalie M. Moll                      Ivana Vukanic
 Liam Patrick Freeman             Nathaniel Stephen Monis              Sebastian Liron Wahono
 Justin S. Frumm                  Prianka Monwar                       Wei-Chen Wang *
 Daniel Alejandro Fuentes         William R. Moore                     Jason Howard Weinberger
 Paul Furer                       Josue Mota                           Jack Andrew Wells
 Ashley Nicole Gengenbacher       Eric A. Moy                          Patrick Wojcik
 Patrick James Gilmartin          Cherie Tiana Munro                   Brandon Charles Wolff
 Lucas C. Goebel                  Jasmin Music                         Yuk Keung Wong
 Grant Michael Goldstein          Kyle M. Nash                         Kenneth Crane Woodruff
 Michael R. Gonzalez              Levi Douglas Neaveill *              Delaney Marie Wright
 John Emerson Grosboll            Thao Thi Thu Nguyen                  Kenneth Q. Wu
 Nithya Sai Gundlapalli           Daniel R. O’Neill                    Wenao Wu
 Xiaoyu Guo                       Michael James Owen                   Mengjia Xu *
 Nabeel Haider                    Roman Gabriel Padilla *              Ankitha Venkata Yanamandra
 Bakhtiar M. Haseeb               Devan Patel                          Hanling Yang
 Paul D. Hayes                    Meghal Vipul Patel                   Yi Ye
 Andrew Patrick Hipskind          Niki Siddharth Patel                 Jeonghyun Yoon
 Taylor Kay Honaker               Saahil Kalpesh Patel                 Ricardo Zapata
 Chang-Yui Hong                   Zaaim Patel                          Jiaming Zhang
 Mengjie Hu                       Deana Anisa Pieters                  Zihan Zhao
 Kaishan Huang                    Natalia Plichta                      Ling Hui Zheng
 Robert Thomas Hudzik             Zachary Kennedy Poe                  Xiaoyu Zheng
 Taylor Andi Hunt                 Kin Sing Poon                        Kevin Zhu
 Sarah Katharine Jaeger *         Broderick Tre Portell                Nolan B. Zielinski
 Nikhil Kabir Jerath              Michael Patrick Powers
 Daniel H. Joo                    Abdulrahman J. Qaddour
                                                                     IN ENGLISH
 Hyunil Ju                        Zhou Qi                            DEGREES CONFERRED, AUGUST 05, 2019
 Heejung Kang                     James E. Qiu                         Courtney Knight Langdon
 Deteen Steven Kataba             Shwetha Alexis Raj                   Noelle S. Sather
 Demetrios Chistian Katsis        Fidel Ramirez                        Princess Lacora B White
 William Lyle Kean                Divij Ranjan                       DEGREES CONFERRED, DECEMBER 23, 2019
 Katherine Marie Kern             Sharanya P. Reddy                    Sara Yocheved Berlowe
 Ahlam Khatib                     Jessica L. Redmond-James             Kaitlin Gwyneth Binuya
 Joy Hanah Kim                    Alexandria C. Roberts                Raven M. Blancas
 Minkwan Kim                      Henry Thomas Rodriguez               Hanna Marie Buchwak
 Daniel Theman Kirsh              Charles Lawrence Ryan                Caroline Mary Collins
 Nicholas J. Kissick *            John D. Ryan                         Margaret Kern
 Justyna Weronika Kosinska        Evan John Sabo                       Olivia Kishtow
 Jack Kent Kunkel                 Samantha Beverly Saliba              Masanori Justin Matsumura
 Robert Kvych                     Charley Jonas Salk                   Madison Courtney Puckett
 Jun Mok J. Kwon                  Janet Emirulla Sardarov              Seth M. Rosenbaum
 Yifeng Lai                       Sanjiv Harihar Kurella Sarma         Kriti C. Sharma
 Enrique Lauriano                 Kaleb Bekier Sather                  Adriana Lizett Vaca
 Hyunjun Lee                      Samantha Anne Schmidt                Peter Charles Velazquez
 Sanghun Lee                      Rahil N. Shah                        Timothy Francis Wallace
 Seyeon Lee                       Max Truman Shapiro                   Kate Therese Way
 Stephen Lee                      Sam J. Shin                          Jessica Kay Leigh Whitfield
 Alan Leung                       Yong Ha Shin                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Yu Hang Leung *                  Jay Nitin Shirodkar                  Salma Tayser Aldaas
 Hannah B. Levy                   Maanasa Shivkumar                    Kylie Rae Ashton
 Jiayi Li                         Ryan Joseph Snaguski                 Jacqueline Nicole Betthauser
 Ruochong Li                      Martin Solis                         Olivia Mary Bievenue
 Tianrun Li                       Maxwell John Stinites                Mary Claire Bormes
 Yiwei Li                         Jordan Dallas Stogner                Caitlin G. Bradford
 James Agustin Liberto            Patrick John Storm                   Natalie Anne Brady
 Brittney R. Lim                  Robert Joseph Sullivan               Grafton Reed Brown
 Chen Lin *                       Sean Gage Sullivan                   Madeleine Louise Brown
 Xuan Lin                         Manasa Sunkara                       Maya Angelina Buenrostro
 Robert J. Lindgren               Jackson Thomas Swanson               Nicole Lucy Burdyn
 Benjamin Liu                     Elizabeth Marie Sweeney              Darius Tamir Callum
 Zhixia Lu                        Peter J. Sweeney                     Theonesse Jae Cheon
 Andrew J. Lynn                   Lorris Gautier Takouam               Jacqueline Lavini-Jasmine Chis
 Hongjin Lyu                      Joshua Timothy Mercado Talavera      Esther Yehjoo Cho
 Ruiyang Ma                       Xiao Tan                             Luke Calvin Coombs Misiak
 Miranda MacNaughton              Alan Arthur Thornburg                Valentyna Danelyuk
                                                                      Exhibit 38 - Page 60 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                         LIBERAL ARTS AND SCIENCES




 Elizabeth Neva Davis                    IN FRENCH                               Olimpia Rodriguez
 Taylor Lavonne Davis                    DEGREES CONFERRED, DECEMBER 23, 2019    Francesca Joyce Sagerian
 Emily B. Dean                            Juliette E. Nye *                      Alexandra Tamayo
 Alyssa Noelle Debock                                                            Buyandelger Tsetsengarid
 Jack Haley Duffy                        CANDIDATES FOR DEGREES, MAY 16, 2020    Priya Anu Vaikuntapathi
 James M. Falduto                         Hubiba Ali                             Robert Kent Ware
 Rachel Elayne Finegold                   Luke John Lucio *
 Alexandra J. Garcia                      Anny L. Solano Bonilla                IN HISTORY
 Fiona Bridget Gardiner                  IN GENDER AND WOMEN’S STUDIES          DEGREES CONFERRED, AUGUST 05, 2019
 Jessica Louise Gossen                                                           Bijan Thomas Mansoorieh
                                         DEGREES CONFERRED, AUGUST 05, 2019      Sarah Ann Zemke
 Elaine Nicole Gralak
                                          Eleanor E. Hinton
 Sydney Richelle Gutierrez                                                      DEGREES CONFERRED, DECEMBER 23, 2019
 Nora Maeve Halleran                     CANDIDATES FOR DEGREES, MAY 16, 2020    Bobi Diane Benegas
 Aidan H. Huddleston                      Teaira Akons                           Jason Adam Bilangino
 Kanea Isis Hughes                        Alejandra C. Medina                    Chandler Hines Burns
 Molly Elizabeth Hughes                   Shameem Hawa Razack                    Russell Daniels
 Tristan Jonathan Jacobs                 IN GEOGRAPHY AND GEOGRAPHIC             David Wayne Dasbach
 Bridgette Dorothy Jasinski              INFORMATION SCIENCE                     William G. Newman
 Kevin Jinwoo Jeon                                                               Brian Paul
                                         DEGREES CONFERRED, DECEMBER 23, 2019
 Shelby Cheyenne Job                                                             Claudia Piwowarczyk
                                          James A. Sensenbrenner
 Kayla K. Jones                                                                  Shawn M. Speegle
                                          William Roland Webb
 Kendal Ann Kavanaugh                                                            Samuel Thomas Wiebe
 Claire Maureen Kelly                    CANDIDATES FOR DEGREES, MAY 16, 2020    Nicholas Mark Wutt
 Gavin Arthur Klancnik                    Eric Mark Czarnota *
                                                                                CANDIDATES FOR DEGREES, MAY 16, 2020
 Katherine A. Knight Johnson              Samantha Barrie Myers Miller
                                                                                 Shane Eirik Anderson
 Madison Ann Kuehn                        Anthony D. Scarborough
                                                                                 Spenser Reece Bailey
 Kristopher John Kwak                    IN GERMANIC STUDIES                     Kristina Ranee Beihoffer
 Charles Colman Lally                                                            Allen S. Beltran
                                         CANDIDATES FOR DEGREES, MAY 16, 2020
 Matthew J. Lampert                                                              Jonathan Antonio Bishop
                                          Lauren Elizabeth Harney *
 Robbyn Largosa                                                                  Kurtis Donald Bobert
                                          Pu Jin *
 John David Loper                                                                Leslie Bueno
                                          Elena M. Wilson *
 Crystal Sue Lyons                                                               Jakob Alexander Carter
 Roxana Madani                           IN GLOBAL STUDIES                       Heather Cody
 Maggie May Madden                       DEGREES CONFERRED, AUGUST 05, 2019      Octavio Alonso Cuesta De La Rosa
 Andrew Ryan Martin                       Dominique P. Cook                      Jack Daniel Dahlstrom
 Brogan Lee McKay                         Emily A. Freiburger                    Jakob Robert Domagala
 Adam V. Meixner                          Samuel W. Hartwig                      Makayla Andrianna Dorsey
 Rachel Marie Melancon                    Batoul Hasan                           TyKira Ajanae Dubose
 Angelica Karina Mennella                 Kelly Joanne Hussey                    Gregory Dustin Farris
 Haley Valette Miller                                                            Daniel Edward Fitzgerald
                                         DEGREES CONFERRED, DECEMBER 23, 2019
 Jonathan Miranda                                                                Paola Flores
                                          Linda Sophia Bonilla
 Sarah Elizabeth Morthland Brookhouse                                            Edward A. Garcia
                                          Kimberly G. Cruz
 Dylan Michael Oakes                                                             Sean Kevin Good
                                          Monica Estrada
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                                          Joseph Craig Grusy
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                                          Natalie G. Konrath
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                                          Justin David Mann
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                                                                                 Austin Ryan Justice
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                                                                                 Kavi Kannan Naidu
 Nicole Sevic                             Baylor Claire Eaton
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                                                                                 Shawna L. Oliver
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                                                                                 Michael Joseph Ruby
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                                                                                 Michael James Schwingbeck
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                                          Cullen James O’Connor
                                                                                 Noah David Sellars
                                          Emma N. Plakovic
                                                                                 Nicolas Garrick Shanley
                                          Sowmiya R. Raju
                                                                                 Exhibit 38 - Page 61 of 76
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LIBERAL ARTS AND SCIENCES                                                     2020 COMMENCEMENT AT ILLINOIS




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                                        Alexander M. Ptacek
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 Andrea Lorraine Hughes                 Daniel B. Abraham                        Ana Elissa Cabrera
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                                        Ansh
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                                        Caleb Michael Cavazos
 Rocio Salazar                                                                   Celia Eileen Dewyer
                                        Ruo Wei Chan
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                                        Nathan Yicheng Du                        Sean Michael Elgin
DEGREES CONFERRED, DECEMBER 23, 2019                                             Elizabeth Anne Fahey
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                                        Timothy Michael Hecker
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                                        Jeremiah Jetzain Jaimes
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 Olivia Marie Foster                   CANDIDATES FOR DEGREES, MAY 16, 2020
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 Peter John Ralston                                                              Jaime Minglern Jew
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 Frencheska Alberta Robinson                                                     Millie G. Johnson
                                        Daniel J. Arkus
 Nicklaus Gary Smith                                                             Keith C. Jones
                                        Obioma Chiamaka Azie
                                                                                 Joel Kallidukil Jose
                                                                                Exhibit 38 - Page 62 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                   LIBERAL ARTS AND SCIENCES




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 Saharish Waseem Khan               John Arthur Zerfahs
                                                                          IN SPANISH
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 John Alan Langen
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 Jiyoon Lee                        DEGREES CONFERRED, DECEMBER 23, 2019    Noah T. Dixon
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                                                                          IN BIOCHEMISTRY
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 Brianna Natalie Ortega            DEGREES CONFERRED, DECEMBER 23, 2019
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 Camille J. Smith                   Vanesa Gutierrez
                                                                          DEGREES CONFERRED, AUGUST 05, 2019
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                                                                           Shufan Chen *
 Austin Alexander Stadelman         Alexis M. Hernandez
                                                                           Hasan Fetahi
 Cheyanna Marie Stevenson           Anna C. Hoban
 Marko Sukovic                      Jazzy Jazzette Jackson                DEGREES CONFERRED, DECEMBER 23, 2019
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 Mitchell George Wilcox             Nalicia Valdez Venegas                 Abhinav Goli
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 Brandon Oliver Wong                Zhiqing Yan                            Thomas P. Grela

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LIBERAL ARTS AND SCIENCES                                                     2020 COMMENCEMENT AT ILLINOIS




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 Paul Sangrae Kim                       Ami Y. Patel                            DEGREES CONFERRED, DECEMBER 23, 2019
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                                        Douglas Sam Chan                        DEGREES CONFERRED, AUGUST 05, 2019
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                                        Zijun Gao *                              Zhiyuan Xie
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 Yonghoon Kim
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 Ishaan Laul
                                        Alex Jospeh Schwarz                      Adam Christopher Nahn
                                                                                 Exhibit 38 - Page 64 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                       LIBERAL ARTS AND SCIENCES




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 Zhijun Yao
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                                        Ashvini Krishnan
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 ZiQiao Hua                             Aisyah Nur Iman Binti Rafique Ali      Bianca Ann Barnett
 Minke Huang                            Robert A. Sells                        Arjun Bhardwaj
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 Tianyu Kong                                                                   James Edward Brady
 Nicholas Kowalczyk
                                       IN ATMOSPHERIC SCIENCES
                                                                               Victoria D’anna Brown
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                                                                               Taylor Faith Crowell
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 Ramanathan Perianan                    Marley Elizabeth Majetic               Aron Chandler Frellick
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 Hualiang Tao                          IN CHEMISTRY
                                                                               Jaeman Jung
 Siyuan Teng                           DEGREES CONFERRED, AUGUST 05, 2019      Amee Ashok Kapadia
 Graciela Karin Alexandra Tjen          Brennan C. Bell                        Megan D. Kats
 Hanqing Wang                           Michael Louis Carr *                   Caroline Y. Kim
 Jia Qi Wang                            Silai Guo                              Gene Woo Kim
 Wenbo Wang                             Kyle P. Krumm                          Laura Kim
 Xueyuan Wang                           Ryan J. Laramee                        Min Kyu Kim
 Amy Elizabeth Wedewer                  Leonardo Mauricio Molina *

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 Minju Kim                             IN COMPUTER SCIENCE AND                  IN EARTH, SOCIETY, AND
 Rosanna Lam                           ASTRONOMY                                ENVIRONMENTAL SUSTAINABILITY
 David Joseph Lasota
                                       DEGREES CONFERRED, DECEMBER 23, 2019     DEGREES CONFERRED, AUGUST 05, 2019
 Sarah Kathleen Leary
                                        Artsiom Balakir                          Marina Jade Lloyd
 Yeeun Lee
                                        Jakob William Grootens                   Alexander Douglas McAfee
 Yujin Lee
                                        Jonathan O. Kaberon                      Jared Nicolai Pacella
 Jiaxuan Li
                                       CANDIDATES FOR DEGREES, MAY 16, 2020      Susan A. Petrosky
 Ruizhe Li
                                        Vivek Bhookya                            Kristen Nicole Ragusa
 Xiyun Li
                                        Elizabeth A. De Sa E Silva               Vanessa Sandoval
 Jeffrey Wayjer Lin
                                        Devanshi Pratap                          Arif J. Sunmonu
 Dalia Lin Xie
 Yinzhe Liu *                           Lily T. Ho                              DEGREES CONFERRED, DECEMBER 23, 2019
 Claire Elaine Lundberg                 Yufeng Luo *                             Abigail Alaine Baker
 Kayla Levon Centreece Mack             Alexander Moore                          Madeline E. Barone
 Adarsh Manawa *                        Ethan Maxwell Rane                       Kathryn Rae Bowman
 Alexandra Corinne Martin               Richard T. Scherrer                      Emily A. Carroll
 Elizabeth Jane McDaniel                Nathan Michael Turcich                   Matthew J. Gaither
 Ethan Kennedy McManus                  Charles David Young                      Zachary William Limon
 Sean Michael McRae                     Zitao Zhu                                Todd A. Peterson
 William Frederick Michael                                                       Melissa Jisselle Rodriguez
                                       IN COMPUTER SCIENCE AND                   Mitchell Storter
 Preeti Narayanan                      CHEMISTRY
 Taylor A. Odonnell                                                              Brooke Mae Wilson
                                       DEGREES CONFERRED, AUGUST 05, 2019       CANDIDATES FOR DEGREES, MAY 16, 2020
 Paul E. Pagos
                                        Ding Zhang                               Lindsay M. Albright
 Karishma Pandya
 Brahmmi K. Patel                      DEGREES CONFERRED, DECEMBER 23, 2019      Sarah Berger
 Adrianna Maria Pilch *                 Dane M. Kozak                            Xiaoyang Chen
 Mingkang Qi                           CANDIDATES FOR DEGREES, MAY 16, 2020      McKenzie S. Colyer
 Brooke Victoria Ridlen                 Alexander Bieniek                        Andrew Timothy Garrett
 Roma Frances Ripani                    Hamzah Hakki                             Ellie Ann Green
 Nataniel Jose Rivera                   Jeremy Yushen Hu                         Donald W. Hamlin
 Daksh Saksena                          Eric Li                                  Brandon Matthias Hausser
 Alondra Sanchez                        Jueun Suh                                Gwendolyn Chloe Heidkamp
 Prashanth Swaminath Sarma              Hengzhi Yuan                             Taylor Christine Holin
 Rhea Sharma                                                                     Autumn T. Holmes
 David Daniel Skrodzki
                                       IN COMPUTER SCIENCE AND                   Gabrielle Alexandra Jones
 Kyle James Sliwa
                                       ECONOMICS                                 Christina F. Kwiatt
 Haley Jena Snodgrass                  CANDIDATES FOR DEGREES, MAY 16, 2020      Seong Hyun Lee
 Craig Gavin Soares *                   Suk Min Hwang                            Ruben Lopez
 Kristen F. Sommer                      Jonathan Jizheng Lu                      David Meraz
 Jungmin Son                            Steven Jingxiong Ma                      Nikolas Eric Merten
 Byung Jun Song                         Meng Wang                                Paris Monaghan
 Alexander Jacob Sternes               IN COMPUTER SCIENCE AND                   Cristian Andres Nunez
 Pranay R. Sudini                                                                John Joseph Palmer
                                       LINGUISTICS
 Judy Suh                                                                        Nicole Marie Pinsky
 Erika Michelle Tanquilut              DEGREES CONFERRED, DECEMBER 23, 2019      Hannah R. Rachlis
 Amelia Elysse Triplett                 Teja Ambati                              Joseph A. Theodore
 Rachel Joan Ulaszek                    Benjamin Earl Franklin Correll           Logan B. Tipsword
 Margo A. Van Loon                      Gargi Deb                                Tony L. Tran
 Varun Anilkumar Varma                  Danqing Huang                            Sebastian Alexander Valdes
 Maya I. Veal                           Zachary Sun Kim                          Brooke Leigh Witkins
 Tejashri Venkatesh                     Connor W. McCloskey
                                        Pooja Mikkilineni                       IN ECONOMETRICS AND
 Ashley-Ann Assia Walker
 Christopher David Winter               Gopika Somasekharan                     QUANTITATIVE ECONOMICS
 Kerui Xu                              CANDIDATES FOR DEGREES, MAY 16, 2020     DEGREES CONFERRED, AUGUST 05, 2019
 Eric Xue                               Damian John Behymer                      Achyut Muchoor
 Alexander Milan Yerkan                 Kimya Annarose Buckner                   Sheel Vohra
 Taylor Jean Zars                       Francisco Carreon                       DEGREES CONFERRED, DECEMBER 23, 2019
 Chenhao Zhang                          Junquan Chen                             Dmitriy A. Borzhkovskiy
 Yuanzhen Zhang                         Shao Xuan Chew                           Xizi Li
 Zihao Zhang                            Helena Chi                               Jiawei Lin
 Zhi Hua Zheng                          Amar Dhebar                              Akshay Arun Rama
 Leah M. Ziolkowski *                   Qihao Gu                                CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Ziqi Huang                               Areeba Ahmed
IN COMPUTER SCIENCE AND                 Barath Suraj Koottala
ANTHROPOLOGY                                                                     Tayyab M. Ali
                                        Christopher Evan Kovac                   Jessica Renee Arquilla
DEGREES CONFERRED, DECEMBER 23, 2019    Yingying Laurie Kwok                     Arsh Bahri
 Pavani Malli                           Aaron Jacob Lichtman                     Mithilesh Balasubramanian
 Miguel Angel Salazar-Gallegos          Malini Mahes                             Rohith Balusu
 Srihari Sriram                         Niharika Manda                           Mia Jessica Berkley
CANDIDATES FOR DEGREES, MAY 16, 2020    Parth A. Patel                           Cara L. Braasch
 Anica Bhargava                         Emma Fan Ping Tseng                      Sirui Chen
 Jinhyuk Jang                           Vivek K. Vaidya                          Michael Cummings
 Benjamin Philip Lawrence               Morgan Hannah Wessel                     Priyamvada Dahiya
 Austin Ronghong Sun                    Xiaohan Yan                              Ijiltsetseg Dorjsuren *
 Jeron F. Wong                                                                   Ajay Dugar
                                                                                 Magda G. El Lethy
                                                                                 Zhiyuan Fan
                                                                                 Xiaoming Han
                                                                                Exhibit 38 - Page 66 of 76
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 Joshua David Holm                     IN INTEGRATIVE BIOLOGY                  Perla I. Magana
 Nicholas E. Jevitz                    DEGREES CONFERRED, AUGUST 05, 2019      Sarah I. Majka
 Haley Nicole Kennedy                   Shannon Gayle Carlson                  Katherine Faith Malone
 Vedant Shravan Kohli                   Jack Charles Deno                      Andrew M. Mareczko
 Linyi Li                               Nathanael Bernard Eaves                Alyssa Reid McDonald
 Sri Nikita Mamidi                      Shireen M. Husami                      DeAngelo Medrano
 Nikhil R. Mannem                       Randall Jackson Mach                   Rachel Grace Miller
 Jia Lin Mei                            Hassan Ozeir                           Matthew Lane Monk
 Noah Vladas Morkeliunas                William M. Perket                      Alexander James Morse
 Ivan Alexander Murillo-Quiroz          Courtney Renee Randell                 Deniz Ali Namik
 Christopher J. Nash                    Daniel A. Roman                        Jay Merrill Niebrugge
 Prudhvi Nettem                                                                Julissa Nunez
 Jisu Park                             DEGREES CONFERRED, DECEMBER 23, 2019    Priscilla Opare
 Parth Rajendra Patel                   Muhammad Farris Fouad Al-Qawasmi       Manuel Osorio
 Lukas R. Radelia                       Caleigh Nicole Beckett                 Sean C. Palmer
 Devarsh Mukeshbhai Ruparelia           Lorenzo Mario D’Alessio                Janine Nicole Pappageorge
 Christopher Stephen Rupprecht          Weronika Dabros                        Heidi Lynn Pierce
 Xinyi Shang                            Samantha Jane Gray                     Mark Ryan Prakash
 Erik Johnson Strzempek                 Vaughn Michael Hage                    Abigale Geraldine Pstrzoch
 Daniel J. Stumpf                       Tae Hoon Kim                           Eugene Ro
 Blandon E. Su                          Rachel S. Lee                          Dulce Darline Ruiz
 Zerui Sun                              Eddie Lee Lewis                        Erika Marie Medina Saligan
 Arun Kumar Sundaram                    Ya Li                                  Zoe T. Schnitzler
 Colin Chase Tainter                    Charlotte Nicole Nawor                 Emina Sipic
 Cole Edward Timmerwilke                Anna K. Osborn                         Madeline Mette Smith
 Jianing Wang                           Maria Repiscak                         Nathaniel Andrew Squaire
 David Wlodarczyk                       Nicole K. Rogus                        Neil A. Sundaram
 Sichen Xie                             Isabella G. Sadler                     Jessica Swider
 Alan Xue                               Jacob Edward Shea                      Amanda Margaret Tannehill
 Yilin Zhang                            Katelyn V. Stanevich                   Lincoln Nian Taylor
 Letian Zhao                            Claudia Jean Vanopdorp                 Noah Elijah Tennison
 Lingyi Zhao                           CANDIDATES FOR DEGREES, MAY 16, 2020    Aristides Philip Theodoropoulos
                                        Olayemi Mercy Adebayo                  Celeste Alexandra Thompson
IN GEOGRAPHY AND GEOGRAPHIC             Georgia Anne Arvanitis                 Skyler Chloe Tiarks
INFORMATION SCIENCE                     Hayley E. Ban                          Jacqueline Trujillo
DEGREES CONFERRED, DECEMBER 23, 2019    Sarah K. Bhurgri                       Daisy B. Ugalde
 Adeniyi Kolade Adeleye                 Tyler J. Blackwell                     Benjamin J. Vilensky
CANDIDATES FOR DEGREES, MAY 16, 2020    Emily Mary Bowles                      Matthew Stephen Williams
 Romeo Angelo Basa-Denis                Courtney Renee Carmain                 Justin Thomas Wong
 Samuel Robert Caputo                   Caroline Phyllis Caton                 Kathleen Marie Yang
 Jarod Brent Fox                        Andy W. Chen                           Xiaoyu Yang
 Naina Gupta *                          Nerija V. Cuplinskas                   Ysabelle Ybarra
 Anthony Edward Haloulos                Kyle J. Dini                           Sharoken N. Younan
 Artyom Knurenko                        Anna Dmitrievna Dmitrieva
 Paul Lastra                            Jack K. Dokhanchi                     IN MATHEMATICS
 Yuchieh Lou                            Austin Louise Eichhorn                DEGREES CONFERRED, AUGUST 05, 2019
 Julyssa B. Morales                     Jemima Elsherbini                      Sraddha Acharya
 Nihar Ratnakar Nanavaty                Dionne Tatiyana Evans                  Euihyun Baek
 Samah Nuha Quadri                      Austin Nicholas Farmer                 Quinn T. Gerdes
 Michael M. Rogalski                    Edgar Franco                           Sidhant Jain
 Andres Ruiz                            Bianca Fung                            Mengyang Li *
 Collin Richard Schuricht               Emily Garcia                           Yuqiao Liu
 Nicholas Craig Shapland                Zoe Singh Gasson                       Matthew J. Mucha
 Brandon Michael Smith                  Miranda Elizabeth Gentile              Ciera Ashley Nickerson
 Russell Miles Wilson                   Cameron Dean Goethe                    Hao Pan
 Yuchen Zou                             Laura Ann Goralka                      Brandon Paul Schwarz
                                        Brittany Ann Handley                   Hashim Mustanir Tirmizi
IN GEOLOGY                              Caitlin M. Harkins                     Ran Wei
DEGREES CONFERRED, AUGUST 05, 2019      Kaleb Kenneth Herman                   Tao Xiong
 Monika L. O’Brien                      Ryan Joseph Hill                       Zhao Yin
DEGREES CONFERRED, DECEMBER 23, 2019    Alexa Grace Hoffman                    Jianing Zhang
 Christopher Edward Campe               Alan Hsieh                            DEGREES CONFERRED, DECEMBER 23, 2019
 Miguel A. Castillo                     Julia Marguerite Irle                  Elizabeth Ayala
 Ty D. Chong                            Kirstin Ashley Johnson                 Suleman Ahmad Bazai
 Nicole Lynn Nussel                     Juliana R. Kasper                      George Zhi Chen
CANDIDATES FOR DEGREES, MAY 16, 2020    Shalyn A. Keiser                       Xinan Chen *
 Edward Charles Newman-Johnson          Taskeen Khan                           Zhengyou Han
 Nicole Faye Tank                       Jihoo Kim                              Raymond Marshall Harpster
                                        Kirsten Elizabeth Kissel               Brandon Salvatore Harris
IN INDIVIDUAL PLANS OF STUDY            Kyler Japheth Knapp                    Auden McEuen Hinz
DEGREES CONFERRED, AUGUST 05, 2019      Sean Gregory Konrath                   Hyejeong Kang
 Shree Atul Patel                       Austin James Koukol                    Yeon Ji Kim
                                        Artur Kuczek                           Matthew Thomas Kinsley
CANDIDATES FOR DEGREES, MAY 16, 2020
                                        Veronika Rae Laird                     Wanzhao Long
 Dunia Naji Ghanimah
                                        Yisu Li                                Hui Lyu
 Anna Christine Grommes
                                        Maria Philip Logas                     Raghav Nanda Malhotra
 Safa Khan
                                        Luke John Lucio *                      Vedant Puri *
 Jesse Jonathan Molina Melo
                                        Salvador Luna-Guardado                 Hanlin Qu
 Sri Saketh Vasamsetti
                                        Jeffrey Jiahui Lyang                   Nathan Sell
                                        Lance Linus Madanguit
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 Daniel Steinberg *                     Chongjun Peng                            Joshua Milton Byster
 Tiance Tan                             Qian Qian                                Andrew Pearson Caldwell
 Ronglin Wang                           Jiaqi Qin                                Benjamin D. Cannell
 Yaoling Wang                           Kagen Jet Quiballo                       Biswadeep Chatterjee
 Yizhu Wang                             Spencer George Rooke *                   Ankit Datta
 Hantao Xu *                            Jamie Jordan Rush                        Sagar Arun Desai
 Kaiwen Zhang *                         Zixuan Shao                              Claire M. Gagen
 Peiyun Zou                             Jonathan Alan Shobrook                   Jeffrey Connor Galiotto
CANDIDATES FOR DEGREES, MAY 16, 2020    Karan Srivastava                         Piotr J. Galusza
 Karan Abrol                            Hanze Sun *                              Shovik Guha
 Bingxue An *                           Ajay Suresh                              Botao Han
 Ashna Anil                             Xuzhi Tang                               Langwen Hui
 Siyan Bao                              Yu Tang *                                Lucas Saul Isla
 Trevor Hunt Barrow                     Yanliang Tao                             Andrew Jiang
 Bridget K. Burnetti                    Koby M. Theobald                         Brandon Diyuan Jiang
 Yubo Cao *                             Iris Yu Tong                             Caleb Joshua Ju
 Yuanyang Chang                         Lucas Edward Trojanowski                 Kieran N. Kaempen
 Hung-Yuan Chen                         Joel Taylor Van Dyke                     Mayank Kathuria
 Xinghan Chen                           Brett Louis Veitch                       Samuel Thomas Kluber
 Yuwen Chen                             Junting Wang *                           Uma Krishnan
 Zitong Chen *                          Xingkai Wang                             Gajan Sathya Kumar
 Cheng Cheng                            Yilin Wang                               Katherine Feller Lacy
 Anna Natalie Chlopecki                 Yixuan Wang                              Jacob William Larocca
 Boo-Gyoung Choi                        Zhihao Wang                              Andy C. Lee
 Alice Chudnovsky                       Zihan Wang                               Eunsun Lee
 Brandon L. Dattomo                     Zizhou Wu                                George Hua Li
 Yongjian Deng                          Enze Xiao                                Yankai Li
 Li Ding                                Chenhan Xu                               Zhenyu Li
 Yichen Ding                            Jinlin Xu *                              Simeng Liu
 Huazheng Dong                          Yun Xu                                   Yiqun Mei
 Zhi Dou *                              Congwei Yang                             Jinsoo Oh
 Ningyuan Du                            Luxin Yang                               Justin Connor Peabody
 Yufeng Du *                            Qingqing Yang *                          Vincent Persky
 Claudia Anna Dudzik                    Zhonghang Yang                           Aditya Pillai
 Abbey Mae Egger                        Wenqian Ye                               Ayush Ranjan
 Maxwell Tanner Flanagan                Xintong Yu                               Michael Ilich Sandler *
 Adam Edward Fowler                     Zihao Yuan                               Tongchuan Shen *
 Jinyu Gu                               Yunxuan Zeng *                           Srivathsan Subramanian
 Yanjun Guo                             Yi Zhan                                  Rishabh Swarnkar
 Seung Hoon Han                         Haoran Zhang                             Ichiro Tai
 JaVion D. Holman                       Juntao Zhang                             Abhinav Reddy Tekulapally
 Keyu Hu                                Liwen Zhang                              Tyson P. Trauger
 Haofu Huang                            Tiansu Zhang *                           Haoyu Wang
 Mengqi Huang                           Xinyan Zhang                             Yiyi Wang
 Quanhua Huang *                        Yifan Zhang *                            Yucheng Wang
 Zhihan Hui                             Zhibo Zhou                               Davin Widjaja
 Ziyi Hui                               Jerry Zhu                                Mingyuan Wu
 Jeremy John Iden                                                                Zecheng Wu
                                       IN MATHEMATICS AND COMPUTER
 Gustav N. Jennetten                                                             Tianrui Xia
                                       SCIENCE
 Kelly Ann Jezior                                                                Siqi Xiong
                                       DEGREES CONFERRED, AUGUST 05, 2019        Yujia Yan
 Yuan Jia *
                                        Aahan Agrawal                            Changhong Yang
 Zhuoyue Jiang
                                        Arka Basak                               Mingchao Zhang
 Siqi Jiao
                                        Zhenglun Chen                            Minjian Zhang
 Krishna Kalki
 Gayoung Kim                           DEGREES CONFERRED, DECEMBER 23, 2019      Shu Hua Zhang
 Caroline Joan Lauschke                 Mosaad Al Thokair                        Yichi Zhang
 Chih Ming Lee                          Zeyu Cai                                 Tianhao Zhu
 Seulhui Lee                            Ziyi Chen
                                        Arkin Rakesh Dharawat                   IN MOLECULAR AND CELLULAR
 Yeongwook Lee                                                                  BIOLOGY
 Philip Z. Li                           Sanchit Dhiman
 Wenhao Li                              Zaitian Fu                              DEGREES CONFERRED, AUGUST 05, 2019
 Xiaomin Li *                           Wei-Chen Huang                           Zahir M. Abdulridha
 Xinyi Li                               Chuang Ke                                Jhonn Edryz Patilano Binoya
 Yi Li                                  Kyung Joon Lee                           Gita Alla Golonzka
 Yinghao Li                             Harish Subramanian Manikantan            Patricia Rose Griffin
 Zhibin Li                              Sanskruti Bapurao More                   Emily Nicole Hallett *
 Bingxin Liu                            Rishab Pohane                            Kaitlin Scout Keller
 Chengyi Liu                            Amrit Pal Singh                          Sana Khan
 Rui Liu                                Nathaniel Negusse Tesfalidet             Evin A. Kilicarslan
 Yifan Liu                              Zhekun Zhang                             Joseph A. Leon
 Hanyu Lu                              CANDIDATES FOR DEGREES, MAY 16, 2020      Naufil Mansury
 Zixia Luan                             Anmol Agarwal                            Kaichao Pan
 Zachary John MacAdam                   Devin Akman                              John Michael Parilla
 Corey F. May                           Jonathan Tyler Alvarez                   Neil K. Patel
 Xinyu Mei                              Sharanya Balaji                          Nicky Shailesh Patel
 Jiaxiang Meng                          Nolan Tyler Barajas                      Oways K. Shaqildi
 Hung Woei Neoh *                       Samantha Lin Barrera                     Sydney Cherise Spann
 Veronika L. O’Donnell                  Kyle T. Begovich                         Hugh D. Yeh *
 Daniel Ostrow *                        Brendon Roger Beyer                      Mark Zhang

                                                                                Exhibit 38 - Page 68 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                            LIBERAL ARTS AND SCIENCES




DEGREES CONFERRED, DECEMBER 23, 2019   Adam Joseph Cardone           Peter G. Kolyvas
 Hajera Afreen                         Lydia Kit-Yen Chan            Margaret Kennedy Kopoulos
 Mohammed A. Atallah                   Joanna Chavez Diaz            Inna Kostyshak
 Samiat O. Balogun                     Daniel Ping Chen              Jonathan A. Kozicki
 Steven Joshua Berg                    Petrina Chino                 Alexandra C. Koziol
 Nidhi Nikhil Brahmakshatriya          Da-Shiang Chou                Disha Kuchangi
 Rachel JoAnne Carlson                 Tiffany Chu *                 Sneha Kumar
 Mateo Benjamin Cortez                 Maria Ramirez Clarke          Suraj Kurian
 Anthony Alexander Delaney             Rebecca Lynn Corzine          Lauren Margaret LaPeter
 Sandy H. Doan                         Samantha Aislinn Cruz         Jeremiah Ho-Hin Lam
 Brooke Elizabeth Frazier              Lauren Kwon Cuasay            Qingyi Lan *
 Anisha Galla                          Paulina M. Cygan              Jaysen Lao
 Chaeyeon Han                          Anna V. Czerwinski            Christina Laskaris
 Rachel J. Han                         Ankita Datta                  Devin Elizabeth Laux
 Oscar Daniel Herrera                  Alana Rae Dean                Nathaniel Ghunho Lee
 Cayla Marie Hultmark                  Adelaide Rose Del Angel       Sarah S. Lee
 Ritika Jain                           Mia L. Detella                Zachary Peyton Lensink
 Dana Adnan Joulani                    Roberto E. Devera             Kathryn M. Lenz
 Adrian Marian Kapustka                Serena R. Dhaon               Josephine Theresa Leuallen
 Si Yeon Kim                           Aditi Digish Doshi            Madeline M. Link
 Yoonsuh Kim                           Katherine Grace Douglas *     Carter Joseph Livergood
 Rachel A. Klem                        Peter Scott Dragovich         Albert Alcaraz Lopez
 Piotr Lesniak                         Kathryn Faye East             Xinyi Lu
 Joy Sijia Lin                         Maxwell Robert Elghanian      Justin K. Lumanga
 Rahul Maini                           Lotanna U. Ezenekwe           Cody Jordan Lund
 Mariah Daniele McNamer                Lyndon Magluyan Fabi          Jessica Joy Luo
 Ewelina Nowak                         Hessa Aisha Faisal            Tyler S. Lutz
 Francis Scott Rodriguez Ogaban        Stanley Fayn                  Christine B. Magdongon
 Pyung Hun Park                        Grace M. Fedus                Jacob Robert Malak-Ismail
 Avani Paresh Patel                    Sean Neal Delfin Fernandez    Abu-Bakr Azam Malik
 Jackson Elias Powell                  Matthew Jeffrey Fink          Matthew D. Malter
 Maxwell Evan Prosser                  Victoria Ann Frueh            Eleanor Grace Marcet
 Shaun Michael Raftery                 Megan Mari Furukawa           Andrea Maric
 Sabrina F. Ruazol                     Zeidy H. Garcia               Rayna Louise Martinson
 Juan Rubio                            Cara Erin Geoghegan           Ashley Elizabeth Mathews
 Malik H. Sahouri                      Susan Gewarges                Lauren Evelyn Mazurkiewicz
 Nicole M. Sazonov                     Carlos Anthony Gonzalez       Matthew James McClintock
 Valerie Olivia Sitarz                 Jose Antonio Gonzalez Abreu   Michael Ryan McGovern
 Santosh Sudhakar                      Diana Antonia Greiner         Christopher William McKittrick
 Michael Joseph Szewczyk               Nicholas Bryce Griffith       Janay A. McKnight
 Max Shaochong Wei                     Nicholas J. Grimes            Christine Lynn McMahon
 Daniel G. Wells                       Jessica Andrea Gruen          Chandni S. Mehta
 Weiwen Wu                             Giovanni Guzman               Karan Rajiv Mehta
CANDIDATES FOR DEGREES, MAY 16, 2020   Olivia Elise Gyssler          Rahul Chirag Mehta
 Nicholas Ronald Ahlman                Noah Robert Haberkorn         Olivia S. Michalik
 Hifsah Ahmed                          Anand K. Haran                Paulina A. Miszczak
 Lukas Aleksonis                       Conner Phillip Hatzopoulos    Franchesca Alysse Mogilevsky
 Aditya Kiran Alluri                   Runshu A. He                  Jackson Patrick Mooney
 Daniel Mark Andress                   Steven Elliott Hobbs          Kaivon Moradi
 David Scott Andrews                   Justin John Hobson            Mathias Morales
 Claire Julia Ang                      Weronika Hodorowicz           Peyton Marie Muehlhauser
 Ruben Aranda                          Nicholas Hong                 Charlotte Jean Mueller
 Mariam Komal Arif                     Nathan R. Horner              Rhea Suneel Mundle
 Velimira S. Asenova                   Bryan Hu                      Praerona S. Murad
 Emmanuel Agbor Ashu-Tarh              Jiayi Huang                   Anastasia Maria Murphy
 Yusouf A. Ayesh                       Megan Jordan Hung             Taylor P. Murvine
 Shiv Ishwar Bajaj                     Amanda Michelle Hunt          Jakub Mysliwiec
 Javan Cody Baker                      Katie T. Huynh                Brinda Nagaraj
 Elizabeth Rose Barbeau                Sein Hwang                    Breanna Nicole Nagel
 Jacob Scott Barnhart                  Dan Jamiu Ibrahim             Mark Peter Neagle
 Raj Ramesh Barot                      Mihika Iyer                   Jacob Richard Nelson
 Julia Marie Beck                      Aidan Jabbarzadeh             Andrew Lip Heng Ng
 Daniel Fitzpatrick Bednarek           Isheeta Rajesh Jaria          Isaac Jordan Ngo
 Carly Elizabeth Bell                  Elliot S. Jersild             Judy Nguyen
 Ashley Laura Bellario                 Emaline L. Johnson            Molly Xinh-Xinh Nguyen
 Habib Benchehida                      Ethan Cole Johnson            Benjamin Rigel Nordick
 Simmer Kirpal Beniwal                 Sabrina Byju Jose             Bradley E. Noxon
 Shannon Desanto Berneche              Kundan Ashok Joshi            Michael Alfredo Oropeza
 Tajesvi Bhat                          Samrudhi Ravindra Joshi       Rene Oluwaseun Osinubi
 Salil Shirish Bhole                   Mohak Jotwani                 William Peter Osorio
 Prince Jeffrey Boadi                  Peter David Ju                Pauline Marie Ostoja-Starzewski
 Grace Kathryn Borkowski               Emily Lynne Kafkes            Mark Steven Overby
 Jakub P. Borla                        Pranathi Karumanchi           John Basil Padanilam
 Alison Christine Borsotti             Aida Kasetaite                Ramses Padilla
 Andrea M. Branz                       Yen-Hsin Keng                 William L. Palivos
 Michelle Jamie Bresingham             Muhammad Affan Khalid         Caleb Joseph Papay
 Alexis Nichole Bryant                 Sean P. Kilgallon             Victoria A. Pappas
 Paulina Brzezinski                    Jiin Kim                      Michelle Suehyun Park
 Ryan Doyle Camp                       Jessica Daniela Kirchner      Aayushi S. Patel
                                       Chunjoo David Ko
                                                                     Exhibit 38 - Page 69 of 76
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LIBERAL ARTS AND SCIENCES                                                2020 COMMENCEMENT AT ILLINOIS




 Evan Alexander Patel              Angela Xu                               DEGREES CONFERRED, DECEMBER 23, 2019
 Krishna G. Patel                  Danielle Yee                             Omar Abbadi
 Megha Mahesh Patel                Daniel C. Yoo                            Celestina B. Aladesuru
 Mira S. Patel                     Kun Hee Yoon                             Firasat M. Alikhan
 Pooja S. Patel                    Hamzah J. Yousafzai                      Cynthia G. Beltran
 Priya J. Patel                    Rana W. Youssef                          Leah M. Berlowe
 Suchi Navinchandra Patel          Sara W. Youssef                          Kyle Steven Biedron
 Hanna Pawlowski                   Xuezhu Yu                                Gregory R. Brighton
 Haley Nicole Penkala              Suah Yun                                 Xingyu Bu
 Eliza Shinan Fang Perchanok       Sarah Michelle Zaida                     Kelly Ann Cerniglia
 Prahassovann Phourcheu            Edward R. Zdunek                         Lane Alexander Cervantes
 Ioana Pintescu                    Ivan Jesus Zepeda                        Brandon Chan
 Sohaib Qazi                       Andrew S. Zhu                            Runze Chen
 Sebastian Sembos Quiana           Huzaifa Zohair                           Yichao Chen
 Brooke E. Ramsey                                                           Seong Nyeong Chung
 Savannah Rachel Rose
                                  IN PHYSICS
                                                                            Jasmine A. Do *
 Abigail Delores Rosenbaum        DEGREES CONFERRED, AUGUST 05, 2019        Kenzie Lucinda Dodds
 Marcus Scott Rossi                Tangsheng Cheng                          Christopher R. Dolleton
 Wanrong Ruan                      Dayou Min                                Sanaya R. Dukandar
 Oluwasoladotun Rukayat Salawu    DEGREES CONFERRED, DECEMBER 23, 2019      LaTianna Marie Dumas
 Morgan Ana Samanic                Mohammad Saad Altaf                      Lauren Eileen Engelhard
 Ashley Michelle Samuelsohn        David Ballines                           Alec Armand Fecteau
 Zachary N. Sanders                Jose Antonio Cerra                       Sydney Faith Finkelstein
 Tanveer Kaur Sandhu               Punami Chowdary Dukkipati                Destiny Victoria Frickensmith
 Aleksandra Savic                  Jonathan T. Richman                      Victoria P. Goldman
 Andrew Joseph Schwartz            Jakab H. Walters                         Douglas Aaron Gray
 Tugba Serbest                     Jianfei Wang                             Karla M. Guzman
 Anuj P. Shah                     CANDIDATES FOR DEGREES, MAY 16, 2020      Erin Lynne Harmon
 Swapnil V. Shah                   Carl Eric Ausmees                        Ashley Brooke Harris
 Deepa Hari Shankar                Nirali Anand Bhatt                       Marga C. Hempel
 Kyle Chase Sherman                William Gabriel Darmawan                 Ashley Mireya Hernandez-Carrillo
 Esther Jaeyun Shim                Alexander S. Freel                       Jae Hur
 Ohm M. Shukla                     Zhaohan He                               Shope B. Jimoh
 Samantha Lee Silverstein          William Aidan Helgren                    Georgianne Marie Kokenis
 Grant A. Silzer                   Austin Michael Hemken                    Anthony Kuo
 Anirudh Sivaraman                 Kevin Eduardo Hernandez                  Amanda Noel Lai
 Kristina Julia Slaby              Spencer Bailee Hulsey                    Grace Lee
 Marc George Sleiman               Jesse Lee Kiser                          Jordan Eunhae Lee
 Alexandra Marie Smith             Ryan Alexander Lanner                    Seungyoon Lee
 Emma Claire Smith                 Jifu Li                                  Sunyoung Lee
 Shanna E. Song                    Yujie Liang                              Christina Marie Lies
 Karina A. Sowa                    Alexandria R L Nolan                     Charlotte Lockhart
 Max Jacob Spiro                   Charmi Shaileshkumar Patel               Abby Lynn Ludwig
 Jennifer Anne Srnak               Alexander James Rudd                     Ariana Marie Markese
 Michael Walter Staron             Robert Tobias Sheffield                  Matthew Adam Martinez
 Jeremy C. Starzec                 Danylo Sovgut                            Paulina E. Marusarz
 Kevin Anthony Stehlik             Pengyue Sun                              William C. McCarty
 Christina Jean Su                 Ryan Forrest Torbet                      Yosra Nadhimi
 Katharine R. Suffern              Timothy Wachter                          Mustafa Naveed
 Vanessa Lynn Sumano               Hailin Wang                              Allison Claire Neggers
 Allia Sunbulli                    Kevin Yi Ping Wang                       Teresa Rose O’Brien
 Sabrina S. Sundin                 Ryan Wang *                              Reece Ehrenberg O’Connor
 Scott F. Swanson                  Matthew D. Young                         Hans J. Pallan
 Marta Anna Szczepaniak            Haotan Zhang                             Sooyeon Park
 Sebastian Jan Szymanski           Shuyu Zhang                              Hirangi K. Patel
 Lukas Talaga                      Zhaoqing Zhu                             Marlene Pena
 Laura Amy Tanase                                                           Kripa-Mariam Thomas Poozhikunnel
 Ariel Elizabeth Telger           IN PSYCHOLOGY                             Brendan Quinn
 Jasmine J. Thakkar               DEGREES CONFERRED, AUGUST 05, 2019        Julia Elizabeth Rajan
 Aashna Thakur                     Whitney Opeyemi Akinola                  Ankitha Rao
 Lauren G. Todorov                 Tehmina S. Ali                           Daniel A. Reyes
 Meng-Hua Michelle Tsai            Caitlin A. Barnett                       Michael Anthony Sassano
 Luis Vidal Turcios                Jonathan Ryan Basa                       Ethan George Schumann
 John David Tuzzolino              Luke F. Campbell                         Ximena Schwarz
 Ochuko Khalid Urevbu-Davis        Aniya Lashawn Collins                    Sang Hyun Seo
 Margaret Elizabeth Vacchiano      Kyle Joseph Deyo                         Shelley Haesun Seong
 Andy S. Vaewhongs                 Rachael M. Donovan                       Darya Rose Shahgheibi
 Abel Gladson Varghese             Antonio Roberto Fabielli                 Pramukh Sreerama
 Jesty Elsa Varghese               Abigail Ferrusquia                       Marilu Terrones
 Varsha Vembar                     Anna M. Franklin                         David G. Valentine
 Emily N. Vilendrer                Syed Zeeshan Hasan                       Yijun Wang
 Dianca D. Villa                   Jacob P. O’Russa                         Seng Yew Woo
 Hannah Nicole Von Kreuter         Vivek V. Patel                           Seon Hye Yang
 Wan Muhammad Azhan Wan Ibrahim    Godson O. Raheem                        CANDIDATES FOR DEGREES, MAY 16, 2020
 Garrett Charles Weber             Jessica Yfei Song *                      Jonah Abrahams
 Sung Won Wee                      Stephanie M. Soto                        Nyjah A. Adams
 Diane Wei                         Brittany Dominique Thompson              Saaima Fatima Afzal
 Charli Elise Weilbacher           Alexander W. West                        Selin Aktuna
 Elena M. Wilson *                 Naomi G. Willis                          Muhammad J. Al-Saqri
                                   Runhan Yang
                                                                            Exhibit 38 - Page 70 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                           LIBERAL ARTS AND SCIENCES




 Kylia F. Alausa                  Delaney Reid Doolin               Peace Ofure Imarenezor
 Dorothy Aleksonis                Suchi Doshi                       Te’ja Jackson
 Fatima Sajid Ali                 Daniel Ernest Driscoll            Sofia Jauregui
 Rida Alikhan                     Kevin Du                          Buchun Jiang *
 Alia Nejd Alsikafi               Danielle A. Dunnom                Dale Marie Johannesson
 Saadia Altaf                     Andrew Christopher Duran          Kendall Danielle Johnson
 Sehr Amer                        Ashley Rose Dushman               Kenneth Roy Johnson
 Abdulraheem Mujtaba Amodi        Brittany Celia Dushman            Shamonique Quatisha Jones
 Vishesh Anand                    Justin Patrick Duval              Elias R. Joseph
 Alexander Brenden Anderson       Brionna Edwards                   Emily Michelle Kamen
 Charenae I. Anderson             Maiah L. Elliott                  In Hwa Kang *
 Samantha Christine Anderson      John Robert Engelbert             Min Ji Kang
 Michael Thomas Katindoy Ang *    Dania Xitlaly Erazo Pineda        Sunaina Karanth
 Jacqlyn R. Anguiano              Natallie L. Ervin                 Isaac Francisco Fazlul Karim
 Reshma Antony                    Hyunjung Eum                      Abigail Leighann Kehe
 Isabella Madeline Arquilla       Joanna M. Fanella                 Bridget Anne Kelly
 Angel Everardo Arreguin          Kristin Ann Farrell *             Brenda M. Kendziera
 Amairany Arzeta                  Talia Shannon Farrell-Rosen       Briana Mary Kesterson
 Audrey Lynn Ashburn              Cassandra Favela                  Shaan Rahim Rasul Keswani
 Janice Cherie Baker              Emily S. Fedrigon                 Jae Yup Kim
 Tong Bao                         Michelle Regina Feigler           Kyung Tae Kim
 Motahareh Barghamadi             Paul A. Fernandez                 Min Kyoung Kim
 Kimberly Marie Bernhard          Olivia Nina Fingold               Roy Chan Kim
 Shivani M. Bhatia                Emerson G. Fister                 Tiffany O. Kim
 Stephanie Dawn Billerman         Jasmyn Lashay Flannigan           Tia King
 Madilyn Kay Billings             Emma Suzanne Frank                McKenzie Blue Kitzmiller
 Thomas Duane Bjorklund           Jordan E. Freer *                 Carly Elizabeth Kleiman
 Marko Bogicevic                  Hailey Marie Gaba                 Darian Kochanek
 Fenrir Ethan Bowker              Bushra Fathima Gaffor             Danielle D. Kocol
 Janae Shawndra Branch            Quinn N. Galindo                  Alyssa Noel Korenchan
 Kiley Taylor Breen               Zijun Gao *                       Lucy Marie Kovacevic
 Hayden Thomas Breig              Stephanie Marie Garcia            Robert R. Krissinger
 Maria Del Pilar Brito            Ellen Celeste Gayde               Isaac Daniel Krutilla
 Bethany Ellen Burger             Haodong Ge                        Heena Das Kuwayama
 Katherine Yaeji Bye Bussell      Anna Gerlach                      Shelby S. Lafferty
 Maria L. Cali                    Jigeesha Ghosh                    Amanda Lam
 Aaliyah Alize Camacho            Sophia A. Giakas                  Cassidy Rose Lancaster
 Charlie Caneda                   Seth M. Gilbert                   Maria Christina Laros
 Elena M. Cannova                 Julia J. Gillmeister              Daniel K. Lee
 Keeley Rae Carducci              Alyson Cecile Godbolt             Juliana W. Lee
 Sofia Theresia Carter            Ami E. Goetz                      Younje Lee
 Sharon Elizabeth Castanaza       Kelsey Elizabeth Goll             Zoe Lee
 Julie Mayte Castellanos          Ellena Carmen Gonzalez            Sara Leon
 Vanessa Cerda                    Silvia Consuelo Gonzalez          Eric Lepe
 Alexis P. Chambers               Brooke Nicole Grant               Alexandra Valentina Levin
 Jane Jeehae Chang                Alexandrea Amon Guiritan          Donna Li
 Jack William Charrlin            Megan Ashley Habbal               Hong Li
 Qiaoru Chen                      Alec R. Hager                     Jiayu Li
 Tingxiao Chen                    Nicholas Vail Hahn                Lingyue Li
 Min Su Chi                       Shazil Ali Haider                 Xinyao Li
 Monica Eun-Hye Cho               Anusha Syed Haidry                Junning Liang
 Alison Chu                       Caden Riley Hall                  Cathy Liao
 Iulia Andreea Ciubotariu         Kimberly M. Hall                  Lovell Jerome Lightner
 Jennifer Elke Clifton            Kathryn Annette Hamblen           Xiaokun Lin
 Erin August Close                Mary Elizabeth Hamilton           Haowei Liu
 Bailey Ashton Cochran            Lauren Elizabeth Harney *         Zachary Andrew Lively
 Elizabeth G. Colleary-Storr      Madison Alyssa Harris             Sarah Elizabeth Love
 Nicole Angelic Colon Luna        Jingyu He                         Isabella Loverde
 Nicole Fuller Connors            Jada Raine Heck                   Grace Brasa Lucenti
 Krystal Edith Corcoles           Jonathan Russell Heitz            Liwei Luo
 Chelcy C. Coronel                Shontasia Zyalisa Henderson       Erin Regan MacIntosh
 Nicholas Robert Cournoyer        Tanya Verenice Hernandez          Jerold Soto Macaya
 Jack Michael Cowart              Zachary John Hester               Saul Magdaleno
 Alyiah Desiree Culpepper         Amber Marie Heth                  Jason L. Maldonado
 Maya Anna Czerkies               Sarah Rose High                   Ilana Ann Malman
 Yusang Dai *                     Heena U. Hira                     Donovan Chase Maloney
 Ariana Daneshbodi                Tyler David Hixon                 Camilla Helena Manzano-Banks
 Lucy D. Darr                     Jessica Ruth Hoekenga             Breanna Marcelin
 Adya Bakul Dave                  Ellee Grace Holden                Axalli Anais Martinez
 Marielle Nicole Davidson         Amy S. Hong                       Cindy Jazlyn Martinez
 John Thomas Dearvil              Natalie Jean Hong                 Nicholas Jose Martinez
 Rafal Debski *                   Jessica Gabriella Raye Hougsted   Brooklyn Marie Martner
 Yao Deng                         Dominique Brielle Hrobowski       Olivia D. Massey
 Gabrielle Grace Dersch           Jiahe Hu                          Aquara Kyselene Mata
 Henna Dhingra                    Yingjia Huang                     Madelyn Alyssa Matzuka
 Abril Diaz                       Zhanchen Huang                    Guadalupe Maya
 Graciela Aimee Diaz              Morgan Hummel                     Andrew E. McComb
 Nicole Michelle Diaz             Severiano Cervantes Hynes         Brian Daniel McFarlin
 Ning Ding                        Grace Anne Ikenberry              Sara Mei
                                                                    Exhibit 38 - Page 71 of 76
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LIBERAL ARTS AND SCIENCES                                            2020 COMMENCEMENT AT ILLINOIS




 Alejandra Melesio                 Komal Haresh Sapra                   Colin Lawrence Worden
 Anastasia Marie Menke             Sarah N. Scharfenberg                Angela Celine Wu
 Saniya Merchant                   Megan Mackenzie Schmieder            Haipei Wu *
 Rebecca M. Merrithew              Kyle Schremmer                       Yuqi Wu
 Cassandra Miriam Mirhakimi        Molly Elizabeth Schuster             Ruiwen Xu *
 Sabrina Mirza                     Emily Monica Schwefel                Yaxian Xue
 Morad Kamal Misleh                Zhiqing Sha                          Tianshu Yang
 Maysara Y. Mitchell               Maryam Iman Shaikh                   Yanyu Yang
 Nidhi Mittal                      Yujie Shao *                         Yining Ye
 Alexa Rose Mittenthal             Rucha Lokesh Shastri *               Dan Bie Yoon
 Darian Marie Morgan               Patrick Lawrence Shaughnessy         Sandy You
 Jake Zane Morrow                  Zhenlie She                          Eric Kiyun Yun
 Khalifah Muhammad                 Saheli Bimal Sheth *                 Ifrina Binti Zainal Abidin
 Bisma Latif Munir                 Seo Yeoun Shon                       Matthew Tymothy Zarycki
 Andres Munoz                      Alex Sikorski                        Adrian Zavala
 Surya Satish Nair                 Melissa Breanne Silvester            Jingfeng Zhang
 Emily Navarrete                   Queen Avian Alise Simmons            Xiaochong Zhang *
 Julia J. Nellamattom              Nidhi Singh                          Xueting Zhao
 Nora E. Neville                   Jasmine Nicole Singleton             Zhecheng Zhao
 Yutung Ng                         Rycki Danyel Singleton               Kewei Zhou
 Erynn Nichole Nicholson           Samit Sinha                          Yunxin Zhou
 Melissa Angelina Niemiec          Lindsey Christine Sloan              Clementine K. Zimnicki
 Jiaying Ning                      Tyler M. Smiley                      Nadia Alma Zogbi
 Meredith Nolan                    Avery Walker Sneed                   Natalia L. Zychowska
 Khansa Noor                       Sarah Sommers
 Jessica Joanna Nowak              Nicolette Katherine Sotiros
                                                                       IN STATISTICS
 Trevor James Courtney Nowak       Anna Elizabeth Spytek               DEGREES CONFERRED, AUGUST 05, 2019
 Sydney M. Noxon                   Alyssa L. Standifer                  Gentiana Ballazhi
 Emily Alyse Oandasan              Kayla Lee Stanke                     Jiayi Chen
 Do Yeon Oh                        Anna Marie Stephens                  Shufan Chen *
 Charles Benjamin Oken             Alexis Dorene Stevenson              Waseem M. Ebrahim
 Antiojaune V. Oliver              Natalie Joan Oksana Stoner           Brock J. Judson
 Ifeoma N. Onyeka                  Yueting Su                           Hoyin Lau
 Jessica Louise Padrid Oribello    Deeptha Subramanian                  Jinhee Lee
 Jacklyn E. Ovassapian *           Sneha Subramanian                    Sixin Ma
 Ivana Joyce Owona                 Nimota-Lai Oluwaseyi Sulaiman *      Zhanyi Miao
 Natalie A. Palmer                 Anna V. Szymula                      Brandon A. Nsiah-Ababio
 Allison F. Park                   Taylor Kay Taghon                    Vinay Prabhakar *
 Beomgyu Park                      Jiayang Tan                          Ludia S. Tang
 Ye Won Park                       Xujie Tan                            Jie Zhang
 Jaunai T. Parson-Moore            Anthony Tang                        DEGREES CONFERRED, DECEMBER 23, 2019
 Paige Marie Patano                Jueyu Tang *                         Yichao Bao
 Palak Prakash Patel               Mercedes Audriana Tate-Bierman       Denzel Vernon Brown
 Reema V. Patel                    Sydney Bobbie Tenton                 Qingyi Cao
 Gwendolyn M. Paulsen              Cynthia Guillen Terrazas             Keerti Sri Chalasani
 Isabela Rose Ganzon Pelikan       Lawanda L. Thomas                    Chuanqi Chen
 Michelle Perez                    Cameron M. Toghraee                  Delan Stephen Chen
 Alexander Lambert Pincsak         George Fred Tragoudas                Jang Hyun Choi
 Marni Elizabeth Pine              Nolan Tsai                           Jacky Chow
 Garn Piya                         Meghan Elizabeth Ulrich              Ke Deng
 Abbigail Jane Powers              Ana K. Uribe                         Emerald Elise Fikejs
 Masumi Vageesh Prasad             Karina Valentine                     Bradley Trey Gibbons
 Hannah Lynn Preston               Charles M. Van Dyke                  Corina G. Gonzalez
 Taylor Rae Pullen                 Arturo Vargas                        Bingxu Han
 Sarah Rebecca Puz                 Jasmine Joyce Vaughan                Landon A. Hess
 Katherine Rose Quain              Clarissa Velazquez                   Weiliang Hu
 Julia Barbara Radon *             Nina Angela Vergara                  Won Jong Jin
 Sidra Rafi                        Jessica L. Vilaythong                Hyun Suk Lee
 Kaitlin Anne Raimondi             Alejandro Villalobos                 Liding Li
 Stephanie Ramos                   Diana Bianca Villalobos              Xinhang Li *
 Julia Sul Young Rausch            Naga Vivekanandan                    Ruilang Liu
 Jacob David Reid                  Cherese E. Waight                    Jun Bin Park
 Brian Ricci                       Aaron Takeuchi Walbert               Arjun T. Rajesh
 Chloe L. Rice                     Megan Eileen Walker                  Kody Kristopher Reichert
 Emily Lynn Risinger               Grace May Wang                       Anthony David Rizzo
 Saul Rivera                       Mingzhu Wang                         Kyuseok Roh
 Carla Pamela Rodriguez            Mark Steven Weber                    Xiaomei Sun
 Caroline Rodriguez                Sarah Katherine Weibel               Yuming Sun *
 Jorge Rodriguez                   Mitchell Connor Wells                Favian Ubaldo Tirado
 Michelle Yvonne Romo              Sarah White                          Jonah Ezra Toch
 Gleanne Airis Francisco Rosales   Payton C. Whittier                   Yan Wang *
 Adam David Rudin                  Cara Nicole Wiemeyer                 Zhuoyun Wang *
 Anthony Ruiz *                    Kirsten Sierra Wiley                 Miaochi Wen *
 Callie R. Rukavina                Jocelyn J. Williams                  Hao Yan
 Meghan K. Ryan                    Kevin Douglas Wilson                 Jiayi Zhang
 Eli Gracen Sands                  Emily Ann Wolf                       Shuoqi Zhang
 Elsa Sangaran                     Amanda Wolfingher                    Yue Zhao
 Cristina Alma Santillan           Oi Lam Wong                          Hanjing Zhu
 Ashley Taylor Saperstein          Chikira Noelle Woodson
                                                                        Exhibit 38 - Page 72 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                    LIBERAL ARTS AND SCIENCES • MEDIA




CANDIDATES FOR DEGREES, MAY 16, 2020    Ziyang Pan                                 CANDIDATES FOR DEGREES, MAY 16, 2020
 Aarnik A. Amin                         Rebecca Jasmine Pasman                      Vinayak Agarawal
 Ruchi A. Amin                          Mit Mahendra Patel                          Maanav Singh Ahluwalia
 Theresa Bai                            Ran Pei                                     Mrinoy Banerjee
 Mark John Belsis                       Alex Orenzo Pope Funches                    Austin Bi
 Toshita Bokkisam                       Yitian Qian                                 Bharat Bojja
 Joseph Anthony Broton                  Varshini Ramanathan                         Wilson Burnawan
 Jordan James Campbell                  Brandon Seth Ramos *                        Justin Joey Chan
 Apurva Chakravorty                     Israel Reyes                                Pratik Gajanan Chaudhari
 Aaron Kimwing Chan                     Mallory Anne Root                           Smit Jignesh Desai
 Rakesh Chatrath                        Pasqua Ruggiero                             Ji Ding
 Lifei Chen                             Alexander Phillipp Sheehan                  Tianli Ding
 Meilin Chen                            Dahae Song                                  Yuliang Fan
 Zizhang Chen                           Minji Song                                  Xingyu Fu
 Daniel Chernyakhovskiy                 Sung Hwan Suh                               Vaishnavi Karthik
 Emily A. Ciaccio                       Xin Sui                                     Nico Kienawan
 Nathanael Michael Claussen             Jayaram Krishna Talasila                    Ryan Jamison King
 David A. Counter                       Gabriel Taylor                              Chiranjeevi Koiloth
 Alexander Sean Cualoping               Justin Avery Tigue-Tolley                   Peter Waclaw Krawiec
 Shihao Duan                            Nikola Todorov                              Bochao Li
 Phillip D. Duncan                      An-Jie Andy Tu                              Kehan Li
 Ruopu Fan                              Nischal Veera                               Yabo Li
 Qinyang Fang                           Adam J. Waas                                Darren Wen Lim
 Yuxuan Feng                            Jingjing Wang                               Lanxin Liu
 Sandra Fortoso                         Ruiyi Wang                                  Shuncheng Liu
 Jingxiao Fu *                          Yizhuo Wang *                               Tianlang Liu
 Yu Fu                                  Yongqing Wang                               Don Marco Rosales Loleng
 Kumar J. Gandhi                        Yuecheng Wang                               Julian Francisco Nieto
 Qiuning Ge                             Calvin G. Waters                            Parthik Jayesh Patel
 Han Gong *                             Rachel Louise Wiedemann                     Prashant Shankar Pokhriyal
 Zhiqi Guo                              Grant Robert Winkelmann                     Tejaswi Rachapudi
 Dongmin Han                            Yijun Wu *                                  Tanvi Raja
 Wenchu Han                             Yingyao Wu                                  Deepika Ramachandran
 Yuanzhe He                             Anna Magdalena Wysocka                      Sahil D. Rangwala
 Zongjian He                            Yuxin Xiao *                                Nikhit Madala Rao
 Ji Uk Hong                             Diyu Yang *                                 Dmitri Valerievich Salov
 Cheng Hou                              Yanbing Yi                                  Fan Shi
 Xiaoping Hua                           William Yuen                                Sophia Shin
 Xiangyu Huang                          Ruijie Zhan                                 David O. Smith
 Jonathan Hayes Hundman                 Jiaqi Zhang                                 Vivek Sriramineni
 Wei-Cheng Hung                         Jingyu Zhang *                              Han Sun
 Jihee Hwang                            Qinxiao Zhang *                             Steven Y. Sung
 Blessing Ibe                           Tiantian Zhang *                            Jacob Terry Trauger
 Smruthi S. Iyengar                     Xinyue Zhang                                Ashank Verma
 Joshua Louis Janda                     Jiahui Zhao                                 Haonan Wang
 Giwon Jeong                            Wenzhuo Zhao                                Shuhan Wang
 Yuda Jiang                             Wenxin Zhong                                Yuren Xie
 Munwon Jung                            Jiajun Zhuang                               Zaiyan Xu
 Samhita Kamath                                                                     Haoze Yang
                                       IN STATISTICS AND COMPUTER
 Bhanuchandra Kappala                                                               Xinye Yang
                                       SCIENCE
 Justin M. Keel                                                                     Benoit T. Yen
 Dhruv Khanna                          DEGREES CONFERRED, AUGUST 05, 2019           Tiger Huan Hu Zha
 Eun Jung Kim                           Peiliang Han                                Carson Xia Zhang
 Jong B. Kim                            Karthik Ravi                                Daoji Zhang
 Moonhyuk Kim                          DEGREES CONFERRED, DECEMBER 23, 2019         Yankun Zhao
 Jae-Ho Lee                             Priyanka Balakumar                          Zhonghao Zhao
 Zhuo Feng Lei                          Houyi Du                                    Christopher Jason Zhu
 Jia Hui Li                             Nilesh Gupta
 Menghan Li                             Surabhi Jain
 Mian Li                                Prajakti Jinachandran
 Zeyu Li                                Saood F. Karim
 Jiang Liang                            Junyoung Kim
 Tengyuan Liang                         Khuong Manh Le
 Hongbin Lin                            Hyunsoo Lee
 Kyle A. Listermann                     Yuqiu R. Li
 Kunyu Liu                              Bing Liang
 Liyuan Liu                             Timothy Lin
 Minchuan Liu                           Fengdeng Lyu
 Sian Liu                               Pranav Krishna Pamidighantam
 Yanzhi Liu                             Vishal Shah Patel
 Yiwei Liu                              Ravikiran Ranganathan
 Isaias Emmanuel Lopez                  Tony Shen
 Yinjing Lu                             Anoop Sypereddi
 Sarah B. Mansfield                     Zhouzhou Yang
 Tian Meng                              Jieyu Zhang
 Brein Yvette Mosely                    Qilan Zhang
 Louis Widhi Nugroho
 Vincent Oktavianus
                                                                                    Exhibit 38 - Page 73 of 76
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MEDIA                                                             2020 COMMENCEMENT AT ILLINOIS




                                       Lauren R. Browne              Tiffany Anne Liu
COLLEGE OF MEDIA                       John Wallace Butzow           Harrison Simon Loeb
                                       Mary Katherine Byrne          Morgan Margaret Londo
BACHELOR OF SCIENCE                    Nicholas G. Castelli          Matthew Gary London
                                       Courtney June Cavalli         Alondra Lopez
IN ADVERTISING                         Francisca J. Caviedes         Luis Angel Loza
DEGREES CONFERRED, AUGUST 05, 2019     Brian Daniel Chacon           Zhi Luo
 Molly Rae Arseneau                    Tricia M. Cody                Sheridan Alyssa Lurie
 Jordyn Ashley Brewer                  Sarah L. Cohn                 Michael Gallagher Lustig
 Kayla M. Dzierozynski                 Danniella Lea Cole            Madison English Mangan
 Elaina Rachel Hahn                    Patrick D. Conomikes          Nikki Christine Mantis
 Caroline Marie Halston                Clarissa M. Cortez            Talia Elyse Marcus
 Hannah Grace Hartnett                 Thomas Patrick Creighton      Alondra Martinez
 William Tyler Harton                  Jeffrey Cutler                Alexandra Maria Marusarz
 Shelby Ames Kosanovich                Mary Catherine Daley          Andrew Charles Mathews
 Elizabeth C. LeDuc                    Caleb Joseph De Ruiter        Stephanie Rae Maurer
 Mitchell Aaron Musial                 Natalie Kathryn DeFrank       Gianna Nicole Mazeska
 Jessica Yfei Song *                   Yaryna Demska                 Shannon Rae McCollum
 Erika Jean Sweeney                    Jacqueline Ann Dewitt         Nicklaus O. McCormick
DEGREES CONFERRED, DECEMBER 23, 2019   Michael Duval Dietrich        Jennifer Lynn McKendry
 Gal Abergel                           Kalief Kaysean Dinkins        Molly S. McQuaid
 Kayla Ruth Brown                      Emma G. Disilvestro           Armond S. Mendoza
 Emma Rose Campanella                  Megan Samantha Doah           Indira Midha
 Lamia Chatriwala                      Blake William Elford          Rachel Mae Miller
 Hannah Cheng                          Hendrik Jeremy Esche          Ann E. Molitor
 Amanda Chi                            Madeline Claire Ezsak         Samuel Adam Morady
 Andrea Jane Cunningham                Rebecca Lynn Falash           Chloe Danielle Morgen
 Jiaxuan Deng                          Nicholas John Ferguson        Anna C. Mullendore
 Jiaying Deng                          Cassandra Lyn Fischer         Madison L. Muno
 Jasmine A. Do *                       Timothy James Flemke          Kelly Leann Nenninger
 Bridget Fudala                        Nicholas Ismael Franco        Alexander R. Neumann
 Jalen Emani Hopson                    William Joseph Frank          Eric C. Nguyen
 Cenao Hou                             Madeline Louise Frost         Kipper Mikey Nichols
 Haoru Jia                             Malvi Suketu Gandhi           Vassilena Deyanova Nikolova
 Anthony F. Karigan                    Nicole Julia Gary             Natida Nivasnanda
 Hyun Jae Kim                          Kurt Paul Gavin               Caitlin Danielle O’Rourke
 Elijah Stuart King                    Han Gong *                    Jessica Ocampo
 Elizabeth Noelle Lawlor               Kelly Ann Griffin             Olivia Unoma Okocha
 Jiahui Li                             Dillon Evan Gross             Sydney Marissa Oseroff
 Yasmin Tatiana Marrero                Mariah A. Gura                Olivia N. Ottenfeld
 Courtney S. Marrow                    Carly Rose Heck               Donna Antoinette Pantone
 Kelley Michel McDonald                Jameson Ross Heininger        Kathryn Chris Pappageorge
 Andrew Sawyer Miles                   Alexa Jade Heitzman           Rachael C. Parker
 Claire E. Molenda                     Katherine A. Henckel          Karli Belle Paulson
 Thomas Jacob Mueller                  Haley E. Holder               Nina Marie Pavell
 Hitomi Nakamura                       Alexia Mamie Jackson          Travis Joseph Piotrowski *
 Jessica Amarachi Nosike               Emma Marie Jaeger             Tori Lana Portman
 Paige Kristin Olson                   Xuyang Ji                     Jennifer Marie Pozza
 Stephanie M. Olson                    Buchun Jiang *                Charles Michael Prah
 Jonathan David Parrott                Xiaoxiao Jiang                Lauren Elizabeth Prince
 Korie Ann Payton                      Lauren Angelica Jorges        Kyra Anne Puetz
 Leonardo Lorenzo Pellegrini           Emma Caroline Joyce           Olivia Katherine Pustulka
 John David Postlethwait               Abigail Kay Kalsto            Sarah Elizabeth Ranallo
 Gerard Puczek                         Umi Kanao                     Timothy Dexter Randl
 Grace Emily Rigney                    Kevin Patrick Keane           Benjamin Edward Rapp
 Myra Patrice Rivers                   Sarah B. Kehnemuyi            Teya Inez Ridgeway
 Anthony Paul Ryan                     Allison Nicole Kelly          Giselle Rocha
 Jordan Elizabeth Voller               Elizabeth Ann Kelly           Lena Meryl Roderick Buescher
 Gulan Wu                              Lukas Paul Kerstein           Kassandra Rodriguez
 Ying Xie                              Samantha K. Kloss             Nicole Jasmin Rodriguez
 Linhui Xu                             Clare Helen Kocher            Brian P. Roggensack
 David Charles Zucker                  Jace Robert Kole              Michelle Martha Salman
                                       Katherine Hirt Kremin         Sean Anthony Santore
CANDIDATES FOR DEGREES, MAY 16, 2020
                                       Beata Krupa                   Nia Symone Scaife
 Ariel Judith Aimone
                                       Eryn Elizabeth Kulik          Genaro Richard Schellenberger
 Armani R. Alvarado
                                       Emily R. Langtiw              Carra Anne Schillinger
 Andree Eva Anastassov
                                       Kathryn Isabel Lauer          Heather Renee Schwartz
 Madeline A. Armetta
                                       Mollie Rose Lazar             Emily Allison Sekula
 Ethan A. Ash
                                       Jessica Suzanne Lee           Kathryn Isabella Serangeli
 Ariana Rose Balice
                                       Kathleen M. Leiner            Runze Sha
 Erick J. Balthazar
                                       Tiffany G. Leung              Carson Nicole Sineni
 Tori Yona Bar-Shalom
                                       Michael Robert Levin          Holly Situ
 Edis Basic
                                       Tangjia Li                    Veronica Strunz
 Kyle Timothy Bechtold
                                       Wan-Yu Li                     Joseph William Sutryk
 Samantha Marie Bellisario
                                       Jamie Marin Linton            Anna O’Meara Szaflarski
 Kathryn Rose Beyer
                                       James Joseph Lipinski         Ethan Ryce Tabel
 Taylor Jean Bone
                                       Kate Mary Liu                 Kelly Tang
 Matthew John Breitbarth
                                                                    Exhibit 38 - Page 74 of 76
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UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN                                                  MEDIA • SOCIAL WORK




 Kelsie Alyssa Thurman
 Camryn Angel Torres
                                        Erik Andrew Sofranko
                                        Brandon Tyler Tucker
                                                                              SCHOOL OF SOCIAL WORK
 Constance Tzakis                       Katherine Marie Walker
 Pinar Ulucan                           Zihan Wang                            BACHELOR OF SOCIAL WORK
 Christina E. Vainisi                   Kaiqin Wei                            DEGREES CONFERRED, DECEMBER 23, 2019
 Samantha Ryan Valenta                  Eugene David White                     Thomas E. Bates
 Casey Jean Van Duyne                   Danielle Janae Williams                Xochitl Esparza
 Cory Ann Van Duyne                     Madeline Judith Wilson                 Leyda Magaly Garcia
 Arianna Lynn Veland                    Rebecca Noelle Wood                    Bruno L. Lima
 Krystyna Vigue                         Haipei Wu *                            Joyce Dahyun Park
 Grace Ann Wagner                       Mengjia Xu *                           Riley E. Ramirez
 Shubo Wang
 Rachel E. Ward                        IN MEDIA AND CINEMA STUDIES             Victoria Rose Rehfeld
                                       DEGREES CONFERRED, DECEMBER 23, 2019    Daisy Silva
 Pawel Stefan Warzecha
                                        Michal Cylwik                          Michael James Williams
 Damond L. Washington
 Klara Johanna Maria Welin              Abigail K. Dace                       CANDIDATES FOR DEGREES, MAY 16, 2020
 Francis Eugene Wheatland               Kristin G. Galla                       Zachary Ethan Becker
 Claudia Erica Wine                     Deonte D. Harris                       Crystal E. Boyas
 Katherine Therese Woidat               Nicholas A. Kosmalski                  Cameron James Burch
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 Chuqian Abby Zhong                     Tara Kate Taghavizadeh                 Naomi A. Chajon
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